Case 5:23-cv-00706-OLG-RBF   Document 97-6   Filed 02/07/25   Page 1 of 366




            Exhibit
              6
     Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 2 of 366




                                                                              Page 1

1                         UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
2                             SAN ANTONIO DIVISION
3          ALEK SCHOTT,                  )
               Plaintiff,                )
4                                        )
           v.                            ) Civil Action No.
5                                        ) 5:23-cv-00706-OLG-RBF
           JOEL BABB, in his individual )
6          and official capacity;        )
           MARTIN A. MOLINA III, in his )
7          individual and official       )
           capacity; JAVIER SALAZAR,     )
8          in his individual and         )
           official capacity; and BEXAR )
9          COUNTY, TEXAS,                )
               Defendants.               )
10
11
12            **************************************************
                              ORAL DEPOSITION OF
13
                                       GARY HASTON
14
                               JANUARY 10, 2025
15            **************************************************
16             ORAL DEPOSITION OF GARY HASTON, produced as a
17         witness at the instance of the Plaintiff, and duly
18         sworn, was taken in the above-styled and numbered cause
19         on January 10, 2025, from 9:07 a.m. to 4:46 p.m.,
20         before Donna Wright, CSR in and for the State of Texas,
21         reported by machine shorthand, at the LAW OFFICES OF
22         WRIGHT & GREENHILL, P.C., 4700 Mueller, Austin, Texas,
23         pursuant to the Federal Rules of Civil Procedure and
24         the provisions stated on the record or attached hereto.
25

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    Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 3 of 366




                                                                             Page 2

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                                                                                Page 3

1                                   INDEX
2           Appearances.....................................                            2
3
4          GARY HASTON
5
            Examination by Ms. Hebert.......................                            4
6
            Reporter's Certificate..........................                       274
7
8
                                            EXHIBITS
9
           NUMBER                DESCRIPTION                                       PAGE
10
            Exhibit 110         ................................                    9
11                              Haston Report with Correction
            Exhibit 111         ................................                    11
12                              Haston Report
            Exhibit 112         ................................                    14
13                              CV
            Exhibit 113         ................................                   210
14                              BlackVue Camera Systems Printout
            Exhibit 114         ................................                   251
15                              Steve Walters Training Materials
16
17
                              PREVIOUSLY MARKED EXHIBITS
18         NUMBER                                                                  PAGE
19
            Exhibit 49          ................................                   160
20
21
22
23
24
25

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     Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 5 of 366




                                                                                 Page 4

1                                         GARY HASTON,

2          having been first duly sworn, testified as follows:

3                                         EXAMINATION

4          BY MS. HEBERT:

5               Q.      Good morning.

6               A.      Good morning.

7               Q.      Mr. Haston, my name is Christen Hebert.                    I

8          represent the plaintiff, Alek Schott, in this matter.

9          We just met for the first time a few minutes ago; is

10         that correct?

11              A.      We did.

12              Q.      Can you state your full name for the record?

13              A.      It's Gary Don Haston, H-A-S-T-O-N.

14              Q.      Great.     I'm just going to introduce you to our

15         team.

16              A.      Okay.

17              Q.      You met Mr. Fox, Josh Fox --

18              A.      I have.

19              Q.      -- a few minutes ago.           And this is

20         Mr. Windham, Josh Windham.             And then in the room, we

21         also have Donna, the court reporter, which you met a

22         few minutes ago.          And then counsel, Stephen Barron, who

23         is representing Deputy Babb.               And on Zoom we have

24         Hector Saenz --

25                              MS. HEBERT:      I can never say your last

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     Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 6 of 366




                                                                                 Page 5

1          name, Hector.

2                               MR. SAENZ:      That's good enough.

3               Q.      (BY MS. HEBERT)         Who is representing Bexar

4          County and Defendant Molina in this case.

5               A.      Okay.

6               Q.      So just usual stipulations, you're here, that

7          means you're waiving any defects in your deposition

8          notice.

9                               Before we go on today, I want to go over

10         a couple of housekeeping rules.               Have you ever been

11         deposed before?

12              A.      I have not.

13              Q.      Okay.     So you understand that you are under

14         oath today?

15              A.      I do.

16              Q.      And you understand that's the same oath that

17         you would take as if you were in the courtroom

18         testifying for before a judge?

19              A.      I do.

20              Q.      Okay.     It's important that we have a clear

21         record today.         Donna is going to take down everything I

22         say and everything you say, and that means that we need

23         to have clear verbal answers on the record.                    So please

24         don't shake your head.            Nodding or shaking your head is

25         just not captured by the record, and we try to avoid

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     Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 7 of 366




                                                                                 Page 6

1          things like "uh-huh" or "huh-huh."                So we'll try to say

2          yes or no, just so it's clear for Donna.

3               A.      Okay.

4               Q.      If you don't understand a question, please let

5          me know.

6                               Can we agree to that?

7               A.      I understand, yes.

8               Q.      And if you answer a question, I'm going to

9          assume you understood what I was saying.                   Is that fair?

10              A.      That's fair.

11              Q.      Okay.     Similarly, let's try to not interrupt

12         each other.        Please don't start answering a question

13         until I have finished asking it, and vice versa, I'll

14         try not to interrupt you when you're answering a

15         question with the next question.                I know that it's not

16         a natural conversation because it kind of usually ebbs

17         and flows, but we will both do our best.                   And if Donna

18         thinks we're doing a bad job, she will let us know, I'm

19         sure.

20              A.      I agree.

21              Q.      If you do not know the answer to a question,

22         it is okay for you to say so.

23              A.      Okay.

24              Q.      And the other attorneys here, Hector and

25         Stephen, may state an objection on the record, but that

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                                                                                 Page 7

1          doesn't mean that you should not answer.                   It's just

2          they are looking to preserve the objection so if we try

3          to use your answer later down the line, they can argue

4          to the judge that the form of the question was

5          improper, the question was improper.

6                               Does that make sense?

7               A.      Yes.

8               Q.      Okay.     If you would like to take a break, use

9          the restroom, get a drink, get lunch, just ask.                        For

10         the most part, this is going to be an informal,

11         relatively informal conversation, so feel free to, you

12         know, shout.         The only thing I would ask you to do is

13         to finish answering a particular question before we

14         take a break.

15              A.      Sounds good.

16              Q.      And if there is something that I have asked

17         that you don't understand, feel free to ask me to

18         rephrase it.

19              A.      Of course.

20              Q.      We're going to look at some documents today.

21              A.      Okay.

22              Q.      It's your right to look at that document in

23         its entirety.         I'm not trying to trick you, I'm not

24         trying to rush you.           I may point you to some specific

25         parts of the document to ask questions, but if you want

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                                                                                   Page 8

1          to take time to review a whole document, we can take a

2          break and you can review the whole thing.                       That is your

3          right.

4                 A.      Okay.

5                 Q.      Is there any reason that you're not able to

6          give your full and best testimony today?

7                 A.      No.

8                 Q.      Okay.     And would it be fair for plaintiff's

9          attorneys to rely on your testimony at trial?

10                A.      Of course.

11                Q.      Okay.     Are you generally clearheaded to

12         testify today?

13                A.      Yes.

14                Q.      You haven't taken any impairment medication?

15                A.      No.

16                Q.      You haven't had any alcohol this morning?

17                A.      No.

18                Q.      Did you prepare a report?

19                A.      I did.

20                Q.      And I see that you brought a document with

21         you?

22                A.      I have.

23                Q.      What is that document?

24                A.      It is the report.         However, I have reviewed it

25         this morning.           There are a few typographical errors

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                                                                             Page 9

1      that I want to make you aware of.

2           Q.      Sure.

3           A.      Other than that, you know, it's a complete

4      report.

5           Q.      And if there are errors in the report that you

6      want to just note as we go along, feel free to just

7      shout.

8                           So I'm going to introduce your -- your --

9      the version of your report that you brought as an

10     exhibit.

11                          MS. HEBERT:      Could you put an exhibit

12     sticker on that?          So whatever is -- 110.

13                          MR. BARRON:      110.

14                          (Exhibit 110 marked)

15          Q.      (BY MS. HEBERT)         Are there any notes on this

16     version of the report?

17          A.      Let me see if I may have -- I don't believe

18     there are.

19                          (Discussion off the record)

20                          THE WITNESS:      Yes, there is one

21     correction written on this report.

22          Q.      (BY MS. HEBERT)         Sure.    We will just --

23     because you brought it with you, we're going to put an

24     exhibit sticker on it.            I'm probably just going to just

25     give you a clean version of your report so we all know

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                                                                        Page 10

1      that we're looking at the same thing.

2                           I have been known to lose pages of

3      documents because I don't have a stapler at my desk.

4                           MR. BARRON:      I can get you a stapler.

5                           MS. HEBERT:      Well, at my desk in the

6      office.

7                           MR. BARRON:      Oh, okay.

8           Q.      (BY MS. HEBERT)         So we're just going to --

9      Mr. Haston, we're just --

10          A.      I'm listening.

11          Q.      We're just going to put an exhibit sticker on

12     that one and you can hand it to Donna.

13          A.      Okay.     Are you going to give me a different

14     report?

15          Q.      Yeah, we're just going to give you the clean

16     version.

17          A.      Okay.     So just so I don't forget later --

18          Q.      Sure.

19          A.      -- the correction will be on page 17.

20          Q.      Excellent.

21          A.      It will be the first line.

22          Q.      Okay.

23          A.      And it will be where Scott -- Schott -- I

24     mispronounce his name a lot -- Schott overtook the Ford

25     truck, at which time the left contour line was

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 12 of 366




                                                                        Page 11

1      completely over the broken white line.                  That is

2      incorrect.       That should be the right contour line.

3           Q.      Oh, okay.

4           A.      So that's the only error that I see.

5           Q.      Sure.

6           A.      I just wanted to note that before you give

7      me --

8           Q.      And just so you know, that will be scanned in.

9           A.      Okay.

10          Q.      And you will have a copy of it.

11          A.      Okay, good.

12          Q.      Okay, so that will be 110.             I will leave that

13     for Donna.

14                          (Exhibit 111 marked)

15          Q.      So we're going to hand you an exhibit that's

16     marked 111.        Take a second to review that.

17          A.      Okay.

18          Q.      Let me know when you're ready.

19          A.      I'm just going to make sure all of the page

20     numbers are correct.

21          Q.      Sure.

22          A.      It looks good.

23          Q.      All right.       So is this the report that you

24     prepared in this case?

25          A.      It is.

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                                                                        Page 12

1           Q.      And does this report contain the opinions that

2      you intend to testify about at trial in this case?

3           A.      It is.

4           Q.      Does this report contain all of the opinions

5      that you intend to testify about at trial in this case?

6           A.      Yes, unless there is something else that comes

7      up --

8           Q.      Okay.

9           A.      -- that I might need to readdress or amend my

10     report.      But at this time, yes.

11          Q.      And what kind of things would cause you to

12     amend your report?

13          A.      Oh, I don't know.         Being in law enforcement,

14     you know, I may learn things here today that I wasn't

15     aware of from, you know, things that I have been

16     provided to review.

17          Q.      Sure.     I guess, then, before writing this

18     report, did you have an opportunity to review all of

19     the evidence you wanted to review before offering an

20     opinion?

21          A.      I did.

22          Q.      Okay.     Did you have an opportunity to ask

23     Defendant Babb's counsel for additional data?

24          A.      I did.

25          Q.      Did you have an opportunity to ask for

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 14 of 366




                                                                        Page 13

1      additional evidence?           That can be different, depending

2      on what's going on.

3           A.      I did, yes.

4           Q.      And did you ask for additional data or

5      additional evidence?

6           A.      I did, actually, throughout this.                I asked for

7      policies from Bexar County Sheriff's Office to review

8      those.

9           Q.      And did you get everything you asked for from

10     defendant's attorney?

11          A.      I did.

12          Q.      Okay.     Did you have an opportunity to do any

13     testing that you wanted to do?

14          A.      I did.

15          Q.      And as we sit here today, do you have any

16     plans to revise or supplement your report?

17          A.      As of right now, no.

18          Q.      Okay.     We're going to hand you another

19     exhibit.

20          A.      Okay.

21          Q.      Exhibit F from our stuff, we're going to mark

22     this Exhibit 112.

23                          (Exhibit 112 marked)

24          Q.      We started, obviously, with Exhibit 110.

25     That's just because we continue through all of the

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 15 of 366




                                                                        Page 14

1      depositions.

2           A.      That's cool.

3           Q.      I'm handing you what's marked 112.                Do you

4      know what this document is?

5           A.      Yes, it's my CV.

6           Q.      And I -- I guess I want to start at the top.

7      There is a header that says "Subject Matter Expert

8      Testimony Specialist and Consultant."

9                           Do you see that?

10          A.      I do.

11          Q.      How long have you been working as a

12     consultant?

13          A.      This is my first case.

14          Q.      Okay.     So when did you start working as a

15     consultant?

16          A.      I guess this would have been maybe, what,

17     October -- I believe October when I received this, or

18     November.       I can't remember exactly.

19          Q.      So October of 2024?

20          A.      2024, yes.       It's '25, so it's -- I have to get

21     used to changing the '24 to the '25, I guess.

22          Q.      Yeah, me too.        I'm not there.        I wrote '24

23     just yesterday.

24                          So what do you do as a consultant?

25          A.      I evaluate a case, particularly this case, I

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6      Filed 02/07/25   Page 16 of 366




                                                                          Page 15

1      have been asked to evaluate regarding narcotic matters,

2      narcotic enforcement, which is my specialty.

3             Q.      Okay.     So have you ever been asked to evaluate

4      a case as an expert before?

5             A.      Not in a civil case.

6             Q.      Sure.

7             A.      I have testified on many occasions in criminal

8      court as an expert witness.

9             Q.      And those times that you testified in criminal

10     cases, were you involved with those criminal cases?

11            A.      I was not.

12            Q.      So were you retained as an outside expert to

13     offer an opinion about an event?

14            A.      Not necessarily retained, but subpoenaed.

15            Q.      Subpoenaed?

16            A.      To come to court, yes.

17            Q.      And when you were subpoenaed, who subpoenaed

18     you?

19            A.      Most of the time it was the district attorney

20     or the county attorney's office.

21            Q.      Did you ever testify on behalf of a defendant

22     in a criminal case?

23            A.      Well, in a criminal case, it's not necessarily

24     testifying on the behalf of a defendant or the behalf

25     of an officer.           It's similar to the civil case that I

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 17 of 366




                                                                        Page 16

1      see here.       You know, they asked me to come in and to

2      give an opinion on, you know, matters revolving around

3      that case.

4                           So both defendants and prosecutors are

5      allowed to question me in court, you know, to support

6      their position, you know, for me to help clarify what

7      happened during that case.             So it's really no different

8      than a civil case.

9           Q.      Understood.       And when you testify in a

10     criminal case, who usually pays you for that time?

11          A.      You're just paid by your agency.

12          Q.      Okay.

13          A.      Yeah.     It's -- most of the time, you're

14     just -- you're on duty, so you're paid by the agency.

15          Q.      Understood.       So when you've testified in a

16     criminal case, were you -- or when you had previously

17     testified in criminal cases, were you employed at the

18     Williamson County Sheriff's Office during that time?

19          A.      Yes.

20          Q.      Okay.     So since -- and you're no longer with

21     the Williamson County Sheriff's Office, correct?

22          A.      I'm retired.

23          Q.      Okay.     So since leaving the Williamson County

24     Sheriff's Office, have you testified in a criminal

25     case?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 18 of 366




                                                                        Page 17

1           A.      I have not.

2           Q.      Okay.

3           A.      No, I have not.

4           Q.      And --

5           A.      Well, yes, I have.          I'm sorry.

6           Q.      It's okay.

7           A.      I actually was just subpoenaed to court within

8      the last six months, I believe, surprisingly.

9           Q.      And have you testified yet in that case?

10          A.      Yes, actually, from 24 years ago.

11          Q.      Okay.     And --

12          A.      So believe it or not, I was surprised.

13          Q.      And what was that case -- what was that case

14     about?

15          A.      It was -- it was a drug trafficking case where

16     I had arrested a guy for, you know, a lot of drugs and

17     he had gone to prison.            I think he served his sentence

18     and now he's contesting his representation by an

19     attorney who has now been arrested because I guess he's

20     gone corrupt, and so I was pulled back into court to

21     testify for that case involving his counsel and, you

22     know, whatever was going on with that.

23          Q.      So you had specific factual knowledge about

24     that particular case; is that correct?

25          A.      Well, yeah, from 24 years before that.                   I

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25    Page 19 of 366




                                                                         Page 18

1      didn't remember very much.

2           Q.      Understood.

3           A.      Yeah.

4           Q.      So can you give me a rough estimate, how many

5      times would you estimate that you have testified in

6      court?

7           A.      More than 50.

8           Q.      Okay, got it.        And every one of those 50 has

9      been a criminal case thus far?

10          A.      Yes, ma'am.

11          Q.      Fair to say, then, this is your first case as

12     a consultant expert?

13          A.      In a civil case, yes.           But there's always a

14     first, right?         You've got to start somewhere.

15          Q.      Agreed.

16                          So I want to just look at your experience

17     with --

18          A.      Sure.

19          Q.      -- the Williamson County Sheriff's Office.

20     How long did -- your last role was commander of the --

21     of the criminal investigations division; is that

22     correct?

23          A.      That's correct.

24          Q.      And how long did you work in that role?

25          A.      That was a short period of time.                 That was

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 20 of 366




                                                                        Page 19

1      less than a year before I retired.

2           Q.      Okay.     And so then when exactly did you leave

3      the Williamson County Sheriff's Office?

4           A.      December of 2020, I believe it was.

5           Q.      Okay.     And since December of 2020, it's now

6      the beginning of 2025, what have you been doing in the

7      last four some-odd years?

8           A.      Fishing.

9           Q.      What kind of fishing do you do?

10          A.      Crappie fishing.

11          Q.      Okay.

12          A.      No, actually now what I do for -- you know, I

13     work with an auction company, Gaston and Sheehan

14     auction company out of Pflugerville.

15          Q.      Okay.     That -- what is an auction company?

16     I'm sorry.       I have no idea, actually.

17          A.      Sure, yeah.       So it's -- it's where assets are

18     liquidated, like the city of Austin.                 We have the city

19     of Austin contract where we sell everything that they

20     need to get rid of, you know, be it stolen property --

21          Q.      So are you like an auctioneer?

22          A.      Well, I'm actually more -- I go and get the

23     contracts, you know, with companies to sell online with

24     Gaston and Sheehan auction company.

25                          THE REPORTER:       With what?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 21 of 366




                                                                        Page 20

1                          THE WITNESS:       With Gaston and Sheehan

2      auction company.          And we have the US Marshals contract,

3      so we sell everything seized by the DEA and FBI in the

4      nation on the jewelry contract.               We also sell cars for

5      wrecker companies when people don't pick up their car,

6      then they have a right to sell the car to recover their

7      fees.      That's primarily what I do is I get contracts

8      for wrecker companies to sell their cars online.                      And

9      we sell about 12,000 of those a year, just impound

10     cars.

11          Q.      (BY MS. HEBERT)         And who are the people who

12     you are contracting with?

13          A.      Gaston and Sheehan auction company.

14          Q.      No, no.      I guess like --

15          A.      Oh, you mean the customers?

16          Q.      Yeah, like who are the clients, I guess?

17          A.      Well, here in town, we have the city of

18     Austin.

19          Q.      So anything that the city of Austin seizes or

20     it's like lost and found?

21          A.      No, it's like their fleet.             You know,

22     everything.

23          Q.      Oh, okay.

24          A.      It could be stuff from the airport that they

25     take from TSA checkpoints, it's vehicles that are

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25     Page 22 of 366




                                                                          Page 21

1      seized, you know, as part of investigations, fleet,

2      fire trucks, ambulances, police cars.                 It's --

3      everything that they need to get rid of, we sell it.

4      That's one.

5                          Government agencies, bankruptcies, so

6      companies that go out -- go out of business, we

7      liquidate that to recover money for the bankruptcy

8      court.      The wrecker companies, the towing companies,

9      majority of the companies in Austin, we sell the cars

10     for them that people don't pick up.

11          Q.      What's the weirdest thing you've ever sold?

12          A.      Well, it's funny, someone asked me that

13     question the other day.            So I just went to McAllen to

14     one of the federal offices and picked up Johnny 5.                        Do

15     you know who he is?           All you guys are young, right.

16                         MS. HEBERT:       Do you know, Stephen?

17                         MR. BARRON:       No.

18                         THE WITNESS:       Johnny 5 is a robot that

19     they -- in the movie Short Circuit and it was part of

20     an investigation that FBI had done and they seized it

21     as part of this white collar case.                So I went and

22     picked Johnny 5 up here last year, so that's

23     interesting.

24                         Art, we sell a lot of art.                We sell, you

25     know, a movie poster that Leonardo DiCaprio had and it

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 23 of 366




                                                                        Page 22

1      was sold to a white collar group that the FBI had done

2      and it sold for like $1.1 million.                Right now, we have

3      a lot of Pokemon cards on auction, where youngsters,

4      you know, that know about -- maybe your age, that know

5      about Pokemon cards and, you know, they are going for

6      thousands of dollars online right now.                  So it's

7      unbelievable what we sell.

8           Q.      (BY MS. HEBERT)         So would you say that most of

9      the things that you're selling come from government

10     agencies?

11          A.      A lot.     Let's say a lot of it.           That's just

12     one aspect of the business.

13          Q.      Okay.

14          A.      Yeah.

15          Q.      That's cool.        I have not heard of that before.

16                          When did you start doing the auction

17     business?

18          A.      When I left the -- when I retired from the

19     sheriff's office in 2020, I started to do that.

20          Q.      Okay.     So by my count -- and I'm notoriously

21     bad about this, so correct me if I'm wrong -- you

22     worked for the Williamson County Sheriff's Office for

23     23 years; is that right?

24          A.      Yes, since 1997.

25          Q.      Okay.     And there are a bunch of roles listed

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 24 of 366




                                                                        Page 23

1      on pages 1, 2 and 3 in your CV.               Are those roles all

2      from working at the Williamson County Sheriff's Office?

3           A.      What's unique about that, and the reason

4      there's such detail in that, is -- it's related to why

5      I'm here today, actually -- I was recruited to go to

6      the sheriff's office to be an interdiction officer, to

7      work interdiction cases.

8                          The Williamson County Sheriff's Office

9      was cooperating -- or they were part of a task force

10     through the Governor's office, so there were like 43

11     task forces or so in the state.               They needed an

12     interdiction guy to come over and to work interdiction

13     cases, so they recruited me from Round Rock PD and

14     said, "Hey, we have an interdiction position, we will

15     give you a car, seven counties to work in and all you

16     need to do is go find Mexican drug smugglers."                        So

17     that's how I ended up at the sheriff's office.

18                         The roles that I had during that time was

19     obviously an interdiction officer with the sheriff's

20     office assigned to the Capital Area Narcotics Task

21     Force.      Later, I became an undercover officer, again,

22     with the Capital Area Narcotics Task Force, and then I

23     was reassigned to the United States Department of

24     Justice Drug Enforcement Administration -- the DEA, as

25     people commonly know it -- as a task force officer

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6      Filed 02/07/25   Page 25 of 366




                                                                      Page 24

1      federally deputized at DEA.

2                        At that point, I worked, again, a lot of

3      undercover, criminal interdiction on public

4      transportation, Amtrak, Greyhound buses, Mexican buses.

5      I did a lot of conspiracy investigations, you know,

6      leading to North and South America, everywhere in the

7      country.

8                        From that point, I was then reassigned

9      back to the sheriff's office, a short stint in CID as a

10     properties crime detective, and then new administration

11     came into office and I went back to the narcotic unit

12     to build up -- to help increase the size of the

13     narcotic unit at the sheriff's office itself.

14                       So then I spent many years there,

15     promoted to sergeant, became the supervisor of the unit

16     until a new administration came in in 2016 and then

17     then I moved to patrol or traffic.              So now I'm back in

18     uniform after I don't know how many years, wearing a

19     badge and a gun and a car with computers that I need to

20     learn how to use and, you know, how to cut video

21     cameras on in that particular car because they had

22     gotten so much better.

23                       From that point, I went through the

24     promotional process and became a lieutenant where I

25     went to working nights as a patrol lieutenant,

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                                                                        Page 25

1      supervising sergeants and deputies on the street, and

2      then I was appointed as commander of criminal

3      investigations during my last year there.

4                          But that's basically what you're seeing

5      in that CV.

6           Q.      Okay, thank you.

7           A.      Yes, of course.

8           Q.      That's super helpful.           So how did you become

9      an interdiction guy?

10          A.      I was in Crockett, Texas in the early '90s

11     when interdiction was really in its infancy stages.

12     And at Crockett Police Department, there were several

13     federal housing projects there with a lot of open air

14     drug market, so really it was a lot of drug crimes.                      So

15     my interest in working drug crimes came from Crockett,

16     Texas, a small town.

17                         And this interdiction thing came about to

18     where officers were seizing large quantities of drugs

19     in the trunks of cars, you know, that they just put 100

20     pounds of drugs in a trunk and drive down the highway.

21     And that interested me, so I started going to training,

22     started going to schools and learning more about it.

23                         And then I took that training and

24     realized that Crockett, being a dry county, Houston

25     County, having a lot of housing projects, they had an

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6      Filed 02/07/25    Page 27 of 366




                                                                       Page 26

1      alcohol problem, actually, because it was a dry county.

2      So my first interdiction stop was not drugs, but it was

3      bootlegging.

4                        THE REPORTER:        It was what?

5                        THE WITNESS:       Bootlegging.

6                        THE REPORTER:        Oh, okay.

7                        THE WITNESS:       Yeah.     So my first actual

8      stop for criminal interdiction was a load of alcohol

9      going to the projects to be sold individually without a

10     TABC license.

11                       So from that point forward, you know,

12     there really wasn't a lot of Mexican drug smuggling

13     going to Crockett.        A lot of small drugs.             So I learned

14     this trade of interdiction from user amounts, midlevel

15     amounts of drugs until I came to Round Rock Police

16     Department in 1995.

17                       At that point, I had a major highway,

18     that being Interstate 35, and then I took all of the

19     knowledge that I learned from East Texas and I put it

20     to work on I-35 with Mexican drug smugglers.

21                       At that point, I started getting large

22     loads of drugs on Interstate 35.              I learned more about

23     it the more I interviewed the people in the cars and I

24     gained the interest for how the drug trafficking world

25     worked.    You know, instead of just stopping the car, I

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 28 of 366




                                                                        Page 27

1      learned more about how -- you know, the operations of

2      the cartels.

3                           So that's -- that's -- in a nutshell,

4      that's how I got involved in interdiction.

5           Q.      That's helpful.

6                           So it sounds like, to me, at the Crockett

7      Police Department, you were there in the mid-'90s; is

8      that fair?

9           A.      Early to mid-'90s, yes.

10          Q.      Early to mid-'90s?

11          A.      Yeah, mid-'90s, probably mid-'90s.

12          Q.      You kind of developed an interest in

13     interdiction; is that correct?

14          A.      I did.

15          Q.      And then it sounds like when you worked for

16     the Round Rock Police Department you did traffic stops;

17     is that correct?

18          A.      I did.

19          Q.      And you started doing more interdiction?

20          A.      I did.

21          Q.      Okay.     And then after that is when you went to

22     the Williamson County Sheriff's Office?

23          A.      I was employed by Williamson County, assigned

24     to the Capital Area Narcotics Task Force.

25          Q.      Sure.     What did you do at the Capital Area

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 29 of 366




                                                                        Page 28

1      Narcotics Task Force?

2           A.      Criminal interdiction.

3           Q.      So what did it look like there?

4           A.      It was a task force that we -- we had seven

5      counties that we were responsible for.

6           Q.      Can you -- can you list off those counties?

7           A.      Sure, absolutely.         Obviously Travis County.

8           Q.      Sure.

9           A.      Williamson County, Hays County, Bastrop

10     County, Lee County, Caldwell County and Fayette County.

11     So my responsibility was to work criminal interdiction,

12     look for drug smugglers on any of the routes going

13     through those counties.

14                          In addition to that, I was an officer

15     that would be called to help the investigative side of

16     the task force by stopping cars that they had under

17     investigation or that they needed stopped because they

18     knew they had drugs in them or they just needed people

19     identified as part of that investigation.

20          Q.      Okay.     And how many officers did you have as

21     part of that task force?

22          A.      I don't recall.         I don't know -- well, this

23     won't answer that.          Each county had at least one

24     representative.         That's how they were part of the task

25     force.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 30 of 366




                                                                        Page 29

1           Q.      So you had at least six folks?

2           A.      Well, seven, there was at least seven, and the

3      then the interdiction guy, that's eight, another

4      interdiction, nine, the commander was from the Texas

5      Department of Public Safety, that's operated through

6      DPS, so there's the commander.               That's ten.       Roughly --

7      roughly ten in that particular time.

8           Q.      Okay, thank you.

9           A.      Uh-huh.

10          Q.      And these other roles, the DEA task force, did

11     you do traffic stops in that role?

12          A.      No.

13          Q.      Okay.     And then the detective of narcotic

14     enforcement, did you do traffic stops in that role?

15          A.      Sometimes.

16          Q.      How often?

17          A.      At the time the unit was -- was small.                   We

18     didn't have a lot of undercover guys or guys to really

19     do big investigative cases.              So during slow times, we

20     purchased a police Tahoe and we would go out and work

21     in uniform doing interdiction for drug smugglers.

22          Q.      But that was not your -- was that your

23     daily -- daily activity?

24          A.      It varied.       It just depended upon how busy we

25     were on the other side of the house, right.                    So I did a

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 31 of 366




                                                                        Page 30

1      lot of it.

2           Q.      And excuse my ignorance.            What do you mean by

3      "the other side of the house"?

4           A.      The investigative side.

5           Q.      What does the investigative side look like?

6           A.      Investigative side is where they develop

7      informants, they use informants to develop probable

8      cause to -- you know, to get a search warrant and to,

9      you know, search houses.

10          Q.      Got it.      And in your sergeant of special

11     operations role, did you do traffic stops?

12          A.      At times I would because as part of the

13     sergeant in the narcotic unit, I was developing a new

14     criminal interdiction unit for the sheriff's office.

15     So, yes, I did have to recruit and train new guys in

16     the unit to help them understand narcotics, understand

17     criminal interdiction and, you know, to follow the

18     policies and the procedures and the way we wanted them

19     to do interdiction.

20                          So, yes, I was heavily involved with

21     developing the criminal interdiction program as a

22     sergeant.

23          Q.      Okay.     And then as a patrol lieutenant, you

24     were out there doing traffic stops?

25          A.      I very rarely did traffic stops as a patrol

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 32 of 366




                                                                        Page 31

1      lieutenant.

2           Q.      As the assistant to the sheriff, did you do

3      traffic stops?

4           A.      Not at all.

5           Q.      Okay.     And then as the commander, did you do

6      traffic stops?

7           A.      Not at all.

8           Q.      Okay.     I'll come back to some of your criminal

9      interdiction work in a minute.               I just kind of want to

10     finish your resume.

11          A.      Sure.

12          Q.      Can you flip to the last page of your CV?                  I

13     actually don't know the difference between CV and

14     resume, so if I use the terms interchangeably, is that

15     okay?

16          A.      We are good, yes, ma'am.

17          Q.      So I want to take just a quick look at your

18     certifications.         Would it be fair to say this is a fair

19     summary of your certifications?

20          A.      Yeah, the majority of them.

21          Q.      Okay.     Would you say that these are the most

22     important certifications?

23          A.      Sure.

24          Q.      I have to ask you about one.

25          A.      Okay.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 33 of 366




                                                                        Page 32

1           Q.      Do you know which one I'm going to ask you

2      about?

3           A.      I do not.

4           Q.      The investigative hypnotist certification.

5           A.      Okay, yes, ma'am.

6           Q.      This is like --

7                          MS. HEBERT:       You will just have to humor

8      me, Stephen, for like a second.               I have never seen that

9      before.

10          Q.      (BY MS. HEBERT)         What is an investigative

11     hypnotist?

12          A.      So there are times where there may be a victim

13     of a crime, right, or a witness to a crime.                    I'll give

14     you an example.         You are at a 7-Eleven and you're not

15     thinking anything, you walk in, you go and get your --

16     you know, your water, you go to the counter and once

17     you get your water, you're walking out and then some

18     guy rushes in or rushes out and kind of bumps into you

19     and you don't think anything about it, but you looked

20     at them and made eye contact with them.

21                         And then you go about your merry way,

22     right.      You may have walked out and you looked at the

23     car that he got out of and you may have, you know,

24     really not paid attention to it, but you made an effort

25     to go, "Oh, that guy drives, you know, an F-150

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6      Filed 02/07/25     Page 34 of 366




                                                                        Page 33

1      pickup."

2                        Well, then you find out that the 7-Eleven

3      was robbed and you come forward to the police and you

4      say, "Hey, you know, it's odd, but I was at that store

5      during that timeframe and I saw this guy rush in or

6      rush out, they bumped into me, you know, and I saw

7      their car, but, you know, I don't remember anything

8      about it.     It just went into my subconscious memory and

9      I don't know anything."

10                       An investigative hypnotist can actually

11     hypnotize that witness and then bring that information

12     from the subconscious into basically the conscious mind

13     so they can actually see that license plate that's been

14     stored in their subconscious mind.              And then they will

15     actually, a lot of times, be able to say -- from

16     visually seeing it in their subconscious mind, they

17     will be able to say what that license plate number is,

18     even though they didn't really look at it and remember

19     it.   So that's what that is about.

20                       I went to school.         That was put on by the

21     Texas Department of Public Safety, the Texas Rangers,

22     who utilize hypnosis for this purpose and I became a

23     certified hypnotist for law enforcement.                    I did it

24     during the time I was in narcotics as a detective.                      Not

25     that it was applicable to anything with narcotics, but

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 35 of 366




                                                                        Page 34

1      being that an investigate -- investigator cannot

2      hypnotize your own witness, right, so you needed

3      someone that was not associated with the -- with the

4      case, and that's why I went.

5                          I have a friend that was a detective in

6      CID that wanted to do it and said, "Hey, I want you to

7      go with me," and so I said, "Hey, that's cool, I've

8      never heard of it.          Let's go."       I didn't really believe

9      in it at that time.           I didn't know much about it until,

10     during the course, and I'm at home with my daughters

11     and the dog and I practiced on them.

12          Q.      I'm sure they loved that.

13          A.      And, of course, I videotaped it, you know,

14     because I love video cameras.              I mean, I have always

15     watched videos, used videos in my job, you know, so of

16     course I videotaped this deal and, you know, they --

17     out like a light.          It was unbelievable.          And I'm

18     like -- you know what, even the dog -- the dog was out,

19     and I'm like, "Wow, this stuff is cool."

20                         During the training, my partner that was

21     in CID, I watched him be a participant, you know, as an

22     example, and he was about six foot three, he weighed

23     about 150 pounds, good shape, and they actually

24     hypnotized him and had two people hold him, one at his

25     head or his shoulders and one at his feet, and he was

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 36 of 366




                                                                        Page 35

1      like a board for minutes, physically like a board with

2      just two people holding him while he was hypnotized.

3      That was an example.

4                           The other example is I watched the

5      instructor remove the letter L from someone's memory.

6      You know how you repeat the alphabet, ABCDEFGHIJKLMNOP,

7      right.      Well, they actually removed the L from his

8      mind.

9           Q.      Wow.

10          A.      And when he said that in saying the alphabet,

11     he never said L.

12          Q.      That's wild.

13          A.      So that being said --

14          Q.      So have you ever -- so I guess -- and I can

15     probably talk to you all day about this and it would be

16     really interesting --

17          A.      Sure.

18          Q.      -- so maybe we will have to do that.                But have

19     you ever used investigative hypnotism -- I'm not sure

20     if I'm saying that right -- hypnotism in a police

21     matter?

22          A.      I don't -- nothing sticks out.              I don't recall

23     anything specific at all.             I merely did it and

24     practiced it because they needed me to.                  I don't recall

25     anything specific to where they ever called me to

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 37 of 366




                                                                         Page 36

1      actually come in and do it in -- in a police matter,

2      no, but I did do it quite a bit, you know, in real life

3      scenarios.

4            Q.      Sure.     And this is an odd question that just

5      popped into my brain.             I didn't think about it --

6            A.      Of course.

7            Q.      -- kind of beforehand, so, you know, just bear

8      with me.

9                            Could you hypnotize Deputy Babb and see

10     what he saw?

11           A.      No.

12           Q.      Why is that?

13           A.      A person must commit to being hypnotized, a

14     person must want to be hypnotized.                 If you do not want

15     to be hypnotized, you will never go into the trance,

16     ever.

17           Q.      And so what makes you say that Deputy Babb

18     would not want to be hypnotized?

19           A.      I can't say that, obviously.             I'm not

20     in Deputy -- I don't know what Deputy -- his mindset

21     is.     I can't say, right?

22           Q.      Sure.

23           A.      I would just say that he would not typically

24     be someone that would be a candidate for hypnosis.

25           Q.      Okay, that's fair.          I was just curious, like

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 38 of 366




                                                                        Page 37

1      you were talking about a crime --

2           A.      Sure.

3           Q.      -- and what people could see.              I was just

4      curious whether you could hypnotize an officer and see

5      like what they saw.

6           A.      Not if they don't want to be.

7           Q.      Understood.       So if you fight it, it won't

8      work?

9           A.      No.     And if -- there are shows, you know, like

10     people that do this for entertainment, right, and

11     it's -- you can watch -- the first thing about hypnosis

12     is that you must want to be hypnotized.                  And when you

13     go to a show, let's say in Vegas, where a group of

14     people pay to go watch, you know, others get hypnotized

15     and, you know, they make them do -- they don't make

16     them, but they program them to do really silly things,

17     they pick their candidates from the audience and

18     that -- the first step is you must want to be

19     hypnotized.

20                          So they ask, "Hey, who wants to

21     participate?"         It's like, "Oh, oh, oh, ah, ah, ah." So

22     that's your -- automatically, you know that person is

23     susceptible to hypnosis because they want to be

24     hypnotized.

25          Q.      Understood.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25     Page 39 of 366




                                                                          Page 38

1           A.      Whereas other people, like you or I, are like,

2      no, you're not putting me under.                That's not happening.

3      So I personally do not believe that -- that it would be

4      good, I don't think.

5           Q.      Okay.     So you're trained as a -- as an

6      investigative hypnotist, but you have never used that

7      in a law enforcement capacity?

8           A.      No.

9           Q.      Got it.      Okay.    Sorry to have like a huge

10     sidebar.

11          A.      That's fine.

12          Q.      It's just absolutely fascinating to me.

13                          Can we look at the training section?

14          A.      Okay.

15          Q.      And, similarly, would you say this training

16     section provides kind of the list of topics you have

17     specialized training in?

18          A.      Yes.

19          Q.      So one question -- and I'm not trying to trick

20     you here, I'm not trying to be critical.                      I'm just kind

21     of trying to set the record straight.                 I don't see any

22     special certifications or training in accident

23     reconstruction.         Is that fair?

24          A.      That's fair.

25          Q.      Okay.     And I don't see any specialized

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25     Page 40 of 366




                                                                          Page 39

1      training in dash cameras.             Is that also fair?

2           A.      No, that isn't fair.

3           Q.      Okay.     So point it out to me.

4           A.      Yeah.     So let's see if it's in here.               It's not

5      in the CV.       However, it is in my report.

6           Q.      Okay.

7           A.      Yeah, it's not in the CV, but it is in my

8      report.

9           Q.      Sure.     And so I guess why didn't you put it on

10     your CV?

11          A.      It's something unique, right.              So it's -- this

12     case revolves around that, right, so digital evidence

13     of videotapes, things of that nature, law enforcement

14     uses it all the time.

15          Q.      Okay.

16          A.      You know, when you do a CV or a resume, that's

17     typically not -- there's many other training

18     certifications that I have, probably, you know,

19     hundreds of them that are not in here.

20          Q.      Okay.     Yeah, I'm not trying to trick you.                 I'm

21     just trying to understand.

22          A.      The mobile video instructor -- I'm a mobile

23     video instructor through the University of Houston

24     course that I have taken many years ago.                      That's one.

25     Digital evidence recovery is another course that I have

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 Case 5:23-cv-00706-OLG-RBF     Document 97-6      Filed 02/07/25   Page 41 of 366




                                                                       Page 40

1      taken.     That's another.        Obviously those are important.

2                         I guess since we're going down the video

3      route and you're questioning whether or not, you know,

4      it's important or I have knowledge with videos -- I

5      guess I'm going to date myself, okay, I was an officer

6      in 1994 who had some of the original video cameras

7      before anyone had them.           It was a Sony eight millimeter

8      digital camera -- not even digital, they had the tapes,

9      and a mount that fit on the dash in my old patrol car

10     and I used that camera in law enforcement.                   A lot of

11     cops didn't want to use them, but I had no problem

12     using a video camera.

13                        And it ultimately played in my favor

14     because I was on a traffic stop with a guy who was very

15     intoxicated one day and the video camera obviously

16     captured the scene as he's on the side of the passenger

17     side of the car with their standard in the movies, beer

18     cans fall out and clink everywhere and he's so

19     intoxicated he falls to the ground and hurts himself

20     and I can't even do a field sobriety right test on him.

21     I pick him up, dust him off, put him in the car.

22                        Unbeknownst to me, in that apartment

23     complex on the opposite side of the car was his family

24     who assumed that I had beat this man because he had

25     injuries and they actually filed a complaint with the

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 42 of 366




                                                                        Page 41

1      police department that I had violated this man's civil

2      rights, and that videotape saved me because it recorded

3      the entire incident.           So from that point forward, I

4      have always been interested in videotapes.

5           Q.      I understand.

6           A.      So part of --

7           Q.      And that makes sense that, you know, a video

8      recording can protect both the police and the public.

9      Is that fair?

10          A.      Well, that's fair, but I would like to

11     continue on with the other history that I have with

12     videos.

13          Q.      Sure.     And if you wouldn't mind, I'm going to

14     try to keep us from -- because we do have a time limit

15     on today --

16          A.      Sure.

17          Q.      -- so I'm going to try to like move us

18     forward.       And you mentioned this mobile video

19     instructor --

20          A.      Yes.

21          Q.      -- certification?

22          A.      Yes.

23          Q.      I think you mentioned the University of --

24          A.      Houston.

25          Q.      -- Houston?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 43 of 366




                                                                        Page 42

1           A.      Yes.

2           Q.      When did you obtain that certification?

3           A.      That was probably in like 1990 -- it was the

4      mid-1990s.

5           Q.      Okay.     And I think you mentioned a digital --

6           A.      Evidence recovery.

7           Q.      Evidence recovery.          Is that a course you took?

8           A.      Yes.

9           Q.      When did you take that course?

10          A.      That was probably in the early 2000s, maybe,

11     or somewhere in there.            I don't remember exactly.

12          Q.      And have you ever instructed folks in mobile

13     video?

14          A.      Yes.

15          Q.      And when was the last time you instructed

16     someone in that?

17          A.      Well, actually, it's -- it's -- you instruct

18     officers every day in mobile video and video cameras.

19          Q.      Sure.

20          A.      That's an important part of law enforcement

21     because that video camera is recording actions and

22     what's going on, right, and the placement of what's on

23     that video is important.

24                          What happens a lot of times with officers

25     is they -- they don't pay attention to that video.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 44 of 366




                                                                        Page 43

1      They are just -- they are out doing their job and they

2      are not paying attention.

3           Q.      When you say "that video," are you talking

4      about the video from their patrol car, the dash camera

5      from their patrol car?

6           A.      Correct.

7           Q.      Okay.

8           A.      It's -- when you have a video system in your

9      car, it's normal, right.             So when you pull someone

10     over, when an officer pulls someone over, they don't --

11     they really should be paying attention to the placement

12     of that video camera, right, but they don't.

13                          So part of this video instructor is to

14     teach them why that's important, to capture what's

15     happening on that scene.             So that's an ever-evolving

16     thing as a -- not only an interdiction guy, but as a

17     law enforcement trainer.             I've been an instructor since

18     1997 with criminal interdiction and it's always a

19     role --

20          Q.      Understood.

21          A.      -- in what I've instructed.             It's important.

22          Q.      Okay.

23          A.      So I have a lot of experience when it comes to

24     videos, training officers in videos, reviewing videos

25     from when -- when video started.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25    Page 45 of 366




                                                                         Page 44

1           Q.      Understood.       And so would you say the mobile

2      video instruction focuses on teaching officers how to

3      use their dash cams?

4           A.      The instruction -- the school for the

5      instructor school was to -- to go over the importance,

6      you know, to develop -- basically to teach that

7      curriculum to the officers on the video placement, the

8      importance of it, the way to either park or situate

9      patrol cars with the video cameras to be able to obtain

10     what they need to record for evidence purposes.

11                          So, yes, that's what the video instructor

12     school was about.

13          Q.      Got it.      Did it include also instruction on

14     body camera usage?

15          A.      There wasn't body cameras back then.

16          Q.      And since then, have you instructed officers

17     on how to use their body cameras?

18          A.      No.

19          Q.      Okay.     I'm going to talk a little bit about

20     criminal interdiction and the work that you've done

21     there.

22                          Can you define "criminal interdiction"?

23          A.      People really get hung up on this, right?

24     Every officer does criminal interdiction.                     If an

25     officer is in a patrol car and he stops anyone on a

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 46 of 366




                                                                        Page 45

1      traffic violation, he's doing criminal interdiction.

2      The only difference is some officers just write a

3      ticket, they don't pay attention to anything.                    Other

4      officers, they pay attention to the little things and

5      they say, "Something else may be going on here," so

6      they dig a little deeper in the traffic stop.                    That's

7      essentially what a criminal interdiction officer is, is

8      someone that just pays closer attention to the traffic

9      stop that he has made.

10                          There is no certain thing you're looking

11     for in criminal interdiction.              In my experience, I have

12     gotten U-Haul vans that are full of tires and wheels

13     that were just stolen from a brand new car lot where

14     they have left the cars on jacks, right, so that's a

15     criminal interdiction stop.              You know, even though it's

16     not drugs, I have stopped a theft organization, that's

17     criminal interdiction.

18                          I've gotten members of an organized

19     retail theft ring that travel Houston, Dallas,

20     San Antonio doing nothing but ripping off Dillard's and

21     Foley's, you know.          I've gotten just car loads and van

22     loads of brand new merchandise that still has the theft

23     detection tags, that's criminal interdiction.

24          Q.      Okay.     So when an officer works in criminal

25     interdiction capacity, what does success look like?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 47 of 366




                                                                        Page 46

1           A.      Success in criminal interdiction?                I guess I

2      don't understand what that question is.                  I mean, what

3      do you mean, success in criminal interdiction?

4      Obviously, those examples I just gave you are

5      successful, right?

6                           I managed to infiltrate a criminal

7      organization through the weakest link of a crime.                       The

8      weakest link of a crime is the transportation phase.

9      So everyone has to move around, everyone has to go from

10     point A to point B and criminals must use cars.

11                          So criminal interdiction, in a successful

12     criminal interdiction stop, is where a very

13     detail-oriented officer detects that that crime exists

14     instead of just writing a ticket and letting that

15     person go.

16          Q.      That's helpful.

17                          I guess relatedly, you've talked about a

18     lot of things that you've done in investigating the

19     crimes of narcotics.           You've been an undercover agent.

20     Is that the right word?

21          A.      Operative, whatever you want to say.                I've

22     been an undercover guy, how about that.

23          Q.      You've been an undercover guy?

24          A.      Yeah.

25          Q.      You've talked about robust investigations that

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 48 of 366




                                                                        Page 47

1      you've led.        Is that also fair?

2           A.      Sure.

3           Q.      What are the tactics, for lack of a better

4      word, that lead to the most success in stopping

5      criminal enterprises who are at large?

6           A.      In my experience?

7           Q.      Yes, sir.

8           A.      As a criminal interdiction officer, not as an

9      investigator?         I mean, which one do you want?

10          Q.      Either is fine.

11          A.      You just want --

12          Q.      I mean, or just -- like what are these tactics

13     to stop folks who are doing things like drug smuggling,

14     what are the -- what are the tactics that you typically

15     use to do that?

16          A.      Okay, so --

17          Q.      Assuming that, you know, traffic stops is one,

18     right?

19          A.      I see what you -- okay, let me -- I guess, let

20     me -- can I just talk about the drug industry as a

21     whole, how it operates and then how law enforcement

22     reacts to the --

23          Q.      Sure, if you can keep it relatively short

24     because we don't need to, you know, learn the entirety

25     of how the drug -- I mean, I'm sure it's complicated

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 49 of 366




                                                                        Page 48

1      how drugs --

2           A.      It's pretty simple.

3           Q.      -- are smuggled.         Okay, go ahead.

4           A.      Mexican cartels that import large quantities

5      of drugs into the United States have to get it from

6      Mexico to the United States.              They use people within

7      their organization to recruit smugglers, people to

8      drive the car.         These people are recruited at bars,

9      places that they are down on their luck and they are

10     drinking and they need money.              They say, "You can make

11     a quick $5,000, just drive a car."                That's how they

12     recruit the drivers.           The drivers are considered to be

13     mules.

14                         Okay.     The mule then says, "Yeah, I need

15     the money," they go to the Valley, typically from other

16     areas, or it could be from anywhere in the United

17     States, they get to the Mexican border, they are told

18     to pick up a car at -- most of the time at a public

19     place, H-E-B, Walmart, "This is the license plate

20     number, the color of the car."

21                         The driver gets there, they get in the

22     car and they drive it north.              They say, "Go to Dallas,

23     go to this hotel, leave the keys in the car and go to

24     this room."        That's a mule.        The mule knows nothing

25     about what's going on, other than he's driving that

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 50 of 366




                                                                        Page 49

1      car, and he knows that it's probably something illegal.

2                           Those guys are typically stopped a lot on

3      traffic stops, okay, committing a traffic violation for

4      something.       A lot of it was window tint, right.                  Law

5      enforcement did not -- they didn't enforce window tint

6      in a certain area, so they have cars that have

7      compartments smuggling drugs and the car has window

8      tint.      So officers somewhere else stop cars all day

9      long for window tint and they get stopped, but they

10     only get a ticket, they don't get searched.                    That's

11     because that officer doesn't look for anything other

12     than a ticket.         That cars makes it to the destination,

13     they drop the car off, they may or may not take the

14     money back to Mexico.

15                          That's how smuggling occurs, right.                You

16     know, you have somebody in charge, you have somebody

17     recruiting people, you have a driver and then you have

18     people on the other end who are taking the drugs and

19     distributing them somewhere else.

20          Q.      Okay.     So based on that summary, from your

21     experience, most of the drugs that come into the

22     country come from cars; is that correct?

23          A.      Well, no.

24          Q.      Okay.     Then --

25          A.      I mean, there's every form of transportation.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25     Page 51 of 366




                                                                          Page 50

1           Q.      Okay.

2           A.      Boats, trains, cars, on people.                  Yeah,

3      there's -- it comes in every form or fashion, but, yes

4      cars are utilized heavily in the drug trafficking

5      industry.

6           Q.      Okay.     So every -- but every form of

7      transportation?

8           A.      Yes.

9           Q.      And is it fair to say that drugs go from south

10     to north, then, generally?

11          A.      No.     I mean, related to Mexican drug

12     smuggling, yes.         But this whole new world of marijuana

13     being legalized in different states and growing

14     marijuana in Colorado and in California, it's reversed.

15          Q.      Okay.

16          A.      I mean, so you will have reversed.                  It's not,

17     you know, carte blanche, this is the way drugs go.

18          Q.      Okay.     And so we were talking a little bit

19     about tactics.         If that's how it works, what are the

20     most effective ways to stop drug smuggling?

21          A.      In the transportation phase.

22          Q.      And tell me a little bit more about what you

23     mean there.

24          A.      Criminal interdiction.

25          Q.      So -- and when you say criminal interdiction

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 52 of 366




                                                                         Page 51

1      in the transportation phase, are you referring to just

2      traffic stops?

3            A.      Any form of transportation.             Traffic stops,

4      trains, buses, airplane interdiction, hotel/motel

5      interdiction, package/parcel interdiction.                     There's

6      many, many ways to intercept it, but they are all the

7      transportation phase, which is why I said it's the

8      weakest link --

9            Q.      Understood.

10           A.      -- in criminal activity.

11           Q.      Okay.     So in conducting criminal interdiction

12     in the transportation phase, how do -- is the only way

13     to investigate a method of transportation to stop

14     someone on an airplane violation or a boat violation

15     and then search their mode of transportation, or are

16     there other tools in the toolkit?

17           A.      You mean for -- as a whole?

18           Q.      Yes, sir.

19           A.      There is obviously undercover work, right,

20     where I'm the undercover guy, I'm acting as I'm either

21     a buyer or a seller of a typical drug.                   In that

22     instance, you're trying to really climb the ladder, per

23     se.    The goal of law enforcement is not necessarily to

24     arrest one person who has, you know, an ounce of weed

25     on them or, you know, an eight ball of cocaine on them.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 53 of 366




                                                                        Page 52

1      That's not the goal, right.

2                          The goal is to target the people who are

3      infiltrating it into the country, right, that's the

4      goal.      The way you get to them is climb the ladder.                  So

5      if you picture a ladder, it's like -- the drug business

6      is just like any business.             You have a CEO and you have

7      everyone below, and the only way you get to the CEO is

8      you have to do investigations and you have to work your

9      way up that ladder through the people within that

10     organization to get to the big people.

11          Q.      Got it.

12          A.      That is your goal.          You do that through

13     undercover work, hand-to-hand buys, surveillance,

14     interdiction on traffic stops, Title 3 wire intercepts.

15     All of these things all work together to be able to get

16     to the higher level people or a whole cell of people

17     operating, not just the one guy with an eight ball.

18          Q.      Got it.      That's helpful.

19                         Okay.     I don't know -- and you can tell

20     me if this question doesn't make sense because I know

21     you only worked as the commander for the criminal

22     investigations unit for a year or so.                 But when you

23     were the commander, did you oversee the narcotics unit?

24          A.      I did.

25          Q.      And how many officers were in the narcotics

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 54 of 366




                                                                        Page 53

1      unit?

2           A.      There was an interdiction group that had two

3      interdiction guys in it.             There was an investigative

4      group that had -- I think they were up to eight or ten,

5      I believe.       As the commander, I had a lieutenant that

6      was over a sergeant, actually two sergeants, so I had

7      a -- I had a lieutenant and two sergeants that

8      supervised those groups.

9           Q.      Okay.     And so what were the narcotics officers

10     doing on a daily basis?

11          A.      Everything I just told you.

12          Q.      So that means undercover work --

13          A.      Surveillance.

14          Q.      Surveillance?

15          A.      Informants, developing informants to be able

16     to gain the information within the organizations.                     It

17     all works together, right?

18          Q.      Sure.

19          A.      It's all -- everyone has to do their job to go

20     after the entire network.

21          Q.      And were the narcotics officers that you

22     supervised, were they doing generic traffic stops, were

23     they out on the side of the road all day pulling people

24     over?

25          A.      Yes.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 55 of 366




                                                                        Page 54

1           Q.      Okay.     In addition to the other things that

2      they were doing?

3           A.      Yes, that particular group did, yes.

4           Q.      Okay.     And the criminal interdiction unit that

5      you oversaw, what did they do?

6           A.      They were stopping people all day long,

7      interdiction stops.

8           Q.      So they didn't do anything, really, other

9      than --

10          A.      Exclusive -- exclusive traffic stops.

11          Q.      Okay.     When you were supervising the criminal

12     interdiction unit, how did you evaluate the success of

13     the criminal interdiction unit?               I guess one of the

14     things that I'm thinking about here, just to be like

15     transparent, did you evaluate the number of traffic

16     stops to what they found?

17          A.      You can't do that.

18          Q.      Okay.     Tell me more.

19          A.      An officer -- you know, a police officer is

20     much like someone else -- I mean, it's much like being

21     an attorney, right?           So, you know, a police officer

22     goes to the academy, you learn the basic thing and you

23     go to work.        You figure out something specialized that

24     you like to do.         In this case, it's maybe criminal

25     interdiction.         There's this learning phase, right?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 56 of 366




                                                                        Page 55

1      Like I said, just like an attorney, I mean, you go to

2      law school, you come out, I mean, you don't learn until

3      you get in here, what you're doing, you know, or get

4      into court and try.           Not you, but attorneys as a whole,

5      right.

6                           And law enforcement is the same way.               So

7      these cops get out and they learn on duty, they learn

8      on the job and so they have to learn.                 So what you're

9      going to find, and this goes to your question about

10     traffic stops versus -- or searches versus the number

11     of stops.

12          Q.      Okay.

13          A.      An officer just learning interdiction is going

14     to search or ask for consent to search more cars than

15     an officer that's been doing it for a long time, and

16     the reason for that is he hasn't quite learned yet

17     everything he needs to know about the industry to be

18     able to eliminate a lot of the people who are just

19     traveling the highways and may have some stupid story

20     and it doesn't make sense to him.                Well, it may make

21     sense to somebody else, right?

22                          So that officer has to learn about that

23     and that officer is going to search more cars than

24     another officer.          So those statistics that I would look

25     at would also -- I would have to look at how long they

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 57 of 366




                                                                        Page 56

1      have been doing it.

2           Q.      Okay.

3           A.      Now, if you have an officer that's been doing

4      interdiction for years and he's searching half of the

5      cars that he's stopping, I have a problem I need to

6      address, right?

7           Q.      Understood.

8           A.      Because that's just not the right balance.

9      If -- my experience as an officer, I searched a lot of

10     cars as well, learning this business.                 But as I became

11     more experienced, I may stop 30 cars in a day and not

12     search anything, but that's because I had gained the

13     experience through things like body language, speech

14     patterns, you know, interview techniques and I

15     developed a roadside interview that I could talk to

16     people and determine basically within two minutes

17     whether I wanted to ask for consent to search or not.

18          Q.      Understood.

19          A.      So I hope that answers your question about --

20          Q.      It does.      It's helpful.        So I guess one of the

21     questions I have for you is, I guess, within the first

22     year of someone doing criminal interdiction, what is

23     the right balance of stops to search?                 What would --

24     what would be abnormal for you, as the supervisor,

25     looking at how many stops and searches an officer was

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 58 of 366




                                                                        Page 57

1      doing?

2           A.      When they searched everything, every car they

3      stopped.

4           Q.      Okay.     And then, I guess, more an intermediate

5      person who has had a couple of years doing it, what

6      would be the right balance?

7           A.      Half of the cars that they stop.

8           Q.      And then someone who is senior, what would you

9      expect there?

10          A.      I would expect them to be searching very few

11     cars that they stop.

12          Q.      Okay.

13                          MR. BARRON:      We have been going for an

14     hour.      Do you want to take just a five-minute break so

15     I can use the restroom?

16                          MS. HEBERT:      Yes, we can do that.

17                          (Recess from 10:10 a.m. to 10:24 a.m.)

18          Q.      (BY MS. HEBERT)         A couple of questions to kind

19     of follow up.         You talked about mules.           What -- what is

20     a mule?      Can you make that explicit for me?

21          A.      Sure.     It's a term that's been given to

22     someone -- a courier, someone driving the vehicle.                      You

23     know, they have no -- typically, they have no

24     investment in the drugs and -- or where they are going.

25     They are basically being paid to transport it.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 59 of 366




                                                                        Page 58

1           Q.      And you've had a lot of experience doing

2      criminal interdiction stuff.              What is the profile of a

3      mule?      What does -- what does the average mule look

4      like?

5           A.      The average mule is anybody that's breathing.

6                           THE REPORTER:       Breathing, you said,

7      right?

8                           MR. BARRON:      You might have to elaborate

9      on that.

10          Q.      (BY MS. HEBERT)         So you might have to explain

11     that a little bit.

12          A.      There is no profile of a mule.              It's anybody

13     that can drive a vehicle.

14          Q.      Okay.     And we have talked a lot about drug

15     smuggling.       Can you tell me a little bit about human

16     smuggling and how that works?

17          A.      Human smuggling is not something that was

18     really big back in the day.              That's something that's

19     really transpired more over the last, you know, I'd say

20     six, eight, ten years.            But it's no different than drug

21     smuggling, right, it's just they are smuggling people

22     instead of drugs.          Everything fits the same.

23                          The cartels in Mexico have learned that

24     smuggling people is very lucrative, so they will

25     smuggle people instead of drugs and/or drugs.                    You

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 60 of 366




                                                                        Page 59

1      know, I would, over the years, encounter human

2      smuggling and you typically knew it because you would

3      stop the car and as soon as you walked up to the car --

4      like on Interstate 10 one day, I was working in Fayette

5      County, and I stopped the vehicle, it was an SUV, I

6      believe it was a Ford Explorer, dark tinted windows,

7      right, and they pulled over for the violation of dark

8      tinted windows.

9                           I was -- as soon as I walked up to the

10     back of the vehicle, their foot stayed on the brake,

11     which police officers always pay attention to, and once

12     I got close enough, they took off.                So, of course, I go

13     back to the Tahoe, I get in, you know, it's a very

14     short -- not even a pursuit.              They just wanted to gain

15     some space, they ditched the vehicle, just drove over a

16     cliff, basically, hit some trees and they were -- oh,

17     man, if you watched the video on that, it was awesome.

18     They just kept coming out of the truck, you know, there

19     was like 13, 15 of them.             So that's a case of human

20     smuggling, you know, to where they are smuggling

21     people.

22          Q.      Okay.     So am I correct to understand that --

23     you said Mexican -- the Mexican nationals or the

24     Mexican cartel, that's the word you used, are they

25     smuggling -- is human smuggling going from south to

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 61 of 366




                                                                        Page 60

1      north, then?

2           A.      Yes, that is -- that is pretty much most of

3      the time.       You're not going to -- unless you're in

4      Canada, right, but we're not going to see that this far

5      down, typically.          But it's potentially -- I mean, it

6      happens in Canada and they come south, right?

7           Q.      Sure.

8           A.      Any international border, your smuggling is

9      going to be coming into the United States.

10          Q.      Got it.      And one thing that I think we didn't

11     quite finish before we took the restroom break was

12     talking about maybe your role in supervising the

13     criminal interdiction unit and I want to kind of go

14     back to that.

15                          What would you say is the -- the year

16     mark for a beginner in criminal interdiction?                    Zero to

17     one year, zero to two years, like at what point would

18     you consider someone a beginner?

19          A.      Once you're certified through the state as

20     being a peace officer, you're hired at the department

21     through the FTO process, your training process, all of

22     that.

23          Q.      FTO means?

24          A.      Oh, field training officer.             It's different

25     terminologies.         But -- so every agency should have some

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 62 of 366




                                                                        Page 61

1      form of training program, you know, in addition to the

2      police academy.

3           Q.      Sure.

4           A.      You know, you're with an officer -- typically

5      that program is for four months, right.                  You're with

6      another officer, riding with them, just exclusively

7      watching what they do.            And then, you know, the next

8      month you're allowed to do some of the activities, the

9      next month you're doing more of the activities than the

10     last month.        It's a ghost phase.          You're doing

11     everything and only being observed by that -- that

12     field training officer.            Once you pass that and you --

13     you can go on your own, but you're still under

14     probation as an officer, typically up to a year, before

15     you're really cut loose.

16                          So an interdiction guy with interest,

17     he's still learning how to be a cop, so he hasn't

18     really understood, you know, there's more to being a

19     cop and more to traffic stops.               So I would say, you

20     know, three years, a five-year officer is really at

21     that point to where they start understanding more about

22     it, you know.

23                          But, then again, it could be an officer

24     that, you know, he had knowledge of it before he went

25     to the police academy and that's all he ever wanted to

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 63 of 366




                                                                        Page 62

1      do was be an interdiction officer, so he went to the

2      policy academy for that purpose, so as soon as he gets

3      out of training.

4                           It's hard to answer that question.               You

5      know, it's just such an array of personalities and the

6      way officers are.

7           Q.      Understood.       But putting that exceptional

8      individual who just like knew from birth that they

9      wanted to be a criminal interdiction officer, would you

10     say a beginner criminal interdiction -- a beginner in

11     the criminal interdiction world is the zero to five

12     mark; is that fair, based on your summary?

13          A.      Probably, yes.

14          Q.      Okay.     And then an intermediate -- someone who

15     is going to practice intermediate criminal

16     interdiction, five to approximately what years?

17          A.      Well, it depends.         A person that is successful

18     at interdiction is someone that gets it, where they are

19     dedicated to training, I mean, so much that they go to

20     training on their own without the department even

21     sponsoring them.          They are looking, seeking, like a

22     sponge, this information.             That person makes a very

23     good interdiction officer.

24                          Typically, once they start getting loads

25     of drugs or people or merchandise, or whatever it is,

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 64 of 366




                                                                        Page 63

1      it kind of becomes this -- that's their addiction,

2      basically, to where they love it and they don't want to

3      do anything else.          They don't want to go take reports

4      for, you know, little Johnny's bicycle was stolen or,

5      you know, mom and dad are having an argument.

6                          So they want to do criminal interdiction,

7      so some of them last a long time.                I mean, them want to

8      do it forever.         I have seen guys that, actually, if

9      they were not doing criminal interdiction, they would

10     retire because that's what they love to do, and that's

11     for years.

12                         I mean, if you look at my history, I

13     mean, I spent more than 20 years in drugs, working drug

14     crimes because I love it, right.

15          Q.      And why do you love it?

16          A.      It's -- I have always been raised with morals

17     and I just don't like people to take advantage of other

18     people, and drugs do that.             Drugs take lives and drugs

19     harm kids and when kids get drugs, it hurts them and it

20     hurts families.         So I take it very personally.

21                         And, in fact, my grown grandchildren

22     have -- have run into this problem here recently, which

23     even supports my -- my mission and supports what I've

24     done even more.         You know, I've had three of my

25     grandkids in California, here within the last two

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 65 of 366




                                                                        Page 64

1      years, found a bag of gummies, all under the age of

2      five, and they all went unconscious and went to the

3      emergency room.

4           Q.      That's good to know.

5           A.      So, you know, it's personal to me and the fact

6      that my whole career has been to save children from

7      drugs.      That's my passion for drug enforcement.

8           Q.      So I guess one of the questions I have for you

9      is how do you not get discouraged?                There's a lot of --

10          A.      You know what, it's --

11          Q.      There's a lot -- just let me finish that one.

12          A.      Of course.

13          Q.      There's a lot of drugs out there in the world,

14     and would it be fair to say that there are stretches

15     where you don't stop smuggling, drug smuggling or even

16     human smuggling, so how do you stay positive?

17          A.      You're asking me what I think?

18          Q.      Yeah, and in general for the criminal

19     interdiction industry.

20          A.      Every officer -- that's what makes a good

21     interdiction officer, what we're talking about here.                       A

22     good interdiction officer is one that is at his best

23     when nothing is happening, you know, it's persistence,

24     you know.       This guy -- because the majority of the

25     time, you're not getting anything, you're not seizing

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 66 of 366




                                                                        Page 65

1      drugs, you're not seeing anything, you're not finding

2      anything.

3                          And if you're a person that's not easily

4      discouraged, you're a good interdiction guy.                    If -- if

5      you are discouraged or you become bored and it becomes

6      monotonous and it's just not doing it for me anymore, I

7      can't find it, then you don't make a good interdiction

8      officer.       And you will see that those guys will move to

9      something else without staying with interdiction.

10          Q.      I want to talk a little bit about reporting.

11     You've been in various capacities as a police officer.

12     Would you agree that reports generally are more

13     accurate if they are written the same day as an event,

14     generally?

15          A.      Yes.     And I would even go further to say that,

16     you know, with video cameras, they've become even more

17     important to help officers because --

18          Q.      The video -- sorry, just to clarify, the video

19     cameras have become more important or the reports have

20     become more important?

21          A.      Well, the video cameras and what's recorded

22     from the video helps the officer with his report

23     because an officer doesn't remember everything that

24     happens.       I mean, there's things that happen

25     subconsciously, kind of like the hypnosis, that, you

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 67 of 366




                                                                        Page 66

1      know, we all pick up on.             You know, we just don't know

2      that it's there.          It's not important right now, but

3      once you watch your videotape and you're writing your

4      report, then you go back and you say, "Oh, that's why

5      that guy that did that, you know, that's why this

6      happened, that's why that happened."                 And then it goes

7      into the report because it's important.                  So they play a

8      role with another.

9           Q.      Understood.       So would you -- as a supervisor,

10     would you expect your officers to, if possible, consult

11     their video, their body camera, their dash camera when

12     they are writing their report?

13          A.      In a case where a report is necessary, yes.

14          Q.      Okay.     And I guess that begs the question of

15     when is a report necessary?

16          A.      A report is necessary when someone is

17     arrested, obviously.           A report is necessary when

18     there's an investigation into something to where -- you

19     know, it's building blocks, you know, this pieces of

20     the puzzle is important for the next piece, you know.

21                          And like in an undercover case or in a

22     surveillance case, let's make a surveillance example,

23     you know, I get information on someone who may be

24     committing a crime, I go out, I conduct surveillance, I

25     watch the individual.            Documentation of what's going on

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25    Page 68 of 366




                                                                         Page 67

1      from the very basics of everything is an important --

2      is very important in a report.

3           Q.      Understood.

4           A.      Yes.

5           Q.      So I guess if an officer wrote a report after

6      a member of the public complained, would you have

7      questions about that report?

8           A.      Okay.     So help me understand, please.                 I

9      don't -- I guess I don't understand --

10          Q.      This is great because sometimes I ask bad

11     questions.

12          A.      Well, I mean, so the question, as I understand

13     it, is that would I have concerns about the report

14     being written after a complaint is filed.                     Okay, so

15     what -- there's different situations -- I mean, there's

16     different situations for that.               Do we want to use this

17     case as an example?

18          Q.      I mean, you can if you want to.

19          A.      Okay.

20          Q.      But you don't have to if there are other

21     examples you prefer to use.

22          A.      Well, with this particular investigation that

23     I've reviewed, it appears that Deputy Babb made a

24     traffic stop as part of an interdiction stop, he

25     searched the vehicle and he let the person go without

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6      Filed 02/07/25   Page 69 of 366




                                                                      Page 68

1      any charges.      In a nutshell, that's what this is about.

2                        I would not expect a report to be written

3      by anybody on a case or an example of that nature

4      because the existence of a CAD system, which is a

5      computer-aided dispatch system, right, there's call

6      modes, there's notes that an officer can type in that

7      may be relevant to something.            I've damaged a person's

8      car, right, you know, whatever it is.               You can put

9      those in CAD notes without writing a report.                  So, no, I

10     would not expect a report to be written in that case.

11                       Now, if a person were to complain, file a

12     lawsuit, as in this case, the supervisors are going to

13     tell that officer, "Hey, you need to write a report,

14     right, we've got litigation coming, you need to write a

15     report."

16                       The problem and the concerns, as you

17     asked that I would have with that, is the memory that

18     the officer had, how long ago was this, because the

19     officer, I would think, in my mind, in a situation like

20     this, would be thinking, "Man, I don't remember

21     anything about that stuff, right, I don't really know

22     what to put in that report because I don't even

23     remember this guy.        I make 30 stops a day.            You know, I

24     may remember it because the guy -- you know, I damaged

25     his vehicle or something, but, you know, I don't really

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6      Filed 02/07/25   Page 70 of 366




                                                                          Page 69

1      remember everything that happened."

2                             So no, I mean, it wouldn't be unusual.

3             Q.      Okay.     I guess one of the questions I have for

4      you on reporting, are you familiar with the term

5      "subsequent to prior knowledge"?

6             A.      No.

7             Q.      And --

8             A.      Only from reading the deposition.

9             Q.      Okay.

10            A.      Let me correct that.

11            Q.      So before reading the deposition, had you ever

12     heard of that as a phrase to use in reports?

13            A.      No.

14            Q.      In your experience, what were the most common

15     types of contraband smuggled in a car?

16            A.      Marijuana, cocaine, methamphetamine, heroin,

17     ecstasy, Valium, people and then the other things I

18     spoke about before, property -- you know, property

19     crime.

20            Q.      Okay.

21            A.      And then, of course, that's not even talking

22     about wanted people that are fleeing the country or

23     they have warrants and they exhibit a lot of same

24     things.        So that's another thing that could be in the

25     car.        It's contraband, you know, they are just wanted.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 71 of 366




                                                                        Page 70

1           Q.      Got it.      I don't know what Valium is.                What is

2      Valium?

3           A.      Diazepam is the real name.             It's for like if

4      you have a seizure, you know, it's just a sedative.                        It

5      calms -- it's a downer.

6           Q.      Okay.     What is -- these others, I kind of know

7      what they look like.           What does Valium look like?

8           A.      It's pill form.         It's like prescription pill

9      abuse.      But like in my experience, you know, I had a

10     traffic stop one day that had eight pounds of it, you

11     know, it was like 20,000 pills coming from Mexico.

12          Q.      So if someone has like a giant wrapped thing

13     of pills or a giant -- you know, several boxes of all

14     of these pills, you're going to ask questions.                        Is that

15     fair?

16          A.      Absolutely.

17          Q.      And Valium, X, those would be just things that

18     that are in pill form?

19          A.      Yes.

20          Q.      Okay.     For other things, I guess like

21     marijuana, how would you tell if something is

22     marijuana?

23          A.      How would you tell what?

24          Q.      How would you tell if something is marijuana?

25          A.      If it's marijuana, marijuana has a distinct

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 72 of 366




                                                                        Page 71

1      odor, you can smell it.            It has a distinct appearance

2      to it, right, green, you know, it -- the old Mexican

3      marijuana was green and leafy, had a lot of seeds,

4      compacted into bricks with the odor of marijuana.                     And

5      then you could take a field test kit and then you could

6      put it in a field test kit, see if it has a reaction.

7                           However, that didn't typically occur.

8      Very rarely does an officer field test marijuana.                     And

9      there's various reasons for that, but --

10          Q.      I mean, I probably am illustrating how much of

11     a square I am right now, so just like I am a square.

12     But how do you -- what are the -- why don't you field

13     test marijuana?

14          A.      Today?

15          Q.      Yeah.

16          A.      No one is prosecuting for it, right.                It's --

17     and there's such confliction in the law, right, you

18     know, now you have legalized and then you have

19     municipalities that are trying to legalize it against

20     state law, you know.

21                          So officers -- even though it's still

22     illegal in Texas, you know, typically it's not

23     prosecuted, so officers are not going to field test

24     marijuana.       Field test kits are expensive, believe it

25     or not, and they are not going to just, you know, waste

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 73 of 366




                                                                        Page 72

1      revenue on field test kits for something that's not

2      going to get prosecuted, in a nutshell.

3           Q.      So let's assume an officer thinks he found

4      marijuana.       What does he do?

5           A.      Depends on the amount.

6           Q.      Okay.     Tell me more.

7           A.      Let's say in order to be prosecuted for

8      marijuana, it must be a usable amount, okay.                    A usable

9      amount is something that you can actually take and put

10     it in a bong, light it with a lighter and inhale it or

11     in a joint and smoke it, and it needs a weight.                       It

12     need to be able to be weighed, right.                 If there's no

13     weight, then it's typically not a usable amount, so

14     therefore you cannot be prosecuted for it, so therefore

15     you won't field test it.

16                          And there's a term called shake, okay.

17     Shake is what -- jargon.             You know what jargon is,

18     police jargon?         Typically they call it shake.             It's

19     where a person may be rolling a joint in the front seat

20     of a car and some spills on the floorboard or

21     something, and it's just little particles of green,

22     leafy substance that appears to be marijuana, may smell

23     like -- the car may reek of marijuana, you know, a

24     reasonable officer can believe that what he's seeing in

25     the floorboard is shake or marijuana, but it's not

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 74 of 366




                                                                        Page 73

1      prosecutable because there's not enough there, it's not

2      usable.      So an officer is not going to field test that.

3           Q.      Okay.     And I guess there -- I cleaned my car

4      because my colleagues were driving in it because I had

5      a lot of -- my kids have been in the car over the

6      holiday break, so it was a wreck.                So it's clean right

7      now, but normally there's a lot of stuff on the

8      floorboards, Goldfish, whatever dirt the kids have been

9      rolling in, they are little.              How do you know what's --

10     what's dirt and what's schmutz, for lack of a better

11     descriptor, versus like shake?

12          A.      Shake is -- I mean, an experienced officer

13     that's seen a lot of marijuana, you know, maybe they

14     have been on search warrants in houses, you know, where

15     they have a tray, you know, where they are rolling

16     marijuana and, you know, an officer sees this over and

17     over and over again.           So there's a certain appearance

18     to what they call shake, just little green particles

19     that, I mean, you just become familiar with.

20                          So on interdiction stops, in my history,

21     I ran across it all the time.              You know, it would be

22     beside the -- the seat, you know, falling off of the

23     console, in the floorboard or, in some cases, I found

24     it in empty compartments in vehicles where it had been

25     smuggled before and then there's, you know, shake

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 75 of 366




                                                                         Page 74

1      residue in there where you can see the little green

2      particles.

3                           And so a totality of everything that

4      you've got going on, you know, you determine that it's

5      marijuana shake, right.             But nobody is going to

6      prosecute for it.           You're not even going to arrest for

7      it.

8            Q.      So I guess when you say the totality of

9      everything that's going on, there have to be other

10     factors that also help you conclude that this is

11     probably shake?

12           A.      Yes.

13           Q.      One of the things you said was the car smells

14     like marijuana?

15           A.      Uh-huh.

16           Q.      What other factors might prompt you to

17     conclude that the green, leafy substance you are seeing

18     on the floor is shake?

19           A.      Maybe a criminal history for marijuana, you

20     know, you ran his criminal history and he's got a

21     history for it.          Physically, he may have burnt lips.

22     Common times, people that smoke weed, they burn their

23     lips on the pipes or whatever.                That's one.       Bloodshot

24     eyes, you know, your speech is different, you know,

25     you're like high.           You know, you can tell, you know,

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 76 of 366




                                                                        Page 75

1      "Dude," you know.          I mean, you can typically tell when

2      someone is a pothead.

3                           You know, I have nothing against

4      marijuana other than it's illegal and I don't use it, I

5      don't believe in it.           But, you know what, people are

6      people and they use it.

7           Q.      Yeah.     So I guess, you know, in the

8      circumstances for me and and you're seeing my car full

9      of Goldfish, would you be prompted to conclude that

10     green, leafy or like what looks like little specs of

11     green on the floor is marijuana?

12          A.      That's kind of subjective for me in a way

13     because I'm not on the -- like a traffic stop with you

14     to be able to see, you know, how you're behaving,

15     what's going on, where you're coming from, where you're

16     going, you know, did you just come from the bar, you

17     know, or maybe the head shop.              So it's hard for me to

18     speculate on that, sorry.

19          Q.      No, that's fine.         I don't want you to

20     speculate.       What I'm asking is just based on your

21     knowledge.

22          A.      I would need all of those other things to be

23     able to really start to gauge whether or not I would

24     think that was marijuana or not.

25          Q.      So context matters?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 77 of 366




                                                                         Page 76

1            A.      Context matters.

2            Q.      And how do you know if green particles are

3      something like -- something from the grocery store

4      that's green, basil or spinach, or whatever else I've

5      been schlepping around?

6            A.      Well, again, everything goes back to the

7      circumstances at hand, right?               I mean, it's just hard

8      to answer that question without, you know, a scenario

9      on what's going on with the situation.                   I couldn't -- I

10     couldn't, you know, elaborate or I couldn't speculate

11     on that.

12           Q.      No, that's fine.         Thank you.

13           A.      Yeah.

14           Q.      What are front seat interrogations?

15           A.      Interrogation is really not a good word for

16     it.    You know, people tend to get away from

17     interrogations.          It's a little rough around the edges,

18     right.       So front seat interviews, if I might comment

19     on, is where an officer places someone in the front

20     seat of their car while they conduct their business.

21           Q.      Okay.     And just to put a pin in that, what is

22     the difference between an interview and an

23     interrogation?          You focused on interview and I guess

24     I'm not clear on the difference, so help me understand.

25           A.      There isn't.        You know, some people use the

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 78 of 366




                                                                        Page 77

1      word "interrogation."            You know, officers try to get

2      around that and, you know, it's an interview.                    I mean,

3      hardly anyone today, we don't call it an interrogation.

4      You know, everything that we know it as is an

5      interview, I'm interviewing someone, I'm talking with

6      them, right, obtaining information.

7           Q.      Okay.     So someone comes down -- you ask

8      someone to come down to the police station or you

9      arrest someone and you bring them into -- I don't know

10     what they call it -- the room, a conference room?

11          A.      Yeah, an interview room.

12          Q.      And that would be an interview as well?

13          A.      Yes.

14          Q.      Okay.     What is your position on front seat

15     interrogations?

16          A.      I'm not a fan of them, but that's a personal

17     preference.         An officer, any police officer, they

18     develop a skill set and they take little pieces of

19     training from one place or another place -- and I tell

20     people in the classes that I teach, "You need to do

21     that, you need to listen to what everybody has to say,

22     you need to take the good things that will benefit you

23     and apply it to what you're doing."                 And that seems to

24     be the thing today, that seems to be what people are

25     doing.      They are doing these front seat interviews.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 79 of 366




                                                                          Page 78

1                           Now, you're asking me what I believe

2      about them.        I've had an experience with one of my

3      interdiction officers who was very, very adamant about

4      doing front seat interviews, which I typically did not,

5      you know, believe was the greatest way to do the

6      interviews.        However, it's not illegal, it's not

7      against policy.

8                           So in his case, what I told him was you

9      can do front seat interviews, but only after your

10     safety is ensured.          So they must be patted down for

11     weapons and you need a backup officer there if they are

12     going to be sitting in your front seat.                  So that was my

13     expectation for our interdiction.

14                          But as far as saying that you can't do

15     them, you know, there's nothing illegal about it.                      It's

16     just not my preference.

17          Q.      Okay.     And when you say -- you said something

18     like "it seems to be the thing."                Can you unpack that a

19     little bit more for me?

20          A.      Law enforcement training evolves.                As

21     officers, like myself, who did interdiction full time,

22     every day, as I promote through the ranks, new officers

23     begin criminal interdiction, they will go to outside

24     training from somewhere else, they will see some

25     instructor doing front seat interviews so they will

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 80 of 366




                                                                        Page 79

1      decide, "Hey, I like that, I want to make that part of

2      my every day work," and then they will come back and

3      incorporate that into their -- their interview process.

4           Q.      Unless -- unless the agency says, "No, we're

5      not doing them."          Is that fair?

6           A.      That's correct.

7           Q.      And you talked a little bit about officer

8      safety concerns.          Are there -- what else -- is there

9      anything else that prompts you to feel that they are

10     not the greatest -- I think you said you felt that they

11     are not the greatest.            Any other concerns with front

12     seat interviews, front seat interrogations?

13          A.      Well, I mean, is this from my perspective, my

14     training, my experience and the skill set that I have

15     or is it --

16          Q.      Yes, sir.

17          A.      -- or is it from the skill set and the

18     expectations that an officer at his level is trying to

19     figure out things?          You know, I mean, there's a

20     difference, right.

21          Q.      I want to -- I want to hear your opinion first

22     and we can talk about this stuff later.

23          A.      Okay.     So I've had a lot of training and I

24     utilize body language, speech patterns, kinesics,

25     basically.       I use a lot of that in the interview that I

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6      Filed 02/07/25   Page 81 of 366




                                                                          Page 80

1      have structured that works for me.                  That happens

2      outside of the car on traffic stops.                   So is --

3             Q.      When you do them?

4             A.      When I do them.         I'm comfortable outside the

5      car.        I want to be able to see everything about this

6      guy or girl.          I want to see their hands, I want to see

7      how they react to the questions that I ask them.

8             A.      I want to see the responses, I want to see

9      their -- you know, their lips, their eyes, their --

10     everything about them and then during my interview,

11     then I stress them and de-stress them according to what

12     I hear, the responses that I get from them during my

13     interview.

14                           Now, it's very focused work, right, you

15     really have to focus and you have to be a person that

16     pays attention to everything while you're thinking

17     about the question you're going to ask after the answer

18     they just gave you.             So all of that you have to focus

19     on.

20                           So for me, if that person is in the front

21     seat of a vehicle and there's a computer, there's a

22     radio, there's all of these distractions inside that

23     car, that interview may not give you everything.

24     You're going to miss some things when it comes to body

25     language and speech patterns.                Now, you're going to be

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 82 of 366




                                                                        Page 81

1      able to see some and you're going to be able to

2      determine something is going on, but it's not to the

3      level that I expect from my training, my experience and

4      the way that I like to do it.

5                          These youngsters that are out here

6      learning this stuff now, they like it, they believe in

7      it and it's just not my preference.

8           Q.      Would it be fair to say that with more

9      distractions in the patrol vehicle, there might be a

10     greater degree of error?

11          A.      Well, I mean, there's no error, per se.                  You

12     know, you're an officer who knows nothing about what's

13     going on, other than you stopped this person, they are

14     in the front seat of the car with you and you're trying

15     to determine what's going on.

16                         So to say that there's some form of error

17     with the interview process, that's really not good

18     terminology for that because, I mean, the officer has

19     no idea what he's doing right now.                He's trying to

20     develop there's a reasonable suspicion, you know, he's

21     trying to see if there's anything going on.                    There's

22     something he has -- he has -- caught his eye, there's

23     something that he has seen previously or to put him in

24     the front seat to begin with.              So he's either going to,

25     you know, decide something is going on and develop his

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 83 of 366




                                                                        Page 82

1      reasonable suspicion or he's going to let him go.

2           Q.      Okay.     I guess I'm a little confused there,

3      and I want to understand.             Let's say that Mr. Fox is a

4      drug smuggler and he's got -- he did not like that, I

5      could see in his reaction.

6           A.      He didn't.

7           Q.      I know.      Let's say Mr. Fox is a drug smuggler

8      and he has, you know, a couple of kilos of meth in his

9      car and you stop him, you do a front seat interview

10     with Mr. Fox, and you say, "There's nothing going on

11     here," and you let Mr. Fox go, would you say that's an

12     error?

13          A.      No.     It happens all the time.

14          Q.      Okay.     So tell me more about that.

15          A.      There's a difference in drug smugglers, right,

16     just like there's a difference in law enforcement when

17     it comes to experience, right.               A mule becomes --

18          Q.      Mr. Fox is not an experienced drug smuggler,

19     but keep going.

20          A.      Okay.     All right.

21          Q.      No, that's part of the joke.

22          A.      Okay, well, let's use that example.

23          Q.      For the record.

24          A.      I like the fact that you used that, okay,

25     because he would be more susceptible to getting away

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6      Filed 02/07/25    Page 84 of 366




                                                                           Page 83

1      with it because it's his first time, right, he has no

2      history, he's wearing a suit, he's dressed for the

3      part.        As long as his vehicle matches the way he's

4      dressed, odds are that officer may not even ask him for

5      consent to search the car because there's nothing

6      that -- there's no reasonable suspicion that this

7      officer is going to pick up on to lead him to even ask

8      for consent to search the car.                 So he would leave and

9      he would get away.            I've had that happen.

10            Q.      Okay.

11            A.      Yeah.

12            Q.      And that wouldn't be an error?

13            A.      Well, I mean, it's not an error.                 It's just

14     the officer doesn't know.               You don't know what you

15     don't know.

16            Q.      Understood.       When you said Mr. Fox's suit

17     matches his car, can you explain that to me a little

18     bit?

19            A.      Sure.

20            Q.      I just -- I don't necessarily -- I don't pay

21     attention to cars also.              So what kind of cars would

22     match Mr. Fox?

23            A.      You're going to be an experienced interdiction

24     person by the time we're done.

25                            So a person matches their car -- let's go

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6      Filed 02/07/25   Page 85 of 366




                                                                      Page 84

1      back to your scenario, okay, we're going to use your

2      car, your scenario.         I have my car, I've got Goldfish

3      in the car, the kids tear it up, right, well, if I were

4      to stop someone like that that's a mother that has

5      young kids, I expect that, right.

6                        If I -- if Mr. Fox was in your car, then

7      I would like -- the first thing I would think is why

8      are there car seats in this car and there's no kids in

9      the car seat and he's a male dressed in a suit, right,

10     so that's the first thing I would wonder because why

11     does the mom with the kids not have the car seat?

12                       I had -- that was one of my things on

13     interdiction.       When I stopped a car and it was a male

14     subject and there was no family and there was car

15     seats, that was the number one thing I'm looking at

16     because that's what drug smugglers do.                They use car

17     seats as a prop, just like they use other things.

18                       You know, they try to copy a vehicle to

19     make it look like something else.              Let's say -- DirecTV

20     is a good one, so a DirecTV van, they will take a van

21     and they will wrap it with the exact markings as

22     DirecTV, put ladders on it, dress the guy up with the

23     DirecTV clothing, put him in the truck and send him up

24     the highway with a load of drugs.              So that officer has

25     to determine whether that's a real DirecTV van or not.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 86 of 366




                                                                        Page 85

1                           Okay.    So to answer your question about

2      the car matching the person, your car and the way it is

3      when I stop you on a traffic stop would match you.                        But

4      if I put Mr. Fox in that car on Interstate 35 and he's

5      from Chicago, Illinois and he's down in Austin, Texas

6      in a suit with a car seat full of junk in the floor, it

7      would raise my suspicion.

8           Q.      Got it.

9           A.      So he would not get away with the two kilos of

10     meth.

11          Q.      And let's pretend the car matches Mr. Fox in

12     whatever way.

13          A.      Okay.

14          Q.      What if Mr. Fox was like very nervous?                   I

15     mean, I let Mr. Fox drive my car last night, which I

16     was super nervous about, but he did fine, but let's

17     pretend like he's a drug smuggler and this is his first

18     time driving a vehicle and he is so nervous, right, and

19     that's the only thing you've got.                What would you do

20     with that?

21          A.      So a lot of people are nervous on traffic

22     stops.      Just the mere red and blue lights on behind

23     you, they become nervous, right.                It's the officer's

24     responsibility, particularly an interdiction guy --

25     well, really even any officer, you know, calm that

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 87 of 366




                                                                        Page 86

1      person down, right.           It's just a Class C violation,

2      right, it's no big deal, right.               To that person, it's a

3      big deal, right, "Oh, my God, my insurance is going to

4      go up, I'm getting points on my driver's license, I'm

5      going to lose my job, I'm late for my job," you know.

6      So an officer needs to understand that.

7                          So you do everything you can do to try to

8      calm them down, calm Mr. Fox down, you know, "Calm

9      down, man, it's not a big deal," right, and it's just a

10     traffic violation, right.             So the officer should try to

11     calm him down, not be so threatening.                 You know how a

12     trooper -- a DPS trooper has got their hats on and they

13     are down above their brow, they're all straight and

14     they walk out there all business, you know, that's

15     intimidating.

16                         So an interdiction officer who is really

17     looking to try to develop that rapport with that person

18     to find out what's really going on, if anything at all

19     is going on, they are going to be nice to that person.

20     They are not going to be that intimidating guy.                       That's

21     what a good interdiction officer does.

22          Q.      Got it.      And if -- even if, you know, you're

23     super nice to Mr. Fox, he's still nervous because he's

24     young, this is, you know, his first job, he doesn't

25     want to lose it, is that normal?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 88 of 366




                                                                        Page 87

1           A.      Well, again, it goes back to the situation at

2      hand, right.         It goes back to the circumstance -- I

3      mean, these are all hypotheticals and I'm enjoying, you

4      know -- I think you guys are learning a lot, actually,

5      which helps you in your position, which is very

6      important.       And, you know, it's just -- hypotheticals

7      are those things that they can just go on and on and

8      on, there's never a resolution to a hypothetical.

9           Q.      Sure.

10          A.      So I would really need just like details of

11     everything that's going on, a scenario in front of me

12     that -- you know, to really be able to answer that.

13          Q.      Understood.       So context matters?

14          A.      It has to matter, you know.

15          Q.      Got it.

16          A.      I mean, what's going on at the time.

17          Q.      That's helpful.

18                          Have you heard the term -- heard the term

19     "hunting" used in the criminal interdiction context?

20          A.      Yes.

21          Q.      And what does that term mean?

22          A.      Well, it's jargon, it's cop jargon.                You know,

23     police officers are out there looking for criminals,

24     you know, they are out hunting criminals, you know.

25     It's a cat and mouse game, believe it or not, it is.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 89 of 366




                                                                        Page 88

1      Crooks don't want to get caught, cops want to catch

2      them, right, so it's like cops are out hunting for bad

3      guys.      So it's common jargon in law enforcement.

4           Q.      Okay.     Have you ever used that term, I guess

5      in your criminal interdiction work?

6           A.      Sure.     I mean, cops -- I mean, I'm sure every

7      police officer has used the words, you know, "Let's go

8      hunting, let's go find something, get into something,"

9      you know, it's just slang.

10          Q.      Got it.      I think I know the answer to this,

11     but I'm just going to ask a couple of formulaic

12     questions that you kind of have to ask.

13                          Other than for this case, have you ever

14     been retained by Mr. Barron and his firm?

15          A.      No.

16          Q.      Other than for this case, have you ever worked

17     with Bexar County before?

18          A.      In what capacity?

19          Q.      Well, let's just kind of break it down.                  Have

20     you ever been paid by Bexar County before?

21          A.      No.

22          Q.      Have you ever coordinated your interdiction

23     activities with Bexar County?

24          A.      I'm certain that I have, but not -- nothing

25     case specific.         You know, being involved or working

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 90 of 366




                                                                        Page 89

1      with DEA and working with the state and local task

2      forces, we were always going through San Antonio,

3      working in San Antonio, going to the border, going to

4      Dallas, you know.          So odds are, you know, we have used

5      Bexar County before and/or San Antonio PD during some

6      stop.

7           Q.      Okay.     Have you -- before being involved in

8      this case, did you know defendant Joel Babb?

9           A.      No.

10          Q.      Any of the criminal interdiction officers with

11     the Bexar County Sheriff's Office?

12          A.      No, I do not know anybody involved with this

13     case on any report that I have written -- I mean,

14     written -- reviewed, any videos I reviewed, I haven't

15     recognized anybody, never personally met them that I

16     know of.

17          Q.      So you haven't met Sheriff Salazar?

18          A.      Maybe.     And the reason I say that is I was the

19     president of Texas Narcotic Officers Association, and

20     as the president of that association, we oftentimes did

21     conferences in San Antonio and we would always invite

22     the sheriff or the police chief to do opening remarks.

23     So I may or may not have met him in the past.                    I don't

24     know when he was elected, I didn't look into that.                      But

25     I don't remember ever meeting him.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 91 of 366




                                                                        Page 90

1           Q.      Could you pick him out of a crowd?

2           A.      No.

3           Q.      A couple more like formulaic questions.

4                          Who hired you to give an opinion in this

5      case?

6           A.      Well, obviously Blair -- is it Leake or Leaky?

7                          MR. BARRON:       It's Leake.

8                          THE WITNESS:       Blair Leake is the one that

9      reached out to me and hired me for -- you know, to

10     represent really no one, to give an expert opinion in

11     this matter.

12                         The way I view my role here is that I do

13     not work for anyone in this room.                I work for the jury,

14     who may or may not hear this case, and my job is just

15     to help them understand, just as I think I'm doing for

16     you guys, more about what's going on to formulate

17     good -- good decisions and opinions.                 I have no -- no

18     dog in this hunt with anybody here.

19          Q.      (BY MS. HEBERT)         Well, thank you.

20                         And when you and Mr. Leake and Mr. Barron

21     were discussing this case and thinking about whether

22     you would make a good fit, what information did they

23     give you about the case?

24          A.      I was called and asked if I would be

25     interested in this case because, you know, I'm

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 92 of 366




                                                                        Page 91

1      well-known about drug enforcement in this area.                       I

2      mean, being the president of the Texas Narcotic

3      Officers Association, you know, the experience level.

4                          I believe there was another expert

5      witness on a use of force case or something that I know

6      and he's the one that referred me to the office because

7      he knew that I've taught criminal interdiction.

8           Q.      Is that Albert Rodriguez?            Does that sound

9      familiar?

10          A.      No, no, no, it was Mark Sawa.

11                         THE REPORTER:        What was the last name?

12                         THE WITNESS:       Mark Sawa, I think it's

13     S-A-U-A or something.            He's retired Travis County

14     Sheriff's Office and we go way back.                 He's an expert

15     witness, I guess, on use of force, and I sat in on a

16     recent trial here in Travis County where he testified.

17                         So I assume that an expert witness was

18     needed in this case, my name came up in that manner and

19     then that's how they ended up calling me.

20          Q.      (BY MS. HEBERT)         Okay.    And before you were

21     officially hired, were you asked to give a preliminary

22     review or preliminary opinion?

23          A.      No.

24          Q.      Let's take a little bit of a look at your

25     report.      I want to ask you just a couple more form

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 93 of 366




                                                                        Page 92

1      questions.

2                           Would you mind going to page 30 of your

3      report?

4           A.      I hope that's a good start if we're going to

5      start at 30, right?

6           Q.      I like to jump to the end.             Let's get to the

7      bottom line and go to lunch.

8                           MS. HEBERT:      What time is it?

9                           MR. FOX:     It's 11:00.

10                          MS. HEBERT:      Great, thanks.

11          Q.      (BY MS. HEBERT)         Do you see the last paragraph

12     on page 30?

13          A.      I do.

14          Q.      So I -- you can correct me if I'm wrong, I

15     understand you're charging a flat rate of $3,700 for

16     the initial case evaluation and report; is that

17     correct?

18          A.      That's correct.

19          Q.      Okay.     But I'm also seeing that you value your

20     time at $150 an hour; is that also right?

21          A.      Yes.

22                          MS. HEBERT:      So I need my calculator.           I

23     might need you to get my calculator.                 It's in that box.

24          Q.      (BY MS. HEBERT)         Is $150 an hour -- if you

25     were charging an hourly rate across this case, would

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25     Page 94 of 366




                                                                          Page 93

1      you expect to be charging $150 an hour?

2           A.      I'm not charging a flat rate -- I mean, I'm

3      charging a flat rate.

4           Q.      Yeah.     I guess if you were charging an hourly

5      rate, would your hourly rate be 150?

6           A.      For the entire investigation?

7           Q.      Yes, sir.

8           A.      Yeah, sure.       I mean, but I think it's only

9      fair that I just do a flat rate because $3,700 is going

10     to be less than $150 an hour.

11          Q.      Oh, for sure.

12          A.      You know, so I don't believe that it's fair

13     to, you know, tax anyone any more than that.                      You know,

14     I enjoy doing the work, I enjoy, you know, learning

15     more, you know, as we go.             And so, yeah, I don't -- I

16     think -- I don't gouge people on prices.                      I just do a

17     flat rate.

18          Q.      Okay.     So how many hours have you spent on

19     this case so far?

20          A.      I would say it's really hard to tell.                    I read

21     cases from -- sometimes from 6:00 at night until 3:00

22     in the morning.         Sometimes I would read cases for four

23     hours, sometimes three hours, preparation, on the

24     Internet, you know, reviewing, you know, case law,

25     things of that nature.            So it's just hard to say how

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 95 of 366




                                                                        Page 94

1      many hours.         It's a lot of hours, though.

2           Q.      Okay.     So I guess one way to think about about

3      it is how many hours did you spend putting pen to paper

4      to write your report?

5           A.      Many.

6           Q.      Any estimate?        More than ten?

7           A.      Yes.

8           Q.      More than 24 hours?

9           A.      I would say so.

10          Q.      Okay.

11          A.      I'm an old school guy, right.              I'm not like

12     the youngsters who use artificial intelligence or

13     transcription, right.            So I'm -- I'm, hey, let's get in

14     and let's type a report.             So, you know, it took a long

15     time to write the report, actually.                 Even though I took

16     a long time, I'm really -- I'm disappointed that I have

17     some spelling errors in here.              You know, I'm critical

18     of myself, of course, but --

19          Q.      That's okay.        We all have spelling errors, I'm

20     sure.      I love spell check for that reason.

21                          Okay.    So would you say you've spent, you

22     know, a week writing this report of working time?

23          A.      Sure.

24          Q.      I mean, of course you slept.

25          A.      Yeah.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 96 of 366




                                                                        Page 95

1           Q.      More than a week?

2           A.      Just the report itself, writing the report

3      itself?

4           Q.      Just the report itself?

5           A.      Yeah, I mean, a week is fair enough.

6           Q.      So, you know, give or take a 40-hour workweek?

7           A.      Yeah.

8           Q.      Okay.     And then I guess how -- how many hours

9      would you say that you put into reviewing materials for

10     this case, whatever they may be?

11          A.      You know, I would say that's hard to tell.                  I

12     didn't keep track.          I would be speculating on how many

13     hours I actually put into it.

14          Q.      More than ten?

15          A.      Oh, yeah.

16          Q.      More than 20?

17          A.      Well, more than the time that it took to write

18     the report.

19          Q.      Okay.     So more than a 40-hour workweek?

20          A.      Sure.

21          Q.      Okay.     I want to look more at the substance of

22     your report now.

23          A.      Okay.

24          Q.      But we're going to still stay focused at the

25     end, I think.         Let's go to page 28.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 97 of 366




                                                                        Page 96

1           A.      Okay.

2           Q.      And we're looking at Exhibit No. 111, page 28

3      of 111.      I'm looking at the first sentence there and I

4      see the date, March 22nd, 2022.               Did you mean

5      March 16th, 2022, the date of the traffic stop in this

6      case?      This is not a trick question.

7           A.      Yeah.

8           Q.      I'm going to represent to you that the traffic

9      stop happened on March 16th, 2022.

10          A.      You know, I think that might be an error in my

11     part, a typographical error, because I may have been

12     reading the date of the report that Deputy Babb had

13     done and I think that may have been dated on the 22nd

14     when they asked him to do the report.                 So it could have

15     been that during that timeframe, I transposed those

16     numbers.

17          Q.      So when -- but when you're writing this first

18     sentence in the header "Final Expert Opinion and

19     Conclusion," you're referring to the date of the

20     traffic stop; is that correct?

21          A.      I am.

22          Q.      Okay.     I just wanted to make clear.             And I'm

23     going to just read this first sentence here.                    "After

24     review of the material provided to me and from my

25     experience and training, it was reasonable to believe

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 98 of 366




                                                                        Page 97

1      that Deputy Babb was practicing standard law

2      enforcement procedures on March 22nd, 2022, upon being

3      informed that -- about Schott traveling north on

4      IH-35."

5                           Did I read that correctly?

6           A.      Yes.

7           Q.      And we just clarified that March 16th, 2022,

8      you meant the day of the traffic stop of Mr. Schott?

9           A.      Exactly.      My mistake.

10          Q.      It's fine.

11                          What are standard law enforcement

12     procedures?

13          A.      Just standard -- you're abiding by what is set

14     out -- set forth in policy and procedure by your

15     department that allows you to go out and do your work.

16          Q.      Okay.     So the standard law enforcement

17     procedure depends on the department?

18          A.      Yes.

19          Q.      And to evaluate the standard law enforcement

20     procedure, you evaluate what the department policies

21     and procedures are?

22          A.      Correct.

23          Q.      And how do you evaluate what a department's

24     policies and procedures are?

25          A.      In relation to this case?

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6      Filed 02/07/25   Page 99 of 366




                                                                        Page 98

1           Q.      No, just in general.

2           A.      In general?

3           Q.      Like how do you know?

4           A.      You obtain their policy and procedure, you

5      read policy.

6           Q.      When you say that, you mean like their written

7      manual?

8           A.      Written manual.         In this case, all of their

9      policies, I believe, from what I have read, is on

10     PowerDMV.

11          Q.      I'm sorry, I don't know what that is.

12          A.      PowerDMV, it's a system that law enforcement

13     agencies use -- we had it, actually, in Williamson

14     County -- where when they do either -- they want an

15     officer to know what the policy is, the officer reads

16     the policy, it is electronically documented that they

17     read the policy and then they have it for future use,

18     right.      So that's what PowerDMV is.

19                         If there's any additions to the policy,

20     something has changed, then it's just an easier way

21     that everyone gets the new information, they have read

22     it, they have signed it electronically and it's

23     tracked.       That's what PowerDMV is.           So the old way of

24     doing policies by paper and a policy manual, it's --

25     you know, things get missed.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 100 of 366




                                                                         Page 99

1            Q.      Okay.     So in evaluating whether Deputy Babb

2       was practicing standard law enforcement procedures, you

3       looked to the Bexar County Sheriff's Office's written

4       policies and procedures; is that correct?

5            A.      That was provided to me, yes.

6            Q.      Okay.     Anything else?

7            A.      No, not -- not related to the Bexar County

8       Sheriff's Office.

9            Q.      Sure.     The Bexar County Sheriff's Office

10      written policy -- if Deputy Babb was complying with the

11      Bexar County Sheriff's Office's written policy, does

12      that mean that Deputy Babb's actions were

13      constitutional?

14                           MR. BARRON:      Objection, form.

15                           THE WITNESS:      I obviously am not Deputy

16      Babb, right?         I mean, this situation -- every situation

17      is different, you know, every situation is subjective,

18      just as the examples that we had earlier.                    You know,

19      I'm not there, I don't know exactly what went on, I can

20      only, you know, evaluate this case from their policy

21      and their procedure, from his reports, from the videos

22      that I watched or the video that I watched, you know.

23      So I couldn't speculate on whether what he did was

24      constitutional or not, right, in his brain.

25           Q.      Sure.     And I guess one thing that I'm trying

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 101 of 366




                                                                        Page 100

1       to understand is separate and apart of what Deputy Babb

2       may have believed in that -- in this context, if Deputy

3       Babb was following the written policies and procedures

4       of Bexar County Sheriff's Office, does that mean he was

5       practicing standard law enforcement procedures?

6            A.      Yes.

7            Q.      I'm just trying to shortcut stuff.

8            A.      Of course.

9                           MR. BARRON:       We've been going for nearly

10      another hour.         Do you want a five-minute break to

11      collect your thoughts?

12                          MS. HEBERT:       No, we're okay.

13                          MR. BARRON:       Okay.

14                          MS. HEBERT:       I'm trying to keep this

15      until lunch, I think.

16           Q.      (BY MS. HEBERT)         Did everything that Deputy

17      Babb did on March 22nd, 2022 --

18                          MR. FOX:      Do you mean 16th?

19                          MS. HEBERT:       Yeah.

20                          THE WITNESS:       I've got everybody messed

21      up, I apologize.

22           Q.      (BY MS. HEBERT)         No, that's fine.

23                          Did everything that Deputy Babb did on

24      March 16th, 2022 comply with standard law enforcement

25      procedures, based on your view?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 102 of 366




                                                                        Page 101

1            A.      Based on my training and experience with what

2       I have observed or read in this traffic stop, this is a

3       normal traffic stop, normal interdiction stop that

4       happens across the country every day.                 There's nothing

5       that sets it apart from anything else.

6            Q.      Assume for a second that Deputy Babb did turn

7       his dash camera off before the traffic stopped, is that

8       a standard law enforcement procedure?

9            A.      You know, I wasn't asked to evaluate the

10      policy and the procedure on the cameras.                     I do have an

11      opinion on what could have happened, but I wasn't asked

12      to evaluate that.

13           Q.      What's your opinion?

14           A.      Having been in many, many law enforcement

15      interdiction cases, having worked them, having stopped

16      cars, officers will sometimes catch up to a vehicle

17      that is interesting to them, right.                 So they may be

18      parked in the median and the vehicle passes and they

19      may see something that that vehicle is -- matches

20      common vehicles that have been seized recently across

21      the country.        So they may want to catch up to that

22      vehicle just to see if it's got license plates, you

23      know, whatever the case is.

24                          And when that happens, that officer

25      starts from zero miles an hour, that car may be going

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 103 of 366




                                                                          Page 102

1       75 miles an hour, so they have to go fast to catch the

2       car.        That triggers the camera system.              When the camera

3       system triggers, officers hit the off button because it

4       triggers the camera, they don't know whether they are

5       going to stop this car or not, they are just catching

6       up to the car, right.              That kind of becomes muscle

7       memory, per se, for some officers.                  They will hit that

8       trigger, they will reach up, they will cut that camera

9       off because they are not going to stop the car or they

10      don't know if they are going to stop the car.

11                             And in my -- I don't know, but just from

12      reading this case, I can see where that -- that happens

13      a lot with officers, right.                Whether it happened in

14      this case or not, I don't know.                 But that camera will

15      not reactivate when the lights come on, so that could

16      potentially be what happened in this case.                     I don't

17      know.

18             Q.      Sure.

19             A.      I would be speculating.

20             Q.      No, that's okay.

21                             I want to ask you a couple questions.

22      When you wrote here that it was reasonable to believe

23      that Deputy Babb was practicing standard law

24      enforcement procedures, are you saying that it was

25      reasonable to believe that -- it was reasonable for

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6      Filed 02/07/25   Page 104 of 366




                                                                          Page 103

1       Deputy Babb to believe that he was practicing standard

2       law enforcement procedures or are you saying that you

3       believe that Deputy Babb was practicing standard law

4       enforcement procedures, or something else?

5                              MR. BARRON:      Objection, form.

6                              THE WITNESS:      I can't -- I don't know

7       what Deputy Babb was thinking or whether he thought

8       that he was performing them according to his policy and

9       law.        I don't know.       That would be speculation.

10                             The second part of that question, whether

11      I believe he was doing it according to his policy, yes,

12      I mean, I do.

13             Q.      (BY MS. HEBERT)         Okay.     And I just -- I wasn't

14      trying to trick you.

15             A.      Yes, of course.

16             Q.      I just wasn't exactly sure what the phrasing

17      meant there.

18             A.      Sure.

19             Q.      So based on, you know -- looking at this

20      opinion -- sorry, did you --

21             A.      Sorry, I thought he almost fell.

22                             MR. FOX:     Oh, no, no, no.

23             Q.      (BY MS. HEBERT)         Looking at these conclusions,

24      I guess one of the questions I have for you is, is it

25      your opinion that everything that Deputy Babb did

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 105 of 366




                                                                        Page 104

1       during the traffic stop of Mr. Schott was consistent

2       with standard law enforcement procedures as written in

3       the Bexar County Sheriff's written policies?

4            A.      Everything is a broad term.             You know, again,

5       it kind of goes to speculation again, everything that

6       he did.      You know, if you could give me some type of

7       example on what you think that -- you know, you want

8       clarification on, then I would be more than happy to

9       give you a direct answer.

10           Q.      Well, sure.       I mean, I guess the easy way to

11      start with that is you wrote that you believed Deputy

12      Babb was practicing standard law enforcement

13      procedures.        What did you mean by that?

14           A.      I meant that I did not see anything with this

15      traffic stop, with this case, that wasn't just a normal

16      interdiction stop that's conducted across the country

17      every day.

18                          This case in particular, you know, as we

19      discussed earlier, about Mr. Fox and his nervousness, I

20      mean, Deputy Babb exhibited compassion, he was -- he

21      was friendly, right, I mean, he did a lot of things

22      that led me to believe that he has got more experience

23      than your standard officer out there stopping cars

24      every day, if that makes sense.               So I kind of looked at

25      that and said, "Well, he's had some training, he's had

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 106 of 366




                                                                        Page 105

1       some experience stopping people."

2                            You know, I think it's -- this stop in

3       relation to stops that I've done in the past, it's no

4       different, I mean, there's just not -- there's not

5       anything there that I saw that just sticks out.

6            Q.      Sure.

7            A.      Minus, of course, your video camera issue.

8            Q.      And when you say "video camera issue," what do

9       you mean?

10           A.      Well, the video camera not being on, according

11      to policy.

12           Q.      And you mean Deputy Babb's dash camera?

13           A.      Yes.     And, you know, that's -- that's beside

14      the point.       But related to the traffic stop,

15      Mr. Schott, the things that Deputy Babb did, it's a

16      standard narcotic investigation.                It's not just a cold

17      stop, it's not just a stop that someone was driving

18      down the road and he decided to stop the car.                    So

19      there's way more to this traffic stop than just a cold

20      stop, if that makes sense.

21           Q.      Okay.     And what does -- what do you mean by

22      "cold stop"?

23           A.      A cold stop is a term that people often use

24      when a deputy or an officer sees a vehicle, they

25      believe that vehicle may have some, you know,

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 107 of 366




                                                                        Page 106

1       contraband in it and may be doing something illegal and

2       they decide that they are going to see if they can get

3       probable cause for a traffic violation to stop the car

4       and investigate to see if something is going on.                      Many

5       times, nothing is going on.              Most of the time, nothing

6       is going on.         But that would be considered like a cold

7       stop.      The officer initiated that traffic stop, no

8       prior information, right.

9                            Compared to my review of this case, from

10      my training and experience, you know, I believe that

11      there was information that he had.                It was obvious from

12      his videos, from his interview, from the recordings,

13      from the body cameras that he was communicating with

14      somebody in law enforcement.              So he had prior knowledge

15      of this stop, so it was not a cold stop, in my opinion.

16      He had prior information.

17           Q.      Okay.     And I think we will get back to that

18      more just like to explore it, but I'm going to continue

19      walking through what we have here.

20                           In this first full paragraph on 28, you

21      wrote, and I'm going to quote here, "Such

22      investigations are -- are often not in the same

23      jurisdiction the officer works.               Therefore,

24      communication using telephones, networking apps and

25      radios are common."

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 108 of 366




                                                                        Page 107

1                            Did I read that sentence correctly?

2            A.      Yes.

3            Q.      And would it be fair to say that you're

4       informing us that it's common to use phones,

5       networking, radios when officers are working across

6       jurisdictions; is that correct?

7            A.      Yes.

8            Q.      Okay.     What constitutes an investigation?

9       What is an investigation?             What rises to the level of

10      investigation?

11           A.      Well, an investigation is where you're

12      developing, you know information, you're gathering

13      information to decide whether or not there's a crime

14      here, right.         You know, you're investigating whether

15      there's more to what's going on other than the traffic

16      stop.

17                           In this case, there's prior information,

18      right.      He obviously knew this vehicle was coming, he

19      knew the description of the vehicle, he knew that

20      there's other people that he was told, according to the

21      videos I watched and the reports, he knew that someone

22      knew something more than he did, right?

23                           So there's a lot of things going on here

24      before the traffic stop and they were credible, they

25      were credible in this way.             He was told that the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 109 of 366




                                                                        Page 108

1       vehicle was an F-250, it was an F-250.                  He was told the

2       license plate number was exactly the same.                   He was told

3       that the vehicle was in Carrizo Springs and it was

4       traveling north on Interstate 35 and left at a certain

5       time, the timeframe matched the time it left Carrizo

6       Springs until the time he saw it.

7                           So there's a lot of things that are

8       credible behind the information that he had, even

9       before the traffic stop.             So, you know, that's why I

10      say "investigation."           I mean, I don't know, I wasn't

11      there and I don't know who the people are in Carrizo

12      Springs, I don't know what was going -- I do know that

13      there was -- I say "investigation" because this isn't

14      just a cold traffic stop, right?                That's the reason I

15      use that word, "investigation."

16           Q.      Got it.      Taking a step back from this

17      particular case for a second, when is it appropriate to

18      rely on information about a vehicle that an average Joe

19      posts on their -- their Facebook wall?

20           A.      Well, I don't know -- in my experience, I've

21      never taken information from a Facebook wall.

22           Q.      Why not?

23           A.      Well, I mean, that's not something that I am

24      currently monitoring, you know, during the duties of

25      that I do.       I mean, that's not -- do you mean a

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 110 of 366




                                                                        Page 109

1       Facebook wall, like I'm watching a social media

2       Facebook, like a Meta Facebook page?

3            Q.      Yeah.     You login to Facebook, you see

4       Mr. Barron has posted about whatever Mr. Barron posts

5       about on Facebook and you say, "There might be a

6       vehicle for me to stop."

7            A.      Oh, all right.        With investigations, with the

8       investigative side of the house, sure, narcotic

9       officers do that all the time, you know.                     I was still

10      on traffic stop here.            But, yeah, sure, narcotic

11      investigators to that.            You know, they monitor social

12      media sites, Facebook sites, you know, believe it or

13      not, Instagram and Snapchat, Snapchat is a big one.                        So

14      it's commonly used in law enforcement with drug

15      investigations, any crimes.

16           Q.      Okay.     Well, let's pretend that Mr. Barron is

17      who Mr. Barron is and he's not in the drug industry.

18                           MR. FOX:     Pretend.

19           Q.      (BY MS. HEBERT)         Let's pretend and let's just

20      say he posts something about there was a suspicious

21      vehicle on I-35, would you rely on that information?

22           A.      Well, I mean, rely on the information, it

23      would be one thing that if I'm a guy looking at a

24      Facebook post or monitoring Facebook and, you know, I'm

25      using keyword searches, right, because we do that a

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 111 of 366




                                                                        Page 110

1       lot, you know, we will type in something, and I

2       discover there's something that interests me, you know,

3       sure, I may -- I may want to take a look at it.                       It

4       doesn't mean that anything is going on, it doesn't mean

5       that there's a crime.            It could be totally innocent,

6       right.

7                            Secret Service and FBI does it every day,

8       you know, for protecting the president, you know, so

9       those keyword searches are important.                 Does that mean

10      everybody is wanting to, you know, commit a crime

11      against an elected official, no, but somebody may be

12      venting on there and that keyword pops up and it

13      warrants that officer to at least take a look at it to

14      determine if something is going on.

15           Q.      Sure.     But if Mr. Barron posts a suspicious

16      tinted window -- or a suspicious vehicle driving on 35,

17      would you investigate that suspicious vehicle?

18           A.      Again, it's subjective.

19           Q.      If you didn't have anything else going on,

20      would you investigate it?

21           A.      Well, again, it's subjective.              I mean, what's

22      the other information that we have, you know.                    Again,

23      it goes back to hypothetical situations --

24           Q.      Understood.

25           A.      -- that are never ending and, you know, I

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 112 of 366




                                                                        Page 111

1       can't give you an answer whether I would or I wouldn't.

2            Q.      Understood.       So context matters?

3            A.      It matters.       I'm sorry, but --

4            Q.      No, that's fine.

5            A.      -- I can't answer.

6            Q.      If Mr. Barron, an average Joe, sent you a

7       Facebook message that there was a suspicious vehicle on

8       I-35, would you investigate based on Mr. Barron's

9       Facebook message?

10           A.      What relation would I have with Mr. Barron, I

11      guess is the first thing that I would ask.                   You know,

12      is Mr. Barron an associate of mine that I met, maybe

13      not even met, but exchanged numbers in like training

14      conference somewhere, is he one of those guys, you

15      know?

16           Q.      Let's say he's a member of the public, a

17      member of the public you have never met.

18           A.      I don't even know?

19           Q.      Right.

20           A.      I wouldn't typically give any credit to that.

21           Q.      Sure.     And if it's someone you met at a law

22      enforcement training seminar, you exchanged numbers,

23      you know who he is, he works for the city of Austin,

24      would you credit that information?

25           A.      Yes.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 113 of 366




                                                                        Page 112

1            Q.      Okay.     What about if Mr. Barron, who is a

2       lawyer, messaged you and claimed to be a police

3       officer, how would you -- what would you do in that

4       situation and you don't know if he is or not?

5            A.      You know, that's -- that's -- I know where

6       you're going with this related to this case.                    So

7       typically, any communication platform should be vetted

8       by the department.          Do officers do it?          They do.

9       There's oftentimes -- there's oftentimes text groups on

10      the back end that they communicate on, right, when

11      something is going on because it's, you know, "Hey,

12      this guy is going across country."                There's a lot of

13      that stuff that goes on, right.

14                           So to answer that question, if it is

15      somebody that I don't know, it's someone that I have no

16      idea who it is, no, I would not investigate or go stop

17      that car or even look for it.              If it was someone that

18      I'm in a group messaging with, even if it's not

19      against -- you know, even if it's not, you know,

20      policy, even if you're -- there's no policy around it,

21      right, even if the department -- the administration or

22      the department hasn't vetted this, most of the time

23      they don't even know this exists.                These officers just

24      do this stuff, you know.

25                           And, sure, I would hold credibility in --

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 114 of 366




                                                                        Page 113

1       in that information because I would believe that the

2       person on the other end of that giving me the

3       information is a police officer.

4            Q.      Would you do -- and what would -- what would

5       shape that belief for you?

6            A.      Previous encounters or previous things that

7       have occurred on such app or such messaging platform,

8       right, so there may be some history to that.                    That's

9       why I said when you give me the example of just, you

10      know -- you know, just cold turkey, I don't know the

11      guy, absolutely not.           But there is credibility to a

12      group chat of some sort, even being social media, if

13      there has been prior cases that's been made, there's

14      been prior communication, you know, there's credibility

15      in that.

16                          And related to, I guess information from

17      the public that you don't even know, I mean, you could

18      actually go and act upon that information as well to

19      determine whether something is -- it's kind of like a

20      DWI, you know, I mean, you don't know the person

21      calling, but the person says, "Hey, there's a car all

22      over the road and they are driving erratically and

23      almost crashing into people," you know, you don't know

24      that person, but the person is credible.

25                          And, yes, you can affect the traffic stop

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 115 of 366




                                                                          Page 114

1       and you can go and investigate that, you know, under

2       reasonable suspicion to determine if a crime happened.

3       So that's -- that's my opinion of differences in the

4       two.

5              Q.      I might be revealing the depths of my

6       ignorance, but in the example you just gave for the

7       DWI, would you have to observe that vehicle weaving, or

8       what have you, before stopping them --

9              A.      Sure.

10             Q.      -- or could you just pull the person over

11      based on the say-so of someone who called in?

12             A.      No, under the DWI you would want to develop

13      your probable cause.

14             Q.      Okay.     So you would have to then observe the

15      traffic violation, in addition to whatever you had

16      heard before?

17             A.      Yeah.     And it's been my experience -- I've had

18      that happen many times and it's been my experience

19      that, you know, oftentimes they are correct, oftentimes

20      they may have been correct, but now that you're behind

21      them in a police car, you know, they are straight and

22      narrow and I don't have probable cause to stop the car

23      for any traffic violation.               So, no, you wouldn't stop

24      the car.

25             Q.      Okay.     And let's say you are part of a law

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                                                                        Page 115

1       enforcement -- or a group, let's say you're part of a

2       text chat, do you do anything to verify who is running

3       the chat?

4            A.      Again, my personal opinion is that everyone

5       should be vetted.          You should know who you're talking

6       with.      However, does that happen, it doesn't happen.

7       You know, have there been occasions where I've spoken

8       with people, not on social media, but over the phone

9       who I don't know, sure, you know.                Has that information

10      been credible, sure.           Have I acted on it, sure.              Again,

11      it's subjective according to the case, right.

12           Q.      And I guess I want to ask you about the -- the

13      phone example.         When you speak to someone over the

14      phone about information, do you ask them questions?

15           A.      Yes.

16           Q.      What kind of questions do you ask?

17           A.      Well, as much as you can learn from them to

18      understand what's going on, you know, why they believe

19      this person is doing what they are doing, right.

20                          So, you know, you're going to -- you're

21      going to ask -- okay, I guess I'll give you an example

22      of like maybe -- I don't know, I'm trying to get a drug

23      situation -- maybe an airport case, yeah, let's use an

24      airport case, right.

25                          So you may have an officer who has

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 117 of 366




                                                                     Page 116

1       information that a person is smuggling something via

2       commercial airplanes, so they may call.               I have no clue

3       who this guy is, but they know you work criminal

4       interdiction at Austin-Bergstrom International Airport

5       and they know your name or they have called another

6       deputy who had a class, you know, "Oh, yeah, call Gary

7       Haston, he works in the airport."             So they will call.

8       I don't know who the guy is.           But the guy will say,

9       "Hey, there's a passenger getting on the plane in San

10      Francisco, it's a one-way ticket, they paid cash," you

11      know, so you may watch for this guy when they get to

12      Austin, the flight is going to be there at 2:15, right.

13                       Two-hour, three-hour flight, I go to the

14      airport, see the guy get off the plane.               Obviously I'm

15      going to find out clothing description, everything

16      about the guy, what he's carrying.             He gets to the

17      airport, you know, there he is.            He gets off the plane,

18      just like they said.        He's got the same clothes on,

19      just like they said.        He's got the bag description he

20      picks up at baggage claim, just like they said.

21                       There's a lot of credibility to that,

22      even though I don't know that guy, right, but he's a

23      law enforcement officer, he has this information and

24      you can count on that information.             I mean, it's

25      credible information to add to, you know, what you're

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 118 of 366




                                                                        Page 117

1       doing.      I mean, at that point, I would ask for consent

2       to search just off of that alone.

3            Q.      Okay.     So in the example that you talked

4       about, you have the phone call, you verify what law

5       enforcement agency they work for.

6                            Is that -- am I understanding that right?

7            A.      Sure.     You would ask who they are.

8            Q.      Right.     You ask who they are, you get the

9       information about the individual, you learn that they

10      paid in cash, based on what you talked about, they are

11      going to fly to Austin, you learned what they were

12      wearing, you learned what they were carrying.

13                           Anything else that you learned there --

14      that you would have learned?

15           A.      Well, I mean, you could ask questions like

16      have they had prior, you know, flights, do you have any

17      knowledge of prior flights, itineraries, you know, have

18      they -- have you had anybody that actually saw them,

19      you know, before they got on the plane, right, things

20      of that nature.

21                           Perfect example, and it's kind of related

22      to what, you know, could be happening in this

23      particular case is hotel/motel interdiction.                    So what

24      will happen is an officer will be watching a hotel.

25      They may be in an area, Carrizo Springs is a perfect

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 119 of 366




                                                                        Page 118

1       example, it's a source area, so you may have officers

2       watching the hotel.

3                           When they see a vehicle that is not from

4       Carrizo Springs or the Valley, let's say from Houston,

5       Austin, San Antonio, and it's at that hotel where they

6       are running license plates, they are seeing if -- who

7       it is.

8                           In this case, from San Francisco, it

9       could have been a hotel case to where someone is

10      watching a hotel, right.             And they see this guy, they

11      see the baggage, they see the clothing and then they

12      follow them to the airport, they watch him get the

13      ticket and they get on the plane and fly to Austin.                     So

14      that whole thing originated around just an officer

15      watching and doing what they call hotel/motel

16      interdiction, right.

17           Q.      Okay, I understand that.            And I guess what I'm

18      having trouble understanding is how do you know that

19      the things that you're talking about, where someone

20      stayed, where they are traveling from, what they are

21      wearing, means that they might be involved in some kind

22      of criminal activity?

23           A.      Well, you don't know, right.             It could be

24      innocent travel, but that's why you go talk to them.

25      That's why you go out and you talk to them and then you

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 120 of 366




                                                                        Page 119

1       either confirm or dispel there's criminal activity

2       afoot.      If there's no criminal activity, then you let

3       them go.       If there is criminal activity, then you put

4       them in jail.

5            Q.      We have covered a lot of this already, so I'm

6       just trying to skip through the --

7            A.      I'm sorry to -- I'm sorry to be jumping ahead

8       of you on a lot of this stuff.

9            Q.      No, you're great.         Then it just makes it, you

10      know, quicker.

11                          Should an officer rely on information

12      from another law enforcement agency, let's assume for a

13      second it is another law enforcement agency, if the

14      information is only this vehicle was suspicious, don't

15      learn anything else?

16           A.      It happens all the time in law enforcement,

17      you know.       Again, it goes back to the -- to the

18      experience of that officer who is giving the

19      information.        You know, it may be normal travel, it may

20      be -- again, I gave you an example earlier about what

21      an officer believes is suspicious in a car, you know.

22      I mean, it may be suspicious to one officer because

23      he's learning, let's say his travel patterns, you know.

24      I guess let me clean this up for you, I'm sorry.

25           Q.      Nothing to apologize for.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 121 of 366




                                                                        Page 120

1            A.      In my -- in my experience, when I was working

2       interdiction and I was learning my traffic pattern on

3       Interstate 35 north of Georgetown, okay, so I would

4       work typically from the Williamson County line to north

5       Georgetown and I would just be back and forth, less

6       traffic, I don't have to deal with local commuters that

7       are going to and from work, right.                But what I learned

8       is that there were commuters that were traveling from

9       Waco to San Antonio every day and they were driving

10      cars, that were commonly used to smuggle drugs.

11                          So I told you earlier that there may be a

12      vehicle that the drug cartels use that's got a certain

13      place for a compartment, the officers know this so they

14      want to see if that car is being used.                  Well, those

15      people driving from Waco to San Antonio every day is in

16      one of those cars and they happen to be in a car

17      without a seatbelt.           So I stop the car for probable

18      cause, he has no seatbelt on.              I learn that he drives

19      back and forth from Waco to San Antonio every day.

20                          Well, everyday I'm on that highway, I see

21      that same car at that same time pass by.                     I'm pretty

22      confident that that guy is not a drug smuggler, right,

23      but that experience that I gained and from the

24      beginning, not knowing, to the experience I had later,

25      knowing that that guy is in a drug smuggling type

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25    Page 122 of 366




                                                                         Page 121

1       vehicle, but he's not a drug smuggler may not be the

2       same case with the guy in San Francisco at the hotel,

3       right.       So he may think that this is suspicious with

4       this guy because he has never seen it before, but then

5       later on, after he gains more experience, he may

6       realize that that's not suspicious at all.

7                             So when that information comes from that

8       officer, I don't know what his experience level is, but

9       I think it's credible and I think he thinks it's

10      credible.        So it's worth taking a look at, it's worth

11      at least going out and seeing if anything is going on

12      illegally.

13            Q.      And when you say "seeing if anything is

14      illegal," seeing -- stopping that vehicle?

15            A.      Stopping the vehicle or a consensual

16      encounter, talking with the person, whatever the case

17      is.

18            Q.      Sure.     And is it fair to say that if the

19      information is coming from a law enforcement officer,

20      you're going to assume you can rely on it?

21            A.      Yes.

22            Q.      We can come back to this later.                 Let's go to

23      the second paragraph on page 28.

24            A.      28, second paragraph.

25            Q.      Uh-huh.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 123 of 366




                                                                        Page 122

1            A.      Okay.

2            Q.      I'm going to read the third sentence, and it

3       starts, "A reasonable officer in the same position

4       would have given credibility to the information

5       considering it was consistent from training and

6       experience that F-250 could have been used to smuggle

7       humans or drugs between Houston, a common destination

8       city, and south Texas, a common source of contraband

9       imported into the United States."

10                           Did I read that correctly?

11           A.      You did.

12           Q.      Do human and drug smugglers use vehicles,

13      cars, other than F-250s?

14           A.      Yes.

15           Q.      What are the most common vehicles?

16           A.      Well, bigger vehicles where more people can be

17      placed in them, that's one way, right.                  18-wheelers,

18      you know, is an example of that, larger pickup trucks,

19      vans, the example I gave you earlier on the traffic

20      stop that I did on the Ford Explorer that had 13, 15

21      people in it.         You know, you would never think you

22      could put that many people in a Suburban -- I mean,

23      Ford Explorer, but you can.              That's one part of it.

24                           But maybe this human smuggling

25      organization knows that the cops are looking for the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 124 of 366




                                                                        Page 123

1       big vehicles, so they are only taking two people at a

2       time.      So those two people that are smuggling may be in

3       a Ford Escort, so you just really never know, right.

4       But the bigger the vehicle, the more people are

5       probably concealed, or drugs.              Same thing with small

6       cars, if you have a small car, fewer people are going

7       to be smuggled.

8                            Does that make sense?

9            Q.      Yeah, I think so, but I'm not entirely sure.

10      So let me just try to tell you what I'm understanding

11      and you can correct me where I'm wrong.

12                           It seems like what you're saying is all

13      cars can be used to smuggle drugs and people; is that

14      right?

15           A.      That's correct.

16           Q.      But bigger vehicles are more suspicious

17      because they can fit more drugs or more people, is that

18      fair?

19           A.      Well, I wouldn't say more suspicious.

20           Q.      Okay.

21           A.      You know, I would say that, again, it goes

22      back to the officer's experience and his training.                     And

23      in this case, from the report that I read -- or not the

24      report, but the video that I watched of Deputy Babb --

25           Q.      And when you say video that you watched, what

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 125 of 366




                                                                        Page 124

1       video are you referring to?

2            A.      That be would the body cam video, when it

3       was --

4            Q.      Deputy Babb's body cam video?

5            A.      Deputy Babb's body cam video, when it's in the

6       front of his car on the dash, he makes a comment about

7       an 18-wheeler that they had had that had a lot of

8       people being smuggled in it.              That led me to believe

9       that he has some experience with human smuggling,

10      right, and the F-250 that he has stopped on side of the

11      road during this traffic stop is also a vehicle that

12      could be commonly used to smuggle people because of the

13      bed topper, right, it's got a bed topper, it's got

14      heavier suspension.

15                           In combination with that vehicle, with

16      the information that he had prior is -- leads me to

17      believe that he may have been thinking -- and, again,

18      I'm not in his mind, but if I was in his position, I

19      would have been first thinking human smuggling would be

20      the possibility, right, not drug smuggling.                    But it

21      could have been drug smuggling.               Who knows.

22           Q.      Sure.     And do people travel between Houston

23      and South Texas for reasons other than human smuggling

24      and drug smuggling?

25           A.      Yes.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 126 of 366




                                                                        Page 125

1            Q.      Okay.     And are the majority of people who are

2       traveling between Houston and South Texas involved in

3       drug smuggling or human smuggling?

4            A.      No.

5            Q.      By your estimate, what percentage of people

6       traveling between Houston and south Texas are involved

7       in either human smuggling or drug smuggling?

8            A.      That's the unknown question.             You know, I

9       can't answer that to be specific.                I can tell you the

10      answer that I give people in my training classes.

11           Q.      Yes, sir.

12           A.      That's a common question, believe it or not,

13      even with cops, you know, how many people are smuggling

14      drugs on the highway.            From my training and experience,

15      talking with people, interviews, dealing with Mexican

16      drug cartels and mules, you know, I would tell people

17      that for every traffic stop that I'm on, drugs or no

18      drugs, ten loads of dope passed me by.                  Ten cars loaded

19      with drugs passed me by while I'm on one traffic stop.

20           Q.      So let's assume for a second traffic is

21      going -- how long would the traffic stop be?

22           A.      It depends on the circumstances.

23           Q.      What's your average traffic stop,

24      nothing found, just generally?

25           A.      From my experience or from the experience

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 127 of 366




                                                                        Page 126

1       where Deputy Babb was?

2            Q.      From your experience?

3            A.      From my experience, you know, ten minutes is

4       actually -- I mean, I would -- I would have them cut

5       loose in ten minutes.

6            Q.      Ten minutes.        Okay, let's say ten minutes.

7       How many cars would you estimate pass by you in a

8       ten-minute timeframe?

9            A.      It depends, again, on the highway.                You know,

10      on Interstate 35 north of Georgetown, you know,

11      thousands.

12           Q.      So would 1,500 be a reasonable amount?

13           A.      I would not even venture to say -- I would say

14      it would be more than that.

15           Q.      Okay.     2000?     I have no idea.

16           A.      It's busy, it's packed.            You know, that's --

17      you really can't do statistics like that in trying to

18      figure things out because there's a difference in

19      traffic, there's a difference in how many cars pass you

20      on Interstate 35 in south San Antonio compared to

21      northern Georgetown.

22           Q.      Okay.

23           A.      So I don't -- I can't really come up with a

24      number.

25           Q.      Sure.     How about like a percentage?             I'm just

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 128 of 366




                                                                        Page 127

1       trying to get like a -- get my arms around this.

2            A.      On how much drugs are being trafficked, is

3       that what we're talking about?

4            Q.      Yeah.     Just like the number of people who are

5       using these highways, would you say like 10 percent of

6       folks driving on I-35 are smuggling drugs or people?

7                            MR. BARRON:      Objection, form.

8                            THE WITNESS:      I wish we knew.

9            Q.      (BY MS. HEBERT)         Okay.     So you just don't have

10      a sense?

11           A.      If you take into consideration the amount of

12      drugs that are seized by the Department of Justice, the

13      Drug Enforcement Administration, the Homeland Security

14      during their investigations, Border Patrol, on the port

15      of entries, on the checkpoints, by every deputy and

16      officer who stops cars every day in the United States,

17      there -- there are a lot of drugs here.

18           Q.      Understood.

19           A.      And that means that a lot of drugs pass you by

20      on the highway.

21           Q.      Understood.       And I guess like I want to focus

22      for a second on -- on folks traveling from -- to and

23      from Houston and South Texas.                Would you say the

24      majority of folks traveling to and from Houston and

25      South Texas are smuggling drugs or people?

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 129 of 366




                                                                          Page 128

1              A.      No.

2              Q.      So somewhere less than half?

3              A.      Absolutely.

4              Q.      Okay.     Does the fact that Alek drove an F-250

5       and that he drove between Houston and South Texas mean

6       that Deputy Babb had a reason to extend the traffic

7       stop here?

8              A.      Well, I don't know that -- no, I don't think

9       he -- the extension is not the issue.                   I believe that

10      plays a role in his original reasonable suspicion to

11      ask for consent.            It played a significant role, in my

12      opinion.

13             Q.      Help me -- so take a step back there.                    So you

14      believe the F-250 and the fact that he traveled from

15      Houston to South Texas played a role in his decision to

16      ask for consent; is that correct?

17             A.      In addition to the prior information that he

18      had?

19             Q.      Sure.

20             A.      It's possible, it's common all of the time

21      that people from Houston go to the Valley to pick up

22      drugs in large vehicles with bed toppers.                      So do all of

23      them do it, no, of course not.                 But in this case, he

24      had -- according to the information on the video, he

25      had prior experience with human smuggling.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 130 of 366




                                                                        Page 129

1       According --

2            Q.      And by "he," you're referring to Deputy Babb?

3            A.      Deputy Babb, I'm sorry, yeah.              That's my bad.

4                           So Deputy Babb had experience, in some

5       form or fashion, by his own admission in his video,

6       about a tractor-trailer with a lot of people in it.

7       Deputy Babb's training records indicate that he had a

8       lot of training for human smuggling through courses.                       I

9       don't have the, you know, syllabus for those.                    I don't

10      know what -- what occurred in those trainings, but you

11      can reasonably -- an officer could reasonably say he

12      has some experience with smuggling, human smuggling.

13                          So between his training, his experience

14      of prior human smuggling cases, the information that he

15      had from the officer, or whoever it was he was talking

16      with on the -- on the social media platform, all of

17      that would make a reasonable officer believe that this

18      truck traveling on a one-day turnaround from Houston to

19      Carrizo Springs, staying the night at a hotel and

20      encountering another person there and then traveling

21      back northbound, that would add to the reasonable

22      suspicion to ask for consent to search.                  That plays a

23      big role.

24           Q.      Understood.       Are officers supposed to consider

25      innocent explanations for facts like that, facts about

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 131 of 366




                                                                        Page 130

1       travel?

2            A.      It's been my experience that I don't know what

3       an innocent explanation is until I either confirm or

4       deny everything going on as a -- as a whole, right.                     So

5       as I'm on the scene as an officer in these situations,

6       I don't know whether the person is lying to me or not.

7       There are good liars and there are bad liars.

8                           So I can only depend on the circumstances

9       at hand, which, of course, I wasn't there, I wasn't

10      Deputy Babb to see everything going on.                  But from my

11      training and experience, you know, people are good

12      liars, so I don't take everybody for what they tell me.

13           Q.      So I guess that prompts the question for me of

14      how should an officer assess the explanation they are

15      given for travel?

16           A.      Yeah, of course.         They should ask questions,

17      you know, where are you going, where are you coming

18      from, you know, why are you there, have you ever been

19      there before, things of those natures to determine

20      whether or not that person regularly goes there for

21      business or personal or they are going to see family,

22      you know.

23                          What I have found in my training and

24      experience before on these stops -- and I'll use

25      Interstate 35 as an example -- is, you know, you stop a

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 132 of 366




                                                                        Page 131

1       guy -- and I had one one day, I stopped a guy north of

2       Georgetown.        In fact, it was at the county line, so

3       we're 25 miles north of downtown Austin.                     And I asked

4       the guy, "Hey, how are you doing today?                  Where are you

5       going?"      "Oh, I'm going from -- I'm going from the

6       Valley and I'm going to Austin," right.

7                           Well, immediately that's a red flag to

8       me, so I'm going to dig into that, right.                     That's an

9       obvious problem, right.            But the --

10           Q.      When you say "obvious problem," it's an

11      obvious problem because it's inconsistent -- the

12      explanation is inconsistent with their action, is that

13      fair, just to make it explicit?

14           A.      Of course.       He's 25 miles north of Austin, but

15      he tells me he's going to Austin.                That's common for

16      drug smugglers.         From my training and experience, I

17      would see that all the time.              So that would be one of

18      the things that would drive me to ask more questions to

19      them, add that to my piece of the pie, right, in order

20      to build a reasonable suspicion to then ask for consent

21      to search the vehicle, right.

22                          So people lie to you, it's just sometimes

23      some lies are better than others and it's hard to

24      detect.      And if you're not -- if you have ever been

25      around a very narcissistic person who is a good liar,

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 133 of 366




                                                                          Page 132

1       sometimes you can't read it.                They are very good.

2              Q.      Yeah, Mr. Fox.

3              A.      They are very good at covering that.                So to

4       answer your question, it takes a long time and a lot of

5       experience for an officer to determine whether that

6       person is telling you the truth or not the truth.                       And

7       even having a lot of experience, you still miss it, you

8       still miss the fact that they lied to you, you know.

9              Q.      So in terms of assessing someone's claimed

10      reason for traveling and claimed explanation for

11      things, you look for inconsistencies; is that fair?

12             A.      That's correct.

13             Q.      What else do you look for?

14             A.      Are we talking about an interdiction as a

15      whole?

16             Q.      Yeah.     I guess, you know, when you're

17      assessing someone's explanation, their innocent

18      explanation, their noncriminal explanation for their

19      behavior, how do you determine whether it's true or

20      not?        We talked about inconsistency.             What other things

21      do you look for?

22             A.      During the interview?

23             Q.      Yes, sir.

24             A.      Body language.        So when you're asking someone

25      a question, they respond to you in a certain way and

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 134 of 366




                                                                        Page 133

1       their body tells you things that you don't know your

2       body is telling you, right.              So when you ask the

3       question, you're looking for other things.                   You're

4       looking for gestures, facial expressions, you're

5       looking for hand movements, body movements.

6            Q.      It makes me automatically like super conscious

7       of my body language.           I'm like, what am I doing?

8            A.      Yeah, and no matter how -- and that's the

9       thing about it is no matter how hard you try, you know,

10      to control it, you can't.             And that makes people

11      uncomfortable, just as you're uncomfortable, right.

12      And it's like somebody on the side of the road that's

13      committing a crime, it intensifies, you know.

14                          So think about the drug trafficker who

15      knows they have ten kilos of Coke in the car and they

16      are driving north, their whole plan is, "What am I

17      going to do when I get stopped?"                So when that does

18      happen and they are -- they are driven up, they are

19      very on the edge.          That's what causes the -- oftentimes

20      you hear they were very nervous, right, they were

21      breathing hard, they had dry lips, they were, you know,

22      avoiding eye contact with me, they were -- all of these

23      things are things that you look for, right.

24                          Now, as you said earlier, a lot of people

25      are just that way, even innocent people, so that's why

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 135 of 366




                                                                        Page 134

1       you have to calm them down.              You have to make them

2       realize, "You're not going to jail, this is just a

3       Class C violation."           That should help them with their

4       body language.         They are not going to exhibit these

5       things anymore, you know, that you would pick up on to

6       determine whether what they said was a lie or not a

7       lie, right.

8                            And if that person does calm down, if

9       that person does stop all of these things that the

10      officer is seeing, odds are they were telling the

11      truth.      You know, if they continue and they are still

12      doing these things that -- you know, they are

13      stretching or, you know, they are answering a question

14      and they are covering their mouth or hitting their

15      nose, you know, at certain times during the interview,

16      then that is still cause for concern that they are

17      being deceptive.

18           Q.      How do you know, for body language, what's

19      normal for that person versus a sign of them being

20      nervous or trying to hide something?

21           A.      Sure.     I'm glad you asked.          You develop what

22      they call a baseline with nonthreatening questions that

23      have nothing to do with anything illegal.                    Once you

24      develop that baseline, a person answers a question in a

25      certain way, right.

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 Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25    Page 136 of 366




                                                                      Page 135

1                         Unbeknownst to them, they are answering,

2       "Yes, sir, no, sir, yes, ma'am, no, ma'am," right,

3       we're talking about the weather, the family, things of

4       that nature.      In their mind, they know that the, "Do

5       you have drugs" question is coming, so their body is

6       starting to tense, their blood pressure is going up,

7       maybe their carotid artery starts to pop, you know,

8       they start getting veins in their head that are popping

9       because their blood pressure is going up, they start

10      breathing more.       That's -- that's noticeable to an

11      officer trained to see it.

12                        When that question does come that "Yes,

13      ma'am" or "no, ma'am" turns into a lot of different

14      things.     It could be no answer at all.             It could be a

15      nervous laugh, "No, of course not, no, I've never used

16      drugs in my life."        That's off of baseline.             That's not

17      the "yes, ma'am, no, ma'am."            That is now something

18      that triggered this guy's response because then you go

19      to, "Do you have any dead bodies in the car?"                   "No,

20      sir."     "Do you have this --" so they go back to

21      baseline.

22                        Now, that in itself doesn't mean anything

23      unless you go back and confirm it again.                   That's just

24      something that you pick up on.             So then your interview

25      should be something nonstressful, go back and confirm

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 137 of 366




                                                                        Page 136

1       that their baseline is "yes, sir, no, sir" and then

2       when you come back to that question and start talking

3       about that more, they are going to go back to the "no,

4       man," you know, and try to change the subject or do

5       whatever they are doing.             That is something that I want

6       to look into a little bit more, whatever that topic is.

7                            So that's how I determine whether or not

8       a person is being truthful with me and the things that

9       I look for during that interview and the baseline.

10           Q.      Okay.     Let me summarize what I'm taking away

11      from that and you can tell me what I miss and what I

12      don't get right.

13                           You -- in your interviews, or in good

14      interviews, you -- an officer will move between

15      nonthreatening questions and questions that are

16      investigatory in nature and compare the responses to

17      those questions.

18                           Am I understanding that correctly?

19           A.      Yes.

20           Q.      And if the two -- if the behaviors in response

21      to the two types of questions are different, that

22      raises a red flag?

23           A.      It does.      It doesn't mean that they are doing

24      anything illegal, right?             It's just telling you that

25      you need to revisit whatever that was, right.                    There

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 138 of 366




                                                                        Page 137

1       could be some legitimate reason behind it, you know.

2       Maybe there's not, right.

3            Q.      And would you say most of the drivers that

4       are -- let me rephrase that.

5                            When an officer walks drivers through the

6       alternating nonthreatening investigatory questions,

7       would you say that most drivers are unaware of what the

8       officer is doing there?

9            A.      Oh, yeah, they don't know.

10           Q.      I want to go back to your report, and just

11      take a look at the third paragraph down.                     And can you

12      just review this paragraph for a second and I'll ask

13      you some questions?

14           A.      That starts with "Deputy Babb"?

15           Q.      Yes, sir.

16           A.      Okay.

17           Q.      Is there anything illegal in driving from

18      Houston to a remote area of Texas?

19           A.      No.

20           Q.      Okay.     Is there anything illegal in driving

21      from Houston to a remote area and meeting a woman?

22           A.      No.

23           Q.      Is there anything illegal in driving from

24      Houston to a remote area and staying at a Holiday Inn?

25           A.      No.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 139 of 366




                                                                        Page 138

1            Q.      Meeting a woman at a Holiday Inn?

2            A.      Nope.

3            Q.      Are the majority of people driving from

4       Houston to a remote area in Texas driving to stash

5       houses?

6            A.      In the mind of who?          In a criminal

7       interdiction, you know, an officer that's looking for

8       drug smugglers, it's a big red flag, right.                    Houston to

9       the Valley is a big red flag, only because Houston is

10      known as such a destination for large quantities of

11      drugs, right.

12                           So how the drug industry works is it

13      comes across the border into Texas and, many times, the

14      drugs are stashed at a location, big bulk quantities,

15      or a lot of people.           A lot of times it's in a rural

16      area, right, and they don't want the cops around.

17                           So the vehicle coming from Houston to the

18      Valley, going to a hotel and then leaving a hotel to go

19      to a remote area with another person that they met at

20      the hotel and then come back to the hotel and then

21      leave and go back to Houston, and that's a one-day

22      turnaround, that's suspicious to an officer, a criminal

23      interdiction officer.

24                           And to answer the question, does that

25      occur a lot, yes, that is a big -- that happens the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 140 of 366




                                                                        Page 139

1       majority of the time with drug smuggling cases, right,

2       and officers know that.            That's common knowledge within

3       the narcotic investigation world, right.

4                            So that puts more weight on the officer

5       that knows that, that gives more credibility to what

6       he's seeing and makes him want to either confirm or

7       dispel that vehicle is involved simply from those

8       factors.

9            Q.      Sure.     I guess my natural response to that is

10      to think about all of my -- all of my friends who work

11      in the oil and gas industry and who are out in south

12      Texas all the time staying at hotels and going out to

13      remote areas.

14           A.      Oh, yeah.

15           Q.      And that's just a lot of what my friends do.

16           A.      Uh-huh, it's normal.

17           Q.      Yeah.     So, I guess, is that something an

18      officer should consider when evaluating folks who are

19      going from Houston to a remote area of Texas, whether

20      those folks are going for innocent work?

21           A.      Well, the majority of the people doing that

22      are going for innocent work, but the officer doesn't

23      know that, right, until he talks with them.                    But once

24      he talks with that person, just as we said earlier, you

25      know, with Mr. Fox here, that person that's

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 Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 141 of 366




                                                                      Page 140

1       legitimately in an oil field truck driving north on the

2       interstate that gets stopped for a traffic violation,

3       they are not going to exhibit anything to that officer

4       that he will even ask for consent to search the truck.

5                         So, typically, they won't even -- they

6       won't even get searched as far as, you know, ask for

7       consent to search.        Nothing.      Just like the scenario

8       you gave me with Mr. Fox with the two kilos of meth in

9       your car, they would have never known he had two kilos

10      of meth in his car because it was normal, right, it's

11      normal.     They work for an oil company, they answered

12      all of the questions, you know, they stayed at the

13      hotel -- because an oil company worker that works there

14      typically is in the hotel more than one night.                      They

15      are there a lot, right, not just one time to the

16      Valley.     So it's normal, you just have to decide that

17      as you, you know, talk to the people.

18                        Now, I want to address this oil field

19      worker issue that you brought up with your friends, or

20      people that you know, not necessarily your friends. But

21      the drug cartel commonly uses oil field vehicles as

22      smuggle vehicles.        It is common.        I've seen a lot of

23      them.     You know, they smuggle the drugs in the oil

24      tanks, the fuel cells, you know, I've gotten cocaine

25      and marijuana out of fuel cells in the back of these

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 142 of 366




                                                                        Page 141

1       trucks.

2                            In the case of -- in this case -- and

3       I'll go ahead and tell you this -- in this case, there

4       were two bottles in the back of this truck that

5       Mr. Schott had, right, two yellow bottles.                     I've gotten

6       drugs out of those bottles, I've gotten cocaine out of

7       those, right.         That is a big red flag to me because

8       that is commonly used by drug smugglers in oil field

9       type trucks going northbound on I-35.

10                           So all of those factors fit Mr. Schott's

11      vehicle, right.         So it doesn't mean he's a drug

12      smuggler, but it means that drug smugglers commonly use

13      innocent businesses to cover their activities.                        And

14      it's up to that officer to stop that vehicle and either

15      confirm or dispel that that's a drug trafficker or if

16      it's a person just working.

17           Q.      Sure.     And we have been talking about I-35 and

18      Houston as like the two monikers, the two things.                           But

19      would you say that everything we are talking about is

20      the same for any major Texas city and any major

21      highway?

22           A.      It differs in the drug industry because

23      Houston is just such a large city, right, and there's a

24      lot of drugs that go to Houston.                Dallas is a very

25      large city, a lot of drugs go to Dallas.                     Fort Worth,

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 143 of 366




                                                                        Page 142

1       you don't see as much, right.              There are loads of drugs

2       that go there, I've gotten loads of drugs going to Fort

3       Worth on I-35, but not as much as Dallas.

4                           So the bigger cities are often known as

5       being the places where the cartels like to set up shop.

6       That's where they have got their people working to

7       receive the drugs, right.             So does every major city

8       have them, sure, they do.             But being this is in

9       proximity to Mexico, Houston and Dallas are just --

10      they are just the biggest ones for this next stop in

11      the process of drug trafficking.

12           Q.      Understood.

13                          MR. BARRON:       It's 12:15 and we're nearly

14      at three hours.         Do you want to take lunch now or keep

15      going?

16                          MS. HEBERT:       Let's go for a couple more

17      minutes because I have a good -- like once we're

18      through this section, it will make a natural, I think,

19      break if we can finish off.

20                          MR. BARRON:       Sure.

21           Q.      (BY MS. HEBERT)         I want to go to the fourth

22      paragraph and -- so one, two, three, four on page 28,

23      and it's the final sentence.              I'm going to read it for

24      you so we all will know where we are.

25                          "In the case under review, a reasonable

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 144 of 366




                                                                        Page 143

1       officer with the same training and experience as Deputy

2       Babb would have believed the F-250 driven by Schott was

3       capable -- well, was cable --"

4            A.      That was a misspelling.            I meant to tell you

5       about that one earlier too, sorry.

6            Q.      That's okay.        I normally read straight

7       through.       Let me start again.         "In the case under

8       review, a reasonable officer with the same training and

9       experience as Deputy Babb would have believed the F-250

10      driven by Schott was cable of transporting --"

11           A.      "Was able," it's supposed to be "able," I'm

12      sorry.

13           Q.      "-- large quantities of drugs and/or people."

14                           Did I read that correctly?

15           A.      That's true.

16           Q.      Okay.     And "cable" should have been "able"?

17           A.      Yes, ma'am.

18           Q.      Okay.

19           A.      I apologize.

20           Q.      No, that's okay.         And I think that answers my

21      question because I wasn't quite sure what the --

22           A.      Oh, I'm sorry.

23           Q.      That's helpful.

24           A.      And I did recognize that earlier and I had

25      that, you know, and I just -- it was one of the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 145 of 366




                                                                        Page 144

1       misspells that I had.

2            Q.      Yeah.     So, I mean, I guess just to put a fine

3       point on it then, this sentence, you're saying that an

4       officer in the shoes of Deputy Babb would have believed

5       that an F-250 was able to transport large quantities of

6       drugs and people?

7            A.      Yes, ma'am.

8            Q.      Okay.     Just want to make sure I got it.

9            A.      I understand.

10           Q.      Let's skip to paragraph 11, which is page 30,

11      and it's the first full paragraph on page 30.                     It

12      starts "Deputy Babb."

13                           Do you see that part?

14           A.      Yes, ma'am.

15           Q.      And I want to look at the last sentence in

16      that paragraph and I'm going to read it.                     "Rodriguez

17      versus United States focused on extension of a traffic

18      stop in order to obtain the reasonable suspicion to

19      call for a K9 to search a vehicle, which wasn't

20      applicable in this case."

21           A.      Yes, ma'am.

22           Q.      Did I read that correctly?

23           A.      Yes, ma'am.

24           Q.      Okay.     As I understand this sentence, you

25      concluded that the case of Rodriguez versus United

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 146 of 366




                                                                        Page 145

1       States did not apply to this particular case.

2                           Am I understanding that correctly?

3            A.      Well, I'm going to put on the record I'm not

4       an attorney, right.           I can't determine what case law

5       says or not says.          But what happens is law enforcement

6       has to look at case law to guide them in future, you

7       know, cases, right.           So as part of our training, as

8       part of our experience, you know, we oftentimes train

9       officers on case law.            However, case law can only be

10      determined or -- you know, by a judge, right, an

11      attorney, someone smarter than me, right.

12                          However, this case with Rodriguez I

13      believe in.        I have actually had very -- I have

14      experience with this case because I always believe that

15      an officer should develop reasonable suspicion before

16      asking for consent to search a car, okay, I have always

17      instructed that.

18                          Unfortunately, throughout my career,

19      there have been officers who have attempted to take

20      criminal interdiction cases, turn them into consensual

21      encounters and then, you know, have somebody stopped on

22      the side of the road and say, "Oh, you're free to go,

23      here's your warning," let them walk back to the car,

24      "Oh, by the way, you know, I'm a police officer and my

25      duty is to look for drugs and contraband.                    Can I search

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 147 of 366




                                                                        Page 146

1       your car?"

2                            When instructors would come to Williamson

3       County and they would teach that, it took me a year to

4       clean that up and to get these officers back to doing

5       what they should be doing, and that being don't ask for

6       consent to search the car unless you've got reasonable

7       suspicion to do so.           You're wasting your time with the

8       innocent public, right.            Don't do it.       I was happy that

9       Rodriguez came down because that clarified it from the

10      Supreme Court for everyone that you need to have

11      reasonable suspicion before you ask for consent when

12      you search a car.          I believe in the Rodriguez case.

13           Q.      Okay.     So help me understand why you conclude

14      it doesn't apply here.

15           A.      Because this case, this traffic stop is more

16      than just a cold traffic stop.               There was prior

17      information.         And in Deputy Babb's mind, at his level

18      of training, his level of experience, as we talked

19      about earlier, he believed, in my opinion, from his

20      videotape and from the reports, he believed that the

21      information that he received through that WhatsApp

22      was credible.

23                           From his training and experience, as he

24      said on his video about the human smuggling, he

25      believed that truck could have been used in human

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 148 of 366




                                                                        Page 147

1       smuggling.       I truly believe that's where -- that's

2       where this investigation was going to begin with.

3                           So there are many things that transpired

4       that are credible or, in his mind at that time, that

5       lead to reasonable suspicion before he even stops the

6       truck, and that being the things we covered earlier,

7       right.      So he's received information -- and I've

8       already covered this once -- he received information

9       from someone -- do I need to go over it again?

10           Q.      We can deal with it more specifically later.

11      But he got information?

12           A.      Yeah, he got the information that the truck

13      came up I-35, it was the same license plate, it was the

14      same truck, it was a truck with a bed cover that, in

15      his experience, he believed could be used for human

16      smuggling.       There was probable cause to stop the truck

17      or, in his mind, a traffic violation.                 He stops the

18      truck -- do you want me to continue with the -- what I

19      believe the reasonable suspicion to lead up -- once he

20      stops the truck, he asks the passenger -- or he asks

21      Mr. Schott about where he was coming from.                   You know,

22      he talked about the -- you know, sleepy -- he talked

23      about the sleepy thing and Mr. Schott made a comment

24      about he stayed in a hotel last night.                  Well, that's

25      subjective and could've been subjective in an officer's

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 149 of 366




                                                                        Page 148

1       mind.

2                           (Discussion off the record)

3                           THE WITNESS:       It could have been

4       subjective in an officer's mind at the time, right,

5       because when I listen to that, from my training and

6       experience, that meant something, that confirmed to me

7       the information that he had received from the WhatsApp,

8       that he actually went down for a one-day turnaround,

9       which is big, coming from Houston to the Valley, it

10      adds to the reasonable suspicion, right.

11                          So I said that in this paragraph because

12      all of these things happened before he even put

13      Mr. Schott in the front seat of the car, and they can

14      all be articulated as to why an officer of the same

15      experience, the same training would have believed he

16      had reasonable suspicion to ask for consent.

17                          So that's why I think that the Rodriguez

18      case is not applicable here because that happened all

19      within three minutes and 30 seconds, I believe, of the

20      traffic stop.         He had all of those things already.

21      That's where it's important to -- in this particular

22      case, the previous information that he had that he

23      believed was credible in his mind is important.                       It was

24      not just a cold stop.

25           Q.      Understood.       Let's skip to paragraph -- let's

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 150 of 366




                                                                        Page 149

1       skip to paragraph 8, which is --

2            A.      What page would that be?

3            Q.      I wrote numbers on them just because I was

4       having a hard time.           I knew we would want to talk --

5                            MR. BARRON:      I'm not hallucinating those.

6       Those are your numbers?

7                            MS. HEBERT:      Those are my numbers.

8                            MR. BARRON:      I'm not hallucinating.

9                            MS. HEBERT:      So that's why I'm like,

10      okay, paragraph 8, which is where.

11           Q.      (BY MS. HEBERT)         So 29, page 29, and the

12      fourth paragraph down, it starts, "In the case of

13      Rodriguez versus United States."

14           A.      Uh-huh.

15           Q.      I'm going to read the first sentence.

16           A.      Okay.

17           Q.      "In the case of Rodriguez versus United

18      States, 575 U.S. 348 (2015), extension of traffic stop,

19      the United States Supreme Court ruled that a traffic

20      stop could not be unreasonably delayed to develop

21      reasonable suspicion in order to call for a K9 to

22      search a vehicle."

23                           Did I read that correctly?

24           A.      Yes, ma'am.

25           Q.      What does "unreasonably delayed" mean as you

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 151 of 366




                                                                        Page 150

1       use that term there?

2            A.      It goes back to the example I gave you before

3       when I would have to clean up these trainings, right.

4       You're delaying a person when you stop the person,

5       you've talked with them, you tell them they they are

6       free to leave, they can go and then you try to continue

7       the traffic stop, you know, and then they say no,

8       because that's what happened in the Rodriguez case.

9       They say no.         What are your options as a police

10      officer?       None, let them go, right?

11                           So that would be delaying -- if you told

12      them, "No, you're going to wait here until I get a

13      dog," they have delayed that person in order to get the

14      K9 there.       That's my opinion.

15           Q.      Okay.     And if a traffic stop is not extended

16      because of reasonable suspicion, how long should the

17      traffic stop go?

18           A.      A normal, everyday traffic stop, you can get

19      it done in ten minutes.

20           Q.      Okay.     The same paragraph, I want to look at

21      the second sentence here.             It's -- I'll read it, just

22      for sake of clarity.

23           A.      Thank you.

24           Q.      "Considering the totality of the circumstances

25      faced by Deputy Babb, an officer with the same

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 152 of 366




                                                                        Page 151

1       experience and training would believe, under the same

2       set of circumstances faced by Deputy Babb, that

3       articulable facts existed and that further

4       investigation would confirm or deny the suspicions

5       perceived by Deputy Babb."

6                           Did I read that correctly?

7            A.      Yes, ma'am.

8            Q.      And when you wrote, "The same set of

9       circumstances faced by Deputy Babb," what did you mean?

10           A.      It goes back to the level of experience that

11      Deputy Babb had is that particular time, right.                       As I

12      said earlier, every officer has -- you know, they learn

13      things as they go throughout their career.                   And at that

14      particular time, Deputy Babb believed that it was a

15      credible stop, the information was credible, so

16      therefore, in his mind, with his experience, he did

17      everything according to policy and just as any other

18      officer that I have seen in the past do, including

19      myself, I have done the same thing.                 So that's nothing

20      inconsistent with standard law enforcement.

21           Q.      Understood.       And how did you determine the

22      circumstances of what Deputy Babb believed?                    Is it fair

23      to say you got facts from Deputy Babb's testimony?

24           A.      So it goes back to the video, the body cam

25      video of Deputy Babb.

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 153 of 366




                                                                          Page 152

1              Q.      Sure.

2              A.      The reports -- well, I guess I would say the

3       deposition, more so, that you did with him that I read

4       where there's way more detail than this report.

5                              From those two things combined and from

6       my training and experience of being an officer that's

7       had similar circumstances, I can understand -- from his

8       level of training and from where he was at that

9       particular time, I can understand why he did what he

10      did.        Obviously, I don't know that for certain, I'm not

11      Deputy Babb, I'm not in his head and I can't, you know,

12      speculate on what he was thinking.                  But it is

13      consistent with, you know, what I've done in the past.

14             Q.      Sure.     And just so that I'm clear, you

15      reviewed Deputy Babb's body camera and you reviewed his

16      deposition testimony to evaluate what Deputy Babb

17      believed?

18             A.      Correct, or what a reasonable officer would

19      believe in Deputy Babb's position, more or less.                        I

20      mean, obviously, again, I'm not Deputy Babb, I can't

21      say what Deputy Babb believed, right.                   It's just from

22      the position that he was in at that particular time.

23             Q.      Understood.       I think that this is a great spot

24      for a lunch break.

25                             MR. BARRON:      Very good.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 154 of 366




                                                                        Page 153

1                            (Lunch recess from 12:29 p.m. to

2       1:37 p.m.)

3            Q.      (BY MS. HEBERT)         So we are back on the record

4       after lunch.         A couple of form questions that I always

5       have to ask.

6                            Did you talk to anybody about this case

7       during the lunch break?

8            A.      No.

9            Q.      Great.     So let's look back at your report,

10      which we have marked as Exhibit 111.                 Let's go to

11      page 1, the official page 1, and I'm going to skip to

12      the second paragraph on this first page and I'll read

13      this sentence.         "My opinions are based on the

14      documents, recordings and sworn depositions provided to

15      me in this case to date, as well as my experience,

16      training, education and research in the field of law

17      enforcement."

18                           Did I read that correctly?

19           A.      Yes, ma'am.

20           Q.      Okay.     Did you do any new research in forming

21      an opinion in this case?

22           A.      No, ma'am.

23           Q.      Okay.     So would it be fair to say there were

24      two buckets of information you considered in forming

25      your opinion, the evidence and information about this

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 155 of 366




                                                                        Page 154

1       case that you had and your law enforcement training and

2       experience?

3            A.      It took me a minute to track with what you're

4       doing, but I'm a visual person so I'm going with you.

5            Q.      Got it.      Anything else that you did in forming

6       your opinions here?

7            A.      No, not that I can remember.

8            Q.      Did you meet with Deputy Babb?

9            A.      Absolutely not.

10           Q.      Did you meet with any Bexar County Sheriff's

11      officers?

12           A.      Absolutely not.

13           Q.      Did you conduct any site visits?

14           A.      I did not.

15           Q.      Did you do any testing?

16           A.      I did not.

17           Q.      Okay.     Let's skip to page 5 of your report.

18      Do you see the header "Research and Review," that's

19      where I'm looking on page 5?

20           A.      Yes, ma'am.

21           Q.      And it goes -- there's a list of items that

22      goes from page 5 to page 6.

23                           Do you see that?

24           A.      Yes, ma'am.

25           Q.      Does the list on pages 5 through 6 contain

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 156 of 366




                                                                        Page 155

1       everything that you reviewed in forming your opinion in

2       this case?

3            A.      Yes, ma'am.

4            Q.      Okay.     No other documents?

5            A.      No other documents.

6            Q.      No other recordings?

7            A.      No other recordings.

8            Q.      Okay.     And am I correct to say that these --

9       there's a list of 23 items here, with some of those

10      items containing multiple subcategories of things?

11           A.      Yes, that's correct.

12           Q.      Okay.     And it appears to me that items 1

13      through 11 are either Texas statutes or case law; is

14      that correct?

15           A.      That's correct.

16           Q.      How did you identify these sources of law, for

17      a lack of a better descriptor, of one through 11, as

18      relevant in this case?

19           A.      Texas Transportation Code is where traffic

20      violations are found.            The Texas Code of Criminal

21      Procedures guides -- governs law enforcement.                    The case

22      law is case law that is -- I have found through my

23      training and experience or my research that are

24      relevant to drug interdiction cases or cases that are

25      similar to this one.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 157 of 366




                                                                        Page 156

1            Q.      Got it.      So how did you get copies of these

2       cases?

3            A.      Much of that is from research online.                    I did

4       not use any case law that I had previously, but many of

5       these cases I have reviewed.              You know, Terry versus

6       Ohio, Whren versus United States, all of these cases

7       are cases that we have used in training before and they

8       are cases that, you know, I mean, I'm more familiar

9       with than others.

10                          But in order to keep up with current case

11      law that may have changed, then obviously I do review

12      on the Internet and I find them on the Internet.

13           Q.      Understood.       And when you do review on the

14      Internet, do you read summaries of the cases or the

15      cases themselves or something else?

16           A.      I read the entirety of the case, for the most

17      part, depending on which one it is.                 If I find that

18      it's not relevant, then, of course, I won't continue to

19      read it.

20                          But in these particular cases, I try to

21      read -- I'm not going to say I read every one verbatim.

22      I couldn't say that.           I do read summaries in a lot of

23      them, but if I find them applicable to the situation at

24      hand, then I'll take more time to read -- read more

25      into the case law, read the whole thing.                     It's

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 158 of 366




                                                                        Page 157

1       confusing, I'm not an attorney and, you know, it's

2       Greek to me a lot of times.              That's what you guys'

3       specialty are, as far as being an attorney, and I'm not

4       an attorney.         But I do enjoy reading it just for it to

5       benefit my knowledge.

6            Q.      Understood.       Did you -- so the cases that are

7       listed here in this list on page 5, did you read all of

8       these cases in their entirety?

9            A.      I can't say that I read every one in their

10      entirety, no.

11           Q.      I want to ask you a question about No. 11.

12                           Do you have access to Westlaw?

13           A.      Not Westlaw, no, ma'am.

14           Q.      Okay.     So how did you obtain a copy of United

15      States versus Redrick?

16           A.      So Redrick, I believe, is the California case,

17      if I'm not mistaken, or it's out of California, if I'm

18      not mistaken.         I believe that I found that case

19      through -- it may have been from the Institute of

20      Justice website.          If I'm not mistaken, that's where I

21      found that case.

22           Q.      Okay.     So you consulted the Institute for

23      Justice website and it was somewhere on there?

24           A.      Yes, ma'am.

25           Q.      Okay.

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 159 of 366




                                                                          Page 158

1              A.      It was either a website or it could have been

2       a video that you guys have done, because I believe you

3       guys did a video that I reviewed.

4              Q.      Oh, okay, I see what you're saying.                14G,

5       YouTube video by Institute for Justice dated June 6th,

6       2023.

7              A.      Yes, ma'am.

8              Q.      Is that what you're talking about?

9              A.      Yes, ma'am.       So I believe that's where I saw

10      the case of United States versus Redrick, which I found

11      interesting because I've never heard of it before.

12             Q.      Sure.

13             A.      So I thought that I would read it.

14             Q.      And then you obtained that case from Westlaw?

15             A.      No, I didn't obtain anything from Westlaw.

16             Q.      Okay.     So did you read this United States

17      versus Redrick case?

18             A.      I read a lot of the case.            I don't think that

19      I -- I don't think that case -- I don't think I

20      commented on that case anywhere in my report.                      Maybe I

21      did.        I may be mistaken.

22             Q.      Page 30, second full paragraph, did you

23      discuss United States versus Redrick in this portion of

24      your report?

25             A.      Let me read the paragraph, if you don't mind.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 160 of 366




                                                                        Page 159

1            Q.      Sure, take your time.

2            A.      Oh, I was on the wrong paragraph, I'm sorry.

3       I was on the second paragraph, not necessarily the

4       complete paragraph.

5            Q.      Sorry, I know it's a little tricky.

6            A.      Yes, ma'am, I did write that and I did review

7       that case.

8            Q.      Okay.      So did you read that case in its

9       entirety?

10           A.      No.

11           Q.      Okay.      I want to look at -- go back to page 5.

12      Sorry, I'm jumping around a little.

13           A.      That's okay.        No, I appreciate you pointing

14      that out.       Okay.

15           Q.      And look at item 13 and you see the title

16      "Deposition" is there?

17           A.      Yes, ma'am.

18           Q.      For each of these depositions, did you review

19      the entirety of these depositions?

20           A.      I did.

21           Q.      Okay.      And for Martin Molina, I see that

22      there's a date of 04/18/2024.

23                           Do you see that?

24           A.      Yes, ma'am.

25           Q.      Did you review one deposition transcript for

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 161 of 366




                                                                        Page 160

1       Deputy Molina?

2            A.      I believe there were two for Deputy Molina.

3            Q.      Okay.     But that second deposition transcript

4       isn't listed here?

5            A.      It is not.       It may be -- there also is not a

6       parentheses at the end, so I may have -- that may be an

7       omission on my part, a mistake on my part.

8            Q.      And there are one, two, three, four, five,

9       five people listed here under the title "Depositions."

10      Is that fair?

11           A.      Yes, ma'am.

12           Q.      So did you only review depositions from these

13      five individuals listed here on page 5 of your report?

14           A.      Yes, ma'am.       These are the five depositions

15      that I reviewed, yes, ma'am.

16           Q.      So if there are other depositions in this case

17      you did not read those?

18           A.      Not for purposes of my report, no, ma'am.

19           Q.      Okay.     I'm going to hand you what has been

20      previously marked Exhibit 49.              Would you mind pulling

21      that out?       And before we get to that -- go ahead and

22      pull that out.

23                           Before we get to that, if we did not cite

24      United States versus Redrick -- Redrick from the Eighth

25      Circuit in our video, where would you have gotten that

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25    Page 162 of 366




                                                                         Page 161

1       case?

2             A.      At that particular time, that was early in my

3       research of this case, so I was trying to catch up with

4       case law, any new case law that may be relevant.                       So I

5       Google search and I get on and then I'll read case law

6       and then see if there's any other case law that is, you

7       know, mentioned within that case law that the judgment,

8       the summary judgment was made, so then I'll jump to

9       that case law and read it.

10                            So odds are I could have seen that same

11      case in other -- within other case law or opinions, but

12      in all transparency, the first time I saw it, I think,

13      is whenever I looked at your website and I watched the

14      video on a PowerPoint slide that had something about

15      Redrick.        And I'm like, "Oh, that's new.                I didn't -- I

16      didn't know anything about that."

17            Q.      Sure.     And -- but you can't say, sitting here

18      today, whether you got this United States versus

19      Redrick from our PowerPoint or from Google searching?

20            A.      I don't remember specifically.              I just know

21      that that's the two ways that I -- I would have found

22      it.

23            Q.      Understood.       Okay.     Let's look at exhibit --

24      what has previously been marked Exhibit 49.                      And I have

25      to get it for myself now.               Take a -- take a second to

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 163 of 366




                                                                        Page 162

1       review it.

2            A.      Yes, ma'am.

3            Q.      If you need to spend some time reviewing a

4       couple of pages here, I'm happy to go off the record

5       for a minute.

6            A.      It will take a second because I just want to

7       read and see what it is.

8                            MS. HEBERT:      Let's just take a

9       five-minute break, Donna.

10                           (Recess from 1:50 p.m. to 1:56 p.m.)

11           Q.      (BY MS. HEBERT)         We took a short break.           We're

12      back on the record.           Did you have a chance to review

13      what's been previously marked Exhibit 49?

14           A.      I did, yes.

15           Q.      And have you ever seen this document before?

16           A.      I have not.

17           Q.      Okay.     Were you provided copies of all of the

18      exhibits that were reviewed during the depositions for

19      the deposition transcripts you reviewed?

20           A.      No, I was not.

21           Q.      Let's go back to your report.              Do you see

22      item 14 on page 5?

23           A.      Yes, ma'am.

24           Q.      And I see the header "Videos."

25                           Do you see where I'm looking at?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 164 of 366




                                                                        Page 163

1            A.      I do.

2            Q.      Are these videos that you viewed in forming

3       your opinion?

4            A.      It is.

5            Q.      Okay.     For the first one, the private dash cam

6       of Alek Schott, what dash cam are you referring to?

7            A.      That would be a one-minute clip or so of a

8       video from -- that was made from within his vehicle.

9            Q.      Okay.     And was there only a single recording

10      that you reviewed from Mr. Schott's dash cam?

11           A.      Yes.

12           Q.      B -- body-worn camera, BWC, Joel Babb, do you

13      see that?

14           A.      I do.

15           Q.      Did you review one recording from Deputy

16      Babb's body-worn camera?

17           A.      Body-worn camera as far as video from the

18      patrol car, yes, with Mr. Schott, yes.

19           Q.      Okay.     So you reviewed one recording from

20      Deputy Babb's body-worn camera?

21           A.      That's correct.

22           Q.      From Deputy Gereb, one recording from Deputy

23      Gereb?

24           A.      Yes, ma'am, one.

25                           THE REPORTER:       What was the name?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 165 of 366




                                                                        Page 164

1                            MS. HEBERT:      Gereb, G-E-R-E-B.

2                            THE WITNESS:      Well, there may be two on

3       that one.       I have marked two videos for that one,

4       volume 1, dated 2/27/24, and volume 2 taken 8/1/24 --

5       oh, that's depositions, I'm sorry, I'm sorry.                    That's

6       my mistake.

7            Q.      (BY MS. HEBERT)         No, no, that's okay.

8                            So 14C, BWC, Deputy Joe Gereb, you

9       reviewed one --

10           A.      One video, yes, ma'am.

11           Q.      -- from him?

12                           And exhibit D, same, one video?

13           A.      Yes, ma'am.

14           Q.      Any of these categories, the 14 -- the videos

15      listed there that were multiple videos?

16           A.      Not to my recollection, no.

17           Q.      Okay.     Other than speaking with the lawyers in

18      this case, did you speak to anybody else in forming

19      your opinion in this case?

20           A.      No, ma'am.

21           Q.      Other than providing you copies of documents

22      of evidence in this case, did Mr. Leake or Mr. Barron

23      or their colleagues provide you copies of documents to

24      review?

25           A.      Other than what we have here?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 166 of 366




                                                                        Page 165

1            Q.      No.     Other than evidence that relates to the

2       facts of this case, did they provide you any of those

3       documents?

4            A.      No.

5            Q.      Okay.     Other than providing you documents, did

6       defendants' attorneys identify any assumptions that you

7       should rely on in forming your opinion in this case?

8            A.      No, ma'am.

9            Q.      I don't see any text messages listed in the

10      items on pages 5 through 6.

11                           Am I understanding that correctly?

12           A.      Text message specifically, no, ma'am.

13           Q.      Did you review any text messages in forming

14      your opinion in this case?

15           A.      Not in forming my opinion, no.

16           Q.      And in -- otherwise?          I'm not talking about

17      your text messages with your kids or your partner or

18      anything like that.

19           A.      I understand, I understand.             No, I don't

20      remember any text messages, per se.                 I'm trying to

21      think if any of the exhibits that came with that had

22      text messages.         I don't -- I don't recall using any

23      text messages in formulating my opinion in the report,

24      so I guess the answer is no, I don't recall.

25           Q.      That's fine.        Did you watch body-worn camera

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 167 of 366




                                                                        Page 166

1       of footage -- let me rephrase that.

2                            Did you watch body-worn camera footage of

3       any traffic stops, other than the traffic stop at issue

4       with Mr. Schott?

5            A.      Let me make sure I understand the question.

6            Q.      Yeah, so I'm just asking about other traffic

7       stops than the traffic stop with Mr. Schott.                    Did you

8       review body-worn camera footage from any other traffic

9       stops besides the one between Deputy Babb and Alek

10      Schott?

11           A.      From Bexar County Sheriff's Office?

12           Q.      Yes.

13           A.      I believe I may have asked -- I can't

14      remember.       I may have asked for previous traffic stops

15      just to get an idea of how they make their traffic

16      stops, but I don't recall -- I don't recall whether I

17      reviewed those or not.            I just don't remember that.

18      They were not part of my report, no.

19           Q.      Okay.     By "they," do you mean Bexar County

20      Sheriff's Office?

21           A.      No, no, no.       The attorneys that have hired me,

22      Greenhill & Wright.

23           Q.      Right, but let me just make sure I understand

24      that.      So when you asked someone, the attorneys in this

25      case for additional footage --

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25    Page 168 of 366




                                                                         Page 167

1             A.      Correct, to review, right.

2             Q.      -- to review of traffic stops other than the

3       one with Mr. Schott?

4             A.      I don't recall whether I did or I didn't.

5       They are not part of this investigation.                      I don't --

6       that's what I'm saying is you asked a question that

7       has -- you know, I'm trying to review in my head

8       everything that I reviewed, which is a lot.                      So -- and

9       I don't want to be dishonest with you and I don't want

10      to, you know -- but I don't recall seeing any other

11      videotapes from any other stops.

12            Q.      And if you did, would you list them here

13      and --

14            A.      Yeah, I would list them if they were -- if

15      they were part of the investigation, but I don't

16      remember that.          I don't remember getting any.

17            Q.      Okay.     So as we sit here today, you do not

18      remember seeing any other videos of other traffic

19      stops?

20            A.      No, not from Bexar County Sheriff's Office,

21      no.

22            Q.      That's fine.

23                            One question I have for you, we talked a

24      lot earlier this morning about the stop of Mr. Schott

25      and the additional information that Deputy Babb may

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 169 of 366




                                                                        Page 168

1       have known from another law enforcement officer.

2       Putting that information that Deputy Babb may have

3       known from another officer kind of aside --

4            A.      Okay.

5            Q.      -- if it had just been -- I think you used the

6       term "cold stop"?

7            A.      Yes, ma'am.

8            Q.      Would your opinion on whether Deputy Babb had

9       reasonable suspicion or not change?

10           A.      I will respond to that just from my training

11      and experience.         An officer such as Deputy Babb, at his

12      level of experience and training, could have believed

13      reasonable suspicion existed.              Again, I'm not Deputy

14      Babb, I don't -- I don't want to speculate on what he

15      thought, what he saw because obviously he probably saw

16      and thought things that no one else -- no one is

17      thinking about, none of us were even thinking about.

18                           But under the same circumstances,

19      stopping a truck for a valid traffic violation, having

20      the responses that Mr. Schott made to the questioning

21      that Deputy Babb had asked regarding weapons, his

22      travel, the fact that he stayed in a hotel, the fact

23      that he was coming from Houston and he was going to

24      Carrizo Springs on a one-day turnaround to return back

25      to Houston, the fact that Mr. Schott had brought up and

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 170 of 366




                                                                        Page 169

1       really avoided questioning about this female, there

2       seemed to be within the reports and within the

3       interviews that I reviewed on the body camera, there

4       seemed to be something hidden regarding this female.

5                            So the answer is yes, he would have had

6       reasonable suspicion to ask more questions and to ask

7       for consent to search, based on those things.

8            Q.      Okay.     I think it might be helpful to examine

9       the next section of your report, page 6.                     Do you see

10      the title "Sequence of Events"?

11           A.      I do.

12           Q.      What is this section of your report?

13           A.      It's basically the way that I review the case.

14      I read the depositions, I watch the video footage,

15      everything that I have that I'm going to review.

16                           And I made the report a sequence of

17      events according to what I learned from everything that

18      I reviewed.        It's kind of a -- just a way to allow the

19      reader to understand kind of an overview, a summary, if

20      you would, of the case, from the understanding that I

21      had from what I reviewed.             It is not the actual events

22      that occurred.         I mean, sure, there are other things

23      that could have occurred that I'm not aware of.                       I'm

24      not there and I would be speculating on that.                     It is

25      just from the things that I reviewed as part of my

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                                                                        Page 170

1       report.

2            Q.      Sure.     Can we briefly go to page 12 and do you

3       see the header "Observations and Expert Opinion"?

4            A.      Yes, ma'am.

5            Q.      And do you see the second sentence -- I'm

6       going to read it so we're clear -- "The complete

7       summary of facts is documented within the report."

8                            Did I read that correctly?

9            A.      You did.

10           Q.      And is that complete summary of facts

11      referring to the sequence of -- sequence of events

12      section?

13           A.      It's -- no, ma'am.          I mean, it's -- it's the

14      facts of my entire report.             It says I understand what

15      happened during this traffic stop.                The sequence of

16      events is just something that -- like I said, is

17      something, from my understanding, from the things that

18      I reviewed, was pertinent to this investigation, to

19      my -- asking for my opinion on what happened here,

20      right.

21                           There are many other things that did

22      happen, that could have happened, that I don't know

23      that happened and, of course, I can't testify to that

24      and that would be all speculation on my part.                    So, no,

25      that is not where everything came from.                  It's the

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 172 of 366




                                                                          Page 171

1       totality of my report is what that means.

2              Q.      Okay, I get it.         So you're -- what you're

3       saying to me is there might be facts that are somewhere

4       in your report that are in this sequence of events --

5              A.      Of course.

6              Q.      -- section, but the sequence of events section

7       and the report facts that are in your report are the

8       facts that you found pertinent, I think is the word you

9       used --

10             A.      Yes, ma'am.

11             Q.      -- or relevant to your analysis.                Is that

12      fair?

13             A.      From my training and experience, yes, ma'am.

14             Q.      Okay.     But there are facts that you decided

15      weren't relevant.            Is that also fair?

16             A.      Well --

17             Q.      I mean, let's put it this way.

18             A.      I mean, again, it would call for speculation

19      on my part because there could be things that are more

20      relevant than what I put in here.                  There could be

21      things that are not as relevant, maybe not relevant at

22      all.        Maybe that's speculation on my part.

23             Q.      Okay.     I guess like, for instance, you

24      reviewed five depositions in this case.                    Is that fair?

25             A.      Yes, ma'am.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 173 of 366




                                                                        Page 172

1            Q.      You reviewed eight videos, at least what's

2       listed here.         Is that fair?

3            A.      Yeah.

4            Q.      And you didn't summarize every fact from the

5       depositions and the videos and put it in your report.

6       Is that fair?

7            A.      Oh, that's true, not everything.

8            Q.      So how did you decide what facts mattered?

9            A.      So I was asked to review this case from the

10      objective of what an officer would do under the same

11      circumstances as Deputy Babb, right.                 Were his actions

12      on this traffic stop consistent with law enforcement

13      standard, with what officers would do under the same

14      circumstances with the same training.                 So those are

15      really the facts that I was looking at.                  Those are the

16      facts that I'm talking about.

17                           Deputy Babb, in my opinion, from

18      everything that I reviewed that's listed that you just

19      mentioned, the facts that I've talked about -- maybe

20      "facts" isn't the best word to put there, you know, if

21      we're talking, you know, terminology.                 But they are

22      important things, they are important details that I

23      reviewed that were relevant to what happened here.

24                           So I guess we're -- you know, we're

25      debating over this word, "fact," and maybe you and I

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 174 of 366




                                                                        Page 173

1       just look at the word differently.                But these are

2       important observations.            This is important facts, as I

3       call them, as to what happened and why Deputy Babb did

4       what he did, from what I could tell from all of the

5       information I got.

6            Q.      Sure.     And I guess from what you just said a

7       little bit, you decided what facts were -- or details

8       were important based on what you thought would help

9       answer what you were asked to do in this case?

10           A.      Okay.     So, as I stated earlier, when we first

11      talked, I am not here to represent Deputy Babb,                       I am

12      not here to represent anyone other than help the jury

13      understand what happens in drug investigations.

14           Q.      Sure.     And I understand that.

15           A.      So --

16           Q.      I'm not trying to cast aspersions.                What I'm

17      just trying to ask -- understand is your methodology

18      for how you got to these facts.

19           A.      Uh-huh.

20           Q.      And that's what -- if you want to phrase it in

21      a different way, like how you got here, how did you get

22      to this summary based on what you reviewed?

23           A.      Just as I just stated.           The training and

24      experience of Deputy Babb at the time that he made this

25      traffic stop compared to my experience, my training,

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 175 of 366




                                                                          Page 174

1       what commonly transpires on traffic stops such as this

2       one.        That's what I'm talking about.

3              Q.      Okay.     So I want to look at item 14D.

4              A.      Okay.     So is that a page number?

5              Q.      It's back on your -- page 5, this 14D.

6                              Do you see where I am?

7              A.      I do.     It's -- it's this Exhibit 50, the

8       patrol car video?

9              Q.      Yes, sir.

10             A.      Okay.

11             Q.      And did you watch this telephone conversation

12      between Deputy Babb and Sergeant Gamboa?

13             A.      I did.

14             Q.      Do you remember the nature of that

15      conversation?

16             A.      If I'm not mistaken, it was regarding needing

17      to write the report, I believe, if I'm not mistaken.

18             Q.      When you say "the report," what do you mean?

19             A.      Write the report for the traffic stop after

20      the fact, I believe on the 22nd or something.

21             Q.      Okay.     So something about the report for this

22      traffic stop?

23             A.      I'm sorry?

24             Q.      So something about the report for this traffic

25      stop.        Is that fair?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 176 of 366




                                                                        Page 175

1            A.      May have been, yes, I think so.                 4/12/2022 --

2            Q.      Okay.

3            A.      So what I did, ma'am, and it could be my first

4       time of doing this, right, I just listed everything

5       that I reviewed as part of this investigation whether

6       or not there was anything relevant that I put with

7       something within the report.              So I may or may not have

8       put something about this within my main report, but I

9       did review it, which is why I put it under things that

10      were reviewed.

11           Q.      Understood.

12           A.      So that's why I'm having trouble -- unless I

13      have a place within the report that I can refer to and

14      I can better answer your question.

15           Q.      Understood.       And at that point, I was really

16      just asking if you did review it and what you

17      remembered.        Based on what I see -- I mean, you can

18      correct me if I'm wrong if you can see it somewhere

19      else -- I don't see where you referenced this

20      conversation that was recorded --

21           A.      That would be why.

22           Q.      -- in your report, and so I guess my follow-up

23      question on that is does that mean that you concluded

24      it wasn't relevant to your analysis?

25           A.      More than likely, if I not mention it within

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 177 of 366




                                                                          Page 176

1       the report and I didn't reference this, then it's

2       something that I didn't consider within the report.

3              Q.      So --

4              A.      So I don't remember exactly what that video

5       was about, so I can't answer the question, right.

6              Q.      So I guess it would be fair to say that your

7       opinion is not based on that video?

8              A.      Yes, that's great.

9              Q.      And it wasn't something that you considered in

10      making your opinion.             You reviewed it --

11             A.      Well, I may have considered it, but, again,

12      without knowing what exactly transpired -- if I heard

13      that conversation again, you know, if I could hear it,

14      then I would remember.

15             Q.      Understood.       You know, I'm not asking -- I'm

16      not asking you to testify under oath what the content

17      of that conversation is.

18             A.      Of course.

19             Q.      I'm just trying to -- to figure out if you

20      decided not to discuss that conversation in your

21      report, does that mean you found that conversation not

22      to be relevant for the purposes of your opinion?

23             A.      Well, I'm going to refer back to what I told

24      you.        Everything that I reviewed I listed in this.

25      Whether or not I found it relevant to the case or not,

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 178 of 366




                                                                        Page 177

1       I mean, I wanted to be transparent about everything.

2       Otherwise I wouldn't have put the YouTube for the

3       Institute of Justice, right.

4            Q.      Uh-huh.

5            A.      I wouldn't have put that, but that's for

6       transparency's sake, right.              So the Institute of

7       Justice video and the YouTube video, the news report

8       video, they are all similar to exactly what you're

9       asking me about that one.             I didn't mention them

10      anywhere in the report so, therefore, you know, are

11      they relevant or are they not relevant, I don't know.

12      I reviewed them.

13           Q.      Okay.

14           A.      So I guess the Institute for Justice video is

15      it a good example.          Did you find the Institute for

16      Justice video to be relevant for your analysis in

17      forming your opinion?

18           A.      No.

19           Q.      Okay.     Did you find the KENS5 news report

20      airing June 7th, 2023 to be relevant for your report?

21           A.      No.

22           Q.      And then did you find the patrol car video

23      dated 4/12/2022 to be relevant for your opinion?

24           A.      I don't recall.

25           Q.      To your memory, did Deputy Molina testify that

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 179 of 366




                                                                        Page 178

1       he found marijuana in Alek's truck?

2            A.      I don't remember who said it, so I'm going to

3       say no to that answer.            But I do recall someone saying

4       that they saw shake.

5            Q.      Sure.

6            A.      Or marijuana residue, I think is what it was

7       called.

8            Q.      Okay.     So let's look at page 10 of your report

9       and I want to go down to the fifth paragraph, if you

10      count down from the top.             And I'm going to read that

11      first sentence.

12           A.      Sure.

13           Q.      "Deputy Babb, Molina and Gereb concluded

14      that -- concluded they were unable to find any

15      contraband in the F-250."

16                           Did I read that correctly?

17           A.      Correct.

18           Q.      If you recall someone testifying that they

19      found shake in Mr. Schott's vehicle why did you write

20      that the three deputies concluded that they were unable

21      to find any contraband?

22                           MR. BARRON:      Objection, form.

23                           THE WITNESS:      Because it isn't

24      contraband.

25           Q.      (BY MS. HEBERT)         Okay.

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 180 of 366




                                                                         Page 179

1             A.      It's not prosecutable, just as we discussed

2       earlier with the useable amount of marijuana.

3             Q.      Okay.     So what is your definition of

4       "contraband"?

5             A.      Something that's prosecutable, something that

6       someone can be arrested for, something that somebody

7       can be prosecuted for.             In law enforcement world, like

8       we discussed earlier, that shake or small portions of

9       what is believed to be marijuana, officers are not

10      going to take that.            They are not going to recover it,

11      they are not going to field test it.                  It is just not

12      going to happen, so therefore -- and it's not

13      contraband.         No one is going to take it, no one is

14      going to test it, no one is going to be charged with

15      it.    So officers are not going to collect that as

16      evidence.

17            Q.      Okay.

18            A.      That's where I was going with that particular

19      statement.

20            Q.      Okay.     But did you -- let me ask you this.

21      Did you include in your report anywhere that an officer

22      testified that he found shake in Mr. Schott's vehicle?

23            A.      No.

24            Q.      Why not?

25            A.      Again, it goes back to the fact that an

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 181 of 366




                                                                        Page 180

1       officer is not trained to take residual anything,

2       right.      I mean, it could be cocaine, it could be

3       methamphetamine, it could be anything, right.

4                            I mean, sometimes on search warrants on

5       houses, when a search warrant is executed in a house,

6       sometimes people will take cocaine and they will just,

7       you know, try to destroy and it goes all in the carpet

8       or wherever it goes.           It mixes with the dirt, you know.

9       That would be a similar circumstance.                 We all know that

10      was probably cocaine, right, but we can't prove it so

11      we can't charge them with it.              There's nothing to field

12      test.      So is it contraband or is not contraband?                  You

13      know, so it's not something that's relevant if you

14      can't be charged with it, if that makes sense.

15           Q.      Sure.     And you're -- you're making your

16      determination that it's not relevant because a shake

17      amount is not chargeable in Texas?

18           A.      It is not.

19           Q.      And so is that -- is that a yes, then, you're

20      making the determination that the shake amount is not

21      relevant because shake is not chargeable in Texas?

22           A.      Well, even if it was -- I mean, you can't even

23      prove that it was marijuana.              I mean, it's just from

24      the observation of the officer, whoever saw it, from

25      their training, their experience that that's what they

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 182 of 366




                                                                          Page 181

1       saw.        You know, it may or may not have been marijuana.

2       Don't know.

3                              In relation to this particular

4       investigation, again, you go back to the totality of

5       the circumstances -- and I think I know what you're

6       asking.        There's a dog alert in this case by a K9 and

7       that K9 alerted to something.                That could have been

8       what the K9 alerted to.              Maybe he did, you know.            Maybe

9       the person in the vehicle has been smoking marijuana

10      and they have got marijuana oil on their hands and then

11      they touch something and then the dog will react to

12      that as well.

13                             So you just really don't know whether

14      what they saw was actually marijuana or not because

15      there's no field test, they didn't take it, so

16      therefore, no contraband was recovered from the truck.

17             Q.      Understood.       Have you ever been a K9 handler?

18             A.      I have not been a handler, no.

19             Q.      Okay.     Do you consider yourself an expert in

20      K9 practices?

21             A.      I consider myself someone who has been a

22      police officer a long time, has watched a lot of dogs,

23      you know, I've worked closely with K9 handlers, I have

24      supervised K9 handlers.              So I do have a lot of

25      knowledge of K9s and how they operate, but I am not a

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 183 of 366




                                                                          Page 182

1       K9 expert.

2              Q.      Okay.     Can we look at page 9, second -- well,

3       first full paragraph, it starts, "Prior to the K9

4       arriving."

5              A.      Yes, ma'am.

6              Q.      Do you see what I'm referring to?

7              A.      Gotcha, yes, ma'am.

8              Q.      I'm going to read the last sentence of that

9       paragraph.         "Deputy Babb was clearly communicating with

10      someone within a law enforcement capacity who was in

11      South Texas."

12                             Did I read that correctly?

13             A.      Yes, ma'am.

14             Q.      Okay.     If you wouldn't mind just quickly

15      reviewing the paragraph on page 8 before this and the

16      one after it so that I can ask you what you meant

17      there.

18             A.      Okay.

19             Q.      Because I think it's easier if we have a

20      little context.

21             A.      "During the 18 minutes of the arrival of the

22      K9"?

23             Q.      Yes, read there to, you know, the paragraph

24      after it because I just want some clarity on what the

25      paragraph meant.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 184 of 366




                                                                        Page 183

1            A.      Of course.       Do you want me -- let me look at

2       one more paragraph.

3            Q.      That's fine.

4            A.      I'm good now.

5            Q.      Okay.     As I understand this -- this first full

6       paragraph on nine to be communicating, I understand you

7       to be saying that Deputy Babb was texting with someone

8       in the law enforcement -- who worked in the law

9       enforcement capacity in South Texas while he was in the

10      patrol vehicle with Mr. Schott.               Am I understanding

11      what you're saying in this portion of your report

12      correctly?

13           A.      Well, not just in the car, but when he was

14      outside of the vehicle.            And he also spoke with him on

15      the phone.

16           Q.      Sure, and I understand that.             But what I'm

17      asking about is would this -- in this context, are you

18      referring to -- when you're talking about Deputy Babb

19      clearly communicating with someone, are you referring

20      to the entirety of all of the communications or just

21      what was happening in the K9 vehicle or in the patrol

22      vehicle?

23           A.      Yes, ma'am, I understand.            As an entirety, of

24      the entire things that I reviewed.

25           Q.      Okay.

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 185 of 366




                                                                         Page 184

1             A.      And it's -- from my training and experience,

2       having worked undercover cases, hotel/motel

3       interdiction cases, things of that nature, and how law

4       enforcement works together with communication, and it

5       was clear to me by listening to this to watching the

6       video to reading the depositions that Deputy Babb was

7       communicating with someone.               He had more knowledge

8       than -- somebody was on the ground in Carrizo Springs.

9       He -- they even mentioned the female to him and I

10      believe that was -- at some point, they mentioned the

11      female to him and he asked Mr. Schott about the female.

12                            So that -- that is what led me to believe

13      that there's someone he was communicating with via text

14      message, in addition to I hear him talking on the phone

15      with the guy.

16            Q.      Okay.     Can we go to page 9 and the second

17      paragraph from the bottom and I'll throw a monkey

18      wrench in here.          I'm going to read what I'm referring

19      to.

20            A.      Sure.

21            Q.      "Without any verbal confirmation from Deputy

22      Molina that the dog had given a positive alert, Deputy

23      Babb asked Schott to move from the front seat to the

24      back seat, explaining that he was being detained."

25                            Did I read that correctly?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 186 of 366




                                                                        Page 185

1            A.      Yes, ma'am.

2            Q.      Okay.     So if -- based on your review of the

3       facts, how did Deputy Babb know that there was a reason

4       to move Mr. Schott from the front seat to the back

5       seat?

6            A.      I can't answer that question.              I'm not Deputy

7       Babb.      I wasn't there.        I have no idea.

8            Q.      Okay.     I think now is a good time to just walk

9       through generally what your methodology was in creating

10      this report.         We have talked a little bit about it.

11      And can you just walk me through the steps of what you

12      did to create your opinion?

13           A.      Well, first I reviewed and read the

14      depositions.         I believe I read Deputy Babb's -- well,

15      first I reviewed the complaint, I'm sorry, I reviewed

16      the complaint first.

17                           Once I reviewed the complaint, then I

18      reviewed the depositions of Deputy Babb, Deputy Molina,

19      Gereb -- I haven't heard anyone say his name, so I

20      apologize.       I don't remember.

21           Q.      I won't tell him.

22           A.      Deputy Gereb, I think is what it is.                Also, I

23      reviewed the body cam videos of Deputy Babb?

24           Q.      After you reviewed the depositions?

25           A.      After I reviewed the depositions.               The first

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 187 of 366




                                                                          Page 186

1       thing that I did was I read everything.                    Before I

2       watched any videos, I read everything.                    I say

3       everything; all of the depositions and everything.

4                              Once I read the depositions, then I went

5       back and I watched the videos and then I compared the

6       videos that I watched from the body cam of Deputy Babb,

7       the video from Mr. Schott's truck, the body cam videos

8       of Deputy Molina, Deputy Gereb to compare them to

9       the -- the complaint and to the depositions.                      I believe

10      I actually watched a video of the deposition of

11      Mr. Schott.

12             Q.      Yeah.     And I remember that being on your list,

13      too.

14             A.      Okay.     And this is all from memory.             And then

15      I reviewed -- I asked for -- from the law office, I

16      asked them to send me the policies and procedures for

17      different topics that I thought were relevant within

18      the investigation to see --

19             Q.      Right.     So you could evaluate the --

20             A.      And evaluate whether or not the policy was

21      followed.

22                             I wanted to know whether Deputy Babb had

23      training.         They had originally sent me all of the

24      training certificates that Deputy Babb had taken.                       I

25      reviewed all of the training certificates, I reviewed

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 188 of 366




                                                                        Page 187

1       the internal affairs complaints, I reviewed the

2       dismissal orders, everything to have to do with

3       internal affairs.          I reviewed the initial internal

4       affair complaint -- or investigation prior to the

5       second one.

6            Q.      Okay.     And then to kind of shortcut this, just

7       for your sake --

8            A.      Sure.

9            Q.      -- you reviewed basically everything else that

10      was in -- on page 5 that you already listed out?

11           A.      Yes.

12           Q.      Okay.     And then what did you do after you

13      reviewed those materials?

14           A.      After I reviewed those materials, then, of

15      course, I researched case law.               I wanted to see if

16      there was any new case law out there that I didn't know

17      about, so I researched other case law.                  I, of course,

18      watched the videos, because I wanted to know who you

19      guys were, from the Institute of Justice, so I reviewed

20      your website, which is where I obtained some case law,

21      I believe.

22                           Once I reviewed all of that case law and

23      I reviewed the complaints and I the reviewed videos and

24      I reviewed the policies by the Bexar County Sheriff's

25      Office, then I decided whether or not Deputy Babb acted

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 189 of 366




                                                                        Page 188

1       in accordance to the policy as I read them, and also if

2       Deputy Babb conducted this traffic stop in the manner

3       as any other officer with the same training, the same

4       experience, under the same conditions that he had and

5       decided whether what he did was justified compared to

6       what other officers would have done under the same

7       circumstances.

8                           And that's the way I viewed that, right.

9       I could not view that from hindsight, I could not

10      review that from my experience to where I am today

11      because that's not where Deputy Babb was that day at

12      his level of training and experience.

13                          So that was my methodology on determining

14      whether or not the traffic stop was a stop that, you

15      know, was normal, like everyone else makes, or if he

16      violated Mr. Schott's civil rights and that he did

17      something that he shouldn't have done, because I

18      100 percent believe that people have the right and

19      their freedoms and I have always operated that way and

20      officers don't appreciate other officers that violate

21      people's civil rights.            So I'm very passionate about

22      that.      So I took Mr. Babb's rights into

23      consideration --

24           Q.      You mean Mr. Schott's?

25           A.      I'm sorry, Mr. Schott's, you know, into

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 190 of 366




                                                                        Page 189

1       consideration.         However, Deputy Babb, being a police

2       officer, is only working with what he knows at that

3       particular time and he's making decisions according to

4       what he's seeing -- or an officer, not Deputy Babb, but

5       any officer is making decisions according to what they

6       are seeing realtime and the responses that they are

7       getting at that particular time.                And that's the way I

8       viewed this case, that's the methodology I used.

9            Q.      Okay.     So what I kind of heard and understand,

10      based on what you just said, is you reviewed the

11      complaint first, you reviewed the depositions next.

12      After you reviewed depositions, you watched the videos

13      in this case and you compared the body-worn camera

14      footage, the dash camera footage and the complaint, and

15      then you reviewed the rest of the documents that you

16      had listed.        You did some research on the case law.

17      You asked for --

18           A.      Policy.

19           Q.      -- policies from Bexar County.              And then

20      looking at all of that evidence together, you weighed

21      whether Deputy Babb complied with those policies.                     Is

22      that fair?

23           A.      I weighed whether or not I could see any

24      inconsistencies within the policies that Deputy Babb,

25      you know, may not have followed, right.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 191 of 366




                                                                        Page 190

1            Q.      Sure.

2            A.      I'm not Bexar County Sheriff's Office, nor am

3       I an administrator for Bexar County Sheriff's Office to

4       determine whether or not he violated any policies.                     I

5       can't say that.         I can only look at the policy, review

6       it, look at what I saw and what I reviewed to formulate

7       an opinion.

8                            From my training and experience, I know

9       that all departments have different policies, they have

10      different procedures and deputies, they perform their

11      job differently, you know.             It's not against policy and

12      it's not against the law, you know, for this officer to

13      do something different than another officer.                    So I did

14      not see any discrepancies, I didn't see anything that

15      was just off the chart different than another

16      reasonable officer under those same circumstances.

17           Q.      Okay.     Let's go to page 11 and the second

18      paragraph and I'm going to just read this section.                     I

19      think it's two sentences that it might just be helpful

20      to read.       "In determining whether the actions or

21      decisions of the involved officers are consistent with

22      generally accepted police practices, I applied a

23      reasonable police officer standard of officers based on

24      training and experience in order to objectively

25      evaluate the totality of the circumstances.                    The

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 192 of 366




                                                                        Page 191

1       standard asks what information was knowable to the

2       involved police officers at the time the decision was

3       made and not from 2020 hindsight."

4                            Did I read that correctly?

5            A.      Yes, ma'am.

6            Q.      Is this what you were just kind of trying to

7       explain to me, I think?

8            A.      Yes, ma'am.

9            Q.      Okay.     Can you explain to me the reasonable

10      police officer standard?

11           A.      Again, a reasonable officer under the same

12      conditions, I mean, I think we went over earlier how a

13      patrol officer is someone who may not have the same

14      experience or the same knowledge or the same desire to

15      really take a traffic stop and see if there's any other

16      crime associated with that particular traffic stop,

17      right.      That would be a patrol officer's standard,

18      right.

19                           A criminal interdiction guy, he has more

20      training, he has more knowledge, he has more experience

21      in determining body language.              He knows more about the

22      drug industry.         He may have some knowledge of other

23      investigative strategies, such as hotel/motel, things

24      of that nature.

25                           So this particular case was evaluated on

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 193 of 366




                                                                        Page 192

1       those standards of that -- that type of officer, right,

2       not from the view of a patrol officer that knows

3       nothing about criminal interdiction.                 In fact, when

4       reviewing the deposition of Deputy Molina, you could

5       tell that there's a difference between a K9 officer's

6       standards and the way he operates and the standards of

7       Deputy Babb because Deputy Molina -- Deputy Molina

8       appeared to not have any interest at all in being a

9       criminal interdiction guy.             He was focused on the K9s,

10      just as another deputy may focus on child molestation

11      cases, another one may focus on, "I don't want to do

12      anything other than be seen by the public and wave."

13                          It takes each of these personalities in

14      order to effectively police the community.                   You need

15      all of these people.           So there's not one set of

16      standards for quasi "a police officer" because there

17      are so many different things out there that these

18      officers have interest in.             That's the reasonableness

19      of that the particular -- that's what I'm trying to

20      refer to.

21           Q.      Okay, thank you.         What did you mean by

22      "objectively evaluate the totality of the

23      circumstances"?         How do you do that?

24           A.      So it goes back to if you were to take this

25      same situation and make it a cold traffic stop, like we

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 194 of 366




                                                                        Page 193

1       talked about earlier --

2                            THE REPORTER:       A what?

3                            THE WITNESS:      A cold stop, a traffic stop

4       to where he had no knowledge, then there would be a

5       different set of circumstances, right.                  Many of the

6       same, but probably fewer.             He had no knowledge, you

7       know, leading up to the traffic stop, right, underneath

8       a different scenario.

9                            So you have to objectively look at the

10      totality of the circumstances that Deputy Babb was --

11      was dealing with that particular day.                 Any -- any

12      officer has to -- you have to understand what he was

13      thinking, the information that he had at that

14      particular time in order to determine whether he was

15      objectively doing what he was doing.

16           Q.      Okay.     Is your task then to kind of collect

17      all of the information and create an objective picture

18      of what was going on?

19           A.      For myself?

20           Q.      Yes.

21           A.      Sure.

22           Q.      You used the word "knowable."              What does

23      "knowable" mean?

24           A.      And which -- where did I use this word?

25           Q.      "The standard asked what information was

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 195 of 366




                                                                          Page 194

1       knowable to the involved police officers."

2              A.      Sure.     That is what I'm referring to when I'm

3       saying he had prior information or it appeared that he

4       was communicating with someone.

5              Q.      Uh-huh.

6              A.      Something that he knew ahead of time before

7       the traffic stop.            Also, what he knows from his

8       training, his experience, what he knows from prior

9       interdiction stops that he has made compared to what

10      he's seeing on this stop.               Knowable, meaning any

11      training or any knowledge he has for body language,

12      right, seeing nervous behaviors, things of that nature

13      that he knows, that's known to him.

14             Q.      Okay.     So you're looking at specifically the

15      facts and experience -- experiences that Deputy Babb

16      has?

17             A.      Yes.

18             Q.      And if Deputy Babb did not have a fact, you

19      would not consider it?

20                             MR. BARRON:      Objection, form.

21             Q.      (BY MS. HEBERT)         Let me rephrase.        If Deputy

22      Babb had a fact -- or if there was a fact -- I don't

23      know how to rephrase this.

24                             If there's something that Deputy Babb did

25      not know, would you consider it?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 196 of 366




                                                                        Page 195

1                            MR. BARRON:      Objection, form.

2                            THE WITNESS:      Well, again, it goes back

3       to I don't know everything at the time that Deputy

4       Babb -- I don't know everything that happened there.                       I

5       can only look to see from the things that I reviewed as

6       to formulate my opinion.             So Deputy Babb may or may not

7       have known other things, right.

8            Q.      Sure.

9            A.      So I can't -- that would be a subjective

10      answer.      I can't do that.

11           Q.      Sure.     So I guess the following question I

12      have for you is you reviewed the evidence in this case.

13      Did you evaluate each of those pieces of evidence for

14      whether Deputy Babb knew them or not?

15                           MR. BARRON:      Objection, form.

16                           THE WITNESS:      From -- I guess that's why

17      I evaluate everything from the perspective of the

18      officer from that particular time, during the training

19      and experience that he had during that particular time.

20                           And I know I mentioned earlier that an

21      officer who has more experience, who has been doing

22      something, you know, longer, they may or may not view

23      it the same five years from now that they view it

24      today, right.         So a reasonable officer with the same

25      experience as Deputy Babb at that particular time would

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 197 of 366




                                                                        Page 196

1       have viewed this situation the same.

2            Q.      Sure.     So I guess to crystallize what I'm

3       trying to express, if an officer is -- if there's an

4       event and the officer is standing there and the

5       light -- the traffic light is red, but the officer,

6       from where he's standing, couldn't have seen whether

7       the traffic light was red, but you now know the traffic

8       light was red based on traffic cameras at the scene,

9       would you consider the fact that the traffic light was

10      red in evaluating the officer's actions?

11                           MR. BARRON:      Objection, form.

12                           THE WITNESS:      Again, that's a speculation

13      scenario, right.          I can't -- I can't say what the

14      officer saw, if the light was red or from what position

15      he was at as far as perspective, you know, from that

16      particular spot.          The only thing I can rely on is what

17      the -- is what the officer puts in the report or what

18      they testify to and I can't -- I can't say what -- what

19      else they saw.

20                           Now, many officers, you know, they --

21      they are really -- I guess we're going to get to the --

22      let's talk about the officer's -- the way he describes

23      something.       You know, everybody has different

24      terminology, right.           So an officer may see something,

25      but not really -- not really be able to explain it or

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 198 of 366




                                                                        Page 197

1       put it in legal terms or the way that -- you know what

2       I mean.      So -- I'm sorry, so I can't say what an

3       officer -- whether he saw that red light or he didn't

4       see that red light.

5            Q.      I'm not -- I'm not asking you to.               I'm just

6       saying like if the officer said, "I couldn't see the

7       light," would you consider outside facts that said the

8       light was red?

9            A.      Yes.

10           Q.      Okay.     On page 12, if you wouldn't mind

11      looking at the second paragraph, and I read this

12      paragraph as you saying that you're not going to

13      reference case law in your opinions if you testify at

14      trial.      Is that fair?

15           A.      That's correct.

16           Q.      Okay.     What would happen if your understanding

17      of case law was incorrect for your opinion?

18                           MR. SAENZ:      Objection, form.

19                           THE WITNESS:      If some case law was

20      different than the way I perceived it or I read it,

21      then I believe that, you know, a judge who has the

22      ultimate authority to decipher case law will correct me

23      on that.

24           Q.      (BY MS. HEBERT)         And how would a jury know if

25      your conclusions were based on a misunderstanding of

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 199 of 366




                                                                        Page 198

1       the case law if you don't reference case law in your --

2       your testimony?

3                           MR. BARRON:       Objection, form.

4                           THE WITNESS:       Well, again, I would

5       reiterate that this is one of those subject matters

6       that a law enforcement officer is not an attorney,

7       right, and -- but yet a law enforcement officer must

8       review case law in order to do his job correctly,

9       right.      So it kind of puts an officer in a position

10      such as this, to where you must depend upon case law to

11      guide you and to make an opinion or formulate an

12      opinion in this case.

13                          However, not being an attorney, not being

14      a judge, who is actually the ultimate decision on case

15      law and what the law says, it puts an officer in a

16      position.       So I can only explain it that way to a jury,

17      that we must depend on case law, right, but I can't

18      really testify to exactly what the case law says

19      because I'm not a judge who is the -- you know, the

20      man --

21           Q.      (BY MS. HEBERT)         Understood.

22           A.      -- or the lady.

23           Q.      Understood.       Let's go to page 12 -- we're

24      already on page 12.           I want to look at the Evaluating

25      Training Specific to Criminal Interdiction.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 200 of 366




                                                                        Page 199

1                            Do you see that header?

2            A.      Yes, ma'am.

3            Q.      What was your overall conclusion with respect

4       to Deputy Babb's criminal interdiction training?                      I

5       had a little hard time just like understanding what

6       your conclusion on his training was about.

7            Q.      Deputy Babb -- as I mentioned earlier, with an

8       officer that is a good candidate for being an

9       interdiction officer -- or not necessarily --

10      any topic, any officer that's specifically interested

11      in any one topic of law enforcement, they are going to

12      seek training relevant to whatever it is that they want

13      to learn about.

14                           In this case, Deputy Babb's training was

15      primarily for criminal interdiction matters and for

16      human smuggling matters.             That's what it seemed like he

17      was interested in from the training materials that I

18      saw, the certificates that I saw.                And he had taken a

19      lot of classes on it.            I believe I was provided with

20      the 53 certificates of training specialized in narcotic

21      enforcement.

22           Q.      Yeah.     And that just makes me -- prompts

23      another question.          Can you just quickly going to

24      page 18, and the paragraph that starts, "Deputy Babb

25      had 324 accredited TCOLE hours of specialized

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 201 of 366




                                                                        Page 200

1       training"?

2            A.      Yes, ma'am.

3            Q.      Are these the same?

4            A.      Yes, ma'am.

5            Q.      Okay.     So the 53 certificates represent the

6       324 hours?

7            A.      Yes, ma'am.

8            Q.      Okay.

9            A.      So what I did is I looked at the certificate

10      and the amount of hours either on the certificate

11      itself or his TCOLE record and I totaled the hours up

12      from all of these -- these 53 certificates, and that's

13      how I calculated that he had 324 accredited TCOLE hours

14      regarding those two things, or regarding narcotics and

15      specialized investigations.

16           Q.      Great.     I just want to make sure there weren't

17      53 certificates plus 324 hours.

18           A.      You know, the training certificates for law

19      enforcement, they are confusing a lot of times.                       And,

20      in fact, there were a lot of certificates that were

21      provided that were multiple certificates, so the --

22      apparently the -- you know, whoever their -- whoever

23      made --

24           Q.      By "multiple," you mean duplicates?

25           A.      Duplicates, right.          So there would be like --

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 202 of 366




                                                                        Page 201

1       I think there was like, I don't know, three or four

2       sets of duplicate certificates, so I did not take into

3       account -- I mean, I found the duplicates and then I

4       found the hours for the training and looked at what he

5       had done.

6            Q.      So you excluded the duplicates.                 Am I

7       understanding that correctly?

8            A.      Yes, I excluded the duplicates within these

9       hours that I totaled.            Now, of course, that's probably

10      not all of the training that an officer has taken

11      because there are many classes that they take where

12      they don't get a certificate.

13           Q.      Sure.     And looking back at this -- this

14      page 12, when you say specific to narcotic training,

15      does criminal interdiction fall under that umbrella of

16      narcotic training?

17           A.      Yes, ma'am.

18           Q.      Okay.     Is it fair to say that Deputy Babb had

19      more training certificates than his TCOLE records

20      indicated?

21           A.      Yes, ma'am.

22           Q.      Okay.     Did you evaluate whether all of the

23      training that Deputy Babb took, based on the

24      certificates, was TCOLE approved?

25           A.      I did look at that, yes, ma'am.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 203 of 366




                                                                        Page 202

1            Q.      Okay.     And what was your conclusion?

2            A.      It was not.

3            Q.      I'm going to read a portion of this sentence

4       here in the same paragraph.              "However, it was law

5       enforcement training provided by both government and

6       private training companies that was taken -- that was

7       either taken online, in person or via webcast and

8       completed by Deputy Babb."

9                            Did I read that correctly?

10           A.      Yes, ma'am.

11           Q.      Simply because a training is provided by a

12      private entity, does that make it a good training, for

13      lack of a better descriptor, however you want to look

14      at it?

15           A.      No.

16           Q.      Earlier today, you talked a little bit about

17      trainings that you found the teachings to be

18      problematic and you did things to work with your

19      officers.       Can you talk to us a little more about that?

20           A.      Are you referring to the front seat

21      interviews?        That's what I was referring to.

22           Q.      I think it might have been front seat

23      interviews.        It might have also been folks trying --

24      folks using after the traffic stops to talk about

25      consensual encounters after the traffic stop had been

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 204 of 366




                                                                        Page 203

1       over.      I think you were talking about something like

2       that, too.

3            A.      Oh, that was relevant to the Rodriguez case.

4            Q.      Okay.     So -- and you talk about doing --

5            A.      Not necessarily training.

6            Q.      -- cleanup trainings.           Can you just explain

7       that to me?

8            A.      Law enforcement training -- and it goes back

9       to the case law, right.            So you have case law from

10      different parts of the country, it's viewed differently

11      all over the country.            There's state case law and

12      there's federal case law.

13                           There are training companies that

14      train -- people that train law enforcement that may be

15      from one area that has a specific set of case law or

16      facts or policies and procedures that then start

17      training officers in another part of the country and

18      then those officers are learning something that may not

19      necessarily be the way the courts view things in their

20      area.      That is common within law enforcement.                And

21      that's what I was referring to is when you have to

22      clean up something.

23                           And in that case, it happened to be with,

24      you know, interdiction stops to where they were trying

25      to -- they were teaching people consensual encounters

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 205 of 366




                                                                        Page 204

1       tactics, you know, to people in uniform and trying to

2       make it look like, you know, it's a consensual

3       encounter and not an actual, you know, detention on a

4       traffic stop.         And that's just not something that we

5       ever practiced in this area and they began teaching

6       that to officers in this area and then it would take me

7       a year to fix that, you know, to say, "That's not the

8       way we do it."

9                           And, of course, I don't mean just my

10      agency.      I mean as a trainer in law enforcement in the

11      whole area.        I mean, I don't think I mentioned it.               It

12      is in my CV, but I've been an instructor since 1997 for

13      law enforcement classes.             So, I mean, I have taught all

14      over the country myself.             You have to be careful not to

15      teach people things that's not relevant to their area.

16           Q.      Understood.       And when you, as a supervisor, in

17      your role as a supervisor, if you discover that your

18      officers are learning something that you disagree with

19      or is inconsistent with your department's policy, what

20      do you do?

21           A.      Because I was a trainer, I always vetted the

22      instructors before the officers were allowed to take

23      that class.        So if an officer put in a request saying,

24      "Hey, Sergeant, I want to go take this class," the

25      first thing that I ask them to do is give me, you know,

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 206 of 366




                                                                        Page 205

1       the curriculum for the class, give me the flier, is

2       what we call it, and that tells me what the class is

3       about, how much it costs, who the instructor is.

4                           And then from that point, I do not want

5       them taking a class from someone that was not credible,

6       so I would vet the instructor.               I would research them

7       and then I would determine whether or not there may be

8       some problems, with, you know, what they are teaching

9       for my area and then I would approve or disapprove the

10      training.

11           Q.      Understood.       And let's say an officer didn't

12      ask for someone -- didn't ask for your approval for a

13      training.       I mean, some officers take, you know,

14      training on their own time.              If you learned that one of

15      your officers or some of your officers was doing

16      something that you found to be inconsistent with your

17      entity policy, what would you do?

18           A.      Well, you would -- you would have to retrain

19      them.      You would have to put them on the right path,

20      you know, review the material.               You know, you're

21      probably not going to know until something happens, to

22      be honest with you, right.             There's no way a supervisor

23      can keep up with everything that their officers are

24      watching and being trained, you know, especially with

25      online classes now.           So you really -- you don't know.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 207 of 366




                                                                        Page 206

1                            If they turn a certificate in to get

2       credit for TCOLE, then they will turn it into the

3       training staff and then the training staff will submit

4       it to TCOLE for a credit.             And then that will be on the

5       record, so you will know that they have taken that

6       training.       But they may take something that you don't

7       know about.        So until something happens and they have

8       done something or a supervisor or a coworker says,

9       "Hey, man, you know, that's not -- you know, I've never

10      seen that before," then typically I'm not even going to

11      know about it.

12           Q.      Understood.       Let's go to page 13, and I'm

13      going to go to the paragraph at the very bottom of this

14      page and I'm going to read a sentence to you from that

15      paragraph.       "The training provided by instructors

16      associated with Street Cop Training were only a small

17      percentage of criminal interdiction training Deputy

18      Babb had received from other training providers."

19      There's more sentence there, but I'm just going to read

20      that portion.

21                           Did I read that correctly?

22           A.      Yes, ma'am.

23           Q.      Okay.     Did you evaluate how much Deputy Babb

24      relied on the Street Cop training?

25           A.      Well, I don't know how much he relied on the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 208 of 366




                                                                        Page 207

1       Street Cop training.           There's nothing that I could

2       review that would tell me that, other than the number

3       of certificates that I reviewed, right, which there

4       were a lot of certificates for Street Cop -- Street Cop

5       Training.       Many of them were online or they were

6       webcast and I think only one of those was submitted for

7       TCOLE approval, and that being the one from Hays

8       County.

9                            Other than that, none of it was approved

10      for TCOLE, so I can't say how much he depended upon

11      that particular training.

12           Q.      That's fine.        Thank you.

13                           Let's go to page 15 of your report.              I'm

14      looking at the second paragraph from the bottom and it

15      starts, "There wasn't a video."

16                           Do you see where I'm referring to?

17           A.      Yes, ma'am.

18           Q.      Do you see where you reference the one-minute

19      video recorded from the F-250?

20           A.      Yes, ma'am.

21           Q.      Did you review a single one-minute clip from

22      Alek's dash camera footage from March 16th, 2022?

23           A.      Yes, ma'am.

24           Q.      Okay.     Did you ask Deputy Babb's attorneys

25      whether there was additional footage for you to review?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 209 of 366




                                                                        Page 208

1            A.      I did not.

2            Q.      Let's read the last sentence of that

3       paragraph.       I'm going to read that sentence in its

4       entirety.       "My opinion, based from the video provided

5       by Schott, is that the video had some form of

6       manipulation or it wasn't the entire video depicting

7       the incident as it was only one-minute in duration and

8       ended abruptly while Schott was mid-sentence in a

9       telephone conversation."

10                          Did I read that correctly?

11           A.      Yes, ma'am.

12           Q.      In your opinion, did you conclude that the

13      footage from Alek's dash cam that you reviewed was

14      manipulated?

15           A.      It was obviously manipulated.              It's a

16      one-minute clip and I'm assuming, from my training and

17      my experience in watching videos in the past that the

18      video recorder has been going the whole time he's been

19      driving.       So if there's only a one-minute clip, there's

20      a five-minute clip or there's a ten-minute clip, it's

21      been manipulated because he's cut off mid-sentence when

22      the video ends, right, and there's only one minute.

23                          So the video has been manipulated in some

24      form.      It's not an entire video that shows from when

25      the video camera was turned on until the time the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 210 of 366




                                                                        Page 209

1       vehicle was turned off.            That's my -- that's what I'm

2       talking about, manipulated.

3            Q.      Understood.       And is there any other reason to

4       conclude that Alek's dash camera footage had been

5       manipulated, other than this one-minute aspect?

6            A.      No, not from what I could tell.

7            Q.      Are all dash cameras generally the same?

8            A.      No, there's a lot of different cameras.

9            Q.      Okay.     Do different types of dash cameras have

10      different mounting systems?

11           A.      They do.

12           Q.      Do different types of dash cameras have

13      different types of lenses?

14           A.      They to.

15           Q.      Do different types of dash cameras create

16      video with different resolutions?

17           A.      They do.

18           Q.      Do different dash cameras have different types

19      of storage systems, for instance, the cloud versus an

20      SD card?

21           A.      Sure.

22           Q.      And do different types of dash cameras have

23      different recording configurations?

24           A.      They do.

25           Q.      Do you recall Alek Schott testifying that he

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 211 of 366




                                                                        Page 210

1       had a BlackVue dash camera?

2            A.      I do.     In fact, BlackVue is on the screen

3       itself.

4            Q.      Oh, okay.      Are you familiar with BlackVue dash

5       cameras?

6            A.      No, ma'am.

7            Q.      Have you ever used a BlackVue dash camera?

8            A.      Not BlackVue.

9            Q.      Okay.     Did you do any research into how

10      BlackVue dash cameras record and store files?

11           A.      No.

12           Q.      I'm going to hand you what has been -- from --

13      I'm going to hand you from our files Exhibit K.                       We're

14      going to mark that.           This is going to be marked

15      Exhibit      113.

16                           (Exhibit 113 marked)

17           Q.      I'll hand that to you.

18           A.      Thank you.

19           Q.      Sure.     Now, I     thought about -- to be honest,

20      full transparency, I thought about connecting my laptop

21      to the computer so we could walk through how to get

22      this.      But can we agree that this is a printout -- or

23      at least -- you don't have to, you know, represent

24      beyond that.

25           A.      Sure.     No, we're good.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 212 of 366




                                                                        Page 211

1            Q.      What does this printout purport to be from?

2            A.      BlackVue Camera Systems.

3            Q.      Okay.     What's the title of this article?

4            A.      "Recording Video Segment Length."

5            Q.      Okay.     And can you read the first sentence of

6       the content for me?

7            A.      Of course.       "BlackVue cameras are built to

8       produce one-minute segments," and it's highlighted in

9       red, "of video recordings."

10           Q.      And based on this -- this information, if this

11      is correct, would you still believe that Alek's dash

12      camera has been manipulated?

13                           MR. BARRON:      Objection, form.

14                           THE WITNESS:      So, again, my opinion about

15      the manipulation of the video with the one-minute

16      segment, there's more video.              There are -- if it's a

17      one-minute segment, then it would have been important

18      for me to see, as someone evaluating this case, the

19      other minute before the minute -- particularly the

20      minute afterwards, right, even the ten minutes

21      afterwards.

22                           So these recording devices, true enough,

23      they do record in one-minute segments.                  However, they

24      store all of the information typically up to -- you

25      know, I have one similar to this, believe it or not,

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 213 of 366




                                                                        Page 212

1       and it records in one-minute segments, but it stores

2       45 minutes worth.          So I can go back and review all 45

3       one-minute segments, right, which would have been

4       relevant and important in this case, in order to see.

5                            Now, that potentially could answer as to

6       why the video cut off.            However, it would have been

7       important to listen to and see the video two minutes,

8       three minutes, four minutes after this.

9            Q.      But you didn't ask defendant's attorneys for

10      any other videos?

11           A.      I did not.

12           Q.      Did you do any research to evaluate whether

13      the speed reported by a dash -- a BlackVue dash camera

14      is accurate?

15           A.      From my training and experience with video

16      cameras, and particularly having video cameras, having

17      a telephone that has GPS on it, all of these video

18      cameras and telephones, they -- they are really

19      accurate with GPS coordinates.               So there was no reason

20      for me to believe that the speed on that camera was not

21      correct.

22           Q.      Sure.     And when you talk about your experience

23      as a -- I can't remember the phrase, mobile --

24           A.      Video instructor.

25           Q.      -- video instructor.          As a mobile video

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 214 of 366




                                                                        Page 213

1       instructor, that experience was focused on teaching law

2       enforcement how to use their dash cameras; is that

3       correct?

4            A.      Yes, that and positioning the cameras.

5            Q.      Okay.     And the only other experience you have

6       with dash cameras is your personal experience; is that

7       correct?

8            A.      Oh, no.      So "only" is a strong word, right.

9       So in law enforcement, I mean, we always view dash

10      cameras, we review telephones, all sorts of video.                     So

11      it's not just a small dash camera.                I mean, videos are

12      reviewed in law enforcement throughout your entire

13      career as an officer.            I have watched and, you know,

14      have a lot of experience with video cameras, and many

15      of those cameras are even button cameras, right.

16                           From the undercover perspective, we're

17      always dealing with cameras and positioning of cameras,

18      the importance of cameras, the location of cameras to

19      be able to keep up with with undercover officers.                     So,

20      you know, I just -- the word "only experience" is not

21      fair.

22           Q.      Sure, understood.

23           A.      I believe in my -- in my experience in law

24      enforcement, I've had a lot of experience with video

25      cameras.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 215 of 366




                                                                        Page 214

1            Q.      Okay.     Let me ask you a more, I guess --

2       you're entirely right to point that out.

3                            Have you ever used dash camera recordings

4       to do accident reconstruction?

5            A.      No.

6            Q.      What is more accurate -- can you tell me they

7       are the same accuracy or, you know, you can't make a

8       comparison, so don't feel like you're constrained for

9       the question.

10           A.      I understand.

11           Q.      A speedometer or a GPS speed indicator?

12           A.      In my personal opinion, I would -- the GPS

13      indicator, they are pretty much right on target.

14           Q.      Okay.     To your knowledge, has GPS calculation

15      improved in more recent dash camera models?

16           A.      I think everything improved in more recent

17      dash camera -- any camera system, you know, whether

18      it's like you mentioned, the resolution or, you know,

19      the angles, the view from the camera.                 Camera systems

20      are -- I agree, they are unique, you know, to each

21      individual camera, which is why it's important in this

22      case.

23                           And, you know, something that looks far

24      away in the lens may actually be closer than it really

25      was, right, so certainly.             I mean, looking at a video

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 216 of 366




                                                                        Page 215

1       on this computer screen from a camera that has a lens

2       this small is going to look different, you know, than

3       the small screen on the camera may have.

4            Q.      Understood.       And so would it be possible to

5       say that the speed calculation on a 2017 dash camera

6       would be less accurate than a camera today?

7                           MR. BARRON:       Objection, form.

8                           THE WITNESS:       You know, I'm going to date

9       myself again, but 2017 wasn't that long -- wasn't that

10      long ago and, you know, GPS technology was really good

11      in 2017.

12                          Now, if you would have used that scenario

13      of 1998, I would agree with you.                I'm sorry, but, you

14      know, 2017 is not that long ago.                There was good

15      technology in 2017.

16           Q.      (BY MS. HEBERT)         Sure.     But can you offer an

17      opinion on whether the technology has changed or not?

18           A.      The GPS technology?

19           Q.      Yes.

20           A.      Well, everything improves, you know.                 I can't

21      deny that.       I mean, Elon Musk has satellites in the air

22      now that's doing wonders, you know.                 So, of course,

23      since 2017, GPS has improved.

24           Q.      Let's return back to your report.                Let's go to

25      page 15, if you will.            And do you see the header

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 217 of 366




                                                                        Page 216

1       "Probable Cause, Texas Transportation Code"?

2            A.      Yes, ma'am.

3            Q.      And we're going to walk through some of this

4       section.       But as I understand your report, you conclude

5       that a reasonable officer in Deputy Babb's shoes could

6       have pulled Alek Schott over for two offenses; is that

7       right?

8            A.      Had they observed the offenses, yes.

9            Q.      Okay.     And what are those two offenses?

10           A.      One would be, obviously, the speeding,

11      considering that the GPS indicated 84 miles per hour.

12      Number two would be the failure to drive in a single

13      marked lane.

14           Q.      Okay.     And let's look at page 17, the second

15      paragraph.       It's the first full paragraph, for the

16      avoidance of ambiguity?

17           A.      Okay.     I'm sorry, tell me -- page 17?

18           Q.      Yes.

19           A.      The first -- first full --

20           Q.      The first full paragraph, but the second

21      paragraph.

22           A.      Yes, ma'am, I'm tracking.

23           Q.      And I'm going to read, I think, that first

24      sentence.       "After reviewing the video recorded by

25      Schott and from the testimony of Deputy Babb in his

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 218 of 366




                                                                        Page 217

1       deposition, a reasonable officer would believe that

2       Schott crossed the yellow line before approaching

3       Deputy Babb and after passing Deputy Babb, he crossed

4       the broken white line in proximity to the Ford truck

5       traveling in the right lane."

6                            Did I read that correctly?

7            A.      You did, ma'am.

8            Q.      Okay.     In this sentence, you reference the

9       dash cam or video recorded by Schott and the testimony

10      of Deputy Babb in his deposition.                Did you consider any

11      other evidence in evaluating whether a reasonable

12      officer would have concluded that Mr. Schott failed to

13      maintain his lane?

14           A.      Not that I recall.

15           Q.      Did you conduct a site visit?

16           A.      I did not.       I did review Google Earth, you

17      know, just so that I'm familiar with the area.                        I'm

18      also -- I mean, I've traveled that road many times, you

19      know.      But other than that, I did not go to the site,

20      no, ma'am.

21           Q.      Okay.     Did you evaluate the place where Deputy

22      Babb's vehicle had been parked compared to where Alek

23      Schott's vehicle had been traveling?

24           A.      I did not go on a site visit, no.

25           Q.      Okay.     Did you evaluate how Deputy Babb's line

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 219 of 366




                                                                          Page 218

1       of sight might have been blocked by cars moving in the

2       right lane?

3              A.      I did see cars in the right lane and I did

4       consider that, yes, ma'am.

5              Q.      And when you see -- when you said "see cars in

6       the right lane," you saw cars on --

7              A.      It would be Mr. Schott's video.

8              Q.      Okay.     So you reviewed Mr. Schott's video and

9       saw that there were cars in the right lane?

10             A.      In the right lane, yes, ma'am.

11             Q.      Okay.     Did you evaluate what Deputy Babb's

12      line of sight could have been after Mr. Schott passed

13      him?

14             A.      The only evaluation I did with what Deputy

15      Babb testified to is from his deposition, from the

16      questions that he answered.

17             Q.      Okay.

18             A.      And he did -- in the questions or in his

19      responses, he did say in his deposition that he saw

20      Mr. Schott cross over the line, but he couldn't recall

21      exactly how many times.

22             Q.      So based on what we just reviewed in your

23      report, I understand your testimony to be that

24      Mr. Schott crossed over the line twice, based on what

25      you saw.         Is that fair?       Okay, I was imprecise.             Let me

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 220 of 366




                                                                        Page 219

1       be more precise.

2                            Do you plan to testify to the jury that a

3       reasonable officer in Deputy Babb's shoes would have

4       concluded that, one, Alek Schott crossed the yellow

5       line before approaching Deputy Babb and, two, Alek

6       Schott crossed the broken white line after approaching

7       Deputy Babb?

8            A.      Yes, ma'am.

9            Q.      Okay.     Is there any other conduct you conclude

10      that was relevant for the failure to maintain a lane?

11           A.      Yes, ma'am.

12           Q.      What other conduct?

13           A.      From reviewing the video from Mr. Schott's

14      vehicle, you can see that when he passes the Amazon

15      truck, the 18-wheeler in the right lane, when you look

16      at the contour lines of the truck and as he passes the

17      Amazon -- the Amazon truck, there's a slight curve in

18      the road and it is clear that Mr. Schott veered far to

19      the left as he went around that truck and then veered

20      back into his lane.

21           Q.      Okay.

22           A.      That's one occasion.          As he approached Deputy

23      Babb's vehicle, I mean, you could see Deputy Babb's

24      vehicle from the camera angle.               Now, I can't tell you

25      what Deputy Babb saw.            I wasn't there.        I'm only

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 221 of 366




                                                                        Page 220

1       testifying to what I observed on the actual camera, the

2       view that I saw in the video.

3            Q.      And by "the video," you're referring to

4       Alek --

5            A.      Schott, yeah.

6            Q.      -- Schott's dash camera?

7            A.      And in combination with what Deputy Babb had

8       said that he -- when he saw Mr. Schott cross the line,

9       before he approached and after he passed, while he was

10      behind them or catching up with them.

11                           So, yes, in my opinion so, yes, he did

12      cross the line on numerous occasions while he was

13      passing the Amazon truck, while he was approaching

14      Deputy Babb and then after he passed Deputy Babb.

15           Q.      So the -- in your mind, there were

16      three crosses?

17           A.      Can I refer to my report?            It's in my report.

18           Q.      Yes, please do.         I'm trying to understand, so

19      feel free to refer to your report.

20           A.      Okay.

21           Q.      I guess what I'm trying to do is understand is

22      how many crosses there were --

23           A.      Yes, ma'am.

24           Q.      -- and which -- where they were.

25           A.      May I just read my report?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 222 of 366




                                                                        Page 221

1            Q.      Well, we have to keep in mind --

2            A.      Just the part -- just the part of the times --

3            Q.      Sure.

4            A.      -- on the video?

5            Q.      We will give you a few minutes to read it.

6            A.      No, I mean, out loud --

7            Q.      Oh, yeah, sure.

8            A.      -- to answer your question.

9            Q.      Oh, absolutely.         And just tell me where you

10      are so I can follow along.

11           A.      Okay.     So this is page 16.

12           Q.      Uh-huh.

13           A.      And this would be the -- let's see -- one, two

14      three, this is the third full paragraph that starts

15      with, "At 11:12:26."

16           Q.      Yes, I see where you are.

17           A.      "Schott rapidly passed the vehicle in the

18      right lane and then Amazon truck, which several car

19      lengths ahead -- was several car lengths ahead.

20      According to the distance of the right line of the hood

21      in relation to the yellow line, in my opinion, Schott

22      swerved to the left in the curve as he passed the

23      Amazon truck at 84 miles an hour.                I reviewed the

24      posted speed limit on the portion of I-35 as being 75."

25                           That's not what I was -- that's not the

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 223 of 366




                                                                        Page 222

1       violation I was -- .

2            Q.      Okay, so we'll call that, you know --

3            A.      That's one.

4            Q.      -- No. 1.

5            A.      Okay, let's see.         In relation to the -- okay,

6       so this would be the paragraph starting with, "In

7       relation to tires --

8            Q.      Sure.

9            A.      -- and striping being recorded on the video

10      at the same time --" let's see.               The "as Schott

11      approached at 11:12:49"            paragraph.

12           Q.      Okay, so the last one?

13           A.      It would be the very last paragraph.

14           Q.      Sure.

15           A.      "Schott received a telephone call just before

16      passing Deputy Babb, slowed to 72 miles an hour, never

17      regaining the speed after passing the patrol unit.

18      Schott continued the telephone conversation passing the

19      Ford truck.        A noticeable change in position of the

20      yellow line in relation to contour line was observed

21      and depicted from -- on, according to Deputy Schott's

22      video, 11:12:56 to 11:12:59."

23           Q.      And there's just one correction, you said

24      Deputy Schott at one point.

25           A.      Uh-oh, did I?        I'm sorry.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 224 of 366




                                                                        Page 223

1            Q.      Deputy Schott's video, but I think you mean --

2            A.      I'm sorry, I meant Mr. Schott's video.

3            Q.      Sure.     So that's No. 2?

4            A.      Yes, ma'am.

5            Q.      Okay.     And then can you identify for me No. 3?

6            A.      At that same paragraph and it continues to the

7       next page, "At 11:13:13 and during the phone

8       conversation, Schott overtook the Ford truck at which

9       time the left contour line was completely over the

10      broken -- the broken white line, potentially at an

11      unsafe distance to the truck in the right lane."

12                           Now, this is where that correction that I

13      told you about earlier --

14           Q.      Yes.

15           A.      -- when he first started, that should have

16      been right contour line and not the left contour line.

17           Q.      Yep, I see it.        So the top of 17?

18           A.      Yes, ma'am.

19           Q.      Got it.

20           A.      "... potentially at an unsafe distance to the

21      truck in the right lane.             There wasn't a video

22      depicting the exact location of where the Ford truck

23      was traveling in the right lane next as he passed, but

24      at 11:13 Schott is verbally heard saying, "Oh, crap" as

25      the video and the audio abruptly ended during

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 225 of 366




                                                                        Page 224

1       conversation."

2            Q.      Okay.     That was super helpful.

3                            So there are three incidences, as you

4       reviewed the dash camera video --

5            A.      Yes.

6            Q.      -- where you concluded that Alek Schott's

7       vehicle crossed either the yellow or the white lines?

8            A.      Well, again, I'm -- I'm not there, right.                   I'm

9       not in person, I can't see it.               I actually can just say

10      that from the video, from the testimony of Deputy Babb

11      on what he saw, according to the deposition, then it

12      matches what the video is depicting that I observed on

13      the video.       That's what I'm saying.

14                           I can't definitively say, you know, that

15      he crossed the white line.             I can't say that.         I can

16      only say that there was a variance in the contour lines

17      at different times and that it appeared to me that he

18      crossed over the lines.            But I wasn't there and that

19      would be speculation on my part.

20           Q.      So help me understand a little bit, based on

21      what you just said there.             I understood -- I understood

22      you to say just now that you can't say whether Alek

23      Schott's vehicle crossed the line or not; is that

24      correct?

25           A.      Bad terminology.         I can't say what Deputy Babb

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 226 of 366




                                                                        Page 225

1       saw when Deputy Babb said that he saw him crossing or

2       his tires on the line, right.              I can't see that.

3       That's speculation, right.             So I can only go from what

4       I saw in my training and experience and it's what I

5       believe from the video and from the testimony by Deputy

6       Babb that he did commit the traffic violation.                        I

7       believe it's supported in the video, from my training

8       and experience, but I wasn't there personally to see

9       him commit the traffic violation.                That's all I'm

10      trying to say.

11           Q.      Understood.       Let's get -- maybe this will help

12      some, too.       Let's go to page 16 and the first -- the

13      third paragraph, but the second full paragraph.

14           A.      Yes, ma'am.

15           Q.      Can you review this paragraph for me?

16           A.      Yes, ma'am.

17           Q.      And in this paragraph that we just reviewed,

18      were you summarizing what you had seen on Alek's dash

19      camera footage?

20           A.      Yes, ma'am.

21           Q.      And you used the -- the word -- the phrase

22      "distinct contour lines."

23                          Do you see where I'm referring, to that

24      first line?

25           A.      Yes, ma'am.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 227 of 366




                                                                        Page 226

1            Q.      What do you mean by "the distinct contour

2       lines"?

3            A.      When looking at Mr. Schott's video, the very

4       beginning, I mean at the still shot before the video

5       begins, you can see two contour lines on the hood, you

6       know.      They are symmetrical, they come from the -- the

7       top of the hood where the windshield is and they kind

8       of curve in towards the front of the hood.                   Those are

9       the contour lines that I'm referring to.

10                           At the very beginning, according to this

11      paragraph, he's within his lane, obviously so, and they

12      are equal to the broken white stripe on the right and

13      the solid yellow stripe to the left.                 Those contour

14      lines are equal.

15           Q.      Okay.     I'm just going to pause you for a

16      second there.

17           A.      Okay.

18           Q.      When you say "the yellow line to the left," do

19      you mean the yellow line on the left of Alek's travel

20      lane as you saw in his dash camera footage?

21           A.      Yes, ma'am.

22           Q.      When you say "the broken right -- the broken

23      white line on the right, are you referring to the

24      broken white line you saw on the right in Alek's dash

25      camera footage?

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25    Page 228 of 366




                                                                          Page 227

1              A.      Yes, ma'am.

2              Q.      Okay.

3              A.      That separates the right from the left lane of

4       the northbound Interstate 35.

5              Q.      Got it.      And so when you used the phrase

6       "crossed over the yellow line," do you mean that Alek's

7       truck passed over the yellow line?

8              A.      Either over it or on it.

9              Q.      Okay.     And how would you know which way --

10      which one worked, which -- how would you know which it

11      was?

12             A.      Well, looking at the -- at the video, looking

13      at -- you can see that there's a yellow line and then

14      there's several inches -- I don't know how many there

15      are -- and then there are rumble strips.                       They are the

16      indentions within the shoulder to let you know that

17      you're crossing the line.

18             Q.      We've all driven on those.

19             A.      You've driven on those before, right?

20             Q.      Yep.

21             A.      So I do not believe he was on the rumble

22      strips.        I do not believe he was all the way across

23      that far.         I do believe, from the video, that his left

24      tires had gone over that line, over the yellow line on

25      it, but not far enough to hit the rumble strips.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 229 of 366




                                                                        Page 228

1            Q.      Okay.     So it's -- it's your opinion, based on

2       the dash camera footage that you reviewed, that

3       Mr. Schott's tires crossed over the yellow line, but

4       did not hit the rumble strips?

5            A.      Yes, ma'am.       And that particular time was

6       after he passed the Amazon truck.

7            Q.      Understood.       Was that the only time that you

8       believe that the tire moved over the yellow line, but

9       did not hit the rumble strips?

10           A.      I believe there was one more time that I

11      mentioned.

12           Q.      Sure.     And is that the No. 2 time we talked

13      about where right -- right -- just before passing

14      Deputy Babb on 16, the last paragraph?

15           A.      So that would be the second one.                I do not

16      believe that one was as noticeable, so I do not believe

17      he went as far as he did on the first one.

18           Q.      Understood.

19           A.      Yes, ma'am.

20           Q.      But, in your opinion, Mr. Schott's tire

21      crossed over the yellow line?

22           A.      Either over or on the line.

23           Q.      Okay.     Did you do anything to evaluate the

24      relationship between what Mr. Schott's dash camera

25      showed and the positioning of his tires?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 230 of 366




                                                                        Page 229

1            A.      No, ma'am.

2            Q.      So based on your review of the dash camera

3       footage, could you say where Mr. Schott's tires were

4       located?

5            A.      No, ma'am.       That is not -- you can't see that

6       from the angle of the video.

7            Q.      Can we go to page 16 and the first full

8       paragraph, it starts with, "In relation to tires and

9       striping."

10                           Do you see that?

11           A.      Yes, ma'am.

12           Q.      I'm going to read some of this so we have the

13      entirety.       "In relation to tires and striping being

14      recorded on video at the same time, it was nonexistent.

15      Therefore, my opinion is based solely on my experience

16      and training having instructed law enforcement officers

17      on the use of mobile video during my career and from

18      what I reviewed on the video as part of this case."

19                           Did I read that correctly?

20           A.      Yes, ma'am.

21           Q.      When you wrote "it was nonexistent," what were

22      you referring to?          I just -- I don't quite understand.

23           A.      The question that you just asked me, could I

24      see the tires and the yellow line in the same frame.

25           Q.      Okay.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 231 of 366




                                                                        Page 230

1            A.      And I could not.

2            Q.      So just to finish that out, I think, for the

3       failure to maintain a lane offense, it is your opinion

4       that will Alek Schott crossed the yellow line twice and

5       the broken white line once, based on the review of his

6       dash camera footage and Deputy Babb's testimony.

7                           Is that a fair summary of your opinion?

8            A.      I would like to make a comment about the

9       deposition that I read and reviewing this, if I may.

10      And there seems to be a lot of focus, from what I read

11      in the deposition, on the yellow line and what deputy

12      saw -- Deputy Babb saw as the vehicle approached him,

13      where the vehicle was located when --

14           Q.      When you say "the vehicle," you're referring

15      to --

16           A.      Mr. Schott's vehicle, I'm sorry.                Learning

17      curve for me.

18                          But there wasn't much conversation about

19      what transpired after Mr. Schott passed Deputy Babb.

20      There has not been very much testimony.                  However,

21      Deputy Babb did testify that he did cross over and

22      failed to maintain his lane after he passed him and

23      while he was trying to catch up with him.

24                          That offense, to me, was very unsafe had

25      the white truck alongside him been in the position in

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 232 of 366




                                                                        Page 231

1       the right lane that he was because Mr. Babb -- not

2       Mr. Babb.       Mr. Schott, I'm sorry.           Mr. Schott had

3       received a telephone call as he approached Deputy

4       Babb's vehicle, which will distract a lot of people on

5       a phone call, right.           You know, not many people can

6       answer a telephone, in my experience, being personal

7       experience as well, without looking at the telephone to

8       answer it.       That potentially is significant when

9       Mr. Schott answers the phone, takes his attention away

10      from the road as he's approaching Deputy Babb, which

11      could have caused him to cross the line.                     He's on a

12      phone conversation after he passes Deputy Babb.

13                          As he passes the white Ford truck in the

14      right lane while Deputy Babb is attempting to catch up

15      with him or is -- has caught up with him -- we don't

16      know because there's no vehicle on exactly his

17      positioning -- you can hear Mr. Schott say, "Oh, crap,"

18      which, in my experience in law enforcement, you know,

19      and actually been in those positions is you just got

20      lit up by the police, right.

21                          So -- and there's a distinct right -- the

22      distinct discrepancy.            I mean, that -- that contour

23      line on the right side is way further over than it had

24      been at any one time.

25           Q.      And when you say "contour line on the right

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 233 of 366




                                                                        Page 232

1       side," you're referring to the --

2            A.      On the hood of Mr. Schott's truck.

3            Q.      And in relation to --

4            A.      To the right broken stripe on the right,

5       separating the right and the left lane of the

6       northbound lane.

7            Q.      Okay.

8            A.      And that coincides with what Deputy Babb had

9       said in his deposition, that he observed that as he was

10      behind the vehicle.           So I just want to make sure that,

11      you know -- I saw that, you know, it's in my report.

12                           So, in my opinion, that was very unsafe

13      with the truck being in the right lane.                  Mr. Schott,

14      being on the telephone, being distracted and looking in

15      the rearview mirror as a patrol car is behind him,

16      which is obvious from the video by him saying "Oh,

17      crap."

18           Q.      Okay.     Did you evaluate what Deputy Babb could

19      have seen while he was driving to catch up with Alek

20      Schott's truck?

21           A.      Well, I mean, again, that would be speculation

22      on what Deputy Babb saw.             I don't know what he saw.

23      Obviously, he has a computer.              Obviously, there were

24      some things that I reviewed where he may have been

25      running license plates on the computer.                  That in itself

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 234 of 366




                                                                         Page 233

1       doesn't necessarily mean he's distracted or can't see

2       anything.

3                             Officers all the time are on the computer

4       typing, you know, while they are driving.                     Officers

5       don't just look at the computer the entire time they

6       are driving and not look at the road, you know.                        They

7       are trained and they have experience in doing that.                           So

8       it's been my experience with these computers in the car

9       and following someone that I can still see the traffic

10      violations that occur in front of me, even though I may

11      be running a license plate or, you know, anything of

12      that nature.

13                            So, yes, he very well could have been

14      looking or running license plates, according to the

15      records, but I don't think that distracted him from

16      seeing what he saw.

17            Q.      Understood.       Did you evaluate whether texting

18      and driving could have impacted what Deputy Babb saw?

19            A.      Same scenario.

20            Q.      Okay.     So you just talked about the -- after

21      Alek Schott passed Deputy Babb, it is your opinion,

22      based on the dash camera footage and from Deputy Babb's

23      testimony, that Mr. Schott's car crossed over the white

24      lines on the right side of the travel lane that he was

25      on?

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 235 of 366




                                                                          Page 234

1              A.      Yes, ma'am.

2              Q.      And before passing Deputy Babb, Alek Schott's

3       vehicle crossed over the yellow line twice?

4              A.      Yes, ma'am.

5              Q.      Any other conduct that led you to conclude

6       that Mr. Schott committed the offense of failure to

7       maintain a lane?

8              A.      You know, I watched that video many times, you

9       know, second by second and, you know, I really tried to

10      determine whether -- or where -- had I been in Mr. --

11      or in Deputy Babb's position, where would I have been

12      able to see Mr. Schott's vehicle to be able to see this

13      violation.         So I really considered that a lot, right.

14                             And I came to the conclusion that, from

15      my training and my experience in this business, having

16      worked interdiction many, many years, police officers

17      who are looking for a certain vehicle, they are

18      fine-tuned focused on looking for a vehicle, and in

19      this case, Deputy Babb was looking for an F-250.

20                             So his ability -- again, I'm not Deputy

21      Babb, but my ability to be able to see an F-250 and

22      recognize that one is coming would be at a greater

23      distance than probably a vehicle that I'm not looking

24      for.        Is that fair to say?

25             Q.      Sure.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 236 of 366




                                                                        Page 235

1            A.      So -- so having already known the vehicle,

2       make, model and even having a photograph of that truck,

3       I believe I would have been able to see that truck from

4       a greater distance and what it was doing, particularly

5       in relation to other vehicles, like the distance

6       between the vehicles, to determine whether they crossed

7       over the line, I would be able to see that.                    So I took

8       that into consideration in this case.

9            Q.      Sure.     And I get that.        That makes total sense

10      to me.      But what -- in terms of the conduct, there were

11      three times, based on your perception of the testimony

12      and your review of the dash camera footage, that you

13      saw Mr. Schott's vehicle cross out of its lane.

14                           Am I understanding that correctly?

15           A.      Yes, ma'am, in combination of everything I

16      reviewed, not what Deputy Babb saw.                 Only what I

17      reviewed.

18           Q.      Sure.     And in evaluating the offense of

19      speeding, I'm going to move on to speeding, if that's

20      okay.      What evidence did you consider for speeding?

21           A.      In this case, that was the first thing that I

22      noticed on the video, to be honest with you.

23           Q.      And when you say "the video," you're referring

24      to --

25           A.      I'm sorry, I do apologize.             Mr. Schott's

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 237 of 366




                                                                        Page 236

1       video, from Mr. Schott's --

2            Q.      So let's start that again.             In this case --

3            A.      Yes, ma'am.       In this case, Mr. Schott's video

4       that I reviewed, the first thing that I noticed was he

5       was passing traffic at a rapid speed, and that is when

6       I looked at the entire, you know, bottom frame of the

7       video and I saw the GPS speed of 84 miles an hour.

8       That explains why he's passing traffic at such a rapid

9       pace.

10                           As an officer that has stopped thousands

11      of cars and having also, you know, been certified in

12      the use of radar to be able to write tickets for that,

13      you know, an officer is trained to first observe a

14      vehicle and if it appears that vehicle is speeding and

15      you judge that by the other traffic.                 So in this case I

16      think that's why I noticed that first.

17                           And then once I noticed that and I

18      noticed the speed, then I began looking for the failure

19      to drive in a single lane had he or had he not at that

20      particular time.

21           Q.      Sure.     So other than the dash camera footage

22      and Deputy Babb's testimony, did you have any other

23      evidence you -- you reviewed in making the conclusion

24      that Alek Schott was speeding?

25           A.      No, ma'am.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 238 of 366




                                                                        Page 237

1            Q.      Okay.     I want to talk a little bit about

2       source of information.

3            A.      Okay.

4            Q.      What is a source of information?

5            A.      You know, it's more police jargon.                A source

6       of information -- I'm going to use the Drug Enforcement

7       Administration here as an example.                When you write

8       DEA-6, which is a report with the Drug Enforcement

9       Administration, the DEA-6, if you're using a

10      confidential informant then oftentimes they refer to

11      them as confidential sources, which would mean CS for

12      short, right.         At my department, we use the words CI,

13      confidential informant, not confidential source, so it

14      would be CI.

15                           But if it's an unknown person, someone

16      that is phoning in information and you don't

17      necessarily know who it is, then they are a source of

18      information.         It's someone who you do not have the

19      identity to, that being whether you're, you know,

20      having it in a confidential informant file or you're

21      putting the name in the report.               So that's what a

22      source of information is --

23           Q.      Got it.

24           A.      -- for this report.

25           Q.      Okay.     So then as you use the term "source of

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 239 of 366




                                                                          Page 238

1       information" in your report, you're using that term

2       because you didn't know who the source of the

3       information is.           Is that fair?

4              A.      That's fair.

5              Q.      Okay.     Who is Kiki?

6              A.      I have no idea.

7              Q.      Okay.     Do you know what the Laredo Fusion

8       Center is?

9              A.      Uh-huh.      So not necessarily the Laredo Fusion

10      Center, but what a fusion center is, is where

11      information, intelligence --

12             Q.      Sure, sure.       And I'm not asking you what a

13      fusion center is more generally, but do you know what

14      the Laredo Fusion Center is specifically?

15             A.      Not unless it's one of the fusion centers

16      within the network.

17             Q.      Sure.     Did you do anything to evaluate whether

18      the Laredo Fusion Center exists?

19             A.      I'm certain they have one, but no.

20             Q.      Okay.     Did you do anything to learn who Kiki

21      was?

22             A.      No, ma'am.

23             Q.      Okay.     As you sit here today, do you know if

24      Kiki was a law enforcement officer?

25             A.      I do not.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 240 of 366




                                                                        Page 239

1            Q.      Let's look at page 6 of your report.                No. 6,

2       do you see the last paragraph here?

3            A.      Yes, ma'am.

4            Q.      I'm going to read the first sentence there.

5       "Prior to the traffic stop, Deputy Babb utilized a

6       messaging program called WhatsApp to receive

7       information that the 2019 F-250 displaying Texas LP

8       LJR-4135 was northbound on IH-35 in Carrizo Springs, a

9       city located in South Texas."

10           A.      Yes, ma'am.

11           Q.      Did I read that correctly?

12           A.      You did.

13           Q.      Okay.     Just for ground rules, what is

14      WhatsApp?

15           A.      WhatsApp is a messaging program that's -- they

16      don't use -- it's Internet based, it's not telephone

17      based, WhatsApp.          So, you know, it's where you can

18      create group messages, group -- you know, it's much

19      like a group text message, but it's utilizing WhatsApp,

20      which is merely just one of the programs that offers

21      that service.

22           Q.      Is WhatsApp a messaging program only for law

23      enforcement?

24           A.      No, ma'am.

25           Q.      Who can use WhatsApp?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 241 of 366




                                                                        Page 240

1            A.      Anyone with a phone.

2            Q.      To better understand your analysis, it would

3       be helpful to kind of have an understanding of your

4       perspective on the inputs to your analysis.                    So feel

5       free to consult your report as we go, but I want to

6       understand your view of the facts.

7                           What information did Deputy Babb have

8       about Mr. Schott before he turned on his lights to make

9       the traffic stop?

10           A.      It's my understanding from the deposition,

11      from the body cameras that I reviewed that -- and

12      that's the body cameras of Deputy Babb, body cameras of

13      where he was speaking with Deputy Molina, which had a

14      lot of the same information, and it could have been

15      even Deputy Gereb.          He commonly referred to information

16      that he had prior to the stop.               He has very hesitant to

17      give up too much information that he had knowledge

18      about.

19                          That is -- in my opinion and my

20      experience in law enforcement, it's because he was

21      trying to protect some ongoing investigation that may

22      have been occurring where he got that information from.

23      He mentioned information about one-day turnaround, he

24      mentioned information about frequent trips, about a

25      potential female with him as he went to Carrizo Springs

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 242 of 366




                                                                        Page 241

1       from Houston, about a female at a hotel in Carrizo

2       Springs, about the truck leaving the hotel, going to an

3       offsite place, information that the female was taken

4       back to the hotel and information that the truck was

5       heading northbound on I-35 and then arrived within the

6       timeframe.

7                           So from my training and experience and

8       from reviewing all of that, from having experience on

9       the investigative side of narcotics, I can confidently

10      say that there was information he had that was -- that

11      was confirmed by what he saw.              According to the

12      depositions, you know, he had information.

13           Q.      Understood, understood.            And I'm -- I'm just

14      trying to capture all of the information.

15           A.      Yes, ma'am.

16           Q.      So it is your testimony that before Deputy

17      Babb turned on his lights to make the traffic stop of

18      Alek Schott, he had information about the one-day

19      turnaround, the frequent trips, some lady who had

20      traveled with Mr. Schott, a female at the hotel, that

21      Mr. Schott had moved from the hotel to offsite and

22      Mr. Schott had driven north on I-35 and Mr. Schott

23      arrived at the timeframe he was expected to arrive in

24      Bexar County; is that fair?

25           A.      If I can, let me refer to my report.                I have

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6      Filed 02/07/25   Page 243 of 366




                                                                         Page 242

1       those, I think, outlined in the report.                    Let me see.

2                             (Discussion off the record)

3                             THE WITNESS:      So on page 19 of my report.

4             Q.      (BY MS. HEBERT)         Sure.     19, okay.      Okay, got

5       it.

6             A.      No. 1, I outlined some of those things that

7       you're asking about.

8             Q.      Yeah.

9             A.      Deputy Babb had prior -- had prior knowledge

10      about the description, color and license plate of the

11      vehicle, so that would be one thing.                   The F-250 had

12      been scanned by LTR in Fayette County traveling

13      westbound on IH-10 the night before.                   That would be two

14      things.

15            Q.      Sure.

16            A.      Deputy Babb was told by a member of law

17      enforcement texting group, the F-250 had frequent

18      patterns to and from South Texas on multiple occasions.

19      That would be three.

20                            Deputy Babb was told that the F-250 was

21      possibly traveling in tandem with a secondary vehicle

22      during trips to South Texas.               That would be four.

23                            Let's see.      There's that date of

24      March the 22nd again, so I'm sure that's a typo.

25            Q.      He's referring to item 5.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 244 of 366




                                                                        Page 243

1            A.      Item 5, right.        Deputy Babb was informed via

2       messaging app the F-250 left Carrizo Springs at the

3       specific time utilizing I-35.              That should've been

4       March the 16th, not the 22nd.              That would be five.

5                            Let's see.      Deputy Babb observed the

6       F-250 driven by Schott on IH-35 confirming the

7       information that he had received leading up to that,

8       basically.       That's No. 6.        So that would be six things

9       that related to the information that he had prior to

10      the traffic stop.

11           Q.      Okay.     So these six things are the only six

12      things that Deputy Babb knew before the traffic stop?

13           A.      I don't know what else he knew.                 He may have

14      had other conversations via phone.                I don't know.        That

15      would be speculation.

16           Q.      Sure.     Well, we just talked about -- we talked

17      about a couple of things, about a female at the hotel

18      and a lady who traveled with him.                I don't see those in

19      items 1 through 6.          Is that fair?        Unless I'm missing

20      them.

21           A.      Well, so No. 4 is that Deputy Babb was told

22      that the F-250 was possibly traveling in tandem with

23      the secondary vehicle during trips to south Texas,

24      right.      So that -- that is the same as the female

25      that's involved.

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 Case 5:23-cv-00706-OLG-RBF     Document 97-6    Filed 02/07/25   Page 245 of 366




                                                                     Page 244

1                        Originally, there was confusion with

2       whether the female was in another car, at what point

3       she was in another car.         And I don't think Deputy Babb

4       was clear on whether or not the female was coming from

5       Houston or the female met him in Carrizo Springs.                  So,

6       you know, you can't pinpoint that particular topic

7       because I don't think it was clear at any point where

8       she was or where she -- other than that we know she was

9       seen, according to Deputy Babb's conversation on the

10      phone, that's recorded on his body cam, while he's

11      searching the truck of Mr. Schott, he calls and he --

12      it has been assumed that that telephone call was to a

13      supervisor, right, and in the -- from the depositions

14      that I read -- well, actually, it's in the complaint as

15      well, the the complaint reads that he was in contact

16      with a supervisor.

17                       Well, I believe that was the person in

18      Carrizo Springs that he was talking about, not a

19      supervisor on that particular call.              And this was

20      recorded on his body cam.          But -- so there's confusion.

21      You cannot pinpoint exact details from these

22      conversations.        So what these are, one through five or

23      six, really, is really just a generalization of

24      everything for totality of the circumstances.

25                       So I can't -- I can't tell you what time,

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 246 of 366




                                                                        Page 245

1       you know, the female was in the truck, but I can tell

2       you that that was part of my recording that there was a

3       secondary vehicle.

4            Q.      Understood.       So this summary of items that you

5       have on one through six, this is a summary of

6       information that you understand that Deputy Babb had at

7       some point about Mr. Schott; is that correct?

8            A.      Yes.

9            Q.      Okay.

10           A.      And I believe that those -- those particular

11      things were information that I either observed on the

12      video, I read in depositions, that he knew before the

13      traffic stop.

14           Q.      Okay.     So I'm going to ask this question

15      again.      Can you tell me what information Deputy Babb

16      had before the traffic stop, based on your review of

17      the evidence?

18           A.      It's the things that I just read.

19           Q.      So items 1 through 6?

20           A.      One through six.

21           Q.      So Deputy Babb had all of the information

22      listed in items 1 through 6 on page 19, as you

23      understand it, before he made the stop of Alek Schott?

24           A.      According to what I have observed during the

25      case evaluation, yes.

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 247 of 366




                                                                          Page 246

1              Q.      Okay.

2                              MR. BARRON:      Do you want to take a break

3       now?

4                              MS. HEBERT:      This will be a great time.

5                              (Recess from 3:52 p.m. to 4:03 p.m.)

6              Q.      (BY MS. HEBERT)         Mr. Haston, are you ready?

7              A.      I'm ready.       Thank you for the break, actually.

8              Q.      Great.     I needed it, too.

9                              I want to look at page 20 of your report.

10      And do you see the third paragraph, you talk about Stan

11      Walters?

12             A.      I do.

13             Q.      How does Stan Walters' instruction materials

14      help you detect detection -- detect deception?

15             A.      So Stan Walters is a -- is a well-known

16      instructor of kinesics.              I have taken a lot of his

17      classes over the years.              In fact, he was the first

18      person who, you know, introduced me to body language to

19      help me understand what I was seeing.                   Everybody

20      understands and sees body language, it's just a lot of

21      people don't know how to interpret it.

22                             Stan Walters assisted me by -- through

23      his training programs that I had taken to help me

24      understand what I was seeing and to develop the

25      interviews in order to, you know, determine whether

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25    Page 248 of 366




                                                                        Page 247

1       something else is going on with the traffic stop, in

2       this case.       So that's how he helped me, his classes,

3       his courses.         He's a very well-known instructor of

4       kinesics.

5            Q.      Can you just explain what kinesics is?

6            A.      Body language, speech patterns, things of --

7       exactly what we've been talking about, you know, it's

8       about how the body -- how the subconscious mind reacts

9       under stressful situations.

10                           And that -- it's really a lot like

11      hypnosis, which is why I enjoy the hypnosis class

12      because it's still a lot about the subconscious mind

13      and what's retained and how people react, you know, to

14      questions or to interviews or to situations, you know.

15           Q.      Okay.     Can you, in broad strokes, give me the

16      big takeaways you've learned from Mr. Walters?

17           A.      The big takeaways from Mr. Walters?

18           Q.      And I'm not -- this is not -- this is not a

19      quiz.      Like if you missed one, you're not going to like

20      lose points.         I just kind of want to understand the

21      general framework from your perspective.

22           A.      It's a lot of what I just said.                 I mean, the

23      big takeaways from body language and speech patterns is

24      to be able to interview a person -- this is in my own

25      words -- be able to interview a person, observe the way

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                                                                        Page 248

1       their body reacts to the questions that I ask them, to

2       be able to respond and ask another question from the

3       answer that they gave me.

4                           Are you tracking with me?

5            Q.      Yeah, I did.        I followed you on that one.

6            A.      And once they respond to the question, I

7       determine from what I see, body language-wise, whether

8       or not I need to revisit that particular topic or

9       whether I need to move on to something else.                    That's

10      one thing.

11                          The other thing, related to criminal

12      interdiction, is the way a person reacts upon meeting a

13      law enforcement officer in an official capacity,

14      especially one who is committing a crime, such as drug

15      trafficking.        Many of those indicators are stretching.

16      You know, there's many times when you stop a vehicle

17      and the person is a drug trafficker, they know they

18      have drugs, we talked about this earlier.                    They're

19      thinking about what they're going to say when they're

20      stopped.       So you take that, you know, into

21      consideration.         And now they are stopped.             Now, when

22      they get out of the car, maybe they are in the car,

23      they stretch a lot, right, so they stretch.                    Big

24      indicator.       I learned that from Stan Walters.               It

25      happens a lot.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 250 of 366




                                                                        Page 249

1                           Another indicator when you're talking

2       with them is let's say you want to pat someone down,

3       and say, "Hey, I need to pat you down," then they turn

4       around and put their hands behind their back.                    Well,

5       typically, when you're going to pat someone down, they

6       are going to raise their hands up, but when they put

7       their hands behind their back, it's almost like they

8       want to be handcuffed.            So that's the subconscious

9       thing that they do, that they think they are under

10      arrest because they know they've got something going

11      on, potentially.          It's not every time, but, I mean,

12      it's just things that you look for.

13                          Other things are clusters of being

14      deceptive.       So when someone is lying, then your body

15      does certain things that tells me that you're lying.

16      Not -- no one certain thing means that you're being

17      deceptive because everyone does it at one time or

18      another, but when there's clustering of things, meaning

19      that there are several things going on during that

20      time, such as they clear their throat, they, as I

21      mentioned before, may have a nervous laugh whenever

22      they answer a question after the baseline changes.                       We

23      discussed that earlier.            I can go over it again, if you

24      would like.

25           Q.      But this came from Stan Walters?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 251 of 366




                                                                        Page 250

1            A.      All of that came from Stan Walters' training,

2       yes, ma'am.

3            Q.      Okay.     And you find Mr. Walters' ideas to be

4       helpful in detecting deception?

5            A.      He's one of the instructors, yes, ma'am.

6            Q.      Okay.     Do you list any other instructors here?

7            A.      Where is my training and experience section?

8       Okay.

9                            No, ma'am, because there are a lot of

10      them.

11           Q.      Sure.

12           A.      So this is the one that I attended numerous

13      classes that he had.           There's also one by the name of

14      Rhoades, if I remember his name.

15           Q.      R-H-O-D --

16           A.      Maybe Stephen Rhoades.           R-H-O-A-D-E-S, maybe,

17      Rhoades.       I can't remember.         His was a long time ago.

18      I've taken a few of his classes.

19                           I have not depended upon any body

20      language classes, any -- any anything of that nature

21      from law enforcement officers who teach in an

22      interdiction setting; only from people whom I consider

23      to be experts in the matter.

24           Q.      Sure.     And you consider Mr. Walters to be an

25      expert in the matter?

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 252 of 366




                                                                         Page 251

1             A.      Yes, ma'am.

2             Q.      Okay.

3                             MS. HEBERT:      Let's look at Exhibit G.

4       What number are we on?

5                             MR. FOX:     114.

6                             (Exhibit 114 marked)

7             Q.      (BY MS. HEBERT)         We're going to hand you

8       what's been marked Exhibit 114.

9             A.      Sure.

10            Q.      I'm not going to ask you to review --

11                            MR. BARRON:      Do you have another copy for

12      me?

13                            MR. FOX:     Yeah, here you go.

14            Q.      (BY MS. HEBERT)         I'm not going to ask you to

15      review the entirety of this document.                  I want you to

16      just look at the cover page and then to the bio, which

17      is the next page after the cover page.

18            A.      Yes, ma'am.

19            Q.      Is this the Stan Walters whose trainings you

20      have attended and his materials you have reviewed?

21            A.      Yes, ma'am.

22            Q.      Let's go -- the pages are numbered, but they

23      don't start until a few pages in.

24            A.      Okay.

25            Q.      Can you go to the page numbered No. 4?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 253 of 366




                                                                        Page 252

1            A.      Okay.

2            Q.      And can you tell me what the copyright here is

3       on this page at the bottom?

4            A.      2024.

5            Q.      Okay.     And let's go to page 7.           And I'm going

6       to go -- I'm going to read this second block of text.

7       It's about midway through the page.                 "Interview and

8       interrogation is a very labor-intensive mental process.

9       One very common mistake interviewers make is spending

10      so much time and energy on their analysis of their

11      subject's behaviors that they forget the most important

12      part of interviewing:            Listening."

13                           Did I read that correctly?

14           A.      You did.

15           Q.      Do you agree with this statement?

16           A.      I do.

17           Q.      Have you seen officers make this mistake?

18           A.      I have seen myself make this mistake, and I

19      almost got killed over it.

20           Q.      That sounds pretty traumatic.

21           A.      Well, I almost lost my life.             This is great

22      stuff.      Body language, interview techniques, patterns.

23      It's great stuff.          I learned a lot from it.            I was very

24      successful in my career using it.                However, when -- and

25      I'll give you my example of what happened to me.

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 Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 254 of 366




                                                                       Page 253

1                          I focused so much on finding drug

2       traffickers and utilizing body language and speech

3       patterns that I had challenged myself to be able to

4       find drug smugglers and get them to tell me where the

5       drugs were in the car without me even having to ask for

6       consent to search.         That's how I challenged myself in

7       this business.        And I became fairly successful at it

8       and I made many loads on Interstate 35 to where I found

9       the car, I talked with them, I interviewed them and

10      they told me the drugs -- where they were, what they

11      were and where they were going, right.

12                         And that was, you know, I was -- I really

13      liked it, right.         I mean, it was very successful work.

14      But what I failed to do was pay attention to my police

15      training 101, and that is a lot of what happened with

16      Deputy Babb, or what didn't happen with Deputy Babb,

17      and that is I failed to watch the signs of a person

18      that's armed because I was so focused on interviewing

19      people through training I had gotten from Sam Walters,

20      right.

21                         And that almost cost me my life because

22      the person that I'm speaking about had two 45 handguns

23      on him, he had a tactical shotgun with a lot of rounds

24      in the truck and he was out to kill people.                   And I did

25      not pat him down because I was so focused on not

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 Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 255 of 366




                                                                          Page 254

1       listening and doing what I was doing.                   So, yes, I do

2       agree.        This is a great tool, you know.              Investigation

3       of bad guys is a great tool, but it's a real business.

4              Q.      Understood.

5              A.      And if you do not pay attention to everything

6       and you lose focus and you don't listen, you will get

7       killed in this business, which is why you pat people

8       down for safety.

9              Q.      Understood.       And I'm sorry that happened to

10      you.

11             A.      Oh, no, I learned from it.             That was a

12      learning experience for me.

13             Q.      When you reviewed the body camera footage of

14      Deputy Babb and he had Alek in the front seat of his

15      vehicle, or before that, so just when you reviewed the

16      body camera footage of Deputy Babb, did you evaluate

17      whether Deputy Babb was making the same mistake you

18      made, failing to listen?

19             A.      I don't -- I can't -- again, I can't say what

20      Deputy Babb was thinking or what he saw.

21             Q.      Of course.

22             A.      But, however, from my training with deception,

23      with body language, that's why I say, and I keep saying

24      that at Deputy Babb's experience level that he had,

25      that put him at a different category from where --

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 256 of 366




                                                                        Page 255

1       where other officers may be, right.                 So Deputy Babb was

2       learning.       He was in the process of learning body

3       language, speech patterns and he didn't necessarily do

4       everything like this training tells you to do.

5            Q.      Sure.

6            A.      Right, because he hasn't formally had a lot of

7       this training and he hasn't put it to real-life use,

8       you know, in interview settings.                There's a difference

9       in interviewing a person with all of this education

10      from deception and body language and making that work

11      on the side of the road is two total different types of

12      an interview.         You're using basically the same

13      training, you're using the same methods, but it's

14      different because you don't have a controlled room like

15      we're in today and you can't just sit and focus on that

16      person in the front seat of that car and that's why I

17      prefer not to use the front seat approach is because I

18      cannot watch and listen and use these tactics with body

19      language to the level that I prefer.

20           Q.      I think something that might help us, let

21      me -- actually, will you look at page 13?

22           A.      On this -- The Lie Guy.

23           Q.      Yes, The Lie Guy.         And are you familiar with

24      Mr. Walters' discussion of contamination?

25           A.      I would have to read this.             It's been so long

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 257 of 366




                                                                        Page 256

1       since I've been to any of his classes.

2            Q.      Sure.     And I'll just -- look midway down the

3       pages, "What can contaminate a subject's behavior?                     The

4       list can be endless.           External distractions, such as

5       noises, too many people around while watching or

6       listening, cell phones, knocks at the door, other

7       investigators or supervisors interrupting, temperature

8       extremes, most importantly in the interview, aggressive

9       behavior, condescending behavior, accusatory behavior,

10      encroachment on a subject's personal space, not

11      listening, interrupting the subject, yelling, anger,

12      finger pointing and many, many more."

13                           Did I read that correctly?

14           A.      You did.

15           Q.      Is that what you're referring to,

16      distractions, other things that might cause -- or

17      interfere with your ability to detect dishonesty?

18           A.      As I put in my report, yes, ma'am, that's what

19      I was referring to.

20           Q.      Okay.     Let's go to page 14, which is the next

21      page, and I'm going to read the second paragraph.                     "One

22      of the biggest killers of all effective interviews is

23      what I call the preconception assassin.                  If you're

24      wandering through the woods looking for signs of Big

25      Foot because you believe there's one hiding in your

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 258 of 366




                                                                        Page 257

1       backyard, you are going to find signs of Big Foot."

2                            Did I read that correctly?

3            A.      You did.

4            Q.      Can we refer to, for just like shorthand, this

5       paragraph as "the Big Foot problem," just between you

6       and I, just rather than like go through this again?

7            A.      Yeah.

8            Q.      Can we call this the Big Foot problem?

9            A.      Absolutely.

10           Q.      Are you familiar with the concept of the Big

11      Foot problem?

12           A.      It occurs in law enforcement as a whole.

13           Q.      Okay.     Tell me about your understanding of the

14      Big Foot problem.

15           A.      Well, I mean, I haven't necessarily heard of

16      this particular -- you know, this is probably something

17      that was, you know, after my time of going to his

18      classes.

19           Q.      Sure.

20           A.      So I don't recall hearing this in his classes

21      before, plus he has different levels of the classes.

22      So, you know, this may be one of the classes that I did

23      not attend with this curriculum.

24                           However, every law enforcement officer

25      and investigator should -- they can create false

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 259 of 366




                                                                        Page 258

1       confessions simply by interviewing, right, because they

2       become so focused on what they believe that, you know,

3       if they don't look at everything as a whole, they can

4       actually misread what's going on.                It happens all the

5       time with homicide investigations, right.                    That's how

6       innocent people end up in prison.

7                           And that's a lot of what you're reading

8       here.      You know, I mean, if your -- if your

9       preconceived thought is this and, by golly, I'm going

10      to prove that through product body language or

11      whatever, then you're losing focus.                 The officer is

12      losing focus on everything else to exonerate this

13      person, right.

14                          So in law enforcement training you're

15      taught not to do that.            You're taught to look at

16      everything.        In fact, prove this person isn't guilty,

17      you know, don't look at it like he is guilty, and

18      that's the way you should view it.                So I hope that

19      helps me explain that that's what this is.

20           Q.      That does help.

21                          Can we skip to page 35?           And this -- the

22      top of this page says, "Chapter No. 4, Verbal

23      Behaviors."

24                          Did I read that right?

25           A.      You did.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 260 of 366




                                                                        Page 259

1            Q.      And I'm going to skip down to the section that

2       says, "Voice Quality."

3                            Do you see where I am?

4            A.      I do.

5            Q.      I'm going to read that -- this portion.

6       "Changes in voice quality are not a sign of deception.

7       Pitch changes:         Up - most consistent with frustration,

8       anger and excitement; down - most consistent with

9       isolation, depression.            Volume changes:        Louder - most

10      consistent with anger -- excitement, anger.                    Softer -

11      most consistent with depression, disinterest."

12                           Did I read those correctly?

13           A.      You did.

14           Q.      Do you agree with Mr. Walters that changes in

15      voice quality are not signs of deception?

16           A.      If you will look at the top of this page.

17           Q.      Sure.

18           A.      And I'm assuming this was downloaded off of

19      the Internet?

20           Q.      This is what Mr. Walters provided us.

21           A.      Provided for you?

22           Q.      Yeah.

23           A.      So it's a basic guide, right.              So when you

24      take this one page with voice quality analysis, it

25      could be construed that way.              But if you -- this is

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                                                                        Page 260

1       intended for if it's just this, right, if it's just the

2       change in pitch or the tone and you have nothing else.

3                            That's what I said earlier.             There's no

4       one certain thing that means that a person is lying.

5       However, if you have a cluster of things, you have the

6       voice and pitch changes along with the stretching,

7       along with the interview at particular times where this

8       occurs each and every time and they cover their mouth

9       and they nervous laugh and they have speech patterns,

10      they are part of the cluster and they are signs of

11      deception.

12                           And, you know, if you were to watch the

13      video of where I had the guy with the guns and I

14      realized that he had the guns --

15           Q.      It's not a video in this case?

16           A.      No, it is not a video in this case.                However,

17      I'm giving that as an example of my --

18           Q.      Sure.     Just clarifying the video for the jury.

19           A.      Oh, okay.      My pitch in my voice, upon

20      realizing what was going on, went very high,

21      skyrocketed, right, because my brain is now saying,

22      "Oh, man, you just made a mistake, you know, you almost

23      got yourself killed."            And so my pitch changed because

24      I was under extreme stress during that time.                    And you

25      can see that -- I use that video in my law enforcement

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                                                                        Page 261

1       training, believe it or not, it's the last video that I

2       use, to show change in voice quality and pitches when a

3       person is under stress.

4                           So I do not agree with this just one page

5       by itself in the circumstances of the case that I

6       reviewed or -- because it's all about timing and

7       clusters, things of that nature.

8            Q.      Understood, understood.            In the example that

9       you just talked about with the mistake you made in one

10      of your policing encounters, you had a voice change

11      that went really high.

12                          Is that my fair understanding of what

13      you're saying?

14           A.      Yes.

15           Q.      And your pitch change wasn't because you were

16      trying to be deceptive?

17           A.      No, not -- not in that circumstance, but it

18      was a stress.         It's about stressing a person, right.

19      It's about interviewing a person, having a baseline on

20      the way they answer on nonthreatening questions,

21      nonstressful questions compared to stress questions,

22      and then you evaluate those changes in voice and pitch

23      changes.

24                          Some people will not say anything at all.

25      Their voice will get so low.              I've had -- I've had

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 263 of 366




                                                                        Page 262

1       occasions on interdiction stops, when I ask a question

2       about drugs, they won't even answer.                 They will shake

3       their head no where every other time they have been

4       saying yes or no.          So that would be a change in pitch

5       because they didn't say anything at all.

6            Q.      Right.

7            A.      So that's what this refers to.

8            Q.      Okay.     Let's go to page 39.          Now, is this --

9       is the title of this page "Chapter 5, Nonverbal

10      Behaviors"?

11           A.      Yes, ma'am.

12           Q.      I'm going to read some of the second

13      paragraph, probably just the first sentence.                    "Errors

14      in the analysis of spotting deception are most

15      frequently made when diagnosing body language."

16                           Did I read that correctly?

17           A.      Yes, ma'am.

18           Q.      Do you agree with that statement?

19           A.      I do.

20           Q.      I'm going to read the first sentence of the

21      next paragraph.         "The largest portion of those

22      nonverbal cues are associated with changing levels of

23      stress that our subject may be experiencing.                    However,

24      we must remember a sign of stress does not always

25      equate with deception."

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6      Filed 02/07/25   Page 264 of 366




                                                                        Page 263

1                            Did I read that sentence correctly?

2            A.      You did.

3            Q.      Do you agree with that statement?

4            A.      I do.

5            Q.      Let's go back to your report.              I think we're

6       done with this exhibit.

7            A.      Okay.

8            Q.      And we're returning to Exhibit 111, and let's

9       go to page 7.         In the last full paragraph, do you see

10      it starts, "Deputy Babb asked Schott"?

11           A.      On page 7?

12           Q.      Oh, sorry, wrong one, page 7.              This one.

13                           MR. BARRON:      What page?

14                           MS. HEBERT:      Hold on.      Let me figure out

15      right where I am.

16           Q.      (BY MS. HEBERT)         Okay.     Do you see page 7, the

17      last full paragraph?

18           A.      Yes, ma'am.

19           Q.      It begins "Deputy Babb began"?

20           A.      Yes, ma'am.

21           Q.      The second sentence, "Schott appeared," do you

22      see that?

23           A.      Yes, ma'am.

24           Q.      I'm going to read the entirety of that

25      sentence.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 265 of 366




                                                                        Page 264

1            A.      Okay.

2            Q.      "Schott appeared to have visible deep and

3       rapid breathing, noticeable by the rise -- deep rise

4       and fall of his chest and opening his mouth with

5       respirations, including tightening his lips on several

6       occasions.       That in itself could be construed as

7       nervous behavior of a person receiving a traffic

8       citation.       However, in this case, Deputy Babb had

9       indicated the infraction would be a warning."

10                           Did I read that correctly?

11           A.      You did.

12           Q.      Okay.     Did you see these behaviors and body

13      language on the body-worn camera from Deputy Babb?

14           A.      Yes, that was placed on the magnet mount

15      within the vehicle.

16           Q.      Okay.     So you, independent of Deputy Babb, saw

17      these things that you're describing --

18           A.      Yes, ma'am.

19           Q.      -- on Deputy Babb's body-worn camera footage?

20           A.      Yes, ma'am, very clear.

21           Q.      Okay.     Did you consider whether these body

22      reactions were signs of stress?

23           A.      They were signs of stress, in my opinion.

24           Q.      Okay.     Did you conclude that they were signs

25      of deception?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 266 of 366




                                                                        Page 265

1            A.      No.

2            Q.      I think let's take a five-minute break and

3       then I can tell you whether we're done for the day.

4            A.      Okay.

5            Q.      Does that make sense?

6            A.      Sure, yeah.

7                            (Recess from 4:29 p.m. to 4:35 p.m.)

8            Q.      (BY MS. HEBERT)         A couple of final questions.

9                            When an officer is going to pull someone

10      over for speeding, how do they evaluate whether someone

11      was speeding?

12           A.      As I mentioned earlier, from my training, my

13      experience and the things that officers should do is,

14      first, you should identify the car, right, in

15      comparison to other traffic, which car is going faster

16      or appears to be passing other cars.                 That's the first

17      thing.

18                           The second thing is to determine with a

19      measurement device, that being a radar or a lidar,

20      depending.         It could be a radar that -- you know, a

21      radiowave radar or it could be a lidar that's basically

22      a laser that hits the front plate of the car and then,

23      you know, determines the speed.               And that way you're

24      checking whether or not that person that you saw

25      passing traffic faster is indeed actually speeding or

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 267 of 366




                                                                        Page 266

1       maybe the other traffic is going slower and that person

2       is actually going the speed limit.

3            Q.      Okay.     And would you ever pull someone over

4       for speeding without doing the second step?

5            A.      Yes, you can.

6            Q.      And when would you do that?

7            A.      When -- you can pace which -- pace a car to

8       where you can get the behind the car and then pace it

9       to see what speed that it's going.                You can do that.

10                           And then it also depends on the traffic

11      behavior.       I mean, depending on traffic, how fast the

12      car is going, you know, it may not be the speed.                      It

13      may be considered reckless driving.                 And then if it's

14      considered reckless driving, that's -- that's not even

15      a Class C misdemeanor.

16                           Then you're into a Class B misdemeanor to

17      where they are committing, you know, numerous

18      violations in a reckless manner, you know, like if

19      they're weaving and they almost caused a crash and they

20      appear to be going fast, you may not have gotten them

21      on radar, but you saw something that was potentially a

22      crash, right.         So you can stop them not necessarily for

23      a radar stop where they have seen the actual speed, but

24      you can stop them for the reckless driving behavior.

25           Q.      Okay.     When you're stopping them for reckless

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 268 of 366




                                                                        Page 267

1       behavior, you're not stopping them for just speeding.

2       Is that fair?

3            A.      That's fair.        Most of the time it's a

4       combination.        We always -- you know, three or more

5       traffic violations, right.             That is not the case, I

6       believe, in this circumstance, a reckless driving case.

7            Q.      So I just want to understand the end of that.

8       Reckless driving is three or more traffic violations?

9            A.      Well, not necessarily.           It's -- you know, it's

10      almost like a drunk driver, you know, maybe in a crash,

11      almost a crash, traveling 110 miles an hour, things of

12      that nature, right.           That's why I don't necessarily

13      consider this a reckless driving case by any means.

14           Q.      Understood.       Okay.     I just wasn't

15      understanding exactly what you were saying.

16                          So when someone is speeding, you identify

17      how the car is moving compared to traffic and you do

18      kind of one or -- one of two things.                 You either use

19      radar or you pace the car.

20                          Am I understanding your testimony?

21           A.      That's exactly right, yes, ma'am.

22           Q.      Can you give me an estimate about how far you

23      can see, like what's your distance of your sight?

24           A.      Me personally?

25           Q.      Uh-huh.

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 269 of 366




                                                                        Page 268

1            A.      You know, I mean, we're, what, one, two blocks

2       away.      There's a silver SUV that's about to make the

3       right turn at the corner.             I can clearly see the color

4       of the vehicle.         It looks like it's a Toyota, maybe,

5       you know.       So, I mean, I can see that distance, at

6       least.      That's two, 2-1/2 blocks away and I can clearly

7       see the color and the make of the car.

8            Q.      Let the record reflect that the witness is

9       looking out the window --

10           A.      I'm sorry.

11           Q.      -- to see what's going on outside the window

12      to evaluate how far he can see.

13                           And based on your view out the window,

14      you're saying you can clearly see things two blocks

15      away.      Is that fair?

16           A.      Oh, yeah, easily.         So if I'm in the position

17      of where I'm looking for a specific vehicle, as in this

18      case, an F-350 that's dark in color, I'm going to be

19      able to see that truck even further than -- than from

20      here to two or 2-1/2 blocks.

21           Q.      Okay.     So, I mean, do you think you could see

22      three blocks away, you could see the vehicle?

23           A.      Yes.

24           Q.      Okay.     And three blocks away, do you think you

25      could see whether the driver had a seatbelt on?

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 270 of 366




                                                                        Page 269

1            A.      No, I could not.

2            Q.      So is it fair to say that you could identify

3       the vehicle from three blocks away, but you might not

4       be able to see other things that are happening with the

5       vehicle?

6            A.      That's correct.

7                           MR. BARRON:       Objection, form.

8                           THE WITNESS:       That's correct.

9            Q.      (BY MS. HEBERT)         Did you do anything to

10      evaluate what Deputy Babb could have seen in terms of

11      the operation of the vehicle compared to the lane of

12      travel from where he was sitting, how far he could see

13      there?

14           A.      I don't -- I can't --

15           Q.      I don't think I did a good job of phrasing

16      that question, so let me think of a better way to

17      phrase it.

18                          Did you do anything to evaluate at what

19      point when Mr. Schott was approaching Deputy Babb,

20      Deputy Babb could have seen if Alek Schott's tires

21      crossed the lines on marking the lane of travel?

22           A.      I based my evaluation on the video from

23      Mr. Schott's vehicle, right.              There's a curve in the

24      road -- Interstate 35, there's a slight curve.                        There

25      was an Amazon 18-wheeler in the right lane and the road

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 Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 271 of 366




                                                                        Page 270

1       straightens out and then it goes -- it's straight.

2       There was a tree in the east median, there was another

3       vehicle in the right lane ahead of that.

4                            During that time, just from the video

5       that I observed, I viewed, I could see Deputy Babb's

6       patrol car in the -- in the right ditch facing the

7       freeway.       That's -- again, it goes back to resolution

8       of the camera, the lens of the camera, but that's a

9       very small lens on that camera and I can see Deputy

10      Babb's patrol car.          A reasonable person could believe

11      that Deputy Babb, who is looking for the F-250, could

12      see the F-250 from the same distance.

13           Q.      Sure, understood.

14           A.      So that distance is what I used to gauge my

15      opinions on.

16           Q.      Sure.     And is there a difference between

17      seeing the vehicle and seeing the vehicle commit a

18      traffic violation?

19           A.      Again, I can't speculate as to what Deputy

20      Babb saw.       I can't say how far away he saw the car.

21      It's not clear to me from any testimony exactly where

22      the vehicle was, other than he had stated it was before

23      it reached him and after it passed him.

24           Q.      Understood.       But my question is, is there a

25      difference between seeing the vehicle and seeing the

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                                                                        Page 271

1       traffic violation?

2            A.      Again, I can't answer that question in this

3       particular case.

4            Q.      Okay.

5            A.      I can't answer that.

6            Q.      So is it your testimony that if you can see

7       the vehicle, you can see the failure to maintain the

8       lane?

9                            MR. BARRON:      Objection, form.

10                           THE WITNESS:      Again, that's a speculation

11      question.       I can't say that.         There are so many

12      variances in that.

13           Q.      (BY MS. HEBERT)         Sure.     At we sit here today,

14      is your opinion that Deputy Babb had probable cause to

15      stop Alek Schott?

16                           MR. BARRON:      Objection, form.

17                           THE WITNESS:      From -- again, from

18      everything that I reviewed, from the videotape from

19      Mr. Schott's vehicle, from the depositions by Deputy

20      Babb, who stated that he saw the violation of failure

21      to drive in a single marked lane, I can only conclude

22      that he's truthful in his answer and that the violation

23      occurred according to what I saw in the video.

24           Q.      (BY MS. HEBERT)         So is the answer -- the

25      answer to that question yes?

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 Case 5:23-cv-00706-OLG-RBF        Document 97-6      Filed 02/07/25   Page 273 of 366




                                                                         Page 272

1                             MR. BARRON:      Objection, form.

2                             THE WITNESS:      Again, I can't speculate on

3       what he saw.

4             Q.      (BY MS. HEBERT)         Okay.

5             A.      I can only answer in the way that I answered

6       it.

7             Q.      Okay.     Is there anything that we reviewed

8       today that caused you to doubt your opinion as put

9       forth in this report?

10                            MR. BARRON:      Objection, form.

11            Q.      (BY MS. HEBERT)         So anything that we reviewed

12      today that caused you to doubt your conclusions in this

13      case?

14            A.      No, absolutely not.

15            Q.      Okay.     Do you intend to amend your report?

16            A.      At this time, I do not.

17            Q.      We have no further questions today, but we're

18      going to hold the deposition open should you amend your

19      report --

20            A.      Of course.

21            Q.      -- or something of that nature.

22                            MS. HEBERT:      But, otherwise, we pass the

23      witness.

24                            MR. BARRON:      Okay.     So subject to -- so

25      subject to him amending his report, you pass this

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 274 of 366




                                                                     Page 273

1       witness?

2                        MS. HEBERT:       Sure.

3                        MR. BARRON:       Understood.

4                        Hector, are you going to do this to me?

5       Do you have questions?

6                        MR. SAENZ:       No, sir.     We will reserve our

7       questions until the time of trial.

8                        MR. BARRON:       I appreciate that.         And I

9       reserve my questions for the time of trial as well.

10      Thank you.

11                       (Proceedings concluded at 4:46 p.m.)

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               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 275 of 366




                                                                     Page 274

1                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
2                          SAN ANTONIO DIVISION
3       ALEK SCHOTT,                  )
            Plaintiff,                )
4                                     )
        v.                            ) Civil Action No.
5                                     ) 5:23-cv-00706-OLG-RBF
        JOEL BABB, in his individual )
6       and official capacity;        )
        MARTIN A. MOLINA III, in his )
7       individual and official       )
        capacity; JAVIER SALAZAR,     )
8       in his individual and         )
        official capacity; and BEXAR )
9       COUNTY, TEXAS,                )
            Defendants.               )
10
11
                    REPORTER'S CERTIFICATION OF THE ORAL
12                       DEPOSITION OF GARY HASTON
                              JANUARY 10, 2025
13
14               I, Donna Wright, a Certified Shorthand
15      Reporter and Notary Public in and for the State of
16      Texas, hereby certify to the following:
17               That the witness, GARY HASTON, was duly
18      sworn by the officer and that the transcript of the
19      oral deposition is a true record of the testimony given
20      by the witness;
21               That the original deposition was delivered to
22      Ms. Stephen Barron;
23               That a copy of this certificate was served on
24      all parties and/or the witness shown herein on
25      ______________________;

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 Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25    Page 276 of 366




                                                                     Page 275

1                  I further certify that pursuant to FRCP Rule
2       30(3) that the signature of the deponent:
3                  __X__ was requested by the deponent or a party
4       before the completion of the deposition and that the
5       signature is to be before any notary public and
6       returned within 30 days from date of receipt of the
7       transcript.     If returned, the attached Changes and
8       Signature page contains any changes and the reasons
9       therefore:
10                 ____ was not requested by the deponent or a
11      party before the completion of the deposition.
12                 I further certify that I am neither counsel
13      for, related to, nor employed by any of the parties or
14      attorneys in the action in which this proceeding was
15      taken, and further that I am not financially or
16      otherwise interested in the outcome of the action.
17                 Certified to by me on this, the 14th day of
18      January, 2025.
19
20
21
                                       <%19082,Signature%>
22                                     DONNA WRIGHT, Texas CSR 1971
                                       Expiration Date:           11/30/26
23                                     VERITEXT LEGAL SOLUTIONS
                                       300 Throckmorton Street
24                                     Ft. Worth, Texas 76102
                                       Firm Registration No. 571
25

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               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 277 of 366




                                                                       Page 276

1      Stephen Barron, Esq.

2      sbarron@w-g.com

3                                     January 14, 2025

4      RE:       Schott, Alek v. Babb, Joel, et al.

5            1/10/2025, Gary Haston (#7035888)

6            The above-referenced transcript is available for

7      review.

8            Within the applicable timeframe, the witness should

9      read the testimony to verify its accuracy. If there are

10     any changes, the witness should note those with the

11     reason, on the attached Errata Sheet.

12           The witness should sign the Acknowledgment of

13     Deponent and Errata and return to the deposing attorney.

14     Copies should be sent to all counsel, and to Veritext at

15     cs-midatlantic@veritext.com.

16      Return completed errata within 30 days from

17    receipt of testimony.

18       If the witness fails to do so within the time

19    allotted, the transcript may be used as if signed.

20

21

22                        Yours,

23                        Veritext Legal Solutions

24

25

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                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25    Page 278 of 366




                                                                    Page 277

1      Schott, Alek v. Babb, Joel, et al.
2      Gary Haston (#7035888)
3                              E R R A T A         S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
8      __________________________________________________
9      REASON____________________________________________
10     PAGE_____ LINE_____ CHANGE________________________
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17     __________________________________________________
18     REASON____________________________________________
19     PAGE_____ LINE_____ CHANGE________________________
20     __________________________________________________
21     REASON____________________________________________
22
23     ________________________________                   _______________
24     Gary Haston                                                Date
25

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               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 279 of 366




                                                                     Page 278

1      Schott, Alek v. Babb, Joel, et al.

2      Gary Haston (#7035888)

3                        ACKNOWLEDGEMENT OF DEPONENT

4          I, Gary Haston, do hereby declare that I

5      have read the foregoing transcript, I have made any

6      corrections, additions, or changes I deemed necessary as

7      noted above to be appended hereto, and that the same is

8      a true, correct and complete transcript of the testimony

9      given by me.

10

11     ______________________________              ________________

12     Gary Haston                                   Date

13     *If notary is required

14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                            ______ DAY OF ________________, 20___.

16

17

18                            __________________________

19                            NOTARY PUBLIC

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               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 280 of 366




 [& - 2023]                                                                 Page 1

          &          110 3:10 9:12         14 3:12 162:22        1994 40:6
  & 1:22 2:14          9:13,14 11:12         164:14 256:20       1995 26:16
    166:22             13:24 267:11          276:3               1997 22:24
                     111 2:20 3:11         14c 164:8               43:18 204:12
          0
                       11:14,16 96:2       14d 174:3,5           1998 215:13
  00706 1:5            96:3 153:10         14g 158:4             1:37 153:2
    274:5              263:8               14th 275:17           1:50 162:10
  04/18/2024         112 3:12 13:22        15 59:19              1:56 162:10
    159:22             13:23 14:3            122:20 207:13               2
          1          113 3:13                215:25
                                                                 2 3:2 23:1
  1 23:1 153:11        210:15,16           150 32:25
                                                                   164:4 223:3
    153:11 155:12    114 3:14 251:5          34:23 92:20,24
                                                                   228:12
    164:4 222:4        251:6,8               93:1,5,10
                                                                 2-1/2 268:6,20
    242:6 243:19     11:00 92:9            16 221:11
                                                                 2/27/24 164:4
    245:19,22        11:12:26                225:12 228:14
                                                                 20 63:13 95:16
  1,500 126:12         221:15                229:7
                                                                   246:9 278:15
  1.1 22:2           11:12:49              160 3:19
                                                                 20,000 70:11
  1/10/2025            222:11              16th 96:5,9
                                                                 200 2:15
    276:5            11:12:56                97:7 100:18,24
                                                                 200-9697 2:16
  10 1:14,19 59:4      222:22                207:22 243:4
                                                                 2000 126:15
    127:5 178:8      11:12:59              17 10:19
                                                                 2000s 42:10
    242:13 274:12      222:22                216:14,17
                                                                 2015 149:18
  100 25:19          11:13 223:24            223:17
                                                                 2016 24:16
    188:18           11:13:13 223:7        18 122:17
                                                                 2017 215:5,9,11
  101 253:15         12 170:2                124:7 182:21
                                                                   215:14,15,23
  10:10 57:17          197:10 198:23         199:24 219:15
                                                                 2019 239:7
  10:24 57:17          198:24 201:14         269:25
                                                                 2020 19:4,5
  11 3:11 144:10     12,000 20:9           19 242:3,4
                                                                   22:19 191:3
    155:13,17        12:15 142:13            245:22
                                                                 2022 96:4,5,9
    157:11 190:17    12:29 153:1           19082 275:21
                                                                   97:2,7 100:17
  11/30/26           13 59:19              1971 275:22
                                                                   100:24 207:22
    275:22             122:20 159:15       1990 42:3
                                                                 2023 158:6
                       206:12 255:21       1990s 42:4
                                                                   177:20

                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 281 of 366




 [2024 - 8/1/24]                                                             Page 2

  2024 14:19,20       29 149:11,11                  4             571 275:24
    252:4             2:15 116:12           4 3:5 243:21          575 149:18
  2025 1:14,19                3               251:25 258:22       5:23 1:5 274:5
    19:6 274:12                             4/12/2022                     6
                      3 23:1 52:14
    275:18 276:3                              175:1 177:23
                        223:5 275:2                               6 154:22,25
  210 2:22 3:13                             40 95:6,19
                      3,700 92:15                                   165:10 169:9
  22203 2:10                                4135 239:8
                        93:9                                        237:8,9 239:1
  22nd 96:4,13                              43 23:10
                      30 56:11 68:23                                239:1 243:8,19
    97:2 100:17                             45 212:2,2
                        92:2,5,12                                   245:19,22
    174:20 242:24                             253:22
                        144:10,11                                 682-9320 2:11
    243:4                                   4700 1:22 2:15
                        148:19 158:22                             6:00 93:21
  23 22:23 155:9                            480-5936 2:6
                        275:2,6 276:16                            6th 158:5
  24 14:21,22                               49 3:19 160:20
                      300 275:23                                          7
    17:10,25 94:8                             161:24 162:13
                      324 199:25
  25 14:20,21                                                     7 32:14 33:2
                        200:6,13,17         4:03 246:5
    131:3,14                                                        252:5 263:9,11
                      348 149:18            4:29 265:7
  250 108:1,1                                                       263:12,16
                      35 26:18,20,22        4:35 265:7
    122:6 124:10                                                  703 2:11
                        85:4 97:4           4:46 1:19
    128:4,14 143:2                                                7035888 276:5
                        108:4 109:21          273:11
    143:9 144:5                                                     277:2 278:2
                        110:16 111:8                5
    178:15 207:19                                                 72 222:16
                        120:3 126:10        5 21:14,18,22
    234:19,21                                                     75 102:1
                        126:20 127:6          154:17,19,22
    239:7 242:11                                                    221:24
                        130:25 141:9          154:25 157:7
    242:17,20                                                     76102 275:24
                        141:17 142:3          159:11 160:13
    243:2,6,22                                                    78205 2:21
                        147:13 221:24         162:22 165:10
    270:11,12                                                     78701 2:5
                        227:4 239:8           174:5 187:10
  250s 122:13                                                     78723 2:16
                        241:5,22 243:3        242:25 243:1
  251 3:14                                                        7th 177:20
                        243:6 253:8           262:9
  271-7877 2:22                                                           8
                        258:21 269:24       5,000 48:11
  274 3:6                                                         8 149:1,10
                      350 268:18            50 18:7,8 174:7
  28 95:25 96:2                                                     182:15
                      39 262:8              512 2:6,16
    106:20 121:23                                                 8/1/24 164:4
                      3:52 246:5            53 199:20
    121:24 142:22
                                              200:5,12,17
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 282 of 366




 [816 - advantage]                                                          Page 3

  816 2:4              248:2 253:3         acknowledge...          145:13 148:8
  84 216:11            268:19 269:4          278:3                 181:14 186:10
    221:23 236:7     abnormal              acknowledg...           198:14 214:24
  840 2:21             56:24                 276:12                224:9 231:19
          9          above 1:18            act 113:18              244:14 246:7
                       86:13 276:6         acted 115:10            255:21 258:4
  9 3:10 182:2
                       278:7                 187:25                265:25 266:2
    184:16
                     abruptly 208:8        acting 51:20          adamant 78:3
  900 2:10
                       223:25              action 1:4            add 116:25
  901 2:10
                     absolutely 28:7         131:12 274:4          129:21 131:19
  90s 25:10 27:7
                       38:12 70:16           275:14,16           addiction 63:1
    27:9,10,11,11
                       113:11 128:3        actions 42:21         addition 28:14
  970 2:5
                       154:9,12 221:9        99:12 172:11          54:1 61:1
  9:07 1:19
                       257:9 272:14          190:20 196:10         114:15 128:17
          a          abuse 70:9            activities 61:8,9       184:14
  a.m. 1:19 57:17    academy 54:22           88:23 141:13        additional
    57:17              61:2,25 62:2        activity 29:23          12:23 13:1,4,5
  abcdefghijkl...    accepted                51:10 118:22          166:25 167:25
    35:6               190:22                119:1,2,3             207:25
  abiding 97:13      access 157:12         actual 26:7           additions 98:19
  ability 234:20     accident 38:22          169:21 204:3          278:6
    234:21 256:17      214:4                 220:1 266:23        address 56:6
  able 8:5 33:15     accordance            actually 13:6           140:18
    33:17 44:9         188:1                 17:7,10 19:12       adds 148:10
    52:15 53:15      account 201:3           19:16,22 23:5       administration
    55:18 72:12      accredited              26:1 31:13            23:24 24:10,16
    75:14,23 80:5      199:25 200:13         33:10,13,15           112:21 127:13
    81:1,1 87:12     accuracy 214:7          34:23 35:7            237:7,9
    143:11,11,16       276:9                 36:1 40:25          administrator
    144:5 196:25     accurate 65:13          42:17 53:6            190:3
    213:19 234:12      212:14,19             63:8 72:9 87:4      admission
    234:12,21          214:6 215:6           94:15 95:13           129:5
    235:3,7 236:12   accusatory              98:13 113:18        advantage
    247:24,25          256:9                 117:18 126:4          63:17
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 283 of 366




 [affair - answered]                                                        Page 4

  affair 187:4         air 25:13           alert 181:6           amounts 26:14
  affairs 187:1,3        215:21              184:22                26:15
  affect 113:25        airing 177:20       alerted 181:7,8       amtrak 24:4
  afoot 119:2          airplane 51:4       allotted 276:19       analysis 171:11
  age 22:4 64:1          51:14             allow 169:18            175:24 177:16
  agencies 21:5        airplanes 116:2     allowed 16:5            240:2,4 252:10
    22:10 98:13        airport 20:24         61:8 204:22           259:24 262:14
  agency 16:11           115:23,24         allows 97:15          anger 256:11
    16:14 60:25          116:4,7,14,17     alongside               259:8,10,10
    79:4 117:5           118:12              230:25              angle 219:24
    119:12,13          al 276:4 277:1      alphabet 35:6           229:6
    204:10               278:1               35:10               angles 214:19
  agent 46:19          albert 91:8         alternating           answer 6:8,21
  aggressive           alcohol 8:16          137:6                 7:1,3 28:23
    256:8                26:1,8            amazon 219:14           62:4 76:8
  ago 4:9,19,22        alek 1:3 4:8          219:17,17             80:17 85:1
    17:10 39:24          128:4 163:6         220:13 221:18         87:12 88:10
    68:18 215:10         166:9 209:25        221:23 228:6          104:9 111:1,5
    215:14 250:17        216:6 217:22        269:25                112:14 125:9
  agree 6:6,20           219:4,5 220:4     ambiguity               125:10 132:4
    65:12 210:22         224:6,22 230:4      216:16                135:14 138:24
    214:20 215:13        232:19 233:21     ambulances              165:24 169:5
    252:15 254:2         234:2 236:24        21:2                  173:9 175:14
    259:14 261:4         241:18 245:23     amend 12:9,12           176:5 178:3
    262:18 263:3         254:14 269:20       272:15,18             185:6 195:10
  agreed 18:15           271:15 274:3      amending                212:5 221:8
  ah 37:21,21,21         276:4 277:1         272:25                231:6,8 248:3
  ahead 48:3             278:1             america 24:6            249:22 261:20
    119:7 141:3        alek's 178:1        amount 72:5,8           262:2 271:2,5
    160:21 194:6         207:22 208:13       72:9,13 126:12        271:22,24,25
    221:19,19            209:4 211:11        127:11 179:2          272:5
    270:3                225:18 226:19       180:17,20           answered
  aided 68:5             226:24 227:6        200:10                140:11 218:16
                                                                   272:5
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 284 of 366




 [answering - asking]                                                       Page 5

  answering 6:12     appearances           approval              arrive 241:23
    6:14 7:13          3:2                   205:12 207:7        arrived 241:5
    134:13 135:1     appeared 192:8        approve 205:9           241:23
  answers 5:23         194:3 224:17        approved              arriving 182:4
    56:19 134:24       263:21 264:2          201:24 207:9        art 21:24,24
    143:20 231:9     appears 67:23         approximately         artery 135:7
  antonio 1:2          72:22 155:12          62:16               article 211:3
    2:21 45:20         236:14 265:16       apps 106:24           articulable
    89:2,3,5,21      appended              area 23:20,22           151:3
    118:5 120:9,15     278:7                 27:24,25 49:6       articulated
    120:19 126:20    applicable              91:1 117:25           148:14
    274:2              33:25 144:20          118:1 137:18        artificial 94:12
  anybody 58:5         148:18 156:23         137:21,24           aside 168:3
    58:12 68:3         276:8                 138:4,16,19         asked 7:16 13:6
    89:12,15 90:18   applied 190:22          139:19 203:15         13:9 15:1,3
    117:18 153:6     apply 77:23             203:20 204:5,6        16:1 21:12
    164:18             145:1 146:14          204:11,15             68:17 90:24
  anymore 65:6       appointed 25:2          205:9 217:17          91:21 96:14
    134:5            appreciate            areas 48:16             101:9,11 131:3
  apart 100:1          159:13 188:20         139:13                134:21 166:13
    101:5              273:8               argue 7:3               166:14,24
  apartment          approach              argument 63:5           167:6 168:21
    40:22              255:17              arlington 2:10          172:9 173:9
  apologize          approached            armed 253:18            184:11,23
    100:21 119:25      219:22 220:9        arms 127:1              186:15,16
    143:19 185:20      222:11 230:12       array 62:5              189:17 193:25
    235:25             231:3               arrest 51:24            229:23 263:10
  app 113:7          approaching             74:6 77:9           asking 6:13
    243:2              217:2 219:5,6         249:10                64:17 75:20
  apparently           220:13 231:10       arrested 17:16          78:1 132:24
    200:22             269:19                17:19 66:17           145:16 166:6
  appear 266:20      appropriate             179:6                 170:19 175:16
  appearance           108:17              arrival 182:21          176:15,16
    71:1 73:17                                                     177:9 181:6
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 285 of 366




 [asking - babb]                                                            Page 6

    183:17 197:5     attached 1:24         audience 37:17        babb 1:5 2:13
    238:12 242:7       275:7 276:11        audio 223:25           4:23 36:9,17
  asks 147:20,20     attempted             austin 1:22 2:5        67:23 89:8
    191:1              145:19                2:16 19:18,19        96:12 97:1
  aspect 22:12       attempting              20:18,19 21:9        99:1,10,16
    209:5              231:14                85:5 111:23          100:1,3,17,23
  aspersions         attend 257:23           116:4,12             101:6 102:23
    173:16           attended                117:11 118:5         103:1,3,7,25
  assassin 256:23      250:12 251:20         118:13 131:3,6       104:12,20
  assess 130:14      attention 32:24         131:14,15            105:15 123:24
  assessing 132:9      42:25 43:2,11       authority              126:1 128:6
    132:17             45:3,4,8 59:11        197:22               129:2,3,4
  assets 19:17         80:16 83:21         automatically          130:10 137:14
  assigned 23:20       231:9 253:14          37:22 133:6          143:2,9 144:4
    27:23              254:5               available 276:6        144:12 150:25
  assistant 31:2     attorney 13:10        avenue 2:4             151:2,5,9,11,14
  assisted 246:22      15:19 17:19         average 58:3,5         151:22,25
  associate            54:21 55:1            108:18 111:6         152:11,16,20
    111:12             145:4,11 157:1        125:23               152:21 154:8
  associated 34:3      157:3,4 198:6       avoid 5:25             163:12 166:9
    191:16 206:16      198:13 276:13       avoidance              167:25 168:2,8
    262:22           attorney's              216:16               168:11,14,21
  association          15:20               avoided 169:1          172:11,17
    89:19,20 91:3    attorneys 6:24        avoiding               173:3,11,24
  assume 6:9           8:9 55:4 165:6        133:22               174:12 178:13
    72:3 91:17         166:21,24           aware 9:1              182:9 183:7,18
    101:6 119:12       207:24 212:9          12:15 169:23         184:6,23 185:3
    121:20 125:20      275:14              awesome 59:17          185:7,18,23
  assumed 40:24      auction 19:13                 b              186:6,22,24
    244:12             19:14,15,24                                187:25 188:2
                                           b 46:10 48:19
  assuming 47:17       20:2,13 22:3                               188:11 189:1,4
                                             163:12 164:1
    208:16 259:18      22:16                                      189:21,24
                                             266:16
  assumptions        auctioneer                                   192:7 193:10
    165:6              19:21                                      194:15,18,22
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 286 of 366




 [babb - based]                                                             Page 7

    194:24 195:4,6    274:5 276:4           138:20,21            bankruptcy
    195:14,25         277:1 278:1           140:25 141:4          21:7
    199:7,24         babb's 12:23           145:23 146:4         bar 75:16
    201:18,23         99:12 105:12          150:2 151:10         barron 2:14
    202:8 206:18      124:4,5 129:7         151:24 153:3,9        4:22 9:13 10:4
    206:23 216:25     146:17 151:23         159:11 162:12         10:7 21:17
    217:3,3,10        152:15,19             162:21 168:24         57:13 58:8
    218:15 219:5,7    163:16,20             174:5 176:23          88:14 90:7,20
    219:25 220:7      185:14 188:22         179:25 181:4          99:14 100:9,13
    220:14,14         199:4,14              184:24 185:4          103:5 109:4,4
    222:16 224:10     207:24 216:5          186:5 192:24          109:16,17
    224:25 225:1,6    217:22,25             195:2 201:13          110:15 111:6
    228:14 230:12     218:11 219:3          203:8 212:2           111:10,12
    230:19,21         219:23,23             215:24 219:20         112:1 127:7
    231:1,2,10,12     230:6 231:4           241:4 249:4,7         142:13,20
    231:14 232:8      233:22 234:11         263:5 270:7           149:5,8 152:25
    232:18,22         236:22 244:9         backup 78:11           164:22 178:22
    233:18,21         254:24 264:19        backyard               194:20 195:1
    234:2,19,21       270:5,10              257:1                 195:15 196:11
    235:16 239:5     back 17:20            bad 6:18 22:21         198:3 211:13
    240:7,12          24:9,11,17            67:10 88:2            215:7 246:2
    241:17 242:9      31:8 44:15            129:3 130:7           251:11 263:13
    242:16,20         49:14 58:18           224:25 254:3          269:7 271:9,16
    243:1,5,12,21     59:10,13 60:14       badge 24:19            272:1,10,24
    244:3 245:6,15    66:4 76:6 79:2       bag 64:1               273:3,8 274:22
    245:21 253:16     84:1 87:1,2           116:19                276:1
    253:16 254:14     91:14 106:17         baggage 116:20        barron's 111:8
    254:16,17,20      108:16 110:23         118:11               bars 48:8
    255:1 263:10      112:10 119:17        balance 56:8,23       based 49:20
    263:19 264:8      120:5,19              57:6                  62:12 75:20
    264:13,16         121:22 123:22        ball 51:25             100:25 101:1
    269:10,19,20      128:13 129:21         52:17                 103:19 111:8
    270:11,20         135:20,23,25         bankruptcies           114:11 117:10
    271:14,20         136:2,3 137:10        21:5                  153:13 169:7
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 287 of 366




 [based - big]                                                                 Page 8

    173:8,22            beer 40:17              103:1,3,11            151:22 152:17
    175:17 176:7        began 204:5             104:22 105:25         152:21 168:12
    185:2 189:10          236:18 263:19         106:10 109:12         179:9
    190:23 196:8        beginner 60:16          113:1 115:18        believes 119:21
    197:25 201:23         60:18 62:10,10        124:8,17            benefit 77:22
    208:4 211:10        beginning 19:6          125:12 128:9          157:5
    218:22,24             120:24 226:4          128:14 129:17       bergstrom
    224:20 228:1          226:10                145:13,14             116:4
    229:2,15 230:5      begins 226:5            146:12 147:1        best 6:17 8:6
    233:22 235:11         263:19                147:19 148:19         64:22 172:20
    239:16,17           begs 66:14              151:1 152:19        better 24:22
    245:16 268:13       behalf 15:21,24         157:16,18             47:3 73:10
    269:22                15:24                 158:2,9 160:2         131:23 155:17
  baseline 134:22       behaving 75:14          166:13 174:17         175:14 202:13
    134:24 135:16       behavior                174:20 184:10         240:2 269:16
    135:21 136:1,9        132:19 256:3,9        184:12 185:14       bexar 1:8 2:19
    249:22 261:19         256:9,9 264:7         186:9 187:21          5:3 13:7 88:17
  basic 54:22             266:11,24             188:18 197:21         88:20,23 89:5
    259:23                267:1                 199:19 211:11         89:11 99:3,7,9
  basically 25:4        behaviors               211:25 212:20         99:11 100:4
    33:12 44:6            136:20 194:12         213:23 217:1          104:3 154:10
    56:16 57:25           252:11 258:23         225:5,7 227:21        166:11,19
    59:16 63:2            262:10 264:12         227:22,23             167:20 187:24
    79:25 169:13        belief 113:5            228:8,10,16,16        189:19 190:2,3
    187:9 243:8         believe 9:17            235:3 244:17          241:24 274:8
    255:12 265:21         14:17 17:8,12         245:10 256:25       beyond 210:24
  basics 67:1             19:4 34:8 38:3        258:2 261:1         bicycle 63:4
  basil 76:4              53:5 59:6             267:6 270:10        big 29:19 52:10
  basis 53:10             71:24 72:24         believed 100:2          58:18 86:2,3,9
  bastrop 28:9            75:5 78:1,5           104:11 143:2,9        109:13 123:1
  bear 36:7               81:6 87:25            144:4 146:19          129:23 138:8,9
  beat 40:24              91:4 93:12            146:20,25             138:14,25
  bed 124:13,13           96:25 98:9            147:15 148:15         141:7 148:9
    128:22 147:14         102:22,25             148:23 151:14         247:16,17,23
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 288 of 366




 [big - busy]                                                                 Page 9

    248:23 256:24      boat 51:14            border 48:17          broken 11:1
    257:1,5,8,10,14    boats 50:2              60:8 89:3             217:4 219:6
  bigger 122:16        bodies 135:19           127:14 138:13         223:10,10
    123:4,16 142:4     body 44:14,15         bored 65:5              226:12,22,22
  biggest 142:10        44:17 56:13          bottles 141:4,5         226:24 230:5
    256:22              66:11 79:24            141:6                 232:4
  bio 251:16            80:24 106:13         bottom 92:7           brought 8:20
  birth 62:8            124:2,4,5              184:17 206:13         9:9,23 140:19
  bit 36:2 44:19        132:24 133:1,2         207:14 236:6          168:25
    50:18,22 58:11      133:5,7 134:4          252:3               brow 86:13
    58:15 65:10         134:18 135:5         boulevard 2:15        buckets 153:24
    78:19 79:7          151:24 152:15        box 92:23             build 24:12
    83:18 91:24         163:12,16,17         boxes 70:13             131:20
    136:6 173:7         163:20 165:25        brain 36:5            building 66:19
    185:10 202:16       166:2,8 169:3          99:24 260:21        built 211:7
    224:20 237:1        185:23 186:6,7       brake 59:10           bulk 138:14
  blackvue 3:14         189:13 191:21        brand 45:13,22        bumped 33:6
    210:1,2,4,7,8       194:11 240:11        break 7:8,14          bumps 32:18
    210:10 211:2,7      240:12,12              8:2 57:14           bunch 22:25
    212:13              244:10,20              60:11 73:6          burn 74:22
  blair 90:6,8          246:18,20              88:19 100:10        burnt 74:21
  blanche 50:17         247:6,8,23             142:19 152:24       buses 24:4,4
  block 252:6           248:1,7 249:14         153:7 162:9,11        51:4
  blocked 218:1         250:19 252:22          246:2,7 265:2       business 21:6
  blocks 66:19          253:2 254:13         breathing 58:5          22:12,17 52:5
    268:1,6,14,20       254:16,23              58:6 133:21           52:6 56:10
    268:22,24           255:2,10,18            135:10 264:3          76:20 86:14
    269:3               258:10 262:15        bricks 71:4             130:21 234:15
  blood 135:6,9         264:12,13,19         briefly 170:2           253:7 254:3,7
  bloodshot             264:21               bring 33:11           businesses
    74:23              bong 72:10              77:9                  141:13
  blue 85:22           bootlegging           broad 104:4           busy 29:24
  board 35:1,1          26:3,5                 247:15                126:16

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 289 of 366




 [button - car]                                                                Page 10

  button 102:3           called 28:15            214:3,15,17,17      cans 40:18
    213:15                 35:25 72:16           214:19,19,21        capable 143:3
  buyer 51:21              90:24 114:11          215:1,3,5,6         capacities
  buys 52:13               116:5 178:7           219:24 220:1,6        65:11
  bwc 163:12               239:6                 224:4 225:19        capacity 1:6,7
    164:8                calling 91:19           226:20,25             1:8 38:7 45:25
          c                113:21                228:2,24 229:2        88:18 182:10
                         calls 244:11            230:6 233:22          183:9 248:13
  c 2:1 86:1 134:3
                         calm 85:25              235:12 236:21         274:6,7,8
    266:15
                           86:8,8,8,11           254:13,16           capital 23:20
  cable 143:3,10
                           134:1,8               264:13,19             23:22 27:24,25
    143:16
                         calms 70:5              270:8,8,9           capture 43:14
  cad 68:4,9
                         cam 124:2,4,5         cameras 24:21           241:14
  calculated
                           151:24 163:5,6        34:14 39:1          captured 5:25
    200:13
                           163:10 185:23         40:6 42:18            40:16
  calculation
                           186:6,7 208:13        44:9,15,17          car 20:5,6
    214:14 215:5
                           217:9 244:10          65:16,19,21           23:15 24:19,21
  calculator
                           244:20                101:10 106:13         26:25 32:23
    92:22,23
                         camera 3:14             196:8 209:7,8         33:7 40:9,17
  caldwell 28:10
                           40:8,10,12,15         209:9,12,15,18        40:21,23 43:4
  california
                           42:21 43:4,12         209:22 210:5          43:5,9 44:25
    50:14 63:25
                           44:14 66:11,11        210:10 211:7          45:13,21 48:8
    157:16,17
                           101:7 102:2,2         212:16,16,18          48:11,18,20,22
  call 68:5 72:18
                           102:4,8,14            213:2,4,6,10,14       48:23 49:1,7
    73:18 77:3,10
                           105:7,8,10,12         213:15,15,17          49:13 57:2
    116:2,6,7
                           152:15 163:12         213:17,18,18          59:3,3 68:8
    117:4 118:15
                           163:16,17,20          213:25 240:11         69:15,25 72:20
    134:22 144:19
                           165:25 166:2,8        240:12,12             72:23 73:3,5
    149:21 171:18
                           169:3 189:13        cams 44:3               74:13 75:8
    173:3 205:2
                           189:14 207:22       canada 60:4,6           76:20 80:2,5
    222:2,15 231:3
                           208:25 209:4        candidate               80:23 81:14
    231:5 244:12
                           210:1,7 211:2         36:24 199:8           82:9 83:5,8,17
    244:19 256:23
                           211:12 212:13       candidates              83:25 84:2,2,3
    257:8
                           212:20 213:11         37:17                 84:6,8,8,9,11
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 290 of 366




 [car - case]                                                                Page 11

    84:13,14,16        careful 204:14          120:12 125:16          144:20,25
    85:2,2,4,6,11      carotid 135:7           142:5                  145:1,4,6,9,9
    85:15 101:25       carpet 180:7          case 5:4 11:24           145:12,14
    102:2,5,6,9,10     carrizo 108:3,5         12:2,5 14:13           146:12,15
    105:18 106:3         108:11 117:25         14:25,25 15:4          148:18,22
    112:17 113:21        118:4 129:19          15:5,22,23,25          149:12,17
    114:21,22,24         168:24 184:8          16:3,7,8,10,16         150:8 153:6,15
    119:21 120:14        239:8 240:25          16:25 17:9,13          153:21 154:1
    120:16,17,21         241:1 243:2           17:13,15,21,24         155:2,13,18,21
    123:6 124:6          244:5,18              18:9,11,13             155:22 156:4
    133:15 135:19      carrying                21:21 34:4             156:10,16,25
    140:9,10             116:16 117:12         39:12 54:24            157:16,18,21
    145:16,23          cars 20:4,8,10          59:19 66:13,21         158:10,14,17
    146:1,6,12           21:2,9 25:19          66:22 67:17            158:18,19,20
    148:13 163:18        26:23 28:16           68:3,10,12             159:7,8 160:16
    174:8 177:22         44:9 45:14            78:8 88:13,16          161:1,3,4,4,5,6
    183:13 221:18        46:10 49:6,8          88:25 89:8,13          161:7,9,11,11
    221:19 232:15        49:12,22 50:2         90:5,14,21,23          164:18,19,22
    233:8,23 244:2       50:4 55:14,23         90:25 91:5,18          165:2,7,14
    244:3 248:22         56:5,10,11            92:16,25 93:19         166:25 169:13
    248:22 253:5,9       57:7,11 83:21         93:24 95:10            169:20 171:24
    255:16 265:14        83:21 101:16          96:6 97:25             172:9 173:9
    265:15,22            104:23 120:10         98:8 99:20             176:25 181:6
    266:7,8,12           120:16 122:13         101:23 102:12          187:15,16,17
    267:17,19            123:6,13              102:14,16              187:20,22
    268:7 270:6,10       125:18 126:7          104:15,18              189:8,13,16
    270:20               126:19 127:16         106:9 107:17           191:25 195:12
  card 209:20            218:1,3,5,6,9         108:17 112:6           197:13,17,19
  cards 22:3,5           236:11 265:16         115:11,23,24           197:22 198:1,1
  career 64:6          carte 50:17             117:23 118:8,9         198:8,10,12,14
    145:18 151:13      cartel 59:24            121:2,16               198:17,18
    213:13 229:17        140:21                123:23 128:23          199:14 203:3,9
    252:24             cartels 27:2            141:2,2,3              203:9,11,12,15
                         48:4 58:23            142:25 143:7           203:23 211:18
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 291 of 366




 [case - child]                                                                Page 12

    212:4 214:22         categories            certificate 3:6       changes 249:22
    229:18 234:19          164:14                200:9,10              259:6,7,9,14
    235:8,21 236:2       category                201:12 206:1          260:6 261:22
    236:3,15               254:25                274:23                261:23 275:7,8
    245:25 247:2         caught 81:22          certificates            276:10 278:6
    260:15,16              88:1 231:15           186:24,25           changing 14:21
    261:5 264:8          cause 1:18              199:18,20             262:22
    267:5,6,13             12:11 30:8            200:5,12,17,18      chapter 258:22
    268:18 271:3           106:3 114:13          200:20,21             262:9
    272:13                 114:22 120:18         201:2,19,24         charge 49:16
  cases 15:10,10           134:16 147:16         207:3,4               180:11
    16:17 23:7,13          216:1 256:16        certification         chargeable
    29:19 73:23            271:14                32:4 41:21            180:17,21
    93:21,22             caused 231:11           42:2 274:11         charged 179:14
    101:15 113:13          266:19 272:8        certifications          180:14
    129:14 139:1           272:12                31:18,19,22         charges 68:1
    145:7,20             causes 133:19           38:22 39:18         charging 92:15
    155:24,24            cell 52:16 256:6      certified 33:23         92:25 93:1,2,3
    156:2,5,6,7,8        cells 140:24,25         60:19 236:11          93:4
    156:14,15,20         center 238:8,10         274:14 275:17       charles 2:20
    157:6,8 184:2          238:10,13,14        certify 274:16        chart 190:15
    184:3 192:11           238:18                275:1,12            chat 113:12
  cash 116:10            centers 238:15        challenged              115:2,3
    117:10               ceo 52:6,7              253:3,6             chebert 2:6
  cast 173:16            certain 45:10         chance 162:12         check 94:20
  cat 87:25                49:6 73:17          change 136:4          checking
  catch 88:1               88:24 108:4           168:9 222:19          265:24
    101:16,21              120:12 132:25         260:2 261:2,10      checkpoints
    102:1 161:3            134:15,25             261:15 262:4          20:25 127:15
    230:23 231:14          152:10 234:17         277:4,7,10,13       chest 264:4
    232:19                 238:19 249:15         277:16,19           chicago 85:5
  catching 102:5           249:16 260:4        changed 98:20         chief 89:22
    220:10               certainly               156:11 215:17       child 192:10
                           214:25                260:23
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 292 of 366




 [children - come]                                                         Page 13

  children 64:6      claim 116:20          clear 5:20,23         clusters 249:13
  christen 2:3 4:7   claimed 112:2           6:2 76:24             261:7
  ci 237:12,14         132:9,10              96:22 152:14        cocaine 51:25
  cid 24:9 34:6      clarification           170:6 184:5           69:16 140:24
    34:21              104:8                 219:18 244:4,7        141:6 180:2,6
  circuit 21:19      clarified 97:7          249:20 264:20         180:10
    160:25             146:9                 270:21              code 155:19,20
  circumstance       clarify 16:6          clearheaded             216:1
    87:2 180:9         65:18                 8:11                coincides 232:8
    261:17 267:6     clarifying            clearly 182:9         coke 133:15
  circumstances        260:18                183:19 268:3,6      cold 105:16,19
    75:8 76:7        clarity 150:22          268:14                105:22,23
    125:22 130:8       182:24              clients 20:16           106:6,15
    150:24 151:2,9   class 86:1            cliff 59:16             108:14 113:10
    151:22 152:7       116:6 134:3         climb 51:22             146:16 148:24
    168:18 172:11      204:23,24             52:4                  168:6 192:25
    172:14 181:5       205:1,2,5           clink 40:18             193:3
    188:7 190:16       247:11 266:15       clip 163:7            collar 21:21
    190:25 192:23      266:16                207:21 208:16         22:1
    193:5,10         classes 77:20           208:19,20,20        colleagues 73:4
    244:24 261:5       125:10 199:19       close 59:12             164:23
  citation 264:8       201:11 204:13       closely 181:23        collect 100:11
  cite 160:23          205:25 246:17       closer 45:8             179:15 193:16
  cities 142:4         247:2 250:13          214:24              color 48:20
  city 19:18,18        250:18,20           clothes 116:18          242:10 268:3,7
    20:17,19           256:1 257:18        clothing 84:23          268:18
    111:23 122:8       257:20,21,22          116:15 118:11       colorado 50:14
    141:20,23,25     clean 9:25            cloud 209:19          combination
    142:7 239:9        10:15 73:6          clue 116:2              124:15 220:7
  civil 1:4,23         119:24 146:4        cluster 260:5           235:15 267:4
    15:5,25 16:8       150:3 203:22          260:10              combined
    18:13 41:1       cleaned 73:3          clustering              152:5
    188:16,21        cleanup 203:6           249:18              come 15:16
    274:4                                                          16:1 22:9
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 293 of 366




 [come - computers]                                                        Page 14

    23:12 31:8        commercial           communicati...        complain 68:11
    33:3 36:1           116:2                183:20              complained
    49:21,22 55:2     commit 36:13         community               67:6
    60:6 75:16          110:10 225:6,9       192:14              complaint
    77:8 79:2           270:17             commuters               40:25 67:14
    102:15 121:22     committed              120:6,8               185:15,16,17
    126:23 135:12       234:6              compacted               186:9 187:4
    136:2 138:20      committing             71:4                  189:11,14
    146:2 226:6         49:3 66:24         companies               244:14,15
  comes 12:6            133:13 248:14        19:23 20:5,8        complaints
    43:23 50:3          266:17               21:6,8,8,9            187:1,23
    77:7 80:24        common 69:14           202:6 203:13        complete 9:3
    82:17 121:7         74:22 88:3         company 19:13           159:4 170:6,10
    138:13              101:20 106:25        19:14,15,24           278:8
  comfortable           107:4 122:7,8        20:2,13 140:11      completed
    80:4                122:15 125:12        140:13                202:8 276:16
  coming 59:18          128:20 131:15      compare               completely
    60:9 68:14          139:2 140:22         136:16 186:8          11:1 223:9
    70:11 75:15         203:20 252:9       compared              completion
    107:18 121:19     commonly               106:9 126:20          275:4,11
    130:17 135:5        23:25 109:14         173:25 186:5        complex 40:23
    138:17 147:21       120:10 124:12        188:5 189:13        complicated
    148:9 168:23        140:21 141:8         194:9 217:22          47:25
    234:22 244:4        141:12 174:1         261:21 267:17       complied
  commander             240:15               269:11                189:21
    18:20 25:2        communicate          comparison            comply 100:24
    29:4,6 31:5         112:10               214:8 265:15        complying
    52:21,23 53:5     communicating        compartment             99:10
  comment 76:18         106:13 182:9         120:13              computer 68:5
    124:6 147:23        183:6,19 184:7     compartments            80:21 210:21
    230:8               184:13 194:4         49:7 73:24            215:1 232:23
  commented           communication        compassion              232:25 233:3,5
    158:20              106:24 112:7         104:20              computers
                        113:14 184:4                               24:19 233:8
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 294 of 366




 [concealed - contain]                                                     Page 15

  concealed          conducted             confusion               153:24 176:9
    123:5              104:16 188:2          244:1,20              176:11 234:13
  concept 257:10     conducting            congress 2:4            266:13,14
  concern 134:16       51:11               connecting            considering
  concerns 67:13     conference              210:20                122:5 150:24
    68:16 79:8,11      77:10 111:14        conscious               216:11
  conclude 74:10     conferences             33:12 133:6         consistent
    74:17 75:9         89:21               consensual              104:1 122:5
    146:13 208:12    confessions             121:15 145:20         152:13 172:12
    209:4 216:4        258:1                 202:25 203:25         190:21 259:7,8
    219:9 234:5      confident               204:2                 259:10,11
    264:24 271:21      120:22              consent 55:14         console 73:23
  concluded          confidential            56:17 83:5,8        conspiracy
    144:25 175:23      237:10,11,13          117:1 128:11          24:5
    178:13,14,20       237:13,20             128:16 129:22       constitutes
    217:12 219:4     confidently             131:20 140:4,7        107:8
    224:6 273:11       241:9                 145:16 146:6        constitutional
  conclusion         configurations          146:11 148:16         99:13,24
    96:19 199:3,6      209:23                169:7 253:6         constrained
    202:1 234:14     confirm 119:1         consider 60:18          214:8
    236:23             130:3 135:23          129:24 139:18       construed
  conclusions          135:25 139:6          176:2 181:19          259:25 264:6
    103:23 197:25      141:15 151:4          181:21 194:19       consult 66:10
    272:12           confirmation            194:25 196:9          240:5
  condescending        184:21                197:7 217:10        consultant 14:8
    256:9            confirmed               218:4 235:20          14:12,15,24
  conditions           148:6 241:11          250:22,24             18:12
    188:4 191:12     confirming              264:21 267:13       consulted
  conduct 66:24        243:6               consideration           157:22
    76:20 154:13     confliction             127:11 188:23       contact 32:20
    217:15 219:9       71:17                 189:1 235:8           133:22 244:15
    219:12 234:5     confused 82:2           248:21              contain 12:1,4
    235:10           confusing             considered              154:25
                       157:1 200:19          48:12 106:6
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6    Filed 02/07/25   Page 295 of 366




 [containing - count]                                                      Page 16

  containing              179:4,13           207:4                 278:8
    155:10                180:12,12        copies 156:1          correction 3:11
  contains 275:8          181:16             162:17 164:21         9:21 10:19
  contaminate           contract 19:19       164:23 276:14         222:23 223:12
    256:3                 20:2,4           cops 40:11 55:7       corrections
  contamination         contracting          88:1,2,6              278:6
    255:24                20:12              122:25 125:13       correctly 97:5
  content 176:16        contracts 19:23      138:16                107:1 122:10
    211:6                 20:7             copy 11:10              136:18 143:14
  contesting            control 133:10       84:18 157:14          144:22 145:2
    17:18               controlled           251:11 274:23         149:23 151:6
  context 75:25           255:14           copyright               153:18 165:11
    76:1 87:13,19       conversation         252:2                 170:8 178:16
    100:2 111:2           6:16 7:11        corner 268:3            182:12 183:12
    182:20 183:17         174:11,15        correct 4:10            184:25 191:4
  continue 13:25          175:20 176:13      11:20 16:21           198:8 201:7
    41:11 106:18          176:17,20,21       17:24 18:22,23        202:9 206:21
    134:11 147:18         208:9 222:18       22:21 27:13,17        208:10 217:6
    150:6 156:18          223:8 224:1        43:6 49:22            229:19 235:14
  continued               230:18 231:12      59:22 69:10           239:11 252:13
    222:18                244:9              79:6 92:14,17         256:13 257:2
  continues             conversations        92:18 96:20           259:12 262:16
    223:6                 243:14 244:22      97:22 99:4            263:1 264:10
  contour 10:25         cool 14:2 22:15      107:6 114:19        corrupt 17:20
    11:2 219:16           34:7,19            114:20 123:11       cost 253:21
    222:20 223:9        cooperating          123:15 128:16       costs 205:3
    223:16,16             23:9               132:12 152:18       could've
    224:16 225:22       coordinated          155:8,11,14,15        147:25
    226:1,5,9,13          88:22              163:21 167:1        counsel 4:22
    231:22,25           coordinates          175:18 178:17         12:23 17:21
  contraband              212:19             197:15,22             275:12 276:14
    69:15,25 106:1      cop 61:17,19         211:11 212:21       count 22:20
    122:8 145:25          87:22 206:16       213:3,7 224:24        116:24 178:10
    178:15,21,24          206:24 207:1,4     245:7 269:6,8
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6    Filed 02/07/25   Page 296 of 366




 [counter - criminal]                                                      Page 17

  counter 32:16           142:16 153:4     covered 119:5           46:7,8,13
  counties 23:15          162:4 243:17       147:6,8               66:24 69:19
    28:5,6,13             265:8            covering 132:3          107:13 110:5
  country 24:7          courier 57:22        134:14                110:10 114:2
    49:22 52:3          course 7:19        coworker                133:13 191:16
    69:22 101:4,21        8:10 25:7          206:8                 248:14
    104:16 112:12         34:10,13,16      crap 223:24           crimes 25:14
    203:10,11,17          36:6 39:24,25      231:17 232:17         25:15 46:19
    204:14                42:7,9 59:12     crappie 19:10           63:14 109:15
  county 1:9 2:19         64:12 69:21      crash 266:19          criminal 15:7,9
    5:4 13:7 15:20        94:18,24 100:8     266:22 267:10         15:10,22,23
    16:18,21,23           103:15 105:7       267:11                16:10,16,17,24
    18:19 19:3            128:23 130:9     crashing                18:9,21 24:3
    22:22 23:2,8          130:16 131:14      113:23                25:2 26:8 28:2
    25:24,25 26:1         135:15 156:18    create 185:12           28:11 30:14,17
    27:22,23 28:7         170:23 171:5       193:17 209:15         30:21 31:8
    28:9,9,10,10,10       176:18 183:1       239:18 257:25         43:18 44:20,22
    28:10,23 59:5         187:15,17        creating 185:9          44:24 45:1,7
    88:17,20,23           201:9 204:9      credibility             45:11,15,17,23
    89:5,11 91:13         211:7 215:22       112:25 113:11         45:24 46:1,3,6
    91:16 98:14           254:21 272:20      113:14 116:21         46:11,12 47:5
    99:3,7,9,11         courses 129:8        122:4 139:5           47:8 50:24,25
    100:4 104:3           247:3            credible 107:24         51:10,11 52:21
    120:4 131:2         court 1:1 4:21       107:25 108:8          54:4,11,13,24
    146:3 154:10          15:8,16 16:5       113:24 115:10         56:22 58:2
    166:11,19             17:7,20 18:6       116:25 121:9          60:13,16 62:9
    167:20 187:24         21:8 55:4          121:10 146:22         62:10,11,15
    189:19 190:2,3        146:10 149:19      147:4 148:23          63:6,9 64:18
    207:8 241:24          274:1              151:15,15             74:19,20 78:23
    242:12 274:9        courtroom 5:17       205:5                 87:19 88:5
  couple 5:10           courts 203:19      credit 111:20           89:10 91:7
    57:5,18 82:8        cover 141:13         111:24 206:2,4        116:3 118:22
    88:11 90:3            147:14 251:16    crime 24:10             119:1,2,3
    91:25 102:21          251:17 260:8       32:13,13 37:1         138:6,22
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 297 of 366




 [criminal - deal]                                                          Page 18

    145:20 155:20     csfrigeriolaw         dallas 45:19            275:6,22
    191:19 192:3,9      2:22                 48:22 89:4             277:24 278:12
    198:25 199:4      csr 1:20 275:22        141:24,25            dated 96:13
    199:15 201:15     cues 262:22            142:3,9                158:5 164:4
    206:17 248:11     curious 36:25         damaged 68:7            177:23
  criminals 46:10       37:4                 68:24                daughters
    87:23,24          current 156:10        dark 59:6,7             34:10
  critical 38:20      currently              268:18               day 21:13
    94:17               108:24              dash 39:1 40:9          35:15 40:15
  crockett 25:10      curriculum             43:4 44:3              42:18 49:8
    25:12,15,24         44:7 205:1           66:11 101:7            53:23 54:6
    26:13 27:6          257:23               105:12 124:6           56:11 58:18
  crooks 88:1         curve 219:17           163:5,6,10             59:4 65:13
  cross 218:20          221:22 226:8         189:14 207:22          68:23 70:10
    220:8,12            230:17 269:23        208:13 209:4,7         78:22 79:2
    230:21 231:11       269:24               209:9,12,15,18         97:8 101:4
    235:13            customers              209:22 210:1,4         104:17,24
  crossed 217:2,3       20:15                210:7,10               110:7 120:9,15
    218:24 219:4,6    cut 24:20 61:15        211:11 212:13          120:19 127:16
    224:7,15,18,23      102:8 126:4          212:13 213:2,6         129:18 131:1
    227:6 228:3,21      208:21 212:6         213:9,11 214:3         138:21 148:8
    230:4 233:23      cv 1:5 3:13 14:5       214:15,17              168:24 188:11
    234:3 235:6         23:1 25:5            215:5 217:9            193:11 240:23
    269:21              31:12,13 39:5        220:6 224:4            241:18 265:3
  crosses 220:16        39:7,10,16           225:18 226:20          275:17 278:15
    220:22              204:12 274:5         226:24 228:2         days 275:6
  crossing 225:1              d              228:24 229:2           276:16
    227:17                                   230:6 233:22         de 80:11
                      d 164:12
  crowd 90:1                                 235:12 236:21        dea 20:3 23:24
                        250:15,16
  crystallize                               data 12:23 13:4         24:1 29:10
                      dad 63:5
    196:2                                   date 40:5 96:4          89:1 237:8,9
                      daily 29:23,23
  cs 237:11                                  96:5,12,19           dead 135:19
                        53:10
    276:15                                   153:15 159:22        deal 34:16 86:2
                                             215:8 242:23           86:3,9 120:6
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 298 of 366




 [deal - deputy]                                                           Page 19

    147:10           deemed 278:6            237:12                218:15,19
  dealing 125:15     deep 264:2,3          department's            224:11 230:9
    193:11 213:17    deeper 45:6             97:23 204:19          230:11 232:9
  debating           defects 5:7           departments             240:10 272:18
    172:25           defendant 2:13          190:9                 274:12,19,21
  december 19:4        5:4 12:23           depend 130:8            275:4,11
    19:5               15:21,24 89:8         198:10,17           depositions
  deception          defendant's           depended                14:1 153:14
    246:14 250:4       13:10 212:9           29:24 207:10          159:18,19
    254:22 255:10    defendants 1:9          250:19                160:9,12,14,16
    259:6,15           2:18 16:4           depending 13:1          162:18 164:5
    260:11 262:14      165:6 274:9           156:17 265:20         169:14 171:24
    262:25 264:25    define 44:22            266:11                172:5 184:6
  deceptive          definition            depends 62:17           185:14,18,24
    134:17 249:14      179:3                 72:5 97:17            185:25 186:3,4
    249:17 261:16    definitively            125:22 126:9          186:9 189:11
  decide 79:1          224:14                266:10                189:12 241:12
    81:25 106:2      degree 81:10          depicted                244:13 245:12
    107:13 140:16    delayed 149:20          222:21                271:19
    172:8              149:25 150:13       depicting 208:6       depression
  decided 105:18     delaying 150:4          223:22 224:12         259:9,11
    171:14 173:7       150:11              deponent 275:2        depths 114:5
    176:20 187:25    delivered               275:3,10            deputies 25:1
    188:5              274:21                276:13 278:3          178:20 190:10
  decipher           deny 130:4            deposed 5:11          deputized 24:1
    197:22             151:4 215:21        deposing              deputy 4:23
  decision 128:15    department              276:13                36:9,17,20,20
    191:2 198:14       23:23 25:12         deposition 1:12         67:23 96:12
  decisions 90:17      26:16 27:7,16         1:16 5:7 69:8         97:1 99:1,10
    189:3,5 190:21     29:5 33:21            69:11 152:3,16        99:12,15 100:1
  declare 278:4        41:1 60:20            159:16,25             100:2,16,23
  dedicated            62:20 97:15,17        160:3 162:19          101:6 102:23
    62:19              97:20 112:8,21        186:10 192:4          103:1,3,7,25
                       112:22 127:12         217:1,10              104:11,20
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 299 of 366




 [deputy - developed]                                                      Page 20

    105:12,15,24        195:3,6,14,25        264:13,16,19        detective 24:10
    116:6 123:24        199:4,7,14,24        269:10,19,20          29:13 33:24
    124:4,5 126:1       201:18,23            270:5,9,11,19         34:5
    127:15 128:6        202:8 206:17         271:14,19           detects 46:13
    129:2,3,4,7         206:23 207:24      describes             detention 204:3
    130:10 137:14       216:5,25 217:3       196:22              determination
    143:1,9 144:4       217:3,10,21,25     describing              180:16,20
    144:12 146:17       218:11,14            264:17              determine
    150:25 151:2,5      219:3,5,7,22,23    description 3:9         56:16 74:4
    151:9,11,14,22      219:25 220:7         107:19 116:15         81:2,15 84:25
    151:23,25           220:14,14            116:19 242:10         110:14 113:19
    152:11,15,16        222:16,21,24       descriptor              114:2 130:19
    152:19,20,21        223:1 224:10         73:11 155:17          132:5,19 134:6
    154:8 160:1,2       224:25 225:1,5       202:13                136:7 145:4
    163:15,20,22        228:14 230:6       desire 191:14           151:21 190:4
    163:22 164:8        230:11,12,19       desk 10:3,5             193:14 205:7
    166:9 167:25        230:21 231:3       destination             234:10 235:6
    168:2,8,11,13       231:10,12,14         49:12 122:7           246:25 248:7
    168:21 172:11       232:8,18,22          138:10                265:18
    172:17 173:3        233:18,21,22       destroy 180:7         determined
    173:11,24           234:2,11,19,20     detail 23:4             145:10
    174:12 177:25       235:16 236:22        46:13 152:4         determines
    178:13 182:9        239:5 240:7,12     details 87:10           265:23
    183:7,18 184:6      240:13,15            172:22 173:7        determining
    184:21,22           241:16 242:9         244:21                188:13 190:20
    185:3,6,14,18       242:16,20          detained                191:21
    185:18,22,23        243:1,5,12,21        184:24              develop 30:6,7
    186:6,8,8,22,24     244:3,9 245:6      detect 131:24           44:6 77:18
    187:25 188:2        245:15,21            246:14,14             81:20,25 86:17
    188:11 189:1,4      253:16,16            256:17                114:12 134:21
    189:21,24           254:14,16,17       detecting 250:4         134:24 145:15
    192:4,7,7,7,10      254:20,24          detection 45:23         149:20 246:24
    193:10 194:15       255:1 263:10         246:14              developed
    194:18,21,24        263:19 264:8                               27:12 56:15
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 300 of 366




 [developing - doing]                                                      Page 21

  developing           254:25 255:11       discussing            district 1:1,1
    30:13,21 53:15     255:14 257:21         90:21                 15:19 274:1,1
    107:12           differently           discussion 9:19       ditch 270:6
  device 265:19        173:1 190:11          148:2 242:2         ditched 59:15
  devices 211:22       203:10                255:24              division 1:2
  diagnosing         differs 141:22        dishonest 167:9         18:21 274:2
    262:15           dig 45:6 131:8        dishonesty            document 7:22
  diazepam 70:3      digital 39:12,25        256:17                7:25 8:1,20,23
  dicaprio 21:25       40:8,8 42:5         disinterest             14:4 162:15
  difference         dillard's 45:20         259:11                251:15
    31:13 45:2       direct 104:9          dismissal 187:2       documentation
    76:22,24 79:20   directv 84:19         dispatch 68:5           66:25
    82:15,16           84:20,22,23,25      dispel 119:1          documented
    126:18,19        dirt 73:8,10            139:7 141:15          98:16 170:7
    192:5 255:8        180:8               displaying            documents
    270:16,25        disagree                239:7                 7:20 10:3
  differences          204:18              distance 221:20         153:14 155:4,5
    114:3            disappointed            223:11,20             164:21,23
  different 10:13      94:16                 234:23 235:4,5        165:3,5 189:15
    13:1 16:7        disapprove              267:23 268:5        dog 34:11,18
    50:13 58:20        205:9                 270:12,14             34:18 90:18
    60:24 67:15,16   discouraged           distinct 70:25          150:13 181:6
    74:24 99:17        64:9 65:4,5           71:1 225:22           181:11 184:22
    105:4 135:13     discover 110:2          226:1 231:21        dogs 181:22
    136:21 173:21      204:17                231:22              doing 6:18 19:6
    186:17 190:9     discrepancies         distract 231:4          22:16 27:19
    190:10,13,15       190:14              distracted              29:21 30:24
    192:17 193:5,8   discrepancy             232:14 233:1          43:1 45:1,20
    196:23 197:20      231:22                233:15                47:13 53:10,22
    203:10 209:8,9   discuss 158:23        distractions            54:2 55:3,15
    209:10,12,13       176:20                80:22 81:9            56:1,3,22 57:1
    209:15,16,18     discussed               256:4,16              57:5 58:1 61:9
    209:18,22,23       104:19 179:1,8      distributing            61:10 63:9
    215:2 224:17       249:23                49:19                 65:6 77:23,25
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 301 of 366




 [doing - dust]                                                                Page 22

    77:25 78:4,25        dressed 83:2,4        drop 49:13              48:1,5 49:7,18
    79:5 81:19             84:9                drove 59:15             49:21 50:9,17
    90:15 93:14          drink 7:9               128:4,5               57:24 58:22,25
    98:24 103:11         drinking 48:10        drug 17:15              58:25 62:25
    106:1 115:19         drive 25:20             23:16,24 25:14        63:13,18,18,18
    115:19 117:1           48:8,11,22            25:14,15 26:12        63:19 64:7,13
    118:15 131:4           58:13 85:15           26:20,24 28:12        65:1 84:24
    133:7 134:12           131:18 216:12         29:21 47:13,20        120:10 122:7
    136:5,23 137:8         236:19 271:21         47:25 50:4,11         123:5,13,17
    139:21 146:4,5       driven 133:18           50:20 51:21           125:14,17,18
    154:4 175:4            143:2,10              52:5 58:14,20         125:19 127:2,6
    193:15,15              227:18,19             63:13 64:7,15         127:12,17,19
    195:21 203:4           241:22 243:6          82:4,7,15,18          127:25 128:22
    205:15 215:22        driver 48:21            84:16 85:17           135:5,16
    233:7 235:4            49:17 267:10          91:1 109:14,17        138:11,14
    254:1,1 266:4          268:25                115:22 120:12         140:23 141:6
  dollars 22:6           driver's 86:4           120:22,25             141:24,25
  don 4:13               drivers 48:12           121:1 122:12          142:1,2,7
  donna 1:20               48:12 137:3,5         124:20,21,24          143:13 144:6
    4:21 5:21 6:2          137:7                 125:3,7,16            145:25 248:18
    6:17 10:12           drives 32:25            127:13 131:16         253:5,10 262:2
    11:13 162:9            120:18                133:14 138:8        drunk 267:10
    274:14 275:22        driving 48:25           138:12 139:1        dry 25:24 26:1
  door 256:6               57:22 73:4            140:21 141:8          133:21
  dope 125:18              85:18 105:17          141:11,12,15        dude 75:1
  doubt 272:8,12           110:16 113:22         141:22 142:11       duly 1:17 4:2
  downer 70:5              120:9,15 127:6        155:24 173:13         274:17
  downloaded               133:16 137:17         191:22 237:6,8      duplicate 201:2
    259:18                 137:20,23             248:14,17           duplicates
  downtown                 138:3,4 140:1         253:1,4               200:24,25
    131:3                  208:19 232:19       drugs 17:16             201:3,6,8
  dps 29:6 86:12           233:4,6,18            25:18,20 26:2       duration 208:7
  dress 84:22              266:13,14,24          26:13,15,22         dust 40:21
                           267:6,8,13            28:18 45:16
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 302 of 366




 [duties - enjoy]                                                           Page 23

  duties 108:24       easy 104:10           eleven 32:14            51:23 55:6
  duty 16:14 55:7     ebbs 6:16               33:2                  64:7 78:20
    145:25            ecstasy 69:17         eliminate 55:18         82:16 88:3
  dwi 113:20          edge 133:19           elon 215:21             91:1 97:2,11
    114:7,12          edges 76:17           emergency               97:16,19 98:12
          e           education               64:3                  99:2 100:5,24
                        153:16 255:9        employed                101:8,14
  e 2:1,1 48:19
                      effective 50:20         16:17 27:23           102:24 103:2,4
    164:1,1 250:16
                        256:22                275:13                104:2,12
    277:3,3,3
                      effectively           empty 73:24             106:14 109:14
  earlier 99:18
                        192:14              encounter 59:1          111:22 115:1
    104:19 119:20
                      effort 32:24            121:16 204:3          116:23 117:5
    120:11 122:19
                      eight 29:3 40:7       encountering            119:12,13,16
    133:24 139:24
                        51:25 52:17           129:20                121:19 127:13
    143:5,24
                        53:4 58:20          encounters              145:5 151:20
    146:19 147:6
                        70:10 172:1           113:6 145:21          153:17 154:1
    151:12 167:24
                      eighth 160:24           202:25 203:25         155:21 168:1
    173:10 179:2,8
                      either 44:8             261:10                172:12 179:7
    191:12 193:1
                        47:10 51:20         encroachment            182:10 183:8,9
    195:20 199:7
                        81:24 98:14           256:10                184:4 198:6,7
    202:16 223:13
                        119:1 125:7         ended 23:17             199:11,21
    248:18 249:23
                        130:3 139:6           91:19 208:8           200:19 202:5
    260:3 265:12
                        141:14 155:13         223:25                203:8,14,20
  early 25:10
                        158:1 200:10        endless 256:4           204:10,13
    27:9,10 42:10
                        202:7 224:7         ends 208:22             213:2,9,12,24
    161:2
                        227:8 228:22        energy 252:10           229:16 231:18
  earth 217:16
                        245:11 267:18       enforce 49:5            237:6,8 238:24
  easier 98:20
                      elaborate 58:8        enforcement             239:23 240:20
    182:19
                        76:10                 12:13 15:2            242:17 248:13
  easily 65:3
                      elected 89:24           23:24 29:14           250:21 257:12
    268:16
                        110:11                33:23 38:7            257:24 258:14
  east 26:19
                      electronically          39:13 40:10           260:25
    270:2
                        98:16,22              42:20 43:17         enjoy 93:14,14
                                              47:21 49:5            157:4 247:11
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 303 of 366




 [enjoying - excluded]                                                     Page 24

  enjoying 87:3        96:10,11            evaluating 99:1         97:9 99:19
  ensured 78:10      errors 8:25 9:5         139:18 196:10         103:16 108:2
  enterprises          94:17,19              198:24 211:18         176:4,12 177:8
    47:5               262:13                217:11 235:18         198:18 218:21
  entertainment      escort 123:3          evaluation              231:16 247:7
    37:10            especially              92:16 218:14          267:15,21
  entire 41:3          205:24 248:14         245:25 269:22         270:21
    53:20 93:6       esq 276:1             event 15:13           examination
    170:14 183:24    essentially 45:7        65:13 196:4           3:5 4:3
    208:6,24         estimate 18:4,5       events 169:10         examine 169:8
    213:12 233:5       94:6 125:5            169:17,21           example 32:14
    236:6              126:7 267:22          170:11,16             34:22 35:3,4
  entirely 123:9     et 276:4 277:1          171:4,6               66:22 67:17
    214:2              278:1               everybody               68:3 82:22
  entirety 7:23      evaluate 14:25          77:21 100:20          104:7 113:9
    47:24 156:16       15:1,3 54:12          110:10 130:12         114:6 115:13
    157:8,10 159:9     54:15 97:19,20        196:23 246:19         115:21 117:3
    159:19 183:20      97:23 99:20         everyday                117:21 118:1
    183:23 208:4       101:9,12              120:20 150:18         119:20 122:18
    229:13 251:15      152:16 186:19       evidence 12:19          122:19 130:25
    263:24             186:20 190:25         13:1,5 39:12          150:2 177:15
  entity 202:12        192:22 195:13         39:25 42:6,7          237:7 252:25
    205:17             195:17 201:22         44:10 153:25          260:17 261:8
  entries 127:15       206:23 212:12         164:22 165:1        examples 46:4
  equal 226:12         217:21,25             179:16 189:20         67:21 99:18
    226:14             218:11 228:23         195:12,13           excellent 10:20
  equate 262:25        232:18 233:17         217:11 235:20       exceptional
  errata 276:11        238:17 254:16         236:23 245:17         62:7
    276:13,16          261:22 265:10       evolves 78:20         exchanged
  erratically          268:12 269:10       evolving 43:15          111:13,22
    113:22             269:18              exact 84:21           excitement
  error 11:4         evaluated               223:22 244:21         259:8,10
    81:10,11,16        191:25              exactly 14:18         excluded 201:6
    82:12 83:12,13                           19:2 42:11            201:8
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 304 of 366




 [exclusive - extreme]                                                     Page 25

  exclusive 54:10    expectation             152:6 153:15          250:25
    54:10              78:13                 154:2 155:23        experts 250:23
  exclusively        expectations            168:11,12           expiration
    61:6               79:18                 171:13 173:24         275:22
  excuse 30:2        expected                173:25 180:25       explain 58:10
  executed 180:5       241:23                184:1 188:4,10        83:17 191:7,9
  exhibit 3:10,11    expensive               188:12 190:8          196:25 198:16
    3:12,13,14,19      71:24                 190:24 191:14         203:6 247:5
    9:10,11,14,24    experience              191:20 194:8          258:19
    10:11 11:14,15     18:16 43:23           194:15 195:19       explaining
    13:19,21,22,23     45:11 47:6            195:21,25             184:24
    13:24 69:23        49:21 56:9,13         208:17 212:15       explains 236:8
    96:2 134:4         58:1 69:14            212:22 213:1,5      explanation
    140:3 153:10       70:9 78:2             213:6,14,20,23        130:3,14
    160:20 161:23      79:14 81:3            213:24 225:4,8        131:12 132:10
    161:24 162:13      82:17 91:3            229:15 231:6,7        132:17,18,18
    164:12 174:7       96:25 101:1           231:18 233:7,8      explanations
    210:13,15,16       104:22 105:1          234:15 240:20         129:25
    251:3,6,8          106:10 108:20         241:7,8 250:7       explicit 57:20
    263:6,8            114:17,18             254:12,24             131:13
  exhibited            119:18 120:1          265:13              explore 106:18
    104:20             120:23,24           experienced           explorer 59:6
  exhibits 3:8,17      121:5,8 122:6         56:11 73:12           122:20,23
    162:18 165:21      123:22 124:9          82:18 83:23         express 196:3
  existed 151:3        125:14,25,25        experiences           expressions
    168:13             126:2,3 128:25        194:15                133:4
  existence 68:4       129:4,12,13         experiencing          extend 128:6
  exists 46:13         130:2,11,24           262:23              extended
    112:23 238:18      131:16 132:5,7      expert 14:7             150:15
  exonerate            143:1,9 145:8         15:4,8,12           extension 128:9
    258:12             145:14 146:18         18:12 90:10           144:17 149:18
  expect 57:9,10       146:23 147:15         91:4,14,17          external 256:4
    66:10 68:2,10      148:6,15 151:1        96:18 170:3         extreme 260:24
    81:3 84:5 93:1     151:10,16             181:19 182:1
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 305 of 366




 [extremes - female]                                                       Page 26

  extremes 256:8         194:22,22           81:8 93:9,12          140:6 157:3
  eye 32:20 81:22        196:9 200:20        95:5 107:3            163:17 196:15
    133:22               210:2 246:17        121:18 123:18         214:23 219:18
  eyes 74:24 80:9        258:16              131:13 132:11         227:23,25
          f            factors 74:10         151:22 153:23         228:17 267:22
                         74:16 139:8         160:10 171:12         268:12 269:12
  f 13:21 32:25
                         141:10              171:15,24             270:20
    108:1,1 122:6
                       facts 129:25,25       172:2,6 174:25      fascinating
    122:13 124:10
                         151:3,23 165:2      176:6 189:22          38:12
    128:4,14 143:2
                         170:7,10,14         197:14 201:18       fashion 50:3
    143:9 144:5
                         171:3,7,8,14        213:21 218:25         129:5
    178:15 207:19
                         172:8,15,16,19      230:7 234:24        fast 102:1
    234:19,21
                         172:20 173:2,7      238:3,4 241:24        266:11,20
    239:7 242:11
                         173:18 185:3        243:19 261:12       faster 265:15
    242:17,20
                         194:15 197:7        267:2,3 268:15        265:25
    243:2,6,22
                         203:16 240:6        269:2               favor 40:13
    268:18 270:11
                       factual 17:23       fairly 253:7          fayette 28:10
    270:12
                       failed 217:12       fall 40:18              59:4 242:12
  facebook
                         230:22 253:14       201:15 264:4        fbi 20:3 21:20
    108:19,21
                         253:17            falling 73:22           22:1 110:7
    109:1,2,2,3,5
                       failing 254:18      falls 40:19           federal 1:23
    109:12,24,24
                       fails 276:18        false 257:25            21:14 25:13
    111:7,9
                       failure 216:12      familiar 69:4           203:12
  faced 150:25
                         219:10 230:3        73:19 91:9          federally 24:1
    151:2,9
                         234:6 236:18        156:8 210:4         feel 7:11,17 9:6
  facial 133:4
                         271:7,20            217:17 255:23         79:9 214:8
  facing 270:6
                       fair 6:9,10 8:8       257:10                220:19 240:4
  fact 63:21 64:5
                         18:11 27:8        families 63:20        fees 20:7
    82:24 128:4,14
                         31:18,18 36:25    family 40:23          feet 34:25
    131:2 132:8
                         38:23,24 39:1       84:14 130:21        fell 103:21
    168:22,22,25
                         39:2 41:9,10        135:3               felt 79:10
    172:4,25
                         47:1 50:9         fan 77:16             female 169:1,4
    174:20 179:25
                         62:12 64:14       far 18:9 60:4           184:9,11,11
    192:3 194:18
                         70:15 79:5          78:14 93:19           240:25 241:1,3
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 306 of 366




 [female - folks]                                                           Page 27

     241:20 243:17      250:3 253:4            178:11 182:3       fleeing 69:22
     243:24 244:2,4     257:1                  183:5 185:13       fleet 20:21 21:1
     244:5 245:1      finding 65:1             185:15,16,25       flier 205:1
  fewer 123:6           253:1                  189:11 204:25      flight 116:12
     193:6            fine 38:11               211:5 216:15          116:13
  field 40:20           47:10 75:19            216:19,19,20       flights 117:16
     60:24 61:12        76:12 85:16            216:23 223:15         117:17
     71:5,6,8,12,23     97:10 100:22           225:12,24          flip 31:12
     71:24 72:1,15      111:4 144:2            228:17 229:7       floor 74:18
     73:2 140:1,18      165:25 167:22          235:21 236:4          75:11 85:6
     140:21 141:8       183:3 207:12           236:13,16          floorboard
     153:16 179:11      234:18                 239:4 246:17          72:20,25 73:23
     180:11 181:15    finger 256:12            262:13,20          floorboards
  fifth 178:9         finish 7:13              265:14,16             73:8
  fight 37:7            31:10 60:11         fishing 19:8,9        flows 6:17
  figure 54:23          64:11 142:19           19:10              fly 117:11
     79:19 126:18       230:2               fit 40:9 90:22           118:13
     176:19 263:14    finished 6:13            123:17 141:10      focus 80:15,18
  file 68:11          fire 21:2             fits 58:22               127:21 192:10
     237:20           firm 88:14            five 57:14               192:11 230:10
  filed 40:25           275:24                 61:20 62:11,16        254:6 255:15
     67:14            first 4:2,9              64:2 100:10           258:11,12
  files 210:10,13       10:21 14:13            160:8,9,13,14      focused 76:23
  final 96:18           18:11,14 26:2          162:9 171:24          80:14 95:24
     142:23 265:8       26:7 37:11,18          195:23 208:20         144:17 192:9
  financially           56:21 79:21            243:4 244:22          213:1 234:18
     275:15             83:1 84:7,10           265:2                 253:1,18,25
  find 23:16 33:2       85:17 86:24         fix 204:7                258:2
     55:9 65:7          96:3,17,23          flag 131:7            focuses 44:2
     86:18 88:8         106:20 111:11          136:22 138:8,9     foley's 45:21
     116:15 156:12      124:19 144:11          141:7              folks 29:1
     156:17,23          149:15 153:12       flat 92:15 93:2          42:12 47:13
     177:15,19,22       161:12 163:5           93:3,9,17             127:6,22,24
     178:14,21          173:10 175:3                                 139:18,20
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 307 of 366




 [folks - front]                                                                Page 28

    202:23,24               123:3 217:4         formulating             140:8 251:5,13
  follow 30:17              222:19 223:8          165:23              fox's 83:16
    57:19 118:12            223:22 231:13       fort 141:25           frame 229:24
    175:22 221:10         foregoing               142:2                 236:6
  followed                  278:5               forth 97:14           framework
    186:21 189:25         forever 63:8            120:5,19 272:9        247:21
    248:5                 forget 10:17          forward 26:11         francisco
  following 100:3           252:11                33:3 41:3,18          116:10 118:8
    195:11 233:9          form 7:4 49:25        found 20:20             121:2
    274:16                  50:3,6 51:3           54:16 64:1          frcp 275:1
  follows 4:2               61:1 70:8,18          72:3 73:23          free 7:11,17 9:6
  foot 34:22                81:16 91:25           125:24 130:23         145:22 150:6
    59:10 256:25            99:14 103:5           155:20,22             220:19 240:5
    257:1,5,8,11,14         127:7 129:5           157:18,21           freedoms
  footage 166:1,2           153:4 178:22          158:10 161:21         188:19
    166:8,25                194:20 195:1          171:8 176:21        freeway 270:7
    169:14 189:14           195:15 196:11         176:25 178:1        frequent
    189:14 207:22           197:18 198:3          178:19 179:22         240:24 241:19
    207:25 208:13           208:5,24              201:3,4 202:17        242:17
    209:4 225:19            211:13 215:7          205:16 253:8        frequently
    226:20,25               269:7 271:9,16      four 19:7 61:5          262:15
    228:2 229:3             272:1,10              93:22 142:22        friend 34:5
    230:6 233:22          formally 255:6          160:8 201:1         friendly 104:21
    235:12 236:21         forming 153:20          212:8 242:22        friends 139:10
    254:13,16               153:24 154:5        fourth 142:21           139:15 140:19
    264:19                  155:1 163:2           149:12                140:20
  force 23:9,21             164:18 165:7        fox 2:9 4:17,17       frigerio 2:20
    23:22,25 27:24          165:13,15             82:3,7,10,11,18     front 72:19
    28:1,4,16,21,25         177:17                83:22 84:6            76:14,18,19
    29:10 91:5,15         formulaic               85:4,11,14,15         77:14,25 78:4
  forces 23:11              88:11 90:3            86:8,23 92:9          78:9,12,25
    89:2                  formulate               100:18 103:22         79:11,12 80:20
  ford 10:24 59:6           90:16 190:6           104:19 109:18         81:14,24 82:9
    122:20,23               195:6 198:11          132:2 139:25          87:11 124:6
                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 308 of 366




 [front - go]                                                                Page 29

    148:13 184:23      g.com 2:17              126:21 131:2        giving 113:2
    185:4 202:20         276:2               gereb 163:22            119:18 260:17
    202:22 226:8       gain 53:16              163:23 164:1,8      glad 134:21
    233:10 254:14        59:14                 178:13 185:19       glebe 2:10
    255:16,17          gained 26:24            185:22 186:8        go 5:9,9 9:6
    265:22               56:12 120:23          240:15                19:22 21:6,6
  frustration          gains 121:5           gestures 133:4          23:5,16 29:20
    259:7              gamboa 174:12         getting 26:21           32:15,16,21,25
  ft 275:24            game 87:25              62:24 64:25           34:7,8 36:15
  fto 60:21,23         gary 1:13,16            82:25 86:4            37:13,14 44:5
  fuel 140:24,25         3:4 4:1,13            116:9 135:8           46:9,15 48:3
  full 4:12 8:6          116:6 274:12          167:16 189:7          48:15,22,23,23
    45:12 75:8           274:17 276:5        ghost 61:10             50:9,17 53:19
    78:21 85:6           277:2,24 278:2      giant 70:12,13          54:23 55:1
    106:20 144:11        278:4,12            girl 80:6               59:12 60:13
    158:22 182:3       gas 139:11            give 8:6 9:25           61:13 62:19
    183:5 210:20       gaston 19:13            10:13,15 11:6         63:3 65:15
    216:15,19,20         19:24 20:1,13         16:2 18:4             66:4,24 67:25
    221:14 225:13      gathering               23:15 32:13           78:23 82:1,11
    229:7 263:9,17       107:12                80:23 90:4,10         83:25 86:4
  funny 21:12          gauge 75:23             90:23 91:21           87:7 88:7,8
  further 65:15          270:14                95:6 104:6,9          91:14 92:7
    151:3 231:23       general 64:18           111:1,20 113:9        93:15 95:25
    268:19 272:17        98:1,2 247:21         115:21 125:10         97:15 102:1
    275:1,12,15        generalization          204:25 205:1          112:16 113:18
  fusion 238:7,9         244:23                221:5 240:17          114:1 116:13
    238:10,13,14       generally 8:11          247:15 252:25         118:24,25
    238:15,18            50:10 65:12,14        267:22                119:3 121:22
  future 98:17           125:24 185:9        given 57:21             128:21 135:18
    145:6                190:22 209:7          122:4 130:15          135:20,23,25
          g              238:13                184:22 274:19         136:3 137:10
                       generic 53:22           278:9                 138:18,21
  g 164:1 251:3
                       georgetown            gives 139:5             141:3,24,25
                         120:3,5 126:10                              142:2,16,21
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 309 of 366




 [go - good]                                                                Page 30

    145:22 147:9        9:23,24 10:8           112:6,11,12          208:18 210:12
    150:6,10,17         10:11,13,15            115:18,20,21         210:13,14,14
    151:13 153:10       11:15,19 13:2          116:12,15            215:2,8 216:3
    159:11 160:21       13:18,21 17:22         117:11 120:7         216:23 226:15
    162:4,21 170:2      22:5 25:21,22          121:11,11,20         229:12 235:19
    178:9 181:4         26:9,13 28:12          122:2 123:6          237:6 239:4
    184:16 190:17       32:1 40:2,5            125:21 130:4         241:2 245:14
    198:23 204:24       41:13,17 42:22         130:10,17,21         247:1,19
    206:12,13           44:19 45:5             131:5,5,5,6,8        248:19 249:5,6
    207:13 212:2        48:25 55:9,13          131:15 133:17        249:10,19
    215:24 217:19       55:23 57:13,24         134:2,4 135:6        251:7,10,14
    217:24 225:3        59:25 60:3,4,9         135:9 136:3          252:5,6 253:11
    225:12 229:7        62:15 66:25            138:18 139:12        256:21 257:1
    240:5 249:23        68:12 70:14            139:19,20,22         257:17 258:4,9
    251:13,22,25        71:23,25 72:2          140:3 141:9          259:1,5 260:20
    252:5,6 256:20      73:2 74:4,5,6,9        142:2,15,23          262:12,20
    257:6 262:8         75:15,16 76:9          144:16 145:3         263:24 265:9
    263:5,9             78:12 80:17,24         147:2 149:15         265:15 266:1,2
  goal 51:23 52:1       80:25 81:1,2           150:12 153:11        266:9,12,20
    52:2,4,12           81:13,15,21,24         154:4 156:21         268:11,18
  god 86:3              81:25 82:1,10          160:19 168:23        272:18 273:4
  goes 54:22 55:9       82:19 83:7,23          169:15 170:6       goldfish 73:8
    66:6 76:6 87:1      84:1 86:3,5,18         176:23 178:2         75:9 84:2
    87:2 104:5          86:19,19,20            178:10 179:10      golly 258:9
    110:23 112:13       87:11,16 88:11         179:10,11,12       good 4:5,6 5:2
    119:17 123:21       89:2,3,3 90:16         179:13,14,14         7:15 11:11,22
    130:20 150:2        92:2,4 93:9            179:15,18            31:16 34:23
    151:10,24           95:24 96:8,23          182:8 184:18         38:4 62:23
    154:21,22           100:9 101:25           190:18 193:18        64:4,20,22
    179:25 180:7,8      102:5,9,10             196:21 197:12        65:4,7 76:15
    192:24 195:2        106:2,4,5,6,18         199:11,23            77:22 81:17
    203:8 270:1,7       106:21 107:15          202:3 205:21         84:20 86:21
  going 4:14 5:21       107:23 108:12          206:10,13,14         90:17,17,22
    6:8 7:10,20 9:8     110:4,14,19            206:19 208:3         92:4 130:7,11
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 310 of 366




 [good - half]                                                                Page 31

    131:25 132:1,3        200:16 246:4,8        47:19 54:13           33:5 40:14
    136:13 142:17         252:21,23             56:20,21 57:4         43:16 46:22,23
    152:25 177:15         254:2,3               64:8 66:14            51:20 52:17
    183:4 185:8         greater 81:10           67:5,9 69:3           61:16 64:24
    199:8 202:12          234:22 235:4          70:20 73:3            65:4 66:5
    210:25 215:10       greatest 78:5           74:8 75:7             68:23,24 80:6
    215:14 269:15         79:10,11              76:23 82:2            84:22 85:24
  google 161:5,19       greek 157:2             88:4 91:15            86:20 94:11
    217:16              green 71:2,3            93:4 94:2 95:8        109:23 112:12
  gotcha 182:7            72:21 73:18           99:25 103:24          113:11 116:3,8
  gotten 24:22            74:1,17 75:10         104:10 111:11         116:8,11,14,16
    45:12,18,21           75:11 76:2,4          113:16 115:12         116:22 118:10
    140:24 141:5,6      greenhill 1:22          115:21 118:17         120:22,25
    142:2 160:25          2:14 166:22           119:24 127:21         121:2,4 131:1
    253:19 266:20       greyhound               130:13 132:16         131:1,4 184:15
  gouge 93:16             24:4                  139:9,17 144:2        191:19 192:9
  government            grocery 76:3            152:2 165:24          255:22,23
    21:5 22:9           ground 40:19            171:23 172:24         260:13
    202:5                 184:8 239:13          173:6 175:22        guy's 135:18
  governor's            group 22:1              176:6 177:14        guys 21:15
    23:10                 37:13 53:2,4          195:11,16             29:18,18 30:15
  governs 155:21          54:3 112:18           196:2,21 214:1        49:2 53:3 63:8
  gps 212:17,19           113:12 115:1          220:21                65:8 87:4 88:3
    214:11,12,14          239:18,18,19        guide 145:6             90:16 111:14
    215:10,18,23          242:17                198:11 259:23         157:2 158:2,3
    216:11 236:7        groups 53:8           guides 155:21           187:19 254:3
  grandchildren           112:9               guilty 258:16                 h
    63:21               growing 50:13           258:17
                                                                    h 4:13 48:19
  grandkids             grown 63:21           gummies 64:1
                                                                      250:15,16
    63:25               guess 12:17           gun 24:19
                                                                      277:3
  great 4:14              14:6,16,21          guns 260:13,14
                                                                    half 56:4 57:7
    67:10 92:10           17:19 20:14,16      guy 17:16
                                                                      128:2
    119:9 152:23          35:14 39:9            23:12 25:9
    153:9 176:8           40:2,5 46:1,17        29:3 32:18,25
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 311 of 366




 [hallucinating - help]                                                     Page 32

  hallucinating        170:15,19,22         hats 86:12        90:19 91:20
   149:5,8             170:23 172:23        haul 45:12        92:8,10,11,22
  hand 10:12           173:3 195:4          hays 28:9 207:7   92:24 100:12
   11:15 13:18         203:23 252:25        head 5:24,24      100:14,16,19
   52:13,13 76:7       253:15 254:9           34:25 75:17     100:22 103:13
   87:2 130:9         happening 38:2          135:8 152:11    103:23 109:19
   133:5 156:24        43:15 64:23            167:7 262:3     127:9 142:16
   160:19 210:12       117:22 183:21        header 14:7       142:21 149:7,9
   210:13,17           269:4                  96:18 154:18    149:11 153:3
   251:7              happens 42:24           162:24 170:3    162:8,11 164:1
  handcuffed           60:6 65:24             199:1 215:25    164:7 178:25
   249:8               80:1 82:13           heading 241:5     194:21 197:24
  handguns             101:4,24             hear 79:21        198:21 215:16
   253:22              102:12 119:16          80:12 90:14     242:4 246:4,6
  handing 14:3         138:25 145:5           133:20 176:13   251:3,7,14
  handler 181:17       173:13 205:21          184:14 231:17   263:14,16
   181:18              206:7 248:25         heard 22:15       265:8 269:9
  handlers             258:4                  34:8 69:12      271:13,24
   181:23,24          happy 104:8             87:18,18        272:4,11,22
  hands 80:6           146:8 162:4            114:16 158:11   273:2
   181:10 249:4,6     hard 62:4               176:12 185:19 hector 2:19
   249:7               75:17 76:7             189:9 223:24    4:24 5:1 6:24
  happen 65:24         93:20,25 95:11         257:15          273:4
   83:9 114:18         131:23 133:9         hearing 257:20 help 16:6 24:12
   115:6,6 117:24      133:21 149:4         heavier 124:14    28:15 30:16
   120:16 133:18       199:5                heavily 30:20     65:17 67:8
   170:22 179:12      harm 63:19              50:4            74:10 76:24
   197:16 253:16      haston 1:13,16        hebert 2:3 3:5    90:15 128:13
  happened 16:7        3:4,11,12 4:1,7        4:4,7,25 5:3    134:3 146:13
   66:6,6 69:1         4:13 10:9              9:11,15,22      173:8,12
   96:9 101:11         116:7 246:6            10:5,8 20:11    224:20 225:11
   102:13,16           274:12,17              21:16 22:8      246:14,19,23
   114:2 148:12        276:5 277:2,24         32:7,10 57:16   255:20 258:20
   148:18 150:8        278:2,4,12             57:18 58:10
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 312 of 366




 [helped - human]                                                          Page 33

  helped 247:2       highways 55:19        hotel 48:23           houses 30:9
  helpful 25:8         127:5                51:4 117:23,24        73:14 138:5
    27:5 46:16       hindsight 188:9        118:2,5,9,10,15       180:5
    52:18 56:20        191:3                121:2 129:19         housing 25:13
    87:17 143:23     hired 60:20            138:18,18,20          25:25
    169:8 190:19       90:4,9 91:21         138:20 140:13        houston 25:24
    224:2 240:3        166:21               140:14 147:24         39:23 41:24,25
    250:4            history 41:11          168:22 184:2          45:19 118:4
  helps 65:22          63:12 73:20          191:23 241:1,2        122:7 124:22
    87:5 258:19        74:19,20,21          241:4,20,21           125:2,6 127:23
  hereto 1:24          83:2 113:8           243:17                127:24 128:5
    278:7            hit 59:16 102:3       hotels 139:12          128:15,21
  heroin 69:16         102:7 227:25        hour 57:14             129:18 137:18
  hesitant 240:16      228:4,9              92:20,24 93:1         137:21,24
  hey 23:14 33:4     hits 265:22            93:10 95:6,19         138:4,8,9,17,21
    34:6,7 37:20     hitting 134:14         100:10 101:25         139:19 141:18
    68:13 79:1       hold 34:24             102:1 116:13          141:23,24
    94:13 112:11       112:25 263:14        116:13 216:11         142:9 148:9
    113:21 116:9       272:18               221:23 222:16         168:23,25
    131:4 204:24     holding 35:2           236:7 267:11          241:1 244:5
    206:9 249:3      holiday 73:6          hourly 92:25          huge 38:9
  hidden 169:4         137:24 138:1         93:4,5               huh 6:1,1,1
  hide 134:20        home 34:10            hours 93:18,23         29:9 74:15
  hiding 256:25      homeland               93:23 94:1,1,3        121:25 139:16
  high 74:25           127:13               94:8 95:8,13          149:14 173:19
    260:20 261:11    homicide 258:5         142:14 199:25         177:4 194:5
  higher 52:16       honest 205:22          200:6,10,11,13        221:12 238:9
  highlighted          210:19 235:22        200:17 201:4,9        267:25
    211:8            hood 221:20           house 29:25           human 58:15
  highway 25:20        226:5,7,8            30:3 109:8            58:17 59:1,19
    26:17 84:24        232:2                180:5                 59:25 64:16
    120:20 125:14    hope 56:19            housekeeping           122:12,24
    126:9 127:20       92:4 258:18          5:10                  124:9,19,23
    141:21                                                        125:3,7 128:25
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 313 of 366




 [human - indicators]                                                      Page 34

   129:8,12,14                i            impacted              incident 41:3
   146:24,25         idea 19:16              233:18                208:7
   147:15 199:16        81:19 112:16       impairment            include 44:13
  humans 122:7          126:15 166:15        8:14                  179:21
  humor 32:7            185:7 238:6        import 48:4           including
  hundreds           ideas 250:3           importance              151:18 264:5
   39:19             identified              44:5,8 213:18       inconsistencies
  hung 44:23            28:19              important 5:20          132:11 189:24
  hunt 90:18         identify 155:16         31:22 40:1,4        inconsistency
  hunting 87:19         165:6 223:5          42:20,23 43:14        132:20
   87:24 88:2,8         265:14 267:16        43:21 65:17,19      inconsistent
  hurts 40:19           269:2                65:20 66:2,7          131:11,12
   63:19,20          identity 237:19         66:20 67:1,2          151:20 204:19
  hypnosis 33:22     ignorance 30:2          87:6 110:9            205:16
   36:24 37:11,23       114:6                148:21,23           incorporate
   65:25 247:11      ih 97:4 239:8           172:22,22             79:3
   247:11               242:13 243:6         173:2,2,8           incorrect 11:2
  hypnotism          iii 1:6 2:18            211:17 212:4,7        197:17
   35:19,20             274:6                214:21 252:11       increase 24:12
  hypnotist 32:4     ij.org 2:6,11,12      importantly           indentions
   32:11 33:10,23    illegal 49:1            256:8                 227:16
   38:6                 71:22 75:4         imported 122:9        independent
  hypnotize             78:6,15 106:1      impound 20:9            264:16
   33:11 34:2           121:14 134:23      imprecise             index 3:1
   36:9 37:4            136:24 137:17        218:25              indicate 129:7
  hypnotized            137:20,23          improper 7:5,5        indicated
   34:24 35:2        illegally 121:12      improved                201:20 216:11
   36:13,14,15,18    illinois 85:5           214:15,16             264:9
   37:12,14,19,24    illustrating            215:23              indicator
  hypothetical          71:10              improves                214:11,13
   87:8 110:23       immediately             215:20                248:24 249:1
  hypotheticals         131:7              inches 227:14         indicators
   87:3,6                                  incidences              248:15
                                             224:3
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 314 of 366




 [individual - interdiction]                                                Page 35

  individual 1:5        110:22 111:24       inhale 72:10          instructor 35:5
    1:7,8 62:8          113:1,3,16,18       initial 92:16           39:22,23 41:19
    66:25 117:9         115:9,14 116:1        187:3                 43:13,17 44:5
    214:21 274:5,7      116:23,24,25        initiated 106:7         44:11 78:25
    274:8               117:9 119:11        injuries 40:25          204:12 205:3,6
  individually          119:14,19           inn 137:24              212:24,25
    26:9                121:7,19 122:4        138:1                 213:1 246:16
  individuals           124:16 128:17       innocent 110:5          247:3
    160:13              128:24 129:14         118:24 129:25       instructors
  industry 47:20        146:17,21             130:3 132:17          146:2 204:22
    50:5 55:17          147:7,8,11,12         133:25 139:20         206:15 250:5,6
    64:19 109:17        148:7,22              139:22 141:13       insurance 86:3
    138:12 139:11       151:15 153:24         146:8 258:6         intelligence
    141:22 191:22       153:25 167:25       inputs 240:4            94:12 238:11
  infancy 25:11         168:2 173:5         inside 80:22          intend 12:2,5
  infiltrate 46:6       191:1 193:13        instagram               272:15
  infiltrating          193:17,25             109:13              intended 260:1
    52:3                194:3 211:10        instance 1:17         intensifies
  informal 7:10         211:24 237:2,4        51:22 171:23          133:13
    7:11                237:6,16,18,22        209:19              intensive 252:8
  informant             238:1,3,11          institute 2:4,9       intercept 51:6
    237:10,13,20        239:7 240:7,14        157:19,22           intercepts
  informants            240:15,17,22          158:5 177:3,6         52:14
    30:7,7 53:15        240:23,24             177:14,15           interchangea...
    53:15               241:3,4,10,12         187:19                31:14
  information           241:14,18           instruct 42:17        interdiction
    33:11 53:16         243:7,9 245:6       instructed              23:6,7,12,12,14
    62:22 66:23         245:11,15,21          42:12,15 43:21        23:19 24:3
    77:6 90:22        informed 97:3           44:16 145:17          25:9,11,17
    98:21 106:8,11      243:1                 229:16                26:2,8,14 27:4
    106:16 107:12     informing             instruction             27:13,19 28:2
    107:13,17           107:4                 44:2,4,13             28:11 29:3,4
    108:8,18,21       infraction              246:13                29:21 30:14,17
    109:21,22           264:9                                       30:19,21 31:9
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 315 of 366




 [interdiction - investigations]                                            Page 36

    43:16,18 44:20    interest 25:15        interstate              247:14 256:22
    44:22,24 45:1       26:24 27:12           26:18,22 59:4       intimidating
    45:7,11,15,17       61:16 192:8,18        85:4 108:4            86:15,20
    45:23,25 46:1     interested              120:3 126:10        intoxicated
    46:3,11,12          25:21 41:4            126:20 130:25         40:15,19
    47:8 50:24,25       90:25 199:10          140:2 227:4         introduce 4:14
    51:4,5,5,11         199:17 275:16         253:8 269:24          9:8
    52:14 53:2,3      interesting           interview 56:14       introduced
    54:4,7,12,13,25     21:23 35:16           56:15 76:22,23        246:18
    55:13 56:4,22       101:17 158:11         77:2,5,11,12        investigate
    58:2 60:13,16     interests 110:2         79:3,25 80:10         34:1 51:13
    61:16 62:1,9      interfere               80:13,23 81:17        106:4 110:17
    62:10,11,16,18      256:17                82:9 106:12           110:20 111:8
    62:23 63:6,9      intermediate            132:22 134:15         112:16 114:1
    64:19,21,22         57:4 62:14,15         135:24 136:9        investigating
    65:4,7,9 67:24    internal 187:1          247:24,25             46:18 107:14
    73:20 78:3,13       187:3,3               252:7,22 255:8      investigation
    78:21,23 83:23    international           255:12 256:8          21:20 28:17,19
    84:13 85:24         60:8 116:4            260:7                 66:18 67:22
    86:16,21 87:19    internet 93:24        interviewed             93:6 105:16
    88:5,22 89:10       156:12,12,14          26:23 253:9           107:8,9,10,11
    91:7 101:3,15       239:16 259:19       interviewers            108:10,13,15
    104:16 116:4      interpret               252:9                 139:3 147:2
    117:23 118:16       246:21              interviewing            151:4 167:5,15
    120:2 132:14      interrogation           77:5 252:12           170:18 175:5
    138:7,23            76:15,23 77:1         253:18 255:9          181:4 186:18
    145:20 155:24       77:3 252:8            258:1 261:19          187:4 240:21
    184:3 191:19      interrogations        interviews              254:2
    192:3,9 194:9       76:14,17 77:15        76:18 77:25         investigations
    198:25 199:4,9      79:12                 78:4,6,9,25           18:21 21:1
    199:15 201:15     interrupt 6:11          79:12 125:15          24:5 25:3
    203:24 206:17       6:14                  136:13,14             46:25 52:8,22
    234:16 248:12     interrupting            169:3 202:21          106:22 109:7
    250:22 262:1        256:7,11              202:23 246:25         109:15 127:14
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 316 of 366




 [investigations - killers]                                                 Page 37

    173:13 200:15      items 154:21         johnny's 63:4         jwindham 2:11
    258:5                 155:9,10,12       joint 72:11,19                k
  investigative           165:10 243:19     joke 82:21
                                                                  k 210:13
    28:15 29:19           245:4,19,22       josh 4:17,20
                                                                  k9 144:19
    30:4,5,6 32:4      itineraries          joshua 2:3,8,9
                                                                    149:21 150:14
    32:10 33:10           117:17            judge 5:18 7:4
                                                                    181:6,7,8,17,20
    35:19 38:6                  j             145:10 197:21
                                                                    181:23,24
    53:3 109:8                                198:14,19
                       jacks 45:14                                  182:1,3,22
    191:23 241:9                              236:15
                       jail 119:4 134:2                             183:21 192:5
  investigator                              judgment
                       january 1:14                               k9s 181:25
    34:1 47:9                                 161:7,8
                          1:19 274:12                               192:9
    257:25                                  jump 92:6
                          275:18 276:3                            keep 41:14
  investigators                               161:8
                       jargon 72:17                                 47:23 82:19
    109:11 256:7                            jumping 119:7
                          72:17,18 87:22                            95:12 100:14
  investigatory                               159:12
                          87:22 88:3                                142:14 156:10
    136:16 137:6                            june 158:5
                          237:5                                     205:23 213:19
  investment                                  177:20
                       javier 1:7 274:7                             221:1 254:23
    57:24                                   junk 85:6
                       jewelry 20:4                               kens5 177:19
  invite 89:21                              jurisdiction
                       jfox 2:12                                  kept 59:18
  involved 15:10                              106:23
                       job 6:18 34:15                             keys 48:23
    27:4 30:20                              jurisdictions
                          43:1 53:19                              keyword
    88:25 89:7,12                             107:6
                          55:8 86:5,5,24                            109:25 110:9
    118:21 125:2,6                          jury 90:13
                          90:14 190:11                              110:12
    139:7 190:21                              173:12 197:24
                          198:8 269:15                            kids 63:19,19
    191:2 194:1                               198:16 219:2
                       joe 108:18                                   73:5,8 84:3,5,8
    243:25                                    260:18
                          111:6 164:8                               84:11 165:17
  involving 17:21                           justice 2:4,9
                       joel 1:5 2:13                              kiki 238:5,20
  isolation 259:9                             23:24 127:12
                          89:8 163:12                               238:24
  issue 105:7,8                               157:20,23
                          274:5 276:4                             kill 253:24
    128:9 140:19                              158:5 177:3,7
                          277:1 278:1                             killed 252:19
    166:3                                     177:14,16
                       johnny 21:14                                 254:7 260:23
  item 159:15                                 187:19
                          21:18,22                                killers 256:22
    162:22 174:3                            justified 188:5
    242:25 243:1
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 317 of 366




 [kilos - know]                                                            Page 38

  kilos 82:8 85:9      9:25 11:8,18           66:23 68:8,21         102:17 103:6,9
    133:15 140:8,9     12:13,14,15            68:23,24,25           103:19 104:4,6
  kind 6:16 12:11      14:4 16:1,2,5,6        69:18,25 70:1         104:7,18 105:2
    19:9 27:12         17:16,22 19:12         70:4,6,9,11,13        105:13,25
    31:9 32:18         19:20,23 20:21         71:2,18,20,22         106:10 107:12
    36:7 38:16,20      21:1,15,16,25          71:25 72:17,23        107:14 108:9
    57:18 60:13        22:4,4,4,5             73:9,13,14,15         108:10,11,12
    63:1 65:25         23:25 24:5,18          73:16,21,22,25        108:12,20,24
    70:6 75:12         24:20 25:19            74:4,20,24,24         109:9,11,12,24
    83:21 88:12,19     26:11,25 27:1          74:25,25 75:1         110:1,2,8,8,10
    102:6 104:5,24     28:22 30:8,9           75:3,5,7,14,16        110:22,25
    113:19 115:16      30:17 31:13            75:17 76:2,8          111:11,15,18
    117:21 118:21      32:1,16,23,25          76:10,16,25           111:23 112:4,5
    168:3 169:18       33:4,6,7,9 34:9        77:1,2,4,4,9          112:5,11,15,19
    169:19 187:6       34:13,15,16,18         78:5,15 79:19         112:19,23,24
    189:9 191:6        34:21 35:6             80:9 81:12,20         113:10,10,10
    193:16 198:9       36:2,7,20 37:9         81:25 82:7,8          113:14,17,20
    226:7 240:3        37:14,15,22            83:14,14,15           113:20,23,23
    247:20 267:18      39:16,18 40:3          84:18 85:25           114:1,19,21
  kinesics 79:24       41:7 44:6              86:5,8,11,14,22       115:5,7,9,9,18
    246:16 247:4,5     45:15,21 47:17         86:24 87:4,6          115:20,22
  kit 71:5,6           47:24 49:16            87:12,14,22,24        116:3,5,6,8,11
  kits 71:24 72:1      50:17 51:24,25         87:24 88:7,9          116:17,22,25
  knew 28:18           52:19,20 54:19         88:10,25 89:4         117:16,17,19
    59:2 62:8 91:7     54:21 55:3,17          89:4,8,12,16,24       117:22 118:18
    107:18,19,19       56:14 57:23            90:9,25 91:3,5        118:23 119:10
    107:21,22          58:19 59:1,13          93:12,13,13,14        119:17,19,21
    127:8 149:4        59:18,20 61:1          93:15,24,24           119:23 120:13
    194:6 195:14       61:4,7,18,20,22        94:14,17,22           121:8 122:18
    243:12,13          61:24 62:5             95:6,11 96:10         122:21 123:3
    245:12             63:4,5,24 64:4         98:3,11,15,25         123:21 125:8
  knocks 256:6         64:5,10,23,24          99:17,18,19,20        125:13,16
  know 6:5,15,18       65:16 66:1,1,1         99:22 101:9,23        126:3,9,10,16
    6:21 7:12 9:3      66:5,19,19,20          102:4,10,11,14        128:8 129:9,10
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 318 of 366




 [know - language]                                                         Page 39

    130:2,6,11,17      195:20,22            249:10 253:12        knows 48:24
    130:18,22,25       196:7,15,20,23       254:2 255:8            49:1 81:12
    132:8,16 133:1     197:1,21,24          257:16,17,22           122:25 124:21
    133:9,13,21        198:19 200:18        258:2,8,17             133:15 139:5
    134:5,11,12,13     200:22 201:1         260:12,22              189:2 191:21
    134:15,18          203:24 204:1,2       265:20,23              192:2 194:7,8
    135:4,7 136:4      204:3,7,25           266:12,17,18           194:13
    137:1,9 138:7      205:8,13,20,20       267:4,9,10                   l
    139:2,23,25        205:21,24,25         268:1,5
                                                                 l 35:5,7,11
    140:6,12,17,20     206:5,7,9,9,11      knowable
                                                                 labor 252:8
    140:23,24          206:25 210:23        191:1 193:22
                                                                 lack 47:3 73:10
    142:24 143:25      211:25 213:13        193:23 194:1
                                                                   155:17 202:13
    145:7,8,10,21      213:20 214:7         194:10
                                                                 ladder 51:22
    145:24 147:21      214:17,18,20        knowing
                                                                   52:4,5,9
    147:22 150:7       214:23 215:2,8       120:24,25
                                                                 ladders 84:22
    151:12 152:10      215:10,14,20         176:12
                                                                 lady 198:22
    152:11,13          215:22 217:17       knowledge
                                                                   241:19 243:18
    156:5,8 157:1      217:19 222:2         17:23 26:19
                                                                 lane 216:13
    159:5 161:7,16     224:14 226:6         40:4 61:24
                                                                   217:5,13 218:2
    161:20 167:7       227:9,10,14,16       69:5 75:21
                                                                   218:3,6,9,10
    167:10 170:22      231:5,16,18          106:14 117:17
                                                                   219:10,15,20
    172:20,21,24       232:11,11,22         139:2 157:5
                                                                   221:18 223:11
    176:13,15          233:4,6,11           181:25 184:7
                                                                   223:21,23
    177:10,11          234:8,9,9            191:14,20,22
                                                                   226:11,20
    180:7,8,9,13       236:6,11,13          193:4,6 194:11
                                                                   227:3 230:3,22
    181:1,2,5,8,13     237:5,17,19          214:14 240:17
                                                                   231:1,14 232:5
    181:23 182:23      238:2,7,13,23        242:9
                                                                   232:6,13
    185:3 186:22       239:17,18           known 10:2
                                                                   233:24 234:7
    187:16,18          241:12 243:13        91:1 138:10
                                                                   235:13 236:19
    188:15,25          243:14 244:6,8       140:9 142:4
                                                                   269:11,21,25
    189:25 190:8       245:1 246:18         168:1,3 194:13
                                                                   270:3 271:8,21
    190:11,12          246:21,25            195:7 235:1
                                                                 language 56:13
    193:7 194:23       247:7,13,14          246:15 247:3
                                                                   79:24 80:25
    194:25 195:3,4     248:16,17,20
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 319 of 366




 [language - legitimate]                                                   Page 40

    132:24 133:7       93:24 97:1,11         213:1,9,12,23         247:16 248:24
    134:4,18           97:16,19 98:12        229:16 231:18         252:23 254:11
    191:21 194:11      99:2 100:5,24         238:24 239:22       learning 25:22
    246:18,20          101:8,14              240:20 242:16         54:25 55:13
    247:6,23 248:7     102:23 103:2,3        248:13 250:21         56:10 61:17
    250:20 252:22      103:9 104:2,12        257:12,24             81:6 87:4
    253:2 254:23       106:14 109:14         258:14 260:25         93:14 119:23
    255:3,10,19        111:21 114:25       lawsuit 68:12           120:2 203:18
    258:10 262:15      116:23 117:4        lawyer 112:2            204:18 230:16
    264:13             119:12,13,16        lawyers 164:17          254:12 255:2,2
  laptop 210:20        121:19 145:4,5      lead 47:4 83:7        leave 11:12
  laredo 238:7,9       145:6,9,9             147:5,19              19:2 48:23
    238:14,18          151:20 153:16       leading 24:6            83:8 138:21
  large 25:18          154:1 155:13          193:7 243:7           150:6
    26:21 47:5         155:16,21,22        leads 124:16          leaving 16:23
    48:4 128:22        155:22 156:4        leafy 71:3              138:18 241:2
    138:10 141:23      156:11,25             72:22 74:17         led 47:1 104:22
    141:25 143:13      161:4,4,5,6,7,9       75:10                 124:8 184:12
    144:5              161:11 168:1        leake 90:6,7,8          234:5
  larger 122:18        172:12 179:7          90:20 164:22        lee 28:10
  largest 262:21       182:10 183:8,8      leaky 90:6            left 10:25 22:18
  laser 265:22         184:3 186:15        learn 12:14             45:14 108:4,5
  late 86:5            187:15,16,17          24:20 47:24           219:19 221:22
  laugh 135:15         187:20,22             54:22 55:2,7,7        223:9,16
    249:21 260:9       189:16 190:12         55:8,22 115:17        226:13,18,19
  law 1:21 2:20        197:13,17,19          117:9 119:15          227:3,23 232:5
    12:13 33:23        197:22 198:1,1        120:18 151:12         243:2
    38:7 39:13         198:6,7,8,10,15       199:13 238:20       legal 197:1
    40:10 42:20        198:15,17,18        learned 26:13           275:23 276:23
    43:17 47:21        199:11 200:18         26:19,22 27:1       legalize 71:19
    49:4 51:23         202:4 203:8,9         55:16 58:23         legalized 50:13
    55:2,6 71:17       203:9,11,12,14        117:11,12,13          71:18
    71:20 78:20        203:15,20             117:14 120:7        legitimate
    82:16 88:3         204:10,13             169:17 205:14         137:1
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 320 of 366




 [legitimately - local]                                                     Page 41

  legitimately        lied 132:8               226:24 227:6,7        245:22
     140:1            lies 131:23              227:13,17,24       listen 77:21
  length 211:4        lieutenant               227:24 228:3,8        148:5 212:7
  lengths 221:19         24:24,25 30:23        228:21,22             254:6,18
     221:19              31:1 53:5,7           229:24 230:4,5        255:18
  lens 214:24         life 36:2 135:16         230:11 231:11      listening 10:10
     215:1 270:8,9       252:21 253:21         231:23,25             184:5 252:12
  lenses 209:13          255:7                 234:3 235:7           254:1 256:6,11
  leonardo 21:25      light 34:17              277:4,7,10,13      lit 231:20
  letter 35:5            72:10 196:5,5         277:16,19          litigation 68:14
  letting 46:14          196:7,8,9,14       lines 219:16          little 44:19 45:4
  level 52:16            197:3,4,7,8           224:7,16,18           45:6 50:18,22
     79:18 81:3       lighter 72:10            225:22 226:2,5        58:11,15 63:4
     91:3 107:9       lights 85:22             226:9,14              65:10 72:21
     121:8 146:17        102:15 240:8          233:24 269:21         73:9,18 74:1
     146:18 151:10       241:17             link 46:7,8 51:8         75:10 76:17
     152:8 168:12     liked 253:13          lips 74:21,23            77:18 78:19
     188:12 254:24    likely 175:25            80:9 133:21           79:7 82:2
     255:19           limit 41:14              264:5                 83:17 91:24
  levels 257:21          221:24 266:2       liquidate 21:7           136:6 159:5,12
     262:22           line 7:3 10:21        liquidated               173:7 182:20
  liar 131:25            10:25 11:1,2          19:18                 185:10 199:5
  liars 130:7,7,12       92:7 120:4         list 28:6 38:16          202:16,19
  license 26:10          131:2 217:2,4         154:21,25             224:20 237:1
     33:13,17 48:19      217:25 218:12         155:9 157:7        lives 63:18
     86:4 101:22         218:20,24             167:12,14          ljr 239:8
     108:2 118:6         219:5,6 220:8         186:12 250:6       load 26:8 84:24
     147:13 232:25       220:12 221:20         256:4              loaded 125:18
     233:11,14           221:21 222:20      listed 22:25          loads 26:22
     242:10              222:20 223:9          157:7 160:4,9         45:21,22 62:24
  lidar 265:19,21        223:10,16,16          160:13 164:15         125:18 142:1,2
  lie 131:22             224:15,23             165:9 172:2,18        253:8
     134:6,7 255:22      225:2,24              175:4 176:24       local 89:1
     255:23              226:18,19,23          187:10 189:16         120:6
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF         Document 97-6     Filed 02/07/25   Page 321 of 366




 [located - ltr]                                                                Page 42

  located 229:4             174:3 178:8           234:17,18,19          116:21 119:5,8
    230:13 239:9            182:2 183:1           234:23 236:18         124:7 127:17
  location 138:14           190:5,6 193:9         256:24 268:9          127:19 129:6,8
    213:18 223:22           195:5 198:24          268:17 270:11         132:4,7 133:24
  login 109:3               201:25 202:13       looks 11:22             135:13 138:15
  long 14:11                204:2 215:2           75:10 214:23          138:15,25
    18:20,24 49:9           216:14 219:15         268:4                 139:15 140:15
    54:6 55:15,25           233:5,6 239:1       loose 61:15             140:22 141:24
    63:7 68:18              246:9 249:12          126:5                 141:25 156:22
    83:3 94:14,16           251:3,16            lose 10:2 86:5          157:2 158:18
    125:21 132:4            255:21 256:2          86:25 247:20          167:8,24
    150:16 181:22           258:3,15,17           254:6                 181:22,24
    215:9,10,14             259:16              losing 258:11           199:19 200:19
    250:17 255:25         looked 32:19            258:12                200:20 207:4
  longer 16:20              32:22 99:3          lost 20:20              209:8 213:14
    195:22                  104:24 161:13         252:21                213:24 230:10
  look 7:20,22              200:9 201:4         lot 10:24 17:16         231:4 234:13
    18:16 28:3,12           236:6                 21:24 22:3,11         240:14 246:16
    30:5 31:17            looking 7:2             22:11 24:2,5          246:20 247:10
    33:18 38:13             10:1 45:10            25:13,14,25           247:12,22
    45:25 49:11             56:25 62:21           26:12,13 29:18        248:23,25
    55:24,25 58:3           84:15 86:17           30:1 33:15            250:9 252:23
    63:12 70:7,7            87:23 96:2,3          40:10 42:24           253:15,23
    84:19 89:24             103:19,23             43:23 45:13           255:6 258:7
    91:24 95:21             109:23 122:25         46:18 49:2,4        loud 221:6
    110:3,13                133:3,4,5             55:18 56:9          louder 259:9
    112:17 121:10           138:7 154:19          58:1,14 64:9        love 34:14 63:2
    132:11,13,21            162:25 172:15         64:11,13 69:23        63:10,14,15
    133:23 136:6,9          189:20 194:14         71:3 73:5,7,13        94:20
    137:11 144:15           197:11 201:13         79:23,25 85:21      loved 34:12
    145:6,25                207:14 214:25         87:4 94:1           low 261:25
    150:20 153:9            226:3 227:12          102:13 104:21       lp 239:7
    159:11,15               227:12 231:7          107:23 108:7        ltr 242:12
    161:23 173:1            232:14 233:14         110:1 112:12
                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 322 of 366




 [luck - march]                                                            Page 43

  luck 48:9           199:2 200:2,4         245:23 253:8          252:9,17,18
  lucrative 58:24     200:7 201:17          254:18 260:22         265:5 268:2,7
  lunch 7:9 92:7      201:21,25             261:9 262:15         makes 36:17
    100:15 142:14     202:10 206:22         278:5                 41:7 49:12
    152:24 153:1,4    207:17,20,23         magnet 264:14          62:22 64:20
    153:7             208:11 210:6         main 175:8             104:24 105:20
  lying 130:6         216:2,22 217:7       maintain               119:9 124:6
    249:14,15         217:20 218:4          217:13 219:10         133:6,10 139:6
    260:4             218:10 219:8          230:3,22 234:7        180:14 188:15
          m           219:11 220:23         271:7                 199:22 235:9
                      223:4,18             major 26:17           making 176:10
  m 2:3
                      225:14,16,20          141:20,20             180:15,20
  ma'am 18:10
                      225:25 226:21         142:7                 189:3,5 236:23
    31:16 32:5
                      227:1 228:5,19       majority 21:9          254:17 255:10
    135:2,2,13,13
                      229:1,5,11,20         31:20 64:24          male 84:9,13
    135:17,17
                      234:1,4 235:15        125:1 127:24         man 40:24
    143:17 144:7
                      236:3,25              138:3 139:1,21        59:17 68:20
    144:14,21,23
                      238:22 239:3         make 7:6 9:1           86:9 136:4
    149:24 151:7
                      239:10,24             11:19 37:15,15        198:20 206:9
    153:19,22
                      241:15 250:2,5        48:10 52:20           260:22
    154:20,24
                      250:9 251:1,18        55:20,20 57:20       man's 41:1
    155:3 157:13
                      251:21 256:18         65:7 66:22           managed 46:6
    157:24 158:7,9
                      262:11,17             68:23 79:1           manipulated
    159:6,17,24
                      263:18,20,23          84:19 90:22           208:14,15,21
    160:11,14,15
                      264:18,20             96:22 123:8           208:23 209:2,5
    160:18 162:2
                      267:21                129:17 131:13         211:12
    162:23 163:24
                     machine 1:21           134:1 142:18         manipulation
    164:10,13,20
                     made 32:20,24          144:8 166:5,15        208:6 211:15
    165:8,12 168:7
                      45:9 67:23            166:23 192:25        manner 91:18
    170:4,13
                      113:13 147:23         198:11 200:16         188:2 266:18
    171:10,13,25
                      161:8 163:8           202:12 204:2         manual 98:7,8
    175:3 182:5,7
                      168:20 169:16         214:7 230:8           98:24
    182:13 183:23
                      173:24 191:3          232:10 235:2         march 96:4,5,9
    185:1 191:5,8
                      194:9 200:23          240:8 241:17          97:2,7 100:17
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 323 of 366




 [march - media]                                                           Page 44

   100:24 207:22     match 83:22              67:12,15,18         188:24 191:12
   242:24 243:4       85:3                    69:2 71:10          192:21 193:23
  marijuana          matched 108:5            73:12,19 75:1       197:2 200:24
   50:12,14 69:16    matches 83:3             76:7 77:2           201:3 204:9,10
   70:21,22,24,25     83:17,25 85:11          79:13,19 81:11      204:11,13
   70:25 71:3,4,8     101:19 224:12           81:18 83:13         205:13 213:9
   71:13,24 72:4     matching 85:2            85:15 87:3,16       213:11 214:25
   72:8,22,23,25     material 96:24           87:21 88:6,6        215:21 217:18
   73:13,16 74:5      205:20                  89:13 91:2          219:23 221:6
   74:14,19 75:4     materials 3:15           93:2,8 94:24        223:1 226:1,4
   75:11,24           95:9 187:13,14          95:5 96:4 98:6      226:19 227:6
   140:25 178:1,6     199:17 246:13           99:12,16 100:4      231:22 232:21
   179:2,9 180:23     251:20                  100:18 103:12       233:1 237:11
   181:1,9,10,14     matter 4:8 14:7          104:10,13,20        247:22 249:11
  mark 13:21          35:21 36:1              104:21 105:4,9      253:13 257:15
   60:16 62:12        87:14 90:11             105:12,21           258:8 266:11
   91:10,12           133:8,9 250:23          108:10,23,25        268:1,5,21
   210:14             250:25                  108:25 109:22      meaning
  marked 3:17        mattered 172:8           110:4,4,9,21        194:10 249:18
   9:14 11:14,16     matters 15:1             113:17,20          means 5:7,22
   13:23 14:3         16:2 75:25              116:24 117:1        53:12 60:23
   153:10 160:20      76:1 87:13              117:15 119:22       118:21 127:19
   161:24 162:13      111:2,3 198:5           122:22 126:4        141:12 171:1
   164:3 210:14       199:15,16               128:5 135:22        249:16 260:4
   210:16 216:13     mcallen 21:13            136:23 141:11       267:13
   251:6,8 271:21    mean 7:1 20:15           144:2 149:25       meant 97:8
  market 25:14        30:2 34:14              151:9 152:20        103:17 104:14
  marking             46:2,3 47:9,12          156:8 166:19        143:4 148:6
   269:21             47:25 49:25             169:22 170:13       182:16,25
  markings 84:21      50:11,16,23             171:17,18           223:2
  marshals 20:2       51:17 54:20             174:18 175:17      measurement
  martin 1:6 2:18     55:1,2 60:5             175:23 176:21       265:19
   159:21 274:6       62:19 63:7,12           177:1 180:2,4      media 109:1,12
                      63:13 65:24             180:22,23           113:12 115:8
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 324 of 366




 [media - misspelling]                                                     Page 45

   129:16            merry 32:21            59:23,23,24          mine 111:12
  median 101:18      message 111:7          71:2 125:15          minus 105:7
   270:2              111:9 165:12         mexico 48:6           minute 31:9
  medication          184:14 239:19         49:14 58:23           57:14 100:10
   8:14              messaged               70:11 142:9           126:8 154:3
  meet 154:8,10       112:2                mid 27:7,9,10          162:5,9 163:7
  meeting 89:25      messages 165:9         27:11,11 42:4         207:18,21
   137:21 138:1       165:13,17,20          208:8,21              208:7,16,19,20
   248:12             165:22,23            midatlantic            208:20,22
  member 67:6         239:18                276:15                209:5 211:8,15
   111:16,17         messaging             midlevel 26:14         211:17,19,19
   242:16             112:18 113:7         midway 252:7           211:20,23
  members 45:18       239:6,15,22           256:2                 212:1,3 265:2
  memory 33:8         243:2                miles 101:25          minutes 4:9,19
   35:5 68:17        messed 100:20          102:1 131:3,14        4:22 35:1
   102:7 177:25      met 4:9,17,21          216:11 221:23         56:16 126:3,5
   186:14             89:15,17,23           222:16 236:7          126:6,6 142:17
  mental 252:8        111:12,13,17          267:11                148:19 150:19
  mention 175:25      111:21 138:19        millimeter 40:7        182:21 211:20
   177:9              244:5                million 22:2           212:2,7,8,8
  mentioned          meta 109:2            mind 33:12,14          221:5
   41:18,23 42:5     meth 82:8              33:16 35:8           mirror 232:15
   161:7 172:19       85:10 140:8,10        41:13 68:19          misdemeanor
   184:9,10          methampheta...         92:2 124:18           266:15,16
   195:20 199:7       69:16 180:3           135:4 138:6          mispronounce
   204:11 214:18     method 51:13           146:17 147:4          10:24
   228:11 240:23     methodology            147:17 148:1,4       misread 258:4
   240:24 249:21      173:17 185:9          148:23 151:16        missed 98:25
   265:12             188:13 189:8          158:25 160:20         247:19
  merchandise        methods                182:14 197:10        missing 243:19
   45:22 62:25        255:13                220:15 221:1         mission 63:23
  mere 85:22         mexican 23:16          247:8,12             misspelling
  merely 35:23        24:4 26:12,20        mindset 36:20          143:4
   239:20             48:4,17 50:11
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 325 of 366




 [misspells - necessarily]                                                  Page 46

  misspells 144:1     money 21:7            moved 24:17           narcissistic
  mistake 97:9         48:10,15 49:14        228:8 241:21           131:25
   160:7 164:6        monikers              movements             narcotic 15:1,2
   252:9,17,18         141:18                133:5,5                24:11,13 29:13
   254:17 260:22      monitor 109:11        movie 21:19,25          30:13 89:19
   261:9              monitoring            movies 40:17            91:2 105:16
  mistaken             108:24 109:24        moving 218:1            109:8,10 139:3
   157:17,18,20       monkey 184:17          267:17                 199:20 201:14
   158:21 174:16      monotonous            mueller 1:22            201:16
   174:17              65:6                  2:15                 narcotics 23:20
  misunderstan...     month 61:8,9          mule 48:14,24           23:22 27:24
   197:25              61:10                 48:24 57:20            28:1 30:16
  mixes 180:8         months 17:8            58:3,3,5,12            33:24,25 46:19
  mobile 39:22         61:5                  82:17                  52:23,25 53:9
   39:22 41:18        morals 63:16          mules 48:13             53:21 200:14
   42:12,18 44:1      morning 4:5,6          57:19 125:16           241:9
   212:23,25           8:16,25 93:22        multiple              narrow 114:22
   229:17              167:24                155:10 164:15        nation 20:4
  mode 51:15          motel 51:4             200:21,24            nationals 59:23
  model 235:2          117:23 118:15         242:18               natural 6:16
  models 214:15        184:2 191:23         municipalities          139:9 142:18
  modes 68:6          mother 84:4            71:19                nature 39:13
  molestation         mount 40:9            muscle 102:6            68:3 93:25
   192:10              264:14               musk 215:21             117:20 135:4
  molina 1:6 2:18     mounting                     n                136:16 174:14
   5:4 159:21          209:10                                       184:3 191:24
                                            n 2:1 4:13
   160:1,2 177:25     mouse 87:25                                   194:12 233:12
                                            name 4:7,12
   178:13 184:22      mouth 134:14                                  250:20 261:7
                                             5:1 10:24 70:3
   185:18 186:8        260:8 264:4                                  267:12 272:21
                                             91:11,18 116:5
   192:4,7,7          move 41:17                                  natures 130:19
                                             163:25 185:19
   240:13 274:6        46:9 65:8                                  nearly 100:9
                                             237:21 250:13
  mom 63:5             136:14 184:23                                142:13
                                             250:14
   84:11               185:4 235:19                               necessarily
                       248:9                                        15:14,23 51:23
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 326 of 366




 [necessarily - numbers]                                                   Page 47

    83:20 140:20       134:20 135:15       nodding 5:24          northern
    159:3 199:9        194:12 249:21       noises 256:5           126:21
    203:5,19 233:1     260:9 264:7         noncriminal           nose 134:15
    237:17 238:9     nervousness            132:18               notary 274:15
    255:3 257:15       104:19              nonexistent            275:5 278:13
    266:22 267:9     network 53:20          229:14,21             278:19
    267:12             238:16              nonstressful          note 9:6 11:6
  necessary          networking             135:25 261:21         276:10
    66:13,15,16,17     106:24 107:5        nonthreatening        noted 278:7
    278:6            never 4:25 32:8        134:22 136:15        notes 9:15 68:6
  need 5:22 12:9       34:8 35:11           137:6 261:20          68:9
    19:20 21:3         36:15 38:6          nonverbal             notice 5:8
    23:16 24:19        87:8 89:15           262:9,22             noticeable
    44:10 47:24        108:21 110:25       nope 138:2             135:10 222:19
    48:10,14 56:5      111:17 121:4        normal 43:9            228:16 264:3
    68:13,14 72:12     122:21 123:3         86:25 101:3,3        noticed 235:22
    75:22 77:20,21     135:15 140:9         104:15 119:19         236:4,16,17,18
    77:22 78:11        158:11 206:9         134:19 139:16        notoriously
    87:10 92:22,23     222:16               140:10,11,16          22:20
    136:25 146:10    new 24:10,16           150:18 188:15        november
    147:9 162:3        30:13,15 45:13      normally 73:7          14:18
    192:14 248:8,9     45:22 50:12          143:6                number 3:9,18
    249:3              78:22 98:21         north 2:10 24:6        33:17 48:20
  needed 23:11         153:20 161:4         48:22 50:10           54:15 55:10
    28:17,18 34:2      161:15 187:16        60:1 97:3             84:15 108:2
    35:24 91:18      news 177:7,19          108:4 120:3,4         126:24 127:4
    246:8            nice 86:19,23          126:10 131:1,3        174:4 207:2
  needing 174:16     night 85:15            131:14 133:16         216:12 251:4
  needs 55:17          93:21 129:19         140:1 241:22         numbered 1:18
    72:11 86:6         140:14 147:24       northbound             251:22,25
  neither 275:12       242:13               129:21 141:9         numbers 11:20
  nervous 85:14      nights 24:25           227:4 232:6           96:16 111:13
    85:16,18,21,23   nine 29:4 183:6        239:8 241:5           111:22 149:3,6
    86:23 133:20                                                  149:7
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 327 of 366




 [numerous - officer]                                                      Page 48

  numerous           observed 61:11        occur 71:7              100:4 166:11
    220:12 250:12      101:2 216:8           138:25 233:10         166:20 167:20
    266:17             220:1 222:20        occurred 113:7          186:15 187:25
  nutshell 27:3        224:12 232:9          129:10 169:22         190:2,3
    68:1 72:2          243:5 245:11          169:23 271:23       office's 99:3,11
          o            245:24 270:5        occurring             officer 15:25
                     obtain 42:2             240:22                23:6,19,21,25
  o 4:13 250:15
                       44:9 98:4           occurs 49:15            28:14 37:4
    250:16
                       144:18 157:14         257:12 260:8          40:5 43:10
  oath 5:14,16
                       158:15              october 14:17           44:24,25 45:7
    176:16
                     obtained                14:17,19              45:24 46:13
  objection 6:25
                       158:14 187:20       odd 19:7 33:4           47:8 49:11
    7:2 99:14
                     obtaining 77:6          36:4                  54:19,19,21
    103:5 127:7
                     obvious 106:11        odds 83:4 89:4          55:13,15,22,23
    178:22 194:20
                       131:9,10,11           134:10 161:10         55:24 56:3,9
    195:1,15
                       232:16              odor 71:1,4             56:25 60:20,24
    196:11 197:18
                     obviously             offense 230:3           61:4,6,12,14,20
    198:3 211:13
                       13:24 23:19           230:24 234:6          61:23 62:1,9
    215:7 269:7
                       28:7 36:19            235:18                62:23 64:20,21
    271:9,16 272:1
                       40:1,15 46:4        offenses 216:6          64:22 65:8,11
    272:10
                       51:19 66:17           216:8,9               65:22,23 67:5
  objective
                       90:6 99:15          offer 15:13             68:6,13,18,19
    172:10 193:17
                       107:18 116:14         215:16                71:8 72:3,24
  objectively
                       152:10,20           offering 12:19          73:2,12,16
    190:24 192:22
                       156:11 168:15       offers 239:20           76:19 77:17,17
    193:9,15
                       208:15 216:10       office 10:6 13:7        78:11 79:7,18
  observation
                       226:11 232:23         15:20 16:18,21        81:12,18 83:4
    180:24
                       232:23                16:24 18:19           83:7,14 84:24
  observations
                     occasion                19:3 22:19,22         85:25 86:6,10
    170:3 173:2
                       219:22                23:2,6,8,10,17        86:16,21 88:7
  observe 114:7
                     occasions 15:7          23:20 24:9,11         98:15,15
    114:14 236:13
                       115:7 220:12          24:13 27:22           101:24 104:23
    247:25
                       242:18 262:1          30:14 89:11           105:24 106:7
                       264:6                 91:6,14 99:8,9        106:23 110:13
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 328 of 366




 [officer - okay]                                                           Page 49

    112:3 113:3       201:10 204:23           191:2 192:18          143:22 145:22
    115:25 116:23     205:11 213:13           194:1 196:20          145:24 158:4
    117:24 118:14     216:5 217:1,12          202:19 203:17         159:2 161:15
    119:11,18,21      219:3 236:10            203:18 204:6          164:5 172:7
    119:22 121:8      236:13 238:24           204:18,22             203:3 210:4
    121:19 122:3      248:13 257:24           205:13,15,15          213:8 221:7,9
    127:16 129:11     258:11 265:9            205:23 213:19         222:25 223:24
    129:15,17         274:18                  229:16 233:3,4        231:17 232:16
    130:5,14 132:5 officer's 85:23            234:16 250:21         254:11 260:19
    134:10 135:11     123:22 147:25           252:17 255:1          260:22 263:12
    136:14 137:5,8    148:4 191:17            265:13                268:16
    138:7,22,23       192:5 196:10          offices 1:21          ohio 156:6
    139:4,18,22       196:22                  2:20 21:14          oil 139:11
    140:3 141:14    officers 25:18          official 1:6,7,8        140:1,11,13,18
    143:1,8 144:4     28:20 42:18,24          110:11 153:11         140:21,23
    145:15,24         43:24 44:2,7            248:13 274:6,7        141:8 181:10
    148:14 150:10     44:16 45:2,4            274:8               okay 4:16 5:5
    150:25 151:12     49:8 52:25            officially 91:21        5:13,20 6:3,11
    151:18 152:6      53:9,21 59:11         offsite 241:3,21        6:22,23 7:8,21
    152:18 168:1,3    62:6 65:17            oftentimes              8:4,8,11 10:7
    168:11 172:10     66:10 71:21,23          89:20 112:9,9         10:13,17,22
    179:21 180:1      77:1 78:3,21            114:19,19             11:3,9,11,12,17
    180:24 181:22     78:22 87:23             133:19 145:8          12:8,22 13:12
    188:3 189:2,4     89:10,19 91:3           237:10                13:18,20 14:14
    189:5 190:12      101:16 102:3,7        oh 10:7 11:3            15:3 16:12,20
    190:13,16,23      102:13 107:5            12:13 20:15,23        16:23 17:2,6
    191:10,11,13      109:9 112:8,23          26:6 32:25            17:11 18:8
    192:1,2,16        118:1 120:13            37:21,21,21           19:2,5,11,15
    193:12 195:18     129:24 139:2            59:16 60:24           20:23 22:13,20
    195:21,24         145:9,19 146:4          66:4 86:3             22:25 25:6
    196:3,4,5,14,17   154:11 172:13           93:11 95:15           26:6 27:21
    196:24 197:3,6    179:9,15 188:6          103:22 109:7          28:20 29:8,13
    198:6,7,9,15      188:20,20               116:6 131:5           30:23 31:5,8
    199:8,9,10        190:21,23               137:9 139:14          31:15,21,25
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 329 of 366




 [okay - opening]                                                          Page 50

    32:5 36:25         109:16 112:1           181:19 182:2         250:8 251:2,24
    38:5,9,14,25       114:14,25              182:14,18            252:1,5 256:20
    39:3,6,15,20       115:21 117:3           183:5,25             257:13 260:19
    40:5 42:5 43:7     118:17 120:3           184:16 185:2,8       262:8 263:7,16
    43:22 44:19        122:1 123:20           186:14 187:6         264:1,12,16,21
    45:24 47:16,19     125:1 126:6,15         187:12 189:9         264:24 265:4
    48:3,14 49:3       126:22 127:9           190:17 191:9         266:3,25
    49:20,24 50:1      128:4 136:10           192:21 193:16        267:14 268:21
    50:6,15,18         137:16,20              194:14 197:10        268:24 271:4
    51:11 52:19        143:6,16,18,20         197:16 200:5,8       272:4,7,15,24
    53:9 54:1,4,11     144:8,24               201:18,22          old 40:9 71:2
    54:18 55:12        145:16 146:13          202:1 203:4          94:11 98:23
    56:2 57:4,12       149:10,16              206:23 207:24      olg 1:5 274:5
    58:14 59:22        150:15,20              209:9 210:4,9      omission 160:7
    62:14 66:14        153:20,23              211:3,5 213:5      once 32:16
    67:8,14,19         154:17 155:4,8         214:1,14 216:9       59:11 60:19
    69:3,9,20 70:6     155:12 157:14          216:14,17            61:12 62:24
    70:20 72:6,8       157:22,25              217:8,21,25          66:3 134:23
    72:16 73:3         158:4,16 159:8         218:8,11,17,25       139:23 142:17
    76:21 77:7,14      159:11,13,14           219:9,21             147:8,19
    78:17 79:23        159:21 160:3           220:20 221:11        185:17 186:4
    82:2,14,20,22      160:19 161:23          222:2,5,5,12         187:22 230:5
    82:24 83:10        162:17 163:5,9         223:5 224:2          236:17 248:6
    84:1 85:1,13       163:19 164:7           226:15,17          ones 142:10
    88:4 89:7          164:17 165:5           227:2,9 228:1      ongoing 240:21
    91:20 92:19        166:19 167:17          228:23 229:25      online 19:23
    93:18 94:2,10      168:4 169:8            232:7,18             20:8 22:6
    94:19,21 95:8      171:2,14,23            233:20 235:20        156:3 202:7
    95:19,21,23        173:10 174:3,4         237:1,3,25           205:25 207:5
    96:1,22 97:16      174:10,21              238:5,7,20,23      open 25:13
    99:1,6 100:12      175:2 177:13           239:13 242:4,4       272:18
    100:13 102:20      177:19 178:8           243:11 245:9       opening 89:22
    103:13 105:21      178:25 179:3           245:14 246:1         264:4
    106:17 107:8       179:17,20              247:15 250:3,6
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 330 of 366




 [operate - page]                                                          Page 51

  operate 181:25       215:17 220:11       oriented 46:13        pace 236:9
  operated 29:5        221:21 228:1        original 40:6          266:7,7,8
    188:19             228:20 229:15         128:10 274:21        267:19
  operates 47:21       230:3,7 232:12      originally            package 51:5
    192:6              233:21 240:19         186:23 244:1        packed 126:16
  operating            264:23 271:14       originated            page 3:9,18
    52:17              272:8                 118:14               10:19 11:19
  operation          opinions 12:1,4       ounce 51:24            31:12 92:2,12
    269:11             90:17 153:13        outcome                95:25 96:2
  operations 27:1      154:6 161:11          275:16               109:2 121:23
    30:11              197:13 270:15       outlined 242:1         142:22 144:10
  operative 46:21    opportunity             242:6                144:11 149:2
  opinion 12:20        12:18,22,25         outside 15:12          149:11 153:11
    15:13 16:2         13:12                 78:23 80:2,4         153:11,12
    79:21 90:4,10    opposite 40:23          183:14 197:7         154:17,19,22
    91:22 96:18      options 150:9           268:11               154:22 157:7
    101:11,13        oral 1:12,16          overall 199:3          158:22 159:11
    103:20,25          274:11,19           oversaw 54:5           160:13 162:22
    106:15 114:3     order 72:7            oversee 52:23          169:9 170:2
    115:4 128:12       131:19 144:18       overtook 10:24         174:4,5 178:8
    146:19 150:14      149:21 150:13         223:8                182:2,15
    153:21,25          156:10 190:24       overview               184:16 187:10
    155:1 163:3        192:14 193:14         169:19               190:17 197:10
    164:19 165:7       198:8 212:4         own 34:2 61:13         198:23,24
    165:14,15,23       246:25                62:20 129:5          199:24 201:14
    168:8 170:3,19   orders 187:2            205:14 247:24        206:12,14
    172:17 176:7     organization                  p              207:13 215:25
    176:10,22          45:16 46:7                                 216:14,17
                                           p 2:1,1
    177:17,23          48:7 52:10                                 221:11 223:7
                                           p.c. 1:22 2:14
    185:12 190:7       122:25                                     225:12 229:7
                                           p.m. 1:19 153:1
    195:6 197:17     organizations                                239:1 242:3
                                             153:2 162:10
    198:11,12          53:16                                      245:22 246:9
                                             162:10 246:5,5
    208:4,12         organized                                    251:16,17,17
                                             265:7,7 273:11
    211:14 214:12      45:18                                      251:25 252:3,5
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 331 of 366




 [page - passing]                                                          Page 52

   252:7 255:21       197:12 199:24         169:25 170:24        particularly
   256:20,21          202:4 206:13          171:19,22             14:25 85:24
   258:21,22          206:15 207:14         175:5 203:17          211:19 212:16
   259:16,24          208:3 216:15          221:2,2 224:19        235:4
   261:4 262:8,9      216:15,20,21          229:18 245:2         parties 274:24
   263:9,11,12,13     221:14 222:6          252:12 260:10         275:13
   263:16 275:8       222:11,13            participant           partner 34:20
   277:4,7,10,13      223:6 225:13          34:21                 165:17
   277:16,19          225:13,15,17         participate           parts 7:25
  pages 10:2 23:1     226:11 228:14         37:21                 203:10
   154:25 162:4       229:8 239:2          particles 72:21       party 275:3,11
   165:10 251:22      246:10 256:21         73:18 74:2           pass 61:12
   251:23 256:3       257:5 262:13          76:2                  120:21 126:7
  paid 16:11,14       262:21 263:9         particular 7:13        126:19 127:19
   32:24 57:25        263:17                17:24 24:21           272:22,25
   88:20 116:10      parcel 51:5            29:7 54:3            passed 125:18
   117:10            parentheses            67:22 104:18          125:19 218:12
  paper 94:3          160:6                 108:17 117:23         220:9,14
   98:24             park 44:8              145:1 148:21          221:17,22
  paragraph          parked 101:18          151:11,14             223:23 227:7
   92:11 106:20       217:22                152:9,22              228:6 230:19
   121:23,24         part 7:10 21:1         156:20 161:2          230:22 233:21
   137:11,12          21:19,21 23:9         179:18 181:3          270:23
   142:22 144:10      28:19,21,24           189:3,7 191:16       passenger
   144:11,16          30:12 41:6            191:25 192:19         40:16 116:9
   148:11,25          42:20 43:13           193:11,14             147:20
   149:1,10,12        67:24 79:1            195:18,19,25         passes 101:18
   150:20 153:12      82:21 83:3            196:16 207:11         219:14,16
   158:22,25          96:11 103:10          228:5 236:20          231:12,13
   159:2,3,4          114:25 115:1          244:6,19             passing 217:3
   178:9 182:3,9      122:23 144:13         245:10 248:8          220:13 222:16
   182:15,23,25       145:7,8 156:17        257:16 260:7          222:17,18
   183:2,6 184:17     160:7,7 166:18        271:3                 228:13 234:2
   190:18 197:11      167:5,15                                    236:5,8 265:16
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 332 of 366




 [passing - person]                                                        Page 53

   265:25             paying 43:2,11         127:4,6,25     persistence
  passion 64:7        pays 16:10 45:8        128:21 129:6     64:23
  passionate            80:16                130:11 131:22 person 36:13
   188:21             pd 23:13 89:5          133:10,24,25     36:14 37:22
  past 89:23          peace 60:20            138:3,15         46:15 51:24
   105:3 151:18       pen 94:3               139:21 140:17    57:5 62:17,22
   152:13 208:17      people 20:5,11         140:20 142:6     65:3 67:25
  pat 249:2,3,5         21:10 23:25          143:13 144:6     68:11 72:19
   253:25 254:7         26:23 28:18          160:9 180:6      80:15,20 81:13
  path 205:19           34:24 35:2           188:18 192:15    83:24,25 85:2
  patrol 24:17,25       37:3,10,14           203:14,25        86:1,2,17,19
   30:23,25 40:9        38:1 44:23           204:1,15 231:4   113:2,20,21,24
   43:4,5 44:9,25       48:6,7,8 49:17       231:5 246:21     113:24 114:10
   81:9 127:14          49:18 50:2           247:13 250:22    115:19 116:1
   163:18 174:8         52:2,9,10,16,16      253:19,24        121:16 129:20
   177:22 183:10        53:23 54:6           254:7 256:5      130:6,20
   183:21 191:13        55:18 56:16          258:6 261:24     131:25 132:6
   191:17 192:2         58:21,24,25        people's 188:21    134:8,9,19,24
   222:17 232:15        59:21 62:25        perceived          136:8 138:19
   270:6,10             63:17,18 69:17       151:5 197:20     139:24,25
  patted 78:10          69:22 74:22        percent 127:5      141:16 150:4,4
  pattern 120:2         75:5,6 76:16         188:18           150:13 154:4
  patterns 56:14        76:25 77:20,24     percentage         181:9 202:7
   79:24 80:25          85:21 93:16          125:5 126:25     224:9 237:15
   119:23 242:18        105:1,23             206:17           244:17 246:18
   247:6,23             107:20 108:11      perception         247:24,25
   252:22 253:3         113:23 115:8         235:11           248:12,17
   255:3 260:9          120:15 122:16      perfect 117:21     253:17,22
  pause 226:15          122:21,22            117:25           255:9,16
  pay 37:14             123:1,2,4,6,13     perform 190:10     258:13,16
   42:25 45:3,4         123:17 124:8       performing         260:4 261:3,18
   59:11 83:20          124:12,22            103:8            261:19 264:7
   253:14 254:5         125:1,5,10,13      period 18:25       265:24 266:1
                        125:15,16                             270:10
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 333 of 366




 [person's - police]                                                        Page 54

  person's 68:7        phrase 69:12         pitch 259:7           play 66:7
  personal 64:5          173:20 212:23        260:2,6,19,23       played 40:13
    77:16 115:4          225:21 227:5         261:15,22             128:11,15
    130:21 213:6         269:17               262:4               plays 128:10
    214:12 231:6       phrasing             pitches 261:2           129:22
    256:10               103:16 269:15      place 48:19           please 5:23 6:4
  personalities        physically 35:1        77:19,19              6:12 67:8
    62:5 192:13          74:21                120:13 175:13         220:18
  personally 38:3      pick 20:5 21:10        217:21 241:3        plus 200:17
    63:20 89:15          37:17 40:21        placed 122:17           257:21
    225:8 267:24         48:18 66:1           264:14              point 7:24 24:2
  perspective            83:7 90:1          placement               24:8,23 26:11
    79:13 195:17         128:21 134:5         42:22 43:11           26:17,21 39:3
    196:15 213:16        135:24               44:7                  41:3 46:10,10
    240:4 247:21       picked 21:14         places 48:9             60:17 61:21
  pertinent              21:22                76:19 142:5           105:14 117:1
    170:18 171:8       picks 116:20         plaintiff 1:3,17        144:3 175:15
  pflugerville         pickup 33:1            2:2 4:8 274:3         184:10 205:4
    19:14                122:18             plaintiff's 8:8         214:2 222:24
  phase 46:8           picture 52:5         plan 133:16             244:2,7 245:7
    50:21 51:1,7         193:17               219:2                 269:19
    51:12 54:25        pie 131:19           plane 116:9,14        pointing
    61:10              piece 66:20            116:17 117:19         159:13 256:12
  phone 115:8,13         131:19               118:13              points 86:4
    115:14 117:4       pieces 66:19         plans 13:16             247:20
    183:15 184:14        77:18 195:13       plate 33:13,17        pokemon 22:3
    223:7 231:5,9      pill 70:8,8,18         48:19 108:2           22:5
    231:12 240:1       pills 70:11,13         147:13 233:11       police 21:2
    243:14 244:10        70:14                242:10 265:22         25:12 26:15
  phones 107:4         pin 76:21            plates 101:22           27:7,16 29:20
    256:6              pinpoint 244:6         118:6 232:25          33:3 35:20
  phoning 237:16         244:21               233:14                36:1 41:1,8
  photograph           pipes 74:23          platform 112:7          54:19,21 59:11
    235:2                                     113:7 129:16          61:2,25 65:11
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 334 of 366




 [police - primarily]                                                       Page 55

   72:18 77:8,17        popped 36:5         poster 21:25          preference
   87:23 88:7           popping 135:8       posts 108:19            77:17 78:16
   89:22 112:2          pops 110:12           109:4,20              81:7
   113:3 114:21         port 127:14           110:15              preliminary
   145:24 150:9         portion 158:23      potential               91:21,22
   181:22 189:1          183:11 202:3         240:25              preparation
   190:22,23             206:20 221:24      potentially             93:23
   191:2,10              259:5 262:21         60:5 102:16         prepare 8:18
   192:14,16            portions 179:8        212:5 223:10        prepared 11:24
   194:1 231:20         position 16:6         223:20 231:8        prescription
   234:16 237:5          23:14 77:14          249:11 266:21         70:8
   253:14                87:5 122:3         pothead 75:2          preserve 7:2
  policies 13:7          124:18 152:19      pounds 25:20          president 89:19
   30:18 97:20,24        152:22 196:14        34:23 70:10           89:20 91:2
   98:9,24 99:4          198:9,16           powerdmv                110:8
   100:3 104:3           222:19 230:25        98:10,12,18,23      pressure 135:6
   186:16 187:24         234:11 268:16      powerpoint              135:9
   189:19,21,24         positioning           161:14,19           pretend 85:11
   190:4,9 203:16        213:4,17           practice 62:15          85:17 109:16
  policing 261:10        228:25 231:17      practiced 34:11         109:18,19
  policy 62:2           positions             35:24 204:5         pretty 48:2
   78:7 97:14            231:19             practices               60:2 120:21
   98:4,5,15,16,17      positive 64:16        181:20 190:22         214:13 252:20
   98:19,24 99:10        184:22             practicing 97:1       previous 113:6
   99:11,20             possibility           99:2 100:5            113:6 148:22
   101:10 103:8          124:20               102:23 103:1,3        166:14
   103:11 105:11        possible 66:10        104:12              previously 3:17
   112:20,20             128:20 215:4       precise 219:1           16:16 81:23
   151:17 186:20        possibly 242:21     preconceived            156:4 160:20
   188:1 189:18          243:22               258:9                 161:24 162:13
   190:5,11             post 109:24         preconception         prices 93:16
   204:19 205:17        posted 109:4          256:23              primarily 20:7
  pop 135:7              221:24             prefer 67:21            199:15
                                              255:17,19
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 335 of 366




 [printout - pulled]                                                        Page 56

  printout 3:14        problem 26:1         program 30:21         protecting
    210:22 211:1         40:11 56:5           37:16 61:1,5          110:8
  prior 69:5             63:22 68:16          239:6,15,22         prove 180:10
    106:8,14,16          131:9,10,11        programs                180:23 258:10
    107:17 113:13        257:5,8,11,14        239:20 246:23         258:16
    113:14 117:16      problematic          projects 25:13        provide 164:23
    117:17 124:16        202:18               25:25 26:9            165:2
    128:17,25          problems 205:8       promote 78:22         provided 12:16
    129:14 146:16      procedure 1:23       promoted                96:24 99:5
    182:3 187:4          97:14,17,20          24:15                 153:14 162:17
    194:3,8 239:5        98:4 99:21         promotional             199:19 200:21
    240:16 242:9,9       101:8,10             24:24                 202:5,11
    243:9              procedures           prompt 74:16            206:15 208:4
  prison 17:17           30:18 97:2,12      prompted 75:9           259:20,21
    258:6                97:21,24 99:2      prompts 79:9          providers
  private 163:5          99:4 100:3,5         130:13 199:22         206:18
    202:6,12             100:25 102:24      prop 84:17            provides 38:16
  probable 30:7          103:2,4 104:2      properties            providing
    106:3 114:13         104:13 155:21        24:10                 164:21 165:5
    114:22 120:17        186:16 190:10      property 19:20        provisions 1:24
    147:16 216:1         203:16               69:18,18            proximity
    271:14             proceeding           prosecutable            142:9 217:4
  probably 9:24          275:14               73:1 179:1,5        public 24:3
    27:11 35:15        proceedings          prosecute 74:6          29:5 33:21
    39:18 42:3,10        273:11             prosecuted              41:8 48:18
    49:1 62:13         process 24:24          71:23 72:2,7          67:6 111:16,17
    71:10 74:11          60:21,21 79:3        72:14 179:7           113:17 146:8
    123:5 168:15         81:17 142:11       prosecuting             192:12 274:15
    180:10 193:6         252:8 255:2          71:16                 275:5 278:19
    201:9 205:21       produce 211:8        prosecutors           pull 43:9
    234:23 257:16      produced 1:16          16:4                  114:10 160:22
    262:13             product 258:10       protect 41:8            265:9 266:3
  probation            profile 58:2,12        240:21              pulled 17:20
    61:14                                                           59:7 216:6
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 336 of 366




 [pulling - rapport]                                                       Page 57

  pulling 53:23        putting 38:2         176:5 185:6          quickly 182:14
   160:20               62:7 94:3           195:11 199:23          199:23
  pulls 43:10           168:2 237:21        214:9 221:8          quite 36:2
  purchased            puzzle 66:20         229:23 245:14          55:16 60:11
   29:20                       q            248:2,6 249:22         143:21 229:22
  purport 211:1                             262:1 269:16         quiz 247:19
                       quality 259:2,6
  purpose 33:22                             270:24 271:2         quote 106:21
                        259:15,24
   62:2                                     271:11,25                    r
                        261:2
  purposes 44:10                           questioning
                       quantities                                r 2:1 164:1
   160:18 176:22                            40:3 168:20
                        25:18 48:4                                 250:15,16
  pursuant 1:23                             169:1
                        138:10,14                                  277:3,3
   275:1                                   questions 7:25
                        143:13 144:5                             radar 236:12
  pursuit 59:14                             56:21 57:18
                       quasi 192:16                                265:19,20,21
  put 9:11,23                               64:8 67:7,11
                       question 6:4,8                              266:21,23
   10:11 25:19                              69:3 70:14
                        6:12,15,15,21                              267:19
   26:19 33:20                              80:7 88:12
                        7:4,5,13 16:5                            radio 80:22
   39:9 40:21                               90:3 92:1
                        21:13 36:4                               radios 106:25
   68:8,22 71:6                             102:21 103:24
                        38:19 46:2                                 107:5
   72:9 76:21                               115:14,16
                        52:20 55:9                               radiowave
   81:23 84:22,23                           117:15 130:16
                        56:19 62:4                                 265:21
   85:4 95:9,13                             131:18 134:22
                        66:14 67:12                              raise 85:7
   119:3 122:22                             136:15,15,17
                        76:8 80:17                                 249:6
   144:2 145:3                              136:21 137:6
                        85:1 96:6                                raised 63:16
   148:12 171:17                            137:13 140:12
                        103:10 112:14                            raises 136:22
   171:20 172:5                             153:4 169:6
                        125:8,12                                 ran 73:21
   172:20 175:6,8                           218:16,18
                        130:13 132:4                               74:20
   175:9 177:2,5                            247:14 248:1
                        132:25 133:3                             rangers 33:21
   197:1 204:23                             261:20,21,21
                        134:13,24                                ranks 78:22
   205:19 249:4,6                           265:8 272:17
                        135:5,12 136:2                           rapid 236:5,8
   254:25 255:7                             273:5,7,9
                        138:24 143:21                              264:3
   256:18 272:8                            quick 31:17
                        157:11 166:5                             rapidly 221:17
  puts 139:4                                48:11
                        167:6,23                                 rapport 86:17
   196:17 198:9                            quicker 119:10
                        175:14,23
   198:15
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 337 of 366




 [rarely - reasonable]                                                      Page 58

  rarely 30:25          157:7,9 158:13      reader 169:19           126:23 169:1
    71:8                158:16,18,25        reading 69:8,11         172:15 175:15
  rate 92:15,25         159:8 160:17          96:12 102:12          181:13 191:15
    93:2,3,5,5,9,17     161:5,9 162:7         157:4 184:6           196:21,25,25
  rather 257:6          169:14 170:6,8        258:7                 198:18 205:25
  rbf 1:5 274:5         178:10,16           reads 98:15             212:18 214:24
  reach 102:8           182:8,12,23           244:15                215:10 234:9
  reached 90:9          184:18,25           ready 11:18             234:13 244:23
    270:23              185:13,14             246:6,7               244:23 247:10
  react 80:7            186:1,2,4           real 36:2 70:3          253:12 261:11
    181:11 247:13       188:1 190:18          84:25 254:3         realtime 189:6
  reaction 71:6         190:20 191:4          255:7               rearview
    82:5                197:11,20           realize 121:6           232:15
  reactions             202:3,9 206:14        134:2               reason 8:5 23:3
    264:22              206:19,21           realized 25:24          55:16 89:18
  reactivate            208:2,3,10            260:14                94:20 108:14
    102:15              211:5 216:23        realizing               128:6 132:10
  reacts 47:22          217:6 220:25          260:20                137:1 185:3
    247:8 248:1,12      221:5 229:12        really 16:7             209:3 212:19
  read 93:20,22         229:19 230:9          25:11,14 26:12        276:11 277:6,9
    96:23 97:5          230:10 239:4          29:18 32:24           277:12,15,18
    98:5,9,17,21        239:11 244:14         33:18 34:8            277:21
    101:2 107:1         245:12,18             35:16 37:16         reasonable
    122:2,10            252:6,13              43:11 44:23           72:24 81:20
    123:23 132:1        255:25 256:13         51:22 54:8            82:1 83:6
    142:23 143:6        256:21 257:2          58:18,19 61:15        96:25 102:22
    143:14 144:16       258:24 259:5          61:18,20 68:21        102:25,25
    144:22 149:15       259:12 262:12         68:25 75:23           114:2 122:3
    149:23 150:21       262:16,20             76:15 80:15           126:12 128:10
    151:6 152:3         263:1,24              81:17 85:25           129:17,21
    153:12,18           264:10 276:9          86:16,18 87:10        131:20 142:25
    156:14,16,19        278:5                 87:12 90:10           143:8 144:18
    156:21,21,22      readdress 12:9          93:20 94:16           145:15 146:6
    156:24,24,25                              123:3 126:17          146:11 147:5
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 338 of 366




 [reasonable - referring]                                                  Page 59

    147:19 148:10      243:7                 207:19 216:24         197:3,4,8
    148:16 149:21    receiving 264:7         217:9 222:9           211:9
    150:16 152:18    recent 91:16            229:14 244:10       redrick 157:15
    168:9,13 169:6     214:15,16             244:20                157:16 158:10
    190:16,23        recently 63:22        recorder                158:17,23
    191:9,11           101:20                208:18                160:24,24
    195:24 216:5     recess 57:17          recording 41:8          161:15,19
    217:1,11 219:3     153:1 162:10          42:21 163:9,15      reek 72:23
    270:10             246:5 265:7           163:19,22           refer 175:13
  reasonableness     reckless 266:13         209:23 211:4          176:23 192:20
    192:18             266:14,18,24          211:22 245:2          220:17,19
  reasonably           266:25 267:6,8      recordings              237:10 241:25
    129:11,11          267:13                106:12 153:14         257:4
  reasons 71:9       recognize               155:6,7 211:9       reference 176:1
    124:23 275:8       143:24 234:22         214:3                 197:13 198:1
  reassigned         recognized            records 129:7           207:18 217:8
    23:23 24:8         89:15                 201:19 212:1        referenced
  recall 28:22       recollection            233:15                175:19 276:6
    35:22,24           164:16              recover 20:6          referred 91:6
    165:22,24        reconstruction          21:7 179:10           240:15
    166:16,16          38:23 214:4         recovered             referring 51:1
    167:4,10         record 1:24             181:16                96:19 124:1
    177:24 178:3       4:12 5:21,23        recovery 39:25          129:2 163:6
    178:18 209:25      5:25 6:25 9:19        42:6,7                170:11 182:6
    217:14 218:20      38:21 44:10         recruit 30:15           183:18,19
    257:20             82:23 145:3           48:7,12               184:18 194:2
  receipt 275:6        148:2 153:3         recruited 23:5          202:20,21
    276:17             162:4,12              23:13 48:8            203:21 207:16
  receive 142:7        200:11 206:5        recruiting              220:3 225:23
    239:6              210:10 211:23         49:17                 226:9,23
  received 14:17       242:2 268:8         red 85:22 131:7         229:22 230:14
    146:21 147:7,8     274:19                136:22 138:8,9        232:1 235:23
    148:7 206:18     recorded 41:2           141:7 196:5,7         242:25 256:15
    222:15 231:3       65:21 175:20          196:8,10,14           256:19
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 339 of 366




 [refers - reports]                                                         Page 60

  refers 262:7          171:11,15,20        remote 137:18           170:1,7,14
  reflect 268:8         171:21,21             137:21,24             171:1,4,7,7
  regaining             172:23 175:6          138:4,19              172:5 174:17
    222:17              175:24 176:22         139:13,19             174:18,19,21
  regarding 15:1        176:25 177:11       remove 35:5             174:24 175:7,8
    168:21 169:4        177:11,16,20        removed 35:7            175:13,22
    174:16 200:14       177:23 180:13       repeat 35:6             176:1,2,21
    200:14              180:16,21           rephrase 7:18           177:7,10,19,20
  registration          186:17 199:12         137:4 166:1           178:8 179:21
    275:24              203:3 204:15          194:21,23             183:11 185:10
  regularly             212:4 219:10        report 3:11,12          196:17 207:13
    130:20            relied 206:24           8:18,24 9:4,5,9       215:24 216:4
  reiterate 198:5       206:25                9:16,21,25            218:23 220:17
  related 23:4        rely 8:9 108:18         10:14 11:23           220:17,19,25
    50:11 99:7          109:21,22             12:1,4,10,12,18       232:11 237:8
    105:14 112:6        119:11 121:20         13:16 39:5,8          237:21,24
    113:16 117:21       165:7 196:16          65:22 66:4,7          238:1 239:1
    243:9 248:11      remarks 89:22           66:12,13,15,16        240:5 241:25
    275:13            remember                66:17 67:2,5,7        242:1,3 246:9
  relatedly 46:17       14:18 18:1            67:13 68:2,9          256:18 263:5
  relates 165:1         33:7,18 42:11         68:10,13,15,22        272:9,15,19,25
  relation 97:25        65:23 68:20,23        89:13 91:25         reported 1:21
    105:3 111:10        68:24 69:1            92:3,16 94:4          212:13
    181:3 221:21        89:25 154:7           94:14,15,22         reporter 4:21
    222:5,7,20          161:20 165:20         95:2,2,4,18,22        19:25 26:4,6
    229:8,13 232:3      166:14,17             96:12,14              58:6 91:11
    235:5               167:16,16,18          123:23,24             163:25 193:2
  relationship          174:14 176:4          137:10 152:4          274:15
    228:24              176:14 178:2          153:9 154:17        reporter's 3:6
  relatively 7:11       185:20 186:12         158:20,24             274:11
    47:23               212:23 250:14         160:13,18           reporting
  relevant 68:7         250:17 262:24         162:21 165:23         65:10 69:4
    155:18,24         remembered              166:18 169:9        reports 63:3
    156:18 161:4        175:17                169:12,16             65:12,19 69:12
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6    Filed 02/07/25   Page 340 of 366




 [reports - reviewed]                                                      Page 61

    99:21 107:21        respect 199:3      returned 275:6        reviewed 8:24
    146:20 152:2        respirations         275:7                 67:23 89:14,14
    169:2                 264:5            returning               152:15,15
  represent 4:8         respond 132:25       263:8                 155:1 156:5
    90:10 96:8            168:10 248:2,6   revealing 114:5         158:3 160:15
    173:11,12           response           revenue 72:1            162:18,19
    200:5 210:23          135:18 136:20    reversed 50:14          163:10,19
  representation          139:9              50:16                 164:9 166:17
    17:18               responses 80:8     review 8:1,2            167:8 169:3,18
  representative          80:12 136:16       11:16 12:16,18        169:21,25
    28:24                 168:20 189:6       12:19 13:7            170:18 171:24
  representing            218:19             91:22 96:24           172:1,18,23
    4:23 5:3            responsibility       106:9 137:12          173:22 175:5
  request 204:23          28:11 85:24        142:25 143:8          175:10 176:10
  requested             responsible          154:18 156:11         176:24 177:12
    275:3,10              28:5               156:13 159:6          183:24 185:13
  required              rest 189:15          159:18,25             185:15,15,17
    278:13              restroom 7:9         160:12 162:1          185:18,23,24
  research                57:15 60:11        162:12 163:15         185:25 186:15
    153:16,20           resume 31:10         164:24 165:13         186:25,25
    154:18 155:23         31:14 39:16        166:8 167:1,2         187:1,3,9,13,14
    156:3 161:3         retail 45:19         167:7 169:13          187:19,22,23
    189:16 205:6        retained 15:12       169:15 172:9          187:23,24
    210:9 212:12          15:14 88:14        175:9,16 185:2        189:10,11,12
  researched              247:13             188:10 190:5          189:15 190:6
    187:15,17           retire 63:10         198:8 205:20          195:5,12 207:3
  reserve 273:6,9       retired 16:22        207:2,21,25           208:13 213:12
  residual 180:1          19:1 22:18         212:2 213:10          218:8,22
  residue 74:1            91:13              217:16 225:15         221:23 224:4
    178:6               retrain 205:18       229:2 230:5           225:17 228:2
  resolution 87:8       return 168:24        235:12 245:16         229:18 232:24
    214:18 270:7          215:24 276:13      251:10,15             235:16,17
  resolutions             276:16             276:7                 236:4,23
    209:16                                                         240:11 251:20
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 341 of 366




 [reviewed - road]                                                         Page 62

    254:13,15          58:7,21 59:7           131:9,19,21          219:15 221:18
    261:6 271:18       60:4,6 61:5            133:2,11,20,23       221:20 223:11
    272:7,11           63:14 66:2             134:7,25 135:2       223:16,21,23
  reviewing            68:5,8,14,21           136:12,24,25         224:8 225:2,3
    43:24 93:24        71:2,11,16,17          137:2 138:8,11       226:12,22,23
    95:9 162:3         72:12 73:6             138:16 139:1,3       226:24 227:3
    182:15 192:4       74:5 76:7,18           139:23 140:10        227:19 228:13
    216:24 219:13      77:6 79:20             140:15 141:5,7       228:13 231:1,5
    230:9 241:8        80:14 81:19            141:11,23            231:14,20,21
  revise 13:16         82:15,17,20            142:1,7 145:4        231:23,25
  revisit 136:25       83:1 84:3,5,9          145:7,10,11          232:4,4,5,13
    248:8              85:18,23 86:1          146:8 147:7          233:24 234:13
  revolves 39:12       86:2,2,3,9,10          148:4,10 150:3       237:12 243:1
  revolving 16:2       87:2 88:2 92:5         150:10 151:11        243:24 244:13
  rhoades 250:14       92:20 94:11,13         152:21 166:23        248:23 253:11
    250:16,17          98:18 99:16,24         167:1 170:20         253:13,20
  rid 19:20 21:3       101:17 102:6           172:11 175:4         255:1,6 258:1
  riding 61:6          102:13 104:21          176:5 177:3,6        258:5,13,24
  right 7:22 8:3       106:8 107:14           180:2,3,10           259:23 260:1
    11:2,23 13:17      107:18,22              186:19 188:8         260:21 261:18
    18:14 20:6         108:14 109:7           188:18 189:25        262:6 263:15
    21:15 22:2,6       109:25 110:6           191:17,18            265:14 266:22
    22:23 29:25        111:19 112:10          192:1 193:5,7        267:5,12,21
    32:13,22 34:2      112:13,21              194:12 195:7         268:3 269:23
    35:7,20 36:21      113:8 115:11           195:24 196:13        269:25 270:3,6
    37:10 39:11,12     115:19,24              196:24 198:7,9     rights 41:2
    40:20 42:22        116:12,22              198:17 200:25        188:16,21,22
    43:9,12 44:23      117:6,8,19             203:9 205:19       ring 45:19
    45:14 46:5,20      118:10,16,23           205:22 207:3       ripping 45:20
    47:18 49:4,15      120:7,22 121:3         208:22 211:20      rise 264:3,3
    51:19 52:1,3       122:17 123:3           212:3 213:8,15     rises 107:9
    53:17 54:21,25     123:14 124:10          214:2,13,25        road 2:10
    55:5,21 56:6,8     124:13,20              216:7 217:5          53:23 105:18
    56:23 57:6         130:4 131:6,8          218:2,3,6,9,10       113:22 124:11
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 342 of 366




 [road - scanned]                                                          Page 63

    133:12 145:22    roughly 29:6,7        salazar 1:7             235:13,16
    217:18 219:18    round 23:13             89:17 274:7           236:7 241:11
    231:10 233:6       26:15 27:16         sam 253:19              254:20 264:16
    255:11 269:24    rounds 253:23         san 1:2 2:21            265:24 266:21
    269:25           route 40:3              45:20 89:2,3,5        270:20,20
  roadside 56:15     routes 28:12            89:21 116:9           271:20,23
  robbed 33:3        rule 275:1              118:5,8 120:9         272:3
  robot 21:18        ruled 149:19            120:15,19           sawa 91:10,12
  robust 46:25       rules 1:23 5:10         121:2 126:20        saying 6:9
  rock 23:13           239:13                274:2                 35:10,20 78:14
    26:15 27:16      rumble 227:15         sat 91:15               102:24 103:2
  rodriguez 91:8       227:21,25           satellites              123:12 144:3
    144:16,25          228:4,9               215:21                158:4 167:6
    145:12 146:9     run 63:22             save 64:6               171:3 178:3
    146:12 148:17    running 115:2         saved 41:2              183:7,11 194:3
    149:13,17          118:6 232:25        saw 33:5,6              197:6,12
    150:8 203:3        233:11,14             36:10 37:5            204:23 223:24
  role 18:20,24      rural 138:15            105:5 108:6           224:13 232:16
    29:11,14 30:11   rush 7:24 33:5          117:18 158:9          254:23 260:21
    43:19 60:12        33:6                  161:12 168:15         261:13 262:4
    66:8 90:12       rushes 32:18,18         168:15 178:4          267:15 268:14
    128:10,11,15             s               180:24 181:1        says 14:7 48:14
    129:23 204:17                            181:14 190:6          79:4 113:21
                     s 2:1,20 4:13
  roles 22:25                                196:14,19             145:5,5 170:14
                       91:13 250:16
    23:1,18 29:10                            197:3 199:18          198:15,18
                       277:3
  rolling 72:19                              199:18 218:6,9        206:8 258:22
                     saenz 2:19 4:24
    73:9,15                                  218:19,25             259:2
                       5:2 197:18
  room 4:20                                  219:25 220:2,8      sbarron 2:17
                       273:6
    48:24 64:3                               224:11 225:1,1        276:2
                     safety 29:5
    77:10,10,11                              225:4 226:20        sbcglobal.net
                       33:21 78:10
    90:13 255:14                             226:24 230:12         2:22
                       79:8 254:8
  rough 18:4                                 230:12 232:11       scanned 11:8
                     sake 150:22
    76:17                                    232:22,22             242:12
                       177:6 187:7
                                             233:16,18
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 343 of 366




 [scenario - secret]                                                        Page 64

  scenario 76:8          220:5,8 221:17     scott 10:23             148:13 184:23
    84:1,2 87:11         221:21 222:10      screen 210:2            184:24 185:4,5
    140:7 193:8          222:15,18,24         215:1,3               202:20,22
    196:13 215:12        223:8,24 230:4     sd 209:20               254:14 255:16
    233:19               230:19 231:2,2     se 51:23 81:11          255:17
  scenarios 36:3         231:9,17             102:7 165:20        seatbelt 120:17
  scene 40:16            232:13 233:21      search 30:8,9           120:18 268:25
    43:15 130:5          234:6 236:24         51:15 55:14,14      seats 84:8,15
    196:8                240:8 241:18         55:23 56:12,17        84:17
  schlepping             241:20,21,22         56:23 73:14         second 11:16
    76:5                 241:22 243:6         83:5,8 117:2          32:8 101:6
  schmutz 73:10          244:11 245:7         129:22 131:21         103:10 108:17
  school 33:20           245:23 263:10        140:4,7 144:19        119:13 121:23
    44:4,5,12 55:2       263:21 264:2         145:16,25             121:24 125:20
    94:11                269:19 271:15        146:6,12              127:22 137:12
  schools 25:22          274:3 276:4          149:22 161:5          150:21 153:12
  schott 1:3 4:8         277:1 278:1          169:7 180:4,5         158:22 159:3
    10:23,24 97:3      schott's 141:10        253:6                 160:3 161:25
    97:8 104:1           163:10 178:19      searched 49:10          162:6 170:5
    105:15 141:5         179:22 186:7         56:9 57:2             182:2 184:16
    143:2,10             188:16,24,25         67:25 140:6           187:5 190:17
    147:21,23            217:23 218:7,8     searches 55:10          197:11 207:14
    148:13 163:6         219:13 220:6         56:25 109:25          216:14,20
    163:18 166:4,7       222:21 223:1,2       110:9                 225:13 226:16
    166:10 167:3         224:6,23 226:3     searching 56:4          228:15 234:9,9
    167:24 168:20        228:3,20,24          57:10 161:19          252:6 256:21
    168:25 183:10        229:3 230:16         244:11                262:12 263:21
    184:11,23            232:2,20           seat 72:19              265:18 266:4
    185:4 186:11         233:23 234:2         73:22 76:14,18      secondary
    208:5,8 209:25       234:12 235:13        76:20 77:14,25        242:21 243:23
    216:6,25 217:2       235:25 236:1,3       78:4,9,12,25          245:3
    217:9,12             269:20,23            79:12,12 80:21      seconds 148:19
    218:12,20,24         271:19               81:14,24 82:9       secret 110:7
    219:4,6,18                                84:9,11 85:6
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 344 of 366




 [section - sentence]                                                       Page 65

  section 38:13         169:9 170:3,5       seeds 71:3            segment 211:4
    38:16 142:18        174:6 175:17        seeing 25:4             211:16,17
    169:9,12            175:18,19             33:16 65:1          segments 211:8
    170:12 171:6,6      182:6 186:18          72:24 74:17           211:23 212:1,3
    190:18 216:4        187:15 189:23         75:8 92:19          seized 20:3
    250:7 259:1         190:14,14             118:6 121:11          21:1,20 101:20
  security 127:13       191:15 195:5          121:13,14             127:12
  sedative 70:4         196:24 197:4,6        134:10 139:6        seizes 20:19
  see 8:20 9:17         199:1 207:16          167:10,18           seizing 25:18
    11:4 14:9 16:1      207:18 211:18         189:4,6 194:10        64:25
    33:13 36:9          212:4,7 215:25        194:12 233:16       seizure 70:4
    37:3,4 38:21        218:3,5,5             246:19,24           sell 19:19,23
    38:25 39:4          219:14,23             270:17,17,25          20:3,4,6,8,9
    47:19 60:4          221:13,16             270:25                21:3,9,24,24
    65:8 71:6 74:1      222:5,10            seek 199:12             22:7
    75:14 78:24         223:17 224:9        seeking 62:21         seller 51:21
    80:5,6,6,8,8        225:2,8,23          seemed 169:2,4        selling 22:9
    81:1,21 82:5        226:5 227:13          199:16              seminar 111:22
    92:11 96:4          229:5,10,24         seems 77:23,24        send 84:23
    101:19,22           233:1,9 234:12        78:18 123:12          186:16
    102:12 104:14       234:12,21             230:10              senior 57:8
    106:2,4 109:3       235:3,7 239:2       seen 32:8 63:8        sense 7:6 41:7
    116:14 118:3        242:1,23 243:5        73:13 81:23           52:20 55:20,21
    118:10,11,11        243:18 246:10         121:4 140:22          104:24 105:20
    120:14,20           248:7 259:3           151:18 161:10         123:8 127:10
    130:10,21           260:25 263:9          162:15 192:12         180:14 235:9
    131:17 135:11       263:16,22             196:6 206:10          265:5
    142:1 144:13        264:12 266:9          225:18 232:19       sent 111:6
    154:18,23           267:23 268:3,5        244:9 252:17          186:23 276:14
    158:4 159:15        268:7,11,12,14        252:18 266:23       sentence 17:17
    159:21,23           268:19,21,22          269:10,20             96:3,18,23
    161:6 162:7,21      268:25 269:4        sees 73:16              107:1 122:2
    162:24,25           269:12 270:5,9        105:24 246:20         142:23 144:3
    163:13 165:9        270:12 271:6,7                              144:15,24
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 345 of 366




 [sentence - similarly]                                                     Page 66

    149:15 150:21       193:5 203:15          91:14 99:3,8,9      side 28:15
    153:13 170:5      sets 101:5              99:11 100:4           29:25 30:3,4,5
    178:11 182:8        201:2                 104:3 154:10          30:6 40:16,17
    202:3 206:14      setting 250:22          166:11,20             40:23 53:23
    206:19 208:2,3    settings 255:8          167:20 187:24         109:8 124:10
    208:8,21 211:5    seven 23:15             190:2,3               133:12 145:22
    216:24 217:8        28:4 29:2,2         shoes 144:4             231:23 232:1
    239:4 262:13      several 25:12           216:5 219:3           233:24 241:9
    262:20 263:1        70:13 221:18        shop 75:17              255:11
    263:21,25           221:19 227:14         142:5               sidebar 38:10
  sentences             249:19 264:5        short 18:25           sight 218:1,12
    190:19            shake 5:24              21:19 24:9            267:23
  separate 100:1        72:16,17,18,25        47:23 59:14         sign 134:19
  separates 227:3       73:11,12,18,25        162:11 237:12         259:6 262:24
  separating            74:5,11,18          shortcut 100:7          276:12
    232:5               178:4,19 179:8        187:6               signature 275:2
  sequence              179:22 180:16       shorthand 1:21          275:5,8,21
    169:10,16           180:20,21             257:4 274:14        signed 98:22
    170:11,11,15        262:2               shot 226:4              276:19
    171:4,6           shaking 5:24          shotgun 253:23        significant
  sergeant 24:15      shape 34:23           should've               128:11 231:8
    30:10,13,22         113:5                 243:3               signs 253:17
    53:6 174:12       sheehan 19:13         shoulder                256:24 257:1
    204:24              19:24 20:1,13         227:16                259:15 260:10
  sergeants 25:1      sheet 276:11          shoulders               264:22,23,24
    53:6,7            sheriff 31:2            34:25               silly 37:16
  served 17:17          89:17,22            shout 7:12 9:7        silver 268:2
    274:23            sheriff's 13:7        show 37:13            similar 15:25
  service 110:7         16:18,21,24           261:2                 152:7 155:25
    239:21              18:19 19:3          showed 228:25           177:8 180:9
  set 38:21 77:18       22:19,22 23:2       shown 274:24            211:25
    79:14,17 97:13      23:6,8,17,19        shows 37:9            similarly 6:11
    97:14 142:5         24:9,13 27:22         208:24                38:15
    151:2,8 192:15      30:14 89:11
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 346 of 366




 [simple - sorry]                                                           Page 67

  simple 48:2           244:23 245:5        smoking 181:9           129:12,12,14
  simply 139:7          245:20              smuggle 58:25           139:1 146:24
    202:11 258:1      size 24:12             120:10 122:6           147:1,16
  single 163:9        skill 77:18            123:13 124:12          199:16
    207:21 216:12       79:14,17             140:22,23            snapchat
    236:19 271:21     skip 119:6            smuggled 48:3           109:13,13
  sir 47:7 51:18        144:10 148:25        69:15 73:25          sobriety 40:20
    79:16 93:7          149:1 153:11         123:7 124:8          social 109:1,11
    125:11 132:23       154:17 258:21       smuggler 82:4           113:12 115:8
    135:2,2,20          259:1                82:7,18 85:17          129:16
    136:1,1 137:15    skyrocketed            120:22 121:1         softer 259:10
    174:9 273:6         260:21               141:12               sold 21:11 22:1
  sit 13:15           slang 88:9            smugglers               22:2 26:9
    167:17 238:23     sleepy 147:22          23:16 26:20          soledad 2:20
    255:15 271:13       147:23               28:12 29:21          solely 229:15
  site 154:13         slept 94:24            48:7 82:15           solid 226:13
    217:15,19,24      slide 161:14           84:16 122:12         solutions
  sites 109:12,12     slight 219:17          131:16 138:8           275:23 276:23
  sitting 78:12         269:24               141:8,12 253:4       somebody
    161:17 269:12     slow 29:19            smuggling               49:16,16 55:21
  situate 44:8        slowed 222:16          26:12 47:13            106:14 110:11
  situation 68:19     slower 266:1           49:7,15 50:12          112:15 133:12
    76:9 87:1         small 25:16            50:20 58:15,16         145:21 179:6
    99:16,16,17         26:13 29:17          58:17,21,21,24         184:8
    112:4 115:23        123:5,6 179:8        59:2,20,20,25        someone's 35:5
    156:23 192:25       206:16 213:11        59:25 60:8             132:9,17
    196:1               215:2,3 270:9        64:15,15,16          sony 40:7
  situations          smarter 145:11         116:1 120:25         soon 59:3,9
    67:15,16          smell 71:1             122:24 123:2           62:2
    110:23 130:5        72:22                124:9,19,20,21       sorry 17:5
    247:9,14          smells 74:13           124:23,24              19:16 38:9
  six 17:8 29:1       smoke 72:11            125:3,3,7,7,13         65:18 75:18
    34:22 58:20         74:22                127:6,25               98:11 103:20
    243:8,11,11                              128:25 129:8           103:21 111:3
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 347 of 366




 [sorry - standard]                                                        Page 68

    119:7,7,24        speak 115:13         speculation             94:21
    129:3 143:5,12      164:18               103:9 104:5         spills 72:20
    143:22 159:2,5    speaking               170:24 171:18       spinach 76:4
    159:12 164:5,5      164:17 240:13        171:22 196:12       spoke 69:18
    174:23 185:15       253:22               224:19 225:3          183:14
    188:25 197:2      special 30:10          232:21 243:15       spoken 115:7
    215:13 216:17       38:22                271:10              sponge 62:22
    222:25 223:2      specialist 14:8      speech 56:13          sponsoring
    230:16 231:2      specialized            74:24 79:24           62:21
    235:25 254:9        38:17,25 54:23       80:25 247:6,23      spot 152:23
    263:12 268:10       199:20,25            253:2 255:3           196:16
  sort 113:12           200:15               260:9               spotting 262:14
  sorts 213:10        specialty 15:2       speed 212:13          springs 108:3,6
  sound 91:8            157:3                212:20 214:11         108:12 117:25
  sounds 7:15         specific 7:24          215:5 221:24          118:4 129:19
    27:6,15 252:20      17:23 35:23,25       222:17 236:5,7        168:24 184:8
  source 118:1          88:25 125:9          236:18 265:23         239:8 240:25
    122:8 237:2,4       198:25 201:14        266:2,9,12,23         241:2 243:2
    237:5,13,17,22      203:15 243:3       speeding                244:5,18
    237:25 238:2        268:17               216:10 235:19       square 71:11
  sources 155:16      specifically           235:19,20             71:11
    237:11              147:10 161:20        236:14,24           staff 206:3,3
  south 24:6 50:9       165:12 194:14        265:10,11,25        stages 25:11
    59:25 60:6          199:10 238:14        266:4 267:1,16      stan 246:10,13
    122:8 124:23      specs 75:10          speedometer             246:15,22
    125:2,6 126:20    speculate 75:18        214:11                248:24 249:25
    127:23,25           75:20 76:10        spell 94:20             250:1 251:19
    128:5,15            99:23 152:12       spelling 94:17        standard 40:17
    139:11 182:11       168:14 270:19        94:19                 97:1,11,13,16
    183:9 239:9         272:2              spend 94:3              97:19 99:2
    242:18,22         speculating            162:3                 100:5,24 101:8
    243:23              95:12 102:19       spending 252:9          102:23 103:1,3
  space 59:15           169:24             spent 24:14             104:2,12,23
    256:10                                   63:13 93:18           105:16 151:20
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 348 of 366




 [standard - stopped]                                                      Page 69

    172:13 190:23      89:1 203:11         stephen 2:14        108:9,14 109:6
    191:1,10,17        274:15                4:22 6:25         109:10 112:16
    193:25           stated 1:24             21:16 32:8        113:25 114:22
  standards            173:10,23             250:16 274:22     114:23 120:17
    192:1,6,6,16       270:22 271:20         276:1             122:20 124:11
  standing 196:4     statement             steps 185:11        125:17,19,21
    196:6              179:19 252:15       steve 3:15          125:23 128:7
  stapler 10:3,4       262:18 263:3        sticker 9:12,24     130:25 134:9
  start 6:12 14:6    states 1:1 23:23        10:11             141:14 142:10
    14:14 18:14        48:5,6,17           sticks 35:22        144:18 146:15
    22:16 61:21        50:13 60:9            105:5             146:16 147:16
    62:24 75:23        122:9 127:16        stint 24:9          148:20,24
    92:4,5 104:11      144:17 145:1        stipulations 5:6    149:18,20
    135:8,9 136:2      149:13,18,19        stolen 19:20        150:4,7,15,17
    143:7 203:16       156:6 157:15          45:13 63:4        150:18 151:15
    236:2 251:23       158:10,16,23        stop 26:2,8         166:3,7 167:24
  started 13:24        160:24 161:18         40:14 45:6,9      168:6 170:15
    22:19 25:21,22     274:1                 45:15 46:12       172:12 173:25
    26:21 27:19      station 77:8            47:13 49:8        174:19,22,25
    43:25 223:15     statistics 55:24        50:20 51:13       188:2,14,14
  starting 135:6       126:17                56:11 57:7,11     191:15,16
    222:6            statutes 155:13         59:3 64:15        192:25 193:3,3
  starts 101:25      stay 64:16              67:24,24 70:10    193:7 194:7,10
    122:3 135:7        95:24                 75:13 82:9        202:25 204:4
    137:14 144:12    stayed 59:10            84:4 85:3,3       239:5 240:9,16
    149:12 182:3       118:20 140:12         89:6 96:5,9,20    241:17 243:10
    199:24 207:15      147:24 168:22         97:8 101:2,3,3    243:12 245:13
    221:14 229:8     staying 65:9            102:5,9,10        245:16,23
    263:10             129:19 137:24         104:1,15,16       247:1 248:16
  stash 138:4          139:12                105:2,14,17,17    266:22,23,24
  stashed 138:14     step 37:18              105:18,19,20      271:15
  state 1:20 4:12      108:16 128:13         105:22,23       stopped 28:17
    6:25 23:11         266:4                 106:3,7,7,15,15   45:16 49:2,9
    60:19 71:20                              107:16,24         57:3 59:5
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 349 of 366




 [stopped - summarize]                                                     Page 70

    81:13 84:13       store 33:4 76:3      strips 227:15           115:11 147:25
    101:7,15            210:10 211:24        227:22,25             147:25 148:4
    124:10 131:1      stored 33:14           228:4,9               195:9
    133:17 140:2      stores 212:1         strokes 247:15        submit 206:3
    145:21 236:10     story 55:19          strong 213:8          submitted
    248:20,21         straight 38:21       structured 80:1         207:6
  stopping 26:25        86:13 114:21       stuff 13:21           subpoenaed
    28:16 47:4          143:6 270:1          20:24 34:19           15:14,15,17,17
    54:6 56:5         straightens            58:2 68:21            17:7
    104:23 105:1        270:1                73:7 79:22          subscribed
    114:8 121:14      strategies             81:6 100:7            278:14
    121:15 168:19       191:23               112:13,24           subsequent
    266:25 267:1      street 2:20 25:1       119:8 252:22          69:5
  stops 27:16           206:16,24            252:23              substance
    29:11,14 30:11      207:1,4,4          stupid 55:19            72:22 74:17
    30:24,25 31:3       275:23             styled 1:18             95:21
    31:6 44:25        stress 80:11,11      subcategories         suburban
    47:17 49:3          260:24 261:3         155:10                122:22
    51:2,3 52:14        261:18,21          subconscious          success 45:25
    53:22 54:7,10       262:23,24            33:8,12,14,16         46:1,3 47:4
    54:16 55:10,11      264:22,23            247:8,12 249:8        54:12
    56:23,25 61:19    stressful 247:9      subconsciously        successful 46:5
    68:23 73:20       stressing              65:25                 46:11 62:17
    80:2 85:22          261:18             subject 14:7            252:24 253:7
    105:3 127:16      stretch 248:23         84:14 136:4           253:13
    130:24 147:5        248:23               198:5 256:11        suit 83:2,16
    147:17,20         stretches 64:14        262:23 272:24         84:9 85:6
    166:3,7,9,14,16   stretching             272:25              suite 2:5,10,15
    167:2,11,19         134:13 248:15      subject's               2:21
    174:1 194:9         260:6                252:11 256:3        summaries
    202:24 203:24     stripe 226:12          256:10                156:14,22
    262:1               226:13 232:4       subjective            summarize
  storage 209:19      striping 222:9         75:12 99:17           136:10 172:4
                        229:9,13             110:18,21
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 350 of 366




 [summarizing - systems]                                                   Page 71

  summarizing      sure 6:19 9:2             170:2 173:6,14      suspension
    225:18           9:22 10:18              178:5,12              124:14
  summary 31:19      11:5,19,21              180:15 183:16       suspicion 81:20
    49:20 62:12      12:17 15:6              184:20 187:8          82:1 83:6 85:7
    161:8 169:19     18:18 19:17             190:1 193:21          114:2 128:10
    170:7,10         27:25 28:7,8            194:2 195:8,11        129:22 131:20
    173:22 230:7     31:11,23 34:12          196:2 200:16          144:18 145:15
    245:4,5          35:17,19 36:4           201:13 209:21         146:7,11 147:5
  super 25:8         36:22 37:2              210:19,25             147:19 148:10
    85:16 86:23      39:9 41:13,16           212:22 213:22         148:16 149:21
    133:6 224:2      42:19 47:2,23           215:16 221:3,7        150:16 168:9
  supervised         47:25 53:18             222:8,14 223:3        168:13 169:6
    53:8,22 181:24   57:21 60:7              228:12 232:10       suspicions
  supervising        61:3 83:19              234:25 235:9          151:4
    25:1 54:11       87:9 88:6,6             235:18 236:21       suspicious
    60:12            93:8,11 94:20           238:12,12,17          109:20 110:15
  supervisor         94:23 95:20             242:4,15,24           110:16,17
    24:15 56:24      99:9,25 102:18          243:16 250:11         111:7 119:14
    66:9 204:16,17   103:16,18               250:24 251:9          119:21,22
    205:22 206:8     104:10 105:6            255:5 256:2           121:3,6 123:16
    244:13,16,19     109:8,10 110:3          257:19 259:17         123:19 138:22
  supervisors        110:15 111:21           260:18 265:6        suv 59:5 268:2
    68:12 256:7      112:25 114:9            270:13,16           swerved 221:22
  supplement         115:9,10,10             271:13 273:2        sworn 1:18 4:2
    13:16            117:7 121:18          surprised               153:14 274:18
  support 16:5       123:9 124:22            17:12                 278:14
  supported          126:25 128:19         surprisingly          syllabus 129:9
    225:7            134:21 139:9            17:8                symmetrical
  supports 63:23     141:17 142:8          surveillance            226:6
    63:23            142:20 143:21           52:13 53:13,14      system 43:8
  supposed           144:8 152:1,14          66:22,22,24           68:4,5 98:12
    129:24 143:11    158:12 159:1          susceptible             102:2,3 214:17
  supreme            161:17 166:5            37:23 82:25         systems 3:14
    146:10 149:19    166:23 169:22                                 209:10,19
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 351 of 366




 [systems - tell]                                                            Page 72

    211:2 214:19         246:2 248:20          243:16 248:18       tax 93:13
          t              259:24 265:2          253:9 261:9         tcole 199:25
                       takeaways             talking 37:1            200:11,13
  t 4:13 277:3,3
                         247:16,17,23          43:3 50:18            201:19,24
  tabc 26:10
                       taken 1:18 8:14         60:12 64:21           206:2,4 207:7
  tactical 253:23
                         39:24 40:1            69:21 77:5            207:10
  tactics 47:3,12
                         108:21 164:4          115:5 118:19        teach 43:14
    47:14 50:19
                         186:24 199:18         121:16 125:15         44:6 77:20
    204:1 255:18
                         201:10 202:6,7        127:3 129:15          146:3 204:15
  tags 45:23
                         206:5 241:3           132:14 135:3          250:21
  tahoe 29:20
                         246:16,23             136:2 141:17        teaching 44:2
    59:13
                         250:18 275:15         141:19 158:8          203:25 204:5
  take 5:17,21
                       takes 132:4             165:16 172:16         205:8 213:1
    7:8,14 8:1,1
                         192:13 231:9          172:21 174:2        teachings
    11:16 20:25
                       talk 35:15              183:18 184:14         202:17
    31:17 42:9
                         44:19 47:20           203:1 209:2         team 4:15
    49:13 57:14
                         56:15 65:10           244:18 247:7        tear 84:3
    63:3,17,18,20
                         79:22 118:24          249:1               techniques
    71:5 72:9
                         118:25 140:17       talks 139:23,24         56:14 252:22
    77:18,22 84:20
                         149:4 153:6         tandem 242:21         technology
    91:24 95:6
                         196:22 202:19         243:22                215:10,15,17
    110:3,13
                         202:24 203:4        tanks 140:24            215:18
    127:11 128:13
                         212:22 237:1        tapes 40:8            telephone
    130:12 137:11
                         246:10              target 52:2             174:11 208:9
    142:14 145:19
                       talked 46:17,25         214:13                212:17 222:15
    156:24 159:1
                         57:19 58:14         task 23:9,11,20         222:18 231:3,6
    161:25,25
                         79:7 117:3,10         23:22,25 27:24        231:7 232:14
    162:6,8 179:10
                         132:20 146:18         28:1,4,16,21,24       239:16 244:12
    179:13 180:1,6
                         147:22,22             29:10 89:1          telephones
    181:15 191:15
                         150:5 167:23          193:16                106:24 212:18
    192:24 201:2
                         172:19 173:11       taught 91:7             213:10
    201:11 204:6
                         185:10 193:1          204:13 258:15       tell 50:22 52:19
    204:22,24
                         202:16 228:12         258:15                54:18 58:15
    205:13 206:6
                         233:20 243:16                               68:13 70:21,23
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 352 of 366




 [tell - thing]                                                                Page 73

    70:24 72:6           term 57:21            testifying 5:18         243:23 274:1,9
    74:25 75:1             69:4 72:16            15:24 178:18          274:16 275:22
    77:19 82:14            87:18,18,21           209:25 220:1          275:24
    93:20 95:11            88:4 104:4          testimony 8:6,9       text 112:9
    123:10 125:9           105:23 150:1          14:8 151:23           115:2 165:9,12
    125:16 130:12          168:6 237:25          152:16 198:2          165:13,17,20
    136:11 141:3           238:1                 216:25 217:9          165:22,23
    143:4 150:5          terminologies           218:23 224:10         184:13 239:19
    173:4 185:21           60:25                 225:5 230:6,20        252:6
    192:5 207:2          terminology             233:23 235:11       texting 183:7
    209:6 214:6            81:18 172:21          236:22 241:16         233:17 242:17
    216:17 219:24          196:24 224:25         267:20 270:21       thank 25:6 29:8
    221:9 244:25         terms 31:14             271:6 274:19          76:12 90:19
    245:1,15 252:2         132:9 197:1           276:9,17 278:8        150:23 192:21
    253:4 257:13           235:10 269:10       testing 13:13           207:12 210:18
    265:3                terry 156:5             154:15                246:7 273:10
  telling 132:6          test 40:20 71:5       texas 1:1,9,20        thanks 92:10
    133:2 134:10           71:6,8,13,23,24       1:22 2:5,16,19      theft 45:16,19
    136:24                 72:1,15 73:2          2:21 25:10,16         45:22
  tells 131:15             179:11,14             26:19 29:4          thing 7:12 8:2
    133:1 205:2            180:12 181:15         33:21,21 71:22        10:1 21:11
    249:15 255:4         testified 4:2           85:5 89:19            25:17 37:11
  temperature              15:7,9 16:15          91:2 122:8            43:16 45:10
    256:7                  16:17,24 17:9         124:23 125:2,6        54:22 60:10
  ten 29:6,7 53:4          18:5 91:16            127:23,25             69:24 70:12
    58:20 94:6             179:22 218:15         128:5,15              77:24 78:18
    95:14 125:18         testify 8:12            137:18 138:4          84:7,10,15
    125:18 126:3,5         12:2,5 15:21          138:13 139:12         85:19 99:25
    126:6,6,8              16:9 17:21            139:19 141:20         109:23 111:11
    133:15 150:19          170:23 176:16         155:13,19,20          118:14 123:5
    208:20 211:20          177:25 196:18         180:17,21             133:9 147:23
  tend 76:16               197:13 198:18         182:11 183:9          151:19 156:25
  tense 135:6              219:2 230:21          216:1 239:7,9         186:1 196:16
                                                 242:18,22             204:25 235:21
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF        Document 97-6     Filed 02/07/25   Page 353 of 366




 [thing - time]                                                                Page 74

    236:4 242:11           183:24 184:3          152:23 158:18         168:15,16
    248:10,11              191:23 192:17         158:19,19             173:8 186:17
    249:9,16 260:4         194:12 195:5,7        161:12 165:21         210:19,20
    265:17,18              200:14 202:18         168:5 169:8           258:9
  things 6:1               203:19 204:15         171:8 175:1         thoughts
    12:11,14,15            232:24 242:6          178:6 181:5           100:11
    22:9 37:16             242:14 243:8          182:19 185:8        thousands 22:6
    39:13 45:4             243:11,12,17          185:22 190:19         126:11 236:10
    46:18 47:13            245:11,18             191:7,12 201:1      threatening
    52:15 54:1,14          247:6 249:12          202:22 203:1          86:11
    56:13 65:24            249:13,15,18          204:11 207:6        three 34:22
    69:17,24 70:17         249:19 256:16         214:16 216:23         61:20 63:24
    70:20 74:13            260:5 261:7           223:1 230:2           93:23 116:13
    75:22 77:22            264:17 265:13         233:15 236:16         142:14,22
    79:19 80:24            267:11,18             242:1 244:3,7         148:19 160:8
    84:12,17 87:7          268:14 269:4          249:9 255:20          178:20 201:1
    93:25 98:25          think 17:17             263:5 265:2           212:8 220:16
    104:21 105:15          32:19 36:5            268:21,24             221:14 224:3
    107:23 108:7           38:4 41:23            269:15,16             235:11 242:19
    113:6 117:19           42:5 53:4           thinking 32:15          267:4,8 268:22
    118:19 126:18          60:10 64:17           54:14 68:20           268:24 269:3
    130:19 131:18          68:19 75:24           80:16 90:21         throat 249:20
    132:11,20              79:10 84:7            103:7 124:17        throckmorton
    133:1,3,23,23          87:4 88:10            124:19 152:12         275:23
    134:5,9,12             90:15 91:12           168:17,17           throw 184:17
    135:3,14 136:8         93:8,16 94:2          193:13 248:19       ticket 45:3
    141:18 147:3,6         95:25 96:10,13        254:20                46:14 49:10,12
    148:12,20              100:15 104:7        thinks 6:18             116:10 118:13
    151:13 152:5           105:2 106:17          72:3 121:9          tickets 236:12
    155:10 168:16          121:3,9,9           third 122:2           tightening
    169:7,22,25            122:21 123:9          137:11 221:14         264:5
    170:17,21              128:8 133:14          225:13 246:10       time 4:9 8:1
    171:19,21              139:10 142:18       thought 103:7           10:25 12:10
    172:22 175:9           143:20 148:17         103:21 158:13         15:19 16:10,13
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF       Document 97-6     Filed 02/07/25   Page 354 of 366




 [time - town]                                                                Page 75

    16:18 18:25           229:14 231:24          227:24 228:3         94:14,15 95:17
    23:18 29:7,17         233:3,5 236:20         228:25 229:3,8       146:3 154:3
    33:24 34:9            243:3 244:25           229:13,24            162:11 188:22
    39:14 41:14           246:4 249:11           269:20               201:23 235:7
    42:15 48:18           249:17,20           title 52:14           tool 254:2,3
    55:15 60:3            250:17 252:10          159:15 160:9       toolkit 51:16
    63:7 64:25            257:17 258:5           169:10 211:3       tools 51:16
    73:21 78:21           260:8,24 262:3         262:9              top 14:6 178:10
    82:13 83:1,24         267:3 270:4         today 5:9,14,21         223:17 226:7
    85:18 87:16           272:16 273:7,9         7:20 8:6,12          258:22 259:16
    92:8,20 94:15         276:18                 12:14 13:15        topic 136:6
    94:16,22 95:17      timeframe 33:5           23:5 41:15           199:10,11
    106:5 108:5,5         96:15 108:5            71:14 77:3,24        244:6 248:8
    108:6 109:9           126:8 241:6,23         131:4 161:18       topics 38:16
    112:22 119:16         276:8                  167:17 188:10        186:17
    120:21 123:2        times 15:9 18:5          195:24 202:16      topper 124:13
    128:20 131:17         29:19 30:12            215:6 238:23         124:13
    132:4 139:1,12        32:12 33:15            255:15 271:13      toppers 128:22
    140:15 146:7          42:24 74:22            272:8,12,17        total 235:9
    147:4 148:4           106:5 114:18        together 52:15          255:11
    149:4 151:11          134:15 138:13          53:17 184:4        totaled 200:11
    151:14 152:9          138:15 157:2           189:20               201:9
    152:22 156:24         200:19 217:18       told 48:17            totality 74:3,8
    159:1 161:2,12        218:21 221:2           53:11 78:8           150:24 171:1
    162:3 173:24          224:17 234:8           107:20,25            181:4 190:25
    175:4 181:22          235:11 248:16          108:1,2 120:11       192:22 193:10
    185:8 189:3,7         260:7                  150:11 176:23        244:24
    191:2 193:14        timing 261:6             223:13 242:16      totally 110:5
    194:6 195:3,18      tint 49:4,5,8,9          242:20 243:21      touch 181:11
    195:19,25           tinted 59:6,8            253:10             towards 226:8
    199:5 205:14          110:16              tone 260:2            towing 21:8
    208:18,25           tire 228:8,20         took 25:23            town 20:17
    222:10 223:9        tires 45:12              26:18 42:7           25:16
    228:5,7,10,12         222:7 225:2            59:12 60:11
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 355 of 366




 [toyota - trainings]                                                       Page 76

  toyota 268:4            146:15,16         trafficking             152:6,8 153:16
  track 95:12             147:17 148:20       17:15 26:24           154:1 155:23
    154:3                 149:18,19           50:4 142:11           156:7 168:10
  tracked 98:23           150:7,15,17,18      248:15                168:12 171:13
  tracking                155:19 166:3,3    trailer 129:6           172:14 173:23
    216:22 248:4          166:6,7,8,14,15   train 30:15             173:25 180:25
  tractor 129:6           167:2,18            145:8 203:14          184:1 186:23
  trade 26:14             168:19 170:15       203:14                186:24,25
  traffic 24:17           172:12 173:25     trained 38:5            188:3,12 190:8
    27:16 29:11,14        174:1,19,22,24      135:11 180:1          190:24 191:20
    30:11,24,25           188:2,14            205:24 233:7          194:8,11
    31:3,6 40:14          191:15,16           236:13                195:18 198:25
    45:1,6,8 47:17        192:25 193:3,7    trainer 43:17           199:4,6,12,14
    49:3,3 51:2,3         194:7 196:5,7       204:10,21             199:17,20
    52:14 53:22           196:7,8,9         training 3:15           200:1,18 201:4
    54:10,15 55:10        202:24,25           25:21,23 34:20        201:10,14,16
    61:19 67:24           204:4 225:6,9       38:13,15,17,22        201:19,23
    70:10 75:13           233:9 236:5,8       39:1,17 43:24         202:5,6,11,12
    80:2 85:3,21          236:15 239:5        60:21,24 61:1         203:5,8,13,17
    86:10 96:5,8          240:9 241:17        61:12 62:3,19         205:10,13,14
    96:20 97:8            243:10,12           62:20 77:19           206:3,3,6,15,16
    101:2,3,7             245:13,16           78:20,24 79:14        206:17,18,24
    104:1,15              247:1 264:7         79:23 81:3            207:1,5,11
    105:14,19             265:15,25           96:25 101:1           208:16 212:15
    106:3,7 107:15        266:1,10,11         104:25 106:10         225:4,7 229:16
    107:24 108:9          267:5,8,17          111:13,22             234:15 241:7
    108:14 109:10         270:18 271:1        122:5 123:22          246:23 250:1,7
    113:25 114:15       trafficked            125:10,14             253:15,19
    114:23 120:2,6        127:2               129:7,8,13            254:22 255:4,7
    122:19 124:11       trafficker            130:11,23             255:13 258:14
    125:17,19,20          133:14 141:15       131:16 143:1,8        261:1 265:12
    125:21,23             248:17              145:7 146:18        trainings
    126:19 128:6        traffickers           146:23 148:5          129:10 150:3
    140:2 144:17          253:2               148:15 151:1          202:17 203:6
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF     Document 97-6     Filed 02/07/25   Page 356 of 366




 [trainings - trying]                                                       Page 77

    251:19              transposed            96:6 103:14           268:19
  trains 50:2             96:15             tricky 159:5          trucks 21:2
    51:4                traumatic           tried 234:9             122:18 141:1,9
  trance 36:15            252:20            trigger 102:8         true 132:19
  transcript            travel 45:19        triggered               143:15 172:7
    159:25 160:3          118:24 119:19       135:18                211:22 274:19
    274:18 275:7          119:23 124:22     triggers 102:2          278:8
    276:6,19 278:5        130:1,15            102:3,4             truly 147:1
    278:8                 168:22 226:19     trips 240:24          trunk 25:20
  transcription           233:24 269:12       241:19 242:22       trunks 25:19
    94:13                 269:21              243:23              truth 132:6,6
  transcripts           traveled 128:14     trooper 86:12           134:11
    162:19                217:18 241:20       86:12               truthful 136:8
  transparency            243:18            trouble 118:18          271:22
    161:12 210:20       traveling 55:19       175:12              try 5:25 6:1,11
  transparency's          97:3 108:4        truck 10:25             6:14 7:2 41:14
    177:6                 118:20 120:8        59:18 84:23           41:17 55:4
  transparent             125:2,6 127:22      129:18 140:1,4        77:1 84:18
    54:15 177:1           127:24 129:18       141:4 146:25          86:7,10,17
  transpired              129:20 132:10       147:6,12,14,14        123:10 133:9
    58:19 147:3           217:5,23            147:16,18,20          136:4 150:6
    176:12 230:19         223:23 242:12       168:19 178:1          156:20 180:7
  transpires              242:21 243:22       181:16 186:7        trying 7:23,24
    174:1                 267:11              217:4 219:15          38:19,20,21
  transport             travis 28:7           219:16,17,19          39:20,21 51:22
    57:25 144:5           91:13,16            220:13 221:18         71:19 79:18
  transportation        tray 73:15            221:23 222:19         81:14,19,21
    24:4 46:8           tree 270:2            223:8,11,21,22        99:25 100:7,14
    49:25 50:7,21       trees 59:16           227:7 228:6           103:14 115:22
    51:1,3,7,12,13      trial 8:9 12:2,5      230:25 231:13         119:6 126:17
    51:15 155:19          91:16 197:14        232:2,13,20           127:1 134:20
    216:1                 273:7,9             235:2,3 241:2         161:3 165:20
  transporting          trick 7:23            241:4 244:11          167:7 173:16
    143:10                38:19 39:20         245:1 253:24          173:17 176:19
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 357 of 366




 [trying - understand]                                                     Page 78

    191:6 192:19       190:19 200:14               u              168:18 172:10
    196:3 202:23       212:7 216:6,9       u 45:12 91:13          172:13 175:9
    203:24 204:1       216:12 219:5        u.s. 149:18            176:16 188:4,6
    220:18,21          221:13 226:5        uh 6:1 29:9            190:16 191:11
    225:10 230:23      242:13 253:22         74:15 121:25         201:15 247:9
    240:21 241:14      255:11 267:18         139:16 149:14        249:9 260:24
    261:16             268:1,6,14,20         173:19 177:4         261:3
  tsa 20:25          type 68:6 94:14         194:5 221:12        undercover
  tuned 234:18         104:6 110:1           222:25 238:9         23:21 24:3
  turkey 113:10        120:25 141:9          267:25               29:18 46:19,22
  turn 101:6           192:1               ultimate               46:23 51:19,20
    145:20 206:1,2   types 69:15             197:22 198:14        52:13 53:12
    249:3 268:3        136:21 209:9        ultimately             66:21 184:2
  turnaround           209:12,13,15          40:13                213:16,19
    129:18 138:22      209:18,22           umbrella              underneath
    148:8 168:24       255:11                201:15               193:7
    240:23 241:19    typical 51:21         unable 178:14         understand
  turned 208:25      typically 36:23         178:20               5:13,16 6:4,7
    209:1 240:8        39:17 47:14         unaware 137:7          7:17 30:16,16
    241:17             48:15 49:2          unbeknownst            39:21 41:5
  turns 135:13         57:23 59:2            40:22 135:1          46:2 59:22
  twice 218:24         60:5 61:4,14        unbelievable           67:8,9,12
    230:4 234:3        62:24 71:7,22         22:7 34:17           76:24 82:3
  two 34:24 35:2       72:13,18 75:1       uncomfortable          86:6 90:15
    53:2,6,7 56:16     78:4 111:20           133:11,11            92:15 100:1
    60:17 63:25        112:7 120:4         unconscious            115:18 118:17
    85:9 114:4         140:5,14              64:2                 144:9,24
    116:13 123:1,2     206:10 211:24       under 5:13             146:13 152:7,9
    136:20,21          249:5                 28:16 38:2           165:19,19
    140:8,9 141:4    typing 233:4            61:13 64:1           166:5,23
    141:5,18,18      typo 242:24             114:1,12             169:19 170:14
    142:22 152:5     typographical           142:25 143:7         173:13,14,17
    153:24 160:2,8     8:25 96:11            151:1 160:9          183:5,6,16,23
    161:21 164:2,3                                                189:9 193:12
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 358 of 366




 [understand - usually]                                                    Page 79

   214:10 216:4       176:15 181:17          274:1                 239:16,25
   218:23 220:18      198:21,23            university              255:7,17,18
   220:21 224:20      204:16 205:11          39:23 41:23           260:25 261:2
   229:22 240:2,6     206:12 209:3         unknown 125:8           267:18
   245:6,23           213:22 215:4           237:15              useable 179:2
   246:19,24          224:21,21            unpack 78:18          used 14:21
   247:20 267:7       225:11 228:7         unreasonably            34:15 35:19
  understanding       228:18 233:17          149:20,25             38:6 40:10
   61:21 117:6        241:13,13            unsafe 223:11           59:24 82:24
   118:18 123:10      245:4 254:4,9          223:20 230:24         87:19 88:4,7
   136:18 145:2       261:8,8 267:14         232:12                89:4 109:14
   165:11 169:20      270:13,24            unusual 69:2            120:10,14
   170:17 183:10      273:3                usable 72:8,8           122:6 123:13
   197:16 199:5      unfortunately           72:13 73:2            124:12 135:15
   201:7 235:14       145:18               usage 44:14             141:8 146:25
   240:3,10          uniform 24:18         use 7:3,8 24:20         147:15 156:7
   257:13 261:12      29:21 204:1            30:7 31:14            168:5 171:9
   267:15,20         unique 23:3             40:11 44:3,17         189:8 193:22
  understands         39:11 214:20           46:10 47:15           210:7 214:3
   246:20            unit 24:11,13           48:6 57:15            215:12 225:21
  understood 6:9      24:15 29:17            67:16,21 69:12        227:5 270:14
   16:9,15 18:2       30:13,14,16            75:4,6 76:25          276:19
   37:7,25 43:20      52:22,23 53:1          79:25 82:22         user 26:14
   44:1 51:9 56:7     54:4,12,13             84:1,16,17          uses 39:14
   56:18 61:18        60:13 222:17           91:5,15 94:12         140:21
   62:7 66:9 67:3    united 1:1              98:13,17            using 40:12
   83:16 87:13        23:23 48:5,6           105:23 107:4          106:24 109:25
   110:24 111:2       48:16 60:9             108:15 115:23         127:5 165:22
   127:18,21          122:9 127:16           120:12 122:12         202:24 237:9
   129:24 142:12      144:17,25              130:24 141:12         238:1 252:24
   148:25 151:21      149:13,17,19           150:1 156:4           255:12,13
   152:23 156:13      156:6 157:14           193:24 213:2        usual 5:6
   157:6 161:23       158:10,16,23           229:17 236:12       usually 6:16
   175:11,15          160:24 161:18          237:6,12,25           16:10
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF      Document 97-6     Filed 02/07/25   Page 359 of 366




 [utilize - video]                                                           Page 80

  utilize 33:22    vegas 37:13                 234:23 235:1        versus 55:10,10
    79:24          vehicle 57:22               235:13 236:14         73:11 134:19
  utilized 50:4      58:13 59:5,10             236:14 242:11         144:17,25
    239:5            59:15 67:25               242:21 243:23         149:13,17
  utilizing 239:19   68:25 80:21               245:3 248:16          156:5,6 157:15
    243:3 253:2      81:9 83:3                 254:15 264:15         158:10,17,23
           v         84:18 85:18               268:4,17,22           160:24 161:18
                     101:16,18,19              269:3,5,11,23         209:19
  v 1:4 274:4
                     101:22 105:24             270:3,17,17,22      vet 205:6
    276:4 277:1
                     105:25 107:18             270:25 271:7        vetted 112:7,22
    278:1
                     107:19 108:1,3            271:19                115:5 204:21
  va 2:10
                     108:18 109:6            vehicles 20:25        vice 6:13
  valid 168:19
                     109:21 110:16             73:24 101:20        victim 32:12
  valium 69:17
                     110:17 111:7              122:12,15,16        video 24:20
    70:1,2,7,17
                     114:7 118:3               123:1,16              34:14 39:22,23
  valley 48:15
                     119:14 120:12             128:22 140:21         40:2,6,12,15
    118:4 128:21
                     121:1,14,15               140:22 235:5,6        41:7,18 42:13
    131:6 138:9,18
                     123:4 124:11            veins 135:8             42:18,18,21,23
    140:16 148:9
                     124:15 131:21           venting 110:12          42:25 43:3,4,8
  value 92:19
                     138:17 139:7            venture 126:13          43:12,13,25
  van 45:21
                     141:11,14               verbal 5:23             44:2,7,9,11
    84:20,20,25
                     144:19 149:22             184:21 258:22         59:17 65:16,18
  vans 45:12
                     163:8 178:19            verbally 223:24         65:18,21,22
    122:19
                     179:22 181:9            verbatim                66:11 99:22
  variance
                     183:10,14,21              156:21                105:7,8,10
    224:16
                     183:22 209:1            verify 115:2            123:24,25
  variances
                     217:22,23                 117:4 276:9           124:1,2,4,5
    271:12
                     219:14,23,24            veritext 275:23         128:24 129:5
  varied 29:24
                     221:17 224:7              276:14,23             146:24 151:24
  various 65:11
                     224:23 230:12           veritext.com.           151:25 158:2,3
    71:9
                     230:13,14,16              276:15                158:5 160:25
  veered 219:18
                     231:4,16                versa 6:13              161:14 163:8
    219:19
                     232:10 234:3            version 9:9,16          163:17 164:10
                     234:12,17,18              9:25 10:16            164:12 169:14
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 360 of 366




 [video - want]                                                            Page 81

    174:8 176:4,7       89:14 99:21          59:7 86:1,10        walked 32:22
    177:7,7,8,14,16     106:12 107:21        106:3 114:15         59:3,9
    177:22 184:6        162:24 163:2         114:23 134:3        walking 32:17
    186:7,10            164:3,14,15          140:2 147:17         106:19
    207:15,19           167:18 172:1,5       168:19 222:1        walks 137:5
    208:4,5,6,18,22     185:23 186:2,5       225:6,9 234:13      wall 108:19,21
    208:23,24,25        186:6,7 187:18       270:18 271:1         109:1
    209:16 211:4,9      187:23 189:12        271:20,22           walmart 48:19
    211:15,16           208:17 212:10      violations            walters 3:15
    212:6,7,15,16       213:11               155:20 233:10        246:11,13,15
    212:17,24,25      videotape 41:2         266:18 267:5,8       246:22 247:16
    212:25 213:10       66:3 146:20        visible 264:2          247:17 248:24
    213:14,24           271:18             visit 217:15,24        249:25 250:1,3
    214:25 216:24     videotaped           visits 154:13          250:24 251:19
    217:9 218:7,8       34:13,16           visual 154:4           253:19 255:24
    219:13 220:2,3    videotapes           visually 33:16         259:14,20
    221:4 222:9,22      39:13 41:4         voice 259:2,6         wandering
    223:1,2,21,25       167:11               259:15,24            256:24
    224:4,10,12,13    view 90:12             260:6,19 261:2      want 5:9 7:25
    225:5,7 226:3       100:25 188:9         261:10,22,25         9:1,6 14:6
    226:4 227:12        192:2 195:22       volume 164:4,4         18:16 31:9,17
    227:23 229:6        195:23 203:19        259:9                34:6 36:14,14
    229:14,17,18        213:9 214:19               w              36:18 37:6,12
    232:16 234:8        220:2 240:6                               37:18,23 40:11
                                           w 2:17 276:2
    235:22,23           258:18 268:13                             46:21 47:9,11
                                           waco 120:9,15
    236:1,3,7         viewed 163:2                                57:14 60:13
                                             120:19
    245:12 260:13       188:8 189:8                               63:2,3,6,7
                                           wait 150:12
    260:15,16,18        196:1 203:10                              65:10 67:16,18
                                           waiving 5:7
    260:25 261:1        270:5                                     75:19 79:1,21
                                           walk 32:15
    269:22 270:4      violate 188:20                              79:21 80:5,6,6
                                             86:14 145:23
    271:23            violated 41:1                               80:8,8 82:3
                                             185:8,11
  videos 34:15,15       188:16 190:4                              86:25 88:1,1
                                             210:21 216:3
    40:4 41:12        violation 45:1                              91:25 95:21
    43:24,24,24         49:3 51:14,14                             98:14 100:10
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 361 of 366




 [want - westbound]                                                        Page 82

   101:21 102:21      warning               52:4,7,9 55:6        wearing 24:18
   104:7 110:3         145:23 264:9         62:6 75:12            83:2 117:12
   114:12 115:12      warrant 30:8          78:5 81:4 83:3        118:21
   120:14 127:21       180:5                85:2,12 90:12        weather 135:3
   136:5 137:10       warrants 69:23        91:14 94:2           weaving 114:7
   138:16 139:6        73:14 110:13         98:20,23              266:19
   140:18 142:14       180:4                104:10 105:19        webcast 202:7
   142:21 144:8       waste 71:25           107:25 116:10         207:6
   144:15 147:18      wasting 146:7         122:17 132:25        website 157:20
   149:4 150:20       watch 37:11,14        133:25 134:25         157:23 158:1
   157:11 159:11       66:3,25 116:11       145:24 152:4          161:13 187:20
   162:6 167:9,9       118:12 165:25        169:13,18            weed 51:24
   168:14 173:20       166:2 169:14         171:17 173:21         74:22
   174:3 178:9         174:11 253:17        188:8,19 189:7       week 94:22
   182:24 183:1        255:18 260:12        192:6 196:22          95:1,5
   192:11 198:24      watched 34:15         197:1,20             weighed 34:22
   199:12 200:16       34:21 35:4           198:16 203:19         72:12 189:20
   202:13 204:24       59:17 99:22,22       204:8 205:22          189:23
   205:4 232:10        107:21 123:24        227:9,22             weight 72:11
   237:1 240:5         123:25 161:13        231:23 247:25         72:13 139:4
   246:2,9 247:20      181:22 186:2,5       248:12 258:18        weirdest 21:11
   249:2,8 251:15      186:6,10             259:25 261:20        went 21:13,21
   267:7               187:18 189:12        265:23 269:16         24:11,23,25
  wanted 11:6          213:13 234:8         272:5                 27:21 33:8,20
   12:19 13:13        watching 61:7        ways 50:20             34:4 61:24
   30:18 34:6          109:1 117:24         51:6 161:21           62:1 64:2,2
   56:17 59:14         118:2,10,15         we've 68:14            99:19 148:8
   61:25 62:9          184:5 205:24         100:9 227:18          186:4 191:12
   69:22,25 96:22      208:17 256:5         247:7                 219:19 228:17
   177:1 186:22       water 32:16,17       weakest 46:7,8         240:25 260:20
   187:15,18          wave 192:12           51:8                  261:11
  wanting 110:10      way 30:18            weapons 78:11         westbound
  wants 37:20          32:21 44:8           168:21                242:13
                       50:17 51:12
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 362 of 366




 [western - wrap]                                                          Page 83

  western 1:1        window 49:4,5         woods 256:24          worker 140:13
   274:1              49:7,9 110:16        word 46:20             140:19
  westlaw 157:12      268:9,11,13           47:4 59:24           working 14:11
   157:13 158:14     windows 59:6,8         76:15 77:1            14:14 23:2
   158:15            windshield             108:15 171:8          24:25 25:15
  whatsapp            226:7                 172:20,25             59:4 63:13
   146:21 148:7      wire 52:14             173:1 193:22          88:25 89:1,3
   239:6,14,15,17    wise 248:7             193:24 213:8          94:22 107:5
   239:19,22,25      wish 127:8             213:20 225:21         120:1 141:16
  wheeler 124:7      witness 1:17          words 88:7             142:6 189:2
   219:15 269:25      9:20 15:8 20:1        237:12 247:25        works 45:24
  wheelers            21:18 26:5,7         work 18:24             50:19 53:17
   122:17             32:13 33:11           19:13 23:7,12         58:16 80:1
  wheels 45:12        34:2 90:8 91:5        23:15 26:20           106:23 111:23
  white 11:1          91:12,15,17           28:11 29:20           116:7 138:12
   21:21 22:1         99:15 100:20          31:9 37:8             140:13 184:4
   217:4 219:6        103:6 127:8           44:20 51:19          workweek 95:6
   223:10 224:7       148:3 164:2           52:8,13,15            95:19
   224:15 226:12      178:23 193:3          53:12 54:23          world 26:24
   226:23,24          195:2,16              79:2 80:14            50:12 62:11
   230:5,25           196:12 197:19         88:5 90:13,13         64:13 139:3
   231:13 233:23      198:4 211:14          93:14 97:15           179:7
  whren 156:6         215:8 242:3           116:3 117:5          worn 163:12,16
  wild 35:12          268:8 269:8           120:4,7 139:10        163:17,20
  williamson          271:10,17             139:20,22             165:25 166:2,8
   16:18,21,23        272:2,23 273:1        140:11 202:18         189:13 264:13
   18:19 19:3         274:17,20,24          253:13 255:10         264:19
   22:22 23:2,8       276:8,10,12,18       worked 22:22          worth 121:10
   27:22,23 28:9     woman 137:21           24:2 26:25            121:10 141:25
   98:13 120:4        138:1                 27:15 52:21           142:3 212:2
   146:2             wonder 84:10           88:16 101:15          275:24
  windham 2:3,8      wonders                181:23 183:8         wow 34:19 35:9
   4:20,20            215:22                184:2 227:10         wrap 84:21
                                            234:16
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF    Document 97-6     Filed 02/07/25   Page 363 of 366




 [wrapped - zoom]                                                          Page 84

  wrapped 70:12              x               268:16                94:12
  wreck 73:6         x 2:19 70:17          year 19:1 20:9        youtube 158:5
  wrecker 20:5,8       275:3                 21:22 25:3            177:2,7
   21:8                                      52:22 56:22                 z
                             y
  wrench 184:18                              60:15,17 61:14
                     yeah 10:15                                  z 2:9
  wright 1:20,22                             61:20 146:3
                       14:22 16:13                               zero 60:16,17
   2:14 166:22                               204:7
                       17:25 18:3                                  62:11 101:25
   274:14 275:22                           years 17:10,25
                       19:17 20:16                               zoom 2:19 4:23
  write 45:2                                 19:7 22:23
   68:13,14 94:4       22:14 26:7            24:14,18 39:24
   94:15 95:17         27:11 31:20           56:4 57:5
   159:6 174:17        39:4,7,20             58:20 59:1
   174:19 178:19       46:24 48:14           60:17 61:20
   236:12 237:7        50:2 64:18            62:16 63:11,13
  writing 12:17        71:15 75:7            64:1 195:23
   46:14 66:3,12       76:13 77:11           234:16 246:17
   68:9 94:22          83:11 93:4,8        yelling 256:11
   95:2 96:17          93:15 94:25         yellow 141:5
  written 9:21         95:5,7,15 96:7        217:2 219:4
   65:13 67:14         100:19 109:3          221:21 222:20
   68:2,10 89:13       109:10 114:17         224:7 226:13
   89:14 98:6,8        115:23 116:6          226:18,19
   99:3,10,11          123:9 127:4           227:6,7,13,24
   100:3 104:2,3       129:3 130:16          228:3,8,21
  wrong 22:21          132:2,16 133:8        229:24 230:4
   92:14 123:11        137:9 139:14          230:11 234:3
   159:2 175:18        139:17 144:2        yep 223:17
   263:12              147:12 166:6          227:20
  wrote 14:22          167:14 172:3        yesterday
   67:5 102:22         186:12 199:22         14:23
   104:11 106:21       220:5 221:7         young 21:15
   149:3 151:8         242:8 248:5           84:5 86:24
   229:21              251:13 257:7        youngsters
                       259:22 265:6          22:3 81:5
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-00706-OLG-RBF   Document 97-6   Filed 02/07/25   Page 364 of 366



                    Federal Rules of Civil Procedure

                                     Rule 30



        (e) Review By the Witness; Changes.

        (1) Review; Statement of Changes. On request by the

        deponent or a party before the deposition is

        completed, the deponent must be allowed 30 days

        after being notified by the officer that the

        transcript or recording is available in which:

        (A) to review the transcript or recording; and

        (B) if there are changes in form or substance, to

        sign a statement listing the changes and the

        reasons for making them.

        (2) Changes Indicated in the Officer's Certificate.

        The officer must note in the certificate prescribed

        by Rule 30(f)(1) whether a review was requested

        and, if so, must attach any changes the deponent

        makes during the 30-day period.




        DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

        ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

        THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

        2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

        OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 5:23-cv-00706-OLG-RBF   Document 97-6   Filed 02/07/25   Page 365 of 366

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   foregoing transcript is a true, correct and complete

   transcript of the colloquies, questions and answers

   as submitted by the court reporter. Veritext Legal

   Solutions further represents that the attached

   exhibits, if any, are true, correct and complete

   documents as submitted by the court reporter and/or

   attorneys in relation to this deposition and that

   the documents were processed in accordance with

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   are managed under strict facility and personnel access

   controls. Electronic files of documents are stored

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Case 5:23-cv-00706-OLG-RBF   Document 97-6   Filed 02/07/25   Page 366 of 366



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